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                            TAB 6
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                         EXPERT REPORT OF MATTHEW G. EZELL

                                         INTRODUCTION

        1.      I am a principal in the marketing research and consulting firm of Ford Bubala &

 Associates, located in Huntington Beach, California, which has been engaged in commercial

 marketing research and consulting for the past forty-three years. My professional experience is

 summarized below in paragraphs 34 through 40.

        2.      In the instant matter, at the request of Hardin Law Group, APC, counsel for

 Defendant, Northern Innovations Holding Corp., et al. ("Defendant" or "Purely Inspired"), I

 designed and caused to be conducted a survey to address the issue of likelihood of confusion.

 Specifically, I was engaged to design a survey to measure the degree, if any, to which

 Defendant's "Organic Protein" product is likely to cause confusion as to source, authorization or

 approval of, or business affiliation or business connection with Plaintiff Orgain, Inc ("Orgain").

        3.      This likelihood of confusion survey, hosted by Issues & Answers Network, Inc.

 ("Issues & Answers"), employed an online protocol using an internet panel created and

 maintained by Dynata.

        4.      The likelihood of confusion survey conducted in this matter was designed to

 employ a scientific experimental survey design consisting of two survey cells: (1) a test or

 experimental survey cell designed to measure likelihood of confusion, if any, with respect to the

 source, authorization or approval of, or business affiliation or business connection of Defendant's

 "Organic Protein" with Orgain; and (2) a control survey cell designed to measure the extent of

 mismeasurement in the test cell survey results.
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        5.         In total, four hundred interviews (400) were completed in this likelihood of

 confusion survey. Two hundred interviews (200) were completed in the test cell and two

 hundred interviews (200) were completed in the control cell.

        6.         The stimuli utilized in the survey were either images showing Defendant's

 "Organic Protein" product (test cell) or an image showing the fictitious control product "Protein

 Powder" (control cell). Any single respondent saw, and was asked about, only one of the two

 survey stimuli.

        7.         In total, the results of the likelihood of confusion survey evidence, on a net basis,

 after adjusting the survey data for mismeasurement error based upon the fictitious control

 product, that approximately four percent (4.50 – 1.00 = 3.50%) of the relevant universe of

 potential purchasers of a protein supplement are likely to be confused or deceived by the belief

 that Defendant's "Organic Protein" product is made or put out by Orgain, or is being made or put

 out with the authorization or approval of Orgain, or that whoever puts out Defendant's product

 has a business affiliation or business connection with Orgain.

        8.         It is my opinion that the results of the survey clearly support a finding of no

 likelihood of confusion. The survey results evidence that the relevant universe of potential

 purchasers of a protein supplement are not likely to be confused or deceived by the belief that

 Defendant's "Organic Protein" product is made or put out by Orgain, or are made or put out with

 the authorization or approval of Orgain, or that whoever puts out Defendant's product has a

 business affiliation or business connection with Orgain.

                                       SURVEY BACKGROUND

        9.         Attached hereto as Exhibit A are the results of the survey which addressed the

 issue of likelihood of confusion. Exhibit A provides copies of the survey exhibits, the survey




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 screeners and questionnaires, coded response tables, and a listing of the survey responses. The

 Appendices of Exhibit A contains the survey specifications, survey screenshots, a final sample

 disposition report, and electronic copies of the source data.

          10.      The sample selection, questions, questionnaire design, and interviewing

 procedures employed in this survey were designed in accordance with the generally accepted

 standards and procedures in the field of surveys. The survey was also designed to meet the

 criteria for survey trustworthiness detailed in the Manual for Complex Litigation, Fourth.1

          11.      I was responsible for the design of the survey as well as for the procedures to be

 followed in conducting the interviews. Based upon the claims in this matter, a forward

 confusion Eveready survey design was utilized and a survey universe of potential purchasers of

 Defendant's class of goods (i.e., protein supplements) was specified. Data gathering was carried

 out, under the direction of Ford Bubala & Associates, by Issues & Answers, an independent

 survey organization which hosted the online survey using internet panelists obtained from the

 sample provider, Dynata. Data gathering for this survey was conducted between October 17 –

 November 7, 2019.

          12.      The survey conducted in this matter was administered under a double-blind

 protocol. Specifically, not only were the respondents not informed as to the purpose or sponsor

 of the survey, but similarly, both the staff of Issues & Answers and the staff of Dynata were not

 informed as to the purpose or sponsor of the survey.



 1
          For the proffered poll or survey, "...Relevant factors include whether: the population was properly chosen
 and defined; the sample chosen was representative of that population; the data gathered were accurately reported;
 and the data were analyzed in accordance with accepted statistical principles...In addition, in assessing the validity
 of a survey, the judge should take into account the following factors: whether the questions asked were clear and
 not leading; whether the survey was conducted by qualified persons following proper interview procedures; and
 whether the process was conducted so as to ensure objectivity...." See Federal Judicial Center, Manual for Complex
 Litigation, Fourth, Section 11.493, at 102-104 (2004).



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                                            SURVEY STRUCTURE

         13.      This survey employed an internet panel created and maintained by Dynata.

 Potential respondents were invited to fill out the screening portion of the interview to determine

 whether or not they met the defined universe for this survey. Subsequently, those potential

 respondents who met the universe definition were invited to complete the main survey.

         14.      The relevant universe for this survey consisted of males and females eighteen (18)

 years of age or older who were likely, in the next 3 months, to purchase a protein supplement.2

         15.      The respondent selection procedure employed in this survey is referred to as a

 quota sampling method.3 This method provided a respondent base that is generally

 representative of the age and gender distribution of males and females eighteen (18) years of age

 or older who reported that they are likely in the 3 months to purchase a protein supplement. This

 age and gender distribution was based upon a kNOW omnibus survey conducted between

 October 16-17, 2019, among a nationally representative sample of one thousand (1,000)

 individuals across the United States.4




 2
          Additionally, the survey universe was also restricted to respondents who: (1) resided in the United States;
 (2) were using a desktop computer, a laptop/notebook computer, or a tablet to read and answer the survey questions;
 (3) did not, nor did anyone else in their household, work for an advertising agency or a market research company; or
 a company that makes, sells, or distributes any nutritional supplements; (4) agreed to answer the questions in the
 survey by themselves without the help or assistance of anyone else and without seeking information from any other
 source (e.g., internet search); (5) if they wore contact lenses or eyeglasses when using the device they were using,
 would wear them during the questionnaire; (6) selected the appropriate number from a list of four numbers,
 demonstrating comprehension of survey instructions; and (7) reported they could clearly read the words on the
 survey exhibit package.
 3
         Quota sampling is a method that uses known information about panel members (e.g., age, gender,
 geographic location, etc.) to generate demographically applicable samples.
 4
           Respondents in the kNOW omnibus survey were asked if they had purchased any protein supplements in
 the past 3 months. Based on the age, gender, and geographic location of respondents who answered yes to this
 omnibus survey question, quotas for the Ford Bubala & Associates survey were established as follows:
 approximately 61% male and 39% female; among males, approximately, 47% 18 to 34, 44% 35 to 54, and 9% 55 or
 over; and among females, approximately, 43% 18 to 34, 42% 35 to 54, and 15% 55 or over; and approximately 20%
 from the Northeast, 16% from the Midwest, 41% from the South, and 23% from the West.


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            16.      As noted earlier, the likelihood of confusion survey conducted in this matter was

 designed to employ a scientific experimental survey design consisting of two survey cells: (1) a

 test or experimental survey cell designed to measure likelihood of confusion, if any, with respect

 to the source, authorization or approval of, or business affiliation or business connection of

 Defendant's "Organic Protein" product with Orgain; and (2) a control survey cell designed to

 measure the extent of mismeasurement in the test cell survey results.

            17.      In the test cell, survey respondents saw images of Defendant's "Organic Protein"

 product as shown below.5 Also see Exhibit A, pages 2-4.




 5
            This stimulus was utilized as it was identified in Plaintiff's first amended complaint and is a best-selling
 product.


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          18.      In the control cell, survey respondents saw the same images as in the test cell with

 the exceptions of the alleged infringing name "Organic Protein" changed to "Protein Powder,"

 and changing the claimed style of font in the product name.6 Also see Exhibit A, pages 69-71.




          19.      The control cell provides a measure of the extent that mismeasurement exists in

 the likelihood of confusion test cell survey results. Specifically, the control cell functions as a

 baseline and provides a measure of the degree to which respondents are likely to give an Orgain

 response to the test cell survey questions, not as a result of Defendant's alleged infringing name

 and font style, but rather because of other factors, such as the survey’s questions, the survey’s

 procedures, market share or popularity, or some other potential influence on a respondent’s

 answers.




 6
          This control stimulus utilized in this survey is consistent with the methodology discussed by Professor
 Diamond in the Federal Judicial Center’s Reference Manual on Scientific Evidence, Third, page 399 ("In designing a
 survey-experiment, the expert should select a stimulus for the control group that shares as many characteristics with
 the experimental stimulus as possible, with the key exception of the characteristic whose influence is being
 assessed.").


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          20.      In a fashion similar to the protocols employed in a pharmaceutical drug test, the

 test or experimental cell represents the drug or pill with the "active" ingredient(s) and the control

 cell represents the "placebo" that does not contain the active ingredient being tested.7

          21.      The test and control cells were separate surveys. The questions and procedures

 for the test cell and the control cell were identical with the exception of the stimuli shown to

 respondents. As noted earlier, any single respondent participated in interviews in only one of the

 two survey cells.

                               SURVEY PROCEDURES AND QUESTIONS

          22.      Initially, potential respondents received an invitation to fill out the screening

 portion of the interview to determine whether or not they met the universe definition. See

 Exhibit A, pages 5-8 and 72-75.8 Subsequently, those respondents who met the universe

 definition (and whose demographics would not exceed established quotas) were invited to

 complete the main survey.

          23.      The introduction to the main questionnaire was as follows:

                          In this survey, you are going to be shown a product and
                   then asked some questions.

                           Please understand that we are only interested in your
                   opinions or beliefs; and if you don't have an opinion or belief or
                   don't know the answer to a question, that is an acceptable answer.




 7
          Again, this methodology is consistent with the methodology discussed by Professor Diamond in the Federal
 Judicial Center’s Reference Manual on Scientific Evidence, Third; "It is possible to adjust many survey designs so
 that causal inferences about the effect of a [stimulus]...become clear and unambiguous. By adding one or more
 appropriate control groups, the survey expert can test directly the influence of the stimulus.... Respondents in both
 the experimental and control groups answer the same set of questions.... The effect of the [stimulus]...is evaluated
 by comparing the responses made by the experimental group members with those of the control group members....
 Both preexisting beliefs and other background noise should have produced similar response levels in the
 experimental and control groups…"
 Shari Seidman Diamond "Reference Guide on Survey Research," in the Federal Judicial Center’s Reference Manual
 on Scientific Evidence, Third, pages 398-399.
 8
          For the full screener and questionnaire, see Exhibit A, pages 5-13 and 72-80.


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 Next, respondents were shown the appropriate survey exhibit and were instructed as follows:

                       Please look at this product as you would if you were
                considering purchasing it. Please take as much time as you like
                looking at the product before continuing with the survey.

 Subsequently, respondents were asked:

                        Could you clearly read the words on the package?

 Only respondents who answered ’yes’ to this question were allowed to continue.

 Respondents were then asked:

                Q9.0    Who or what company do you believe makes or puts out
                        this product? Please be as specific as possible.

 If the respondent provided a response other than "Don't know" to Q9.0, he/she was asked the

 basis for the belief with the question:

                Q9.1    Why do you say that? Again, please be as specific as
                        possible.

 If the respondent provided a response other than "Don't know" to Q9.0, he/she was then asked:

                Q9.2    What, if anything can you tell me about (INSERT
                        RESPONSE TO Q9.0)? Again, please be as specific as
                        possible.

 Next, respondents were asked:

                Q10.0 What other brand or brands, if any, do you believe are
                      made or put out by whoever makes or puts out this
                      product? Please be as specific as possible.

 Again, if the respondent provided a response other than "Don't know" to Q10.0, he/she was

 asked the basis for the belief with the question:

                Q10.1 Why do you say that? Again, please be as specific as
                      possible.

 If the respondent provided a response other than "Don't know" to Q10.0, he/she was then asked:

                Q10.2 What, if anything, can you tell me about (INSERT RESPONSE
                      TO Q10.0)? Again, please be as specific as possible.



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 Next, respondents were asked:

                   Q11.0 Do you believe this product...?

                             ______1.          IS being made or put out with the
                                               authorization or approval of any company or
                                               companies
                             ______2.          is NOT being made or put out with the
                                               authorization or approval of any other
                                               company or companies9
                             ______3.          don’t know or have no opinion

 Respondents who indicated that they believed the product shown is being made or put out with

 the authorization or approval of any other company or companies10 were asked:

                   Q11.1 What company or companies? Please be as specific as
                         possible.

 Again, if the respondent provided a response other than "Don't know" to Q11.1, he/she was

 asked the basis for the belief with the question:

                   Q11.2 Why do you say that? Again, please be as specific as
                         possible.

 If the respondent provided a response other than "Don't know" to Q11.1, he/she was then asked:

                   Q11.3 What, if anything, can you tell me about (INSERT
                         RESPONSE TO Q11.1)? Again, please be as specific as
                         possible.




 9
           To guard against any order bias, the first two alternatives in this list were rotated (i.e., approximately one
 half of the respondents saw the list with the first alternative being "IS being made or put out... " and approximately
 one half of the respondents saw the list with the first alternative being "is NOT being made or put out... ").
           As an additional guard against order bias, approximately one-half of the respondents were queried in
 question series 11 regarding authorization/approval, and approximately one-half of the respondents were queried in
 question series 11 regarding business affiliation/connection. Similarly, approximately one-half of the respondents
 were queried in question series 12 regarding authorization/approval, and approximately one-half of the respondents
 were queried in question series 12 regarding business affiliation/connection.
 10
          The last two principal survey questions (i.e., question series 11 and question series 12) were designed to
 address likelihood of confusion as to authorization or approval or business affiliation or business connection and
 were also patterned after similarly accepted questions. See J. Thomas McCarthy, McCarthy on Trademarks and
 Unfair Competition, Vol. 6 §32:175, 9/2017.


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 Next, respondents were asked:

                    Q12.0 Do you believe that whoever makes or puts out this
                          product...?

                             ______1.           HAS a business affiliation or business
                                                connection with any other company or
                                                companies
                             ______2.           does NOT have a business affiliation or
                                                business connection with any other company
                                                or companies11
                             ______3.           don’t know or have no opinion

 Respondents who indicated that they believed that whoever makes or puts out the product shown

 has a business affiliation or business connection with any other company or companies were

 asked:

                    Q12.1 With what company or companies? Please be as specific as
                          possible.

 Again, if the respondent provided a response other than "Don't know" to Q12.1, he/she was

 asked the basis for the belief with the question:

                    Q12.2 Why do you say that? Again, please be as specific as
                          possible.

 If the respondent provided a response other than "Don't know" to Q12.1, he/she was then asked:

                    Q12.3 What, if anything, can you tell me about (INSERT
                          RESPONSE TO Q12.1)? Again, please be as specific as
                          possible.

 Respondents were then shown a screen that said:

                                   Thank you for your time and participation.




 11
           Again, to guard against any order bias, the first two alternatives in this list were rotated (i.e., approximately
 one half of the respondents saw the list with the first alternative being "HAS a business affiliation... " and
 approximately one half of the respondents saw the list with the first alternative being "does NOT have a business
 affiliation... ").


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                                      SURVEY RESULTS

 Test cell

        24.    In the test cell, in response to Question series 9, approximately three percent

 (2.50%) of survey respondents reported that they believed that Defendant's "Organic Product"

 product is made or put out by Orgain. See Exhibit A, Table 1, page 14.

                                           TABLE 1
                                          TEST CELL
  Q9.0 Who or what company do you believe makes or puts out this product? Please be as
        specific as possible.
  Q9.1 Why do you say that? Again, please be as specific as possible.
  Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)? Again,
        please be as specific as possible.
                                                               Response Distribution
  Response Categories                                        Number            Percent
                                                                               (n=200)
     1. Orgain                                                    5              2.50
     2. Organic Protein (indeterminable)                          5              2.50
     3. Purely Inspired / Iovate                                118             59.00
     4. Other company(s)                                         25             12.50
     5. Don't know / None                                        47             23.50
                Total                                           200           100.00




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        25.    In the test cell, in response to Question series 10, an additional approximately two

 percent (2.0%) of respondents reported that they believed that Orgain is another brand made or

 put out by whoever makes or puts out Defendant's "Organic Protein" product. See Exhibit A,

 Table 2, page 35.

                                           TABLE 2
                                          TEST CELL
  Q10.0 What other brand or brands, if any, do you believe are made or put out by whoever
        makes or puts out this product? Please be as specific as possible.
  Q10.1 Why do you say that? Again, please be as specific as possible.
  Q10.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q10.0)? Again,
        please be as specific as possible
                                                               Response Distribution
                                                                               Deduplicated
  Response Categories                              Number        Percent   Number     Percent
                                                                 (n=200)              (n=200)
     1. Orgain                                          5          2.50        4       2.00
     2. Organic Protein (indeterminable)                4          2.00
     3. Purely Inspired / Iovate                        8          4.00
     4. Other company(s)                               33         16.50
     5. Don't know / None                            150          75.00
               Total                                 200        100.00




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          26.   In the test cell, in response to Question series 11, no additional respondents

 reported that they believed that Defendant's "Organic Protein" product is being made or put out

 with the authorization or approval of Orgain. See Exhibit A, Table 3, page 45.

                                            TABLE 3
                                           TEST CELL
  Q11.0    Do you believe this product...?
             1. IS being made or put out with the authorization or approval of any other
                 company or companies
             2. is NOT being made or put out with the authorization or approval of any other
                 company or companies
             3. don’t know or have no opinion
  Q11.1 What company or companies? Please be as specific as possible.
  Q11.2 Why do you say that? Again, please be as specific as possible.
  Q11.3 What, if anything, can you tell me about (INSERT RESPONSE TO Q11.1)?
           Again, please be as specific as possible.
                                                            Response Distribution
                                                                            Deduplicated
  Response Categories                             Number Percent       Number         Percent
                                                           (n=200)                   (n=200)
  1. Is being made or put out with
     authorization or approval
        Orgain                                        2      1.00         --           ---
        Organic Protein (indeterminable)              --     ---
        Purely Inspired / Iovate                      9      4.50
        Other company(s)                             32     16.00
        Don't know / None                            54     27.00
                 Subtotal                             97     48.50
  2. Is not being made or put out with
     authorization or approval                        34     17.00
  3. Don't know/No opinion                            69     34.50
                 Total                               200    100.00




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        27.    In the test cell, in response to Question series 12, no additional respondents

 reported that they believed that whoever makes or puts out Defendant's "Organic Protein"

 product has a business affiliation or business connection with Orgain. See Exhibit A, Table 4,

 page 57.

                                             TABLE 4
                                            TEST CELL
  Q12.0 Do you believe that whoever makes or puts out this product...?
            1. HAS a business affiliation or business connection with any other company or
               companies?
            2. does NOT have a business affiliation or business connection with any other
               company or companies?
            3. don’t know or have no opinion?
  Q12.1 With what company or companies? Please be as specific as possible.
  Q12.2 Why do you say that? Again, please be as specific as possible.
  Q12.3 What, if anything, can you tell me about (INSERT RESPONSE TO Q12.1)? Again,
         please be as specific as possible.
                                                           Response Distribution
                                                                           Deduplicated
  Response Categories                            Number Percent        Number       Percent
                                                           (n=200)                  (n=200)
  1. Has a business affiliation or connection
        Orgain                                      3        1.50        --          ---
        Organic Protein (indeterminable)            --       ---
        Purely Inspired / Iovate                    4        2.00
        Other company(s)                           18        9.00
        Don't know / None                          42       21.00
                Subtotal                            67       33.50
  2. Does not have a business affiliation or
     connection                                     47       23.50
  3. Don't know/No opinion                          86       43.00
                Total                              200     100.00




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 Control cell

        28.     In the control cell, in response to Question series 9, no respondents reported that

 they believed that the fictitious "Protein Powder" product is made or put out by Orgain. See

 Exhibit A, Table 7, page 81.

                                           TABLE 7
                                       CONTROL CELL
  Q9.0 Who or what company do you believe makes or puts out this product? Please be as
        specific as possible.
  Q9.1 Why do you say that? Again, please be as specific as possible.
  Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)? Again,
        please be as specific as possible.
                                                               Response Distribution
  Response Categories                                        Number            Percent
                                                                               (n=200)
     1. Orgain                                                    --              ---
     2. Protein Powder                                            4              2.00
     3. Purely Inspired / Iovate                                132             66.00
     4. Other company(s)                                         24             12.00
     5. Don't know / None                                        40             20.00
                Total                                           200           100.00




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        29.    In the control cell, in response to Question series 10, approximately one percent

 (1.0%) of respondents reported that they believed that Orgain is another brand made or put out

 by whoever makes or puts out the fictitious "Protein Powder" product. See Exhibit A, Table 8,

 page 103.

                                           TABLE 8
                                        CONTROL CELL
  Q10.0 What other brand or brands, if any, do you believe are made or put out by whoever
        makes or puts out this product? Please be as specific as possible.
  Q10.1 Why do you say that? Again, please be as specific as possible.
  Q10.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q10.0)? Again,
        please be as specific as possible.
                                                               Response Distribution
                                                                               Deduplicated
  Response Categories                              Number        Percent   Number     Percent
                                                                 (n=200)              (n=200)
     1. Orgain                                          2          1.00        2       1.00
     2. Protein Powder                                  1          0.50
     3. Purely Inspired / Iovate                        3          1.50
     4. Other company(s)                               38         19.00
     5. Don't know / None                            156          78.00
               Total                                 200        100.00




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        30.     In the control cell, in response to Question series 11, no additional respondents

 reported that they believed that the fictitious "Protein Powder" product is being made or put out

 with the authorization or approval of Orgain. See Exhibit A, Table 9, page 113.

                                            TABLE 9
                                       CONTROL CELL
  Q11.0 Do you believe this product...?
             1. IS being made or put out with the authorization or approval of any other
                 company or companies
             2. is NOT being made or put out with the authorization or approval of any other
                 company or companies
             3. don’t know or have no opinion
  Q11.1 What company or companies? Please be as specific as possible.
  Q11.2 Why do you say that? Again, please be as specific as possible.
  Q11.3 What, if anything, can you tell me about (INSERT RESPONSE TO Q11.1)?
           Again, please be as specific as possible.
                                                            Response Distribution
                                                                            Deduplicated
  Response Categories                             Number Percent       Number         Percent
                                                           (n=200)                   (n=200)
  1. Is being made or put out with
     authorization or approval
        Orgain                                        --     ---          --           ---
        Protein Powder                                1      0.50
        Purely Inspired / Iovate                     16      8.00
        Other company(s)                             24     12.00
        Don't know / None                            57     28.50
                 Subtotal                             98     49.00
  2. Is not being made or put out with
     authorization or approval                        42     21.00
  3. Don't know/No opinion                            60     30.00
                 Total                               200    100.00




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        31.    In the control cell, in response to Question series 12, no additional respondents

 reported that they believed that whoever makes or puts out the fictitious "Protein Powder"

 product has a business affiliation or business connection with Orgain. See Exhibit A, Table 10,

 page 125.

                                            TABLE 10
                                        CONTROL CELL
  Q12.0 Do you believe that whoever makes or puts out this product...?
            1. HAS a business affiliation or business connection with any other company or
               companies?
            2. does NOT have a business affiliation or business connection with any other
               company or companies?
            3. don’t know or have no opinion?
  Q12.1 With what company or companies? Please be as specific as possible.
  Q12.2 Why do you say that? Again, please be as specific as possible.
  Q12.3 What, if anything, can you tell me about (INSERT RESPONSE TO Q12.1)? Again,
         please be as specific as possible.
                                                           Response Distribution
                                                                           Deduplicated
  Response Categories                           Number Percent         Number       Percent
                                                           (n=200)                  (n=200)
  1. Has a business affiliation or connection
        Orgain                                      --       ---         --          ---
        Protein Powder                              --       ---
        Purely Inspired / Iovate                    6        3.00
        Other company(s)                           15        7.50
        Don't know / None                          45       22.50
                Subtotal                            66       33.00
  2. Does not have a business affiliation or
     connection                                     63       31.50
  3. Don't know/No opinion                          71       35.50
                Total                              200     100.00




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 Summary of Survey Results

        32.     The results of the likelihood of confusion survey evidence, on a net basis after

 adjusting the survey data for mismeasurement error in the test cell survey results based upon the

 control cell, approximately four percent (4.50 – 1.00 = 3.50%) of the relevant universe expressed

 the belief that Defendant's "Organic Protein" product: is made or put out by Orgain; or is being

 made or put out with the authorization or approval of Orgain; or has a business affiliation or

 business connection with Orgain. See Exhibit A, Table 13, page 136.

                                        TABLE 13
                             TEST CELL AND CONTROL CELL
                                    Composite Results
                               Deduplicated Orgain Responses
                                                               Response Distribution
                                                             Test Cell      Control Cell
  Response Categories                                         Percent          Percent
                                                             (n=200)          (n=200)
     1. Orgain                                                 4.50             1.00

                                          CONCLUSION

        33.     It is my considered opinion, based upon my education, background, and

 professional experience, my review of intellectual property legal treatises and case opinions, and

 based upon my review and analysis of the survey results, that the results of the survey clearly

 support a finding of no likelihood of confusion. The survey results evidence that the relevant

 universe of potential purchasers of protein supplements are not likely to be confused or deceived

 by the belief that Defendant's "Organic Protein" product is made or put out by Orgain, or are

 made or put out with the authorization or approval of Orgain, or that whoever puts out

 Applicant’s product has a business affiliation or business connection with Orgain.




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                                          QUALIFICATIONS

         34.     Ford Bubala & Associates has been retained by a variety of firms engaged in the

 consumer product, industrial product, and service sectors of the economy to provide marketing

 consulting and research services.

         35.     During the past forty-three years, Ford Bubala & Associates has been retained in a

 number of litigation-related consultancies involving intellectual property matters, including

 matters before federal and state courts, the Trademark Trial and Appeal Board of the U.S. Patent

 and Trademark Office, and the International Trade Commission.

         36.     I have been with Ford Bubala & Associates for approximately seventeen years.

 During the past nine years, I have participated in the design and execution of a variety of surveys

 relating to intellectual property matters, including trademark, false advertising, and other related

 matters. Additionally, I am familiar with the tests for trustworthiness of properly conducted

 surveys or polls and the accepted principles of survey research, detailed in the Manual for

 Complex Litigation, Fourth.12

         37.     I am a member of the American Marketing Association (AMA), the American

 Association of Public Opinion Research (AAPOR), the Insights Association,13 and the

 International Trademark Association (INTA).

         38.     Attached hereto as Exhibit B is a copy of publications that I have authored or co-

 authored in the last ten years.

         39.     Attached hereto as Exhibit C is a list of all trial and deposition testimony I have

 given in the last four years.



 12
       Supra note 3.
 13
       The Marketing Research Association (MRA) and the Council of American Survey Research Organizations
 (CASRO) merged on January 1, 2017 to form the Insights Association.


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        40.     Attached hereto as Exhibit D is a copy of my professional history, describing my

 qualifications and professional background.

                               CASE MATERIALS CONSIDERED

        41.     I considered the following materials in designing and conducting the survey in

 this matter: First Amended Complaint of Orgain, Inc.; Defendants’ Notice of Motion and

 Motion to Partially Dismiss First Amended Complaint; Orgain's Opposition to Defendant's

 Motion to Dismiss Orgain's First Amended Complaint; Reply Memorandum of Points and

 Authorities in Support of Defendants' Motion to Partially Dismiss First Amended Complaint;

 portions of Plaintiff's and Defendant's websites; and the relevant results of the online omnibus

 study conducted October 16-17, 2019 (See Exhibit A, Appendix G).

                                        COMPENSATION

        42.     Ford Bubala & Associates’ fees for this engagement consist solely of billable time

 and expenses. Standard time is billed at the rate of $600.00 per hour for the services of a

 Principal and $300.00 per hour for the services of a Research Associate. Deposition and trial

 time are billed at the rate of $750.00 per hour plus expenses.

        43.     I declare under penalty of perjury under the laws of the United States of America

 that the foregoing is true and correct. Executed this 17th day of December, 2019, in Huntington

 Beach, California.



                                                         Matthew G. Ezell




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                        Exhibit A
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                         ORGANIC PROTEIN MATTER

                    LIKELIHOOD OF CONFUSION SURVEY




                                                      Ford Bubala & Associates
                                                              December, 2019
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                                   #:9695
                           ORGANIC PROTEIN MATTER
                       LIKELIHOOD OF CONFUSION SURVEY

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                                  TEST CELL

                    EXHIBIT, SCREENER AND QUESTIONNAIRE




                                     - 1 -                           TEST CELL
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                                     - 2 -                           TEST CELL
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                                     - 3 -                           TEST CELL
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                                     - 4 -                           TEST CELL
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                                   #:9701                                FB&A
                                                                                   10/19
                                                                                   #2118
                                      SCREENER - W

 SCREEN #1

       Please take a few moments to complete our questionnaire. We value your opinions.


 SCREEN #2

 1.0   In the next 3 months, are you likely to purchase any of the following:
       PROGRAMMER NOTE: RANDOMIZE LIST.
                                                                                Don't
                                                               Yes        No    know

       a protein supplement                                   ___1.     ___2.   ___3.

       organic milk                                           ___1.     ___2.   ___3.

       whole-grain cereal                                     ___1.     ___2.   ___3.

       PROGRAMMER NOTE: IF YES TO PROTEIN SUPPLEMENT, CONTINUE;
       OTHERWISE, TERMINATE.


 SCREEN #3

 2.0   Select your gender.

       ___1.     Male

       ___2.     Female

 PROGRAMMER NOTE: GENDER QUOTA
      MALES 61%, FEMALES 39%




                                           - 5 -                                TEST CELL
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                                   #:9702
 SCREEN #4

 2.1   For verification purposes, please enter your date of birth.

       __/__/____
       MM DD YYYY

       PROGRAMMER NOTE: TERMINATE IF DOES NOT MATCH PANELIST'S PRE-
       EXISTING DATA. IF DOB IS BLANK, TERMINATE AS REFUSED. CALCULATE
       AGE RANGES TO DETERMINE OPEN QUOTAS FOR AGE PRIOR TO
       CONTINUING. CODE AGE RANGE BASED ON DOB]

       ___1.   Under 18 TERMINATE.

       ___2.   18 to 34

       ___3.   35 to 54

       ___4.   55 or over

 PROGRAMMER NOTE: AGE/GENDER QUOTAS:
                  MALES FEMALES
      18 TO 34     47%     43%
      35 TO 54     44%     42%
      55 OR OVER    9%     15%



 SCREEN #5

 3.0   Please select the area of the country in which you reside:


       ___1.    Northeast (Connecticut, Maine, Massachusetts, New Hampshire, New
                Jersey, New York, Pennsylvania, Rhode Island, Vermont)

       ___2.    Midwest (Illinois, Indiana, Iowa, Kansas, Michigan, Minnesota, Missouri,
                Nebraska, North Dakota, Ohio, South Dakota, Wisconsin)

       ___3.    South (Alabama, Arkansas, DC, Delaware, Florida, Georgia, Kentucky,
                Louisiana, Maryland, Mississippi, North Carolina, Oklahoma, South Carolina,
                Tennessee, Texas, Virginia, West Virginia)

       ___4.    West (Alaska, Arizona, California, Colorado, Hawaii, Idaho, Montana,
                Nevada, New Mexico, Oregon, Utah, Washington, Wyoming)

       ___5.    Other TERMINATE.

       PROGRAMMER NOTE: QUOTAS FOR POPULATION IN THE FOUR CENSUS
       REGIONS:
            NORTHEAST    20%
            MIDWEST      16%
            SOUTH        41%
            WEST         23%




                                            - 6 -                                 TEST CELL
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 SCREEN #6

 4.0   What best describes the device you are using right now to take this survey?

       ___1.    A desktop computer

       ___2.    A laptop/notebook computer

       ___3.    A tablet

       ___4.    A phone

       ___5.    Other

 PROGRAMMER NOTE: OPTION 1, 2, OR 3, CONTINUE.
 ALL OTHERS, TERMINATE.


 SCREEN #7

 5.0   Do you, or does anyone else in your household, work for...
                                                             Yes         No

       an advertising agency or a market research
       company?                                              ___1.      ___2.

       a company that makes, sells, or distributes any
       nutritional supplements?                              ___1.      ___2.

       a company that makes, sells, or distributes any
       dairy products?                                       ___1.      ___2.

       a company that makes, sells, or distributes any
       cereal products?                                      ___1.      ___2.

 PROGRAMMER NOTE:
 IF YES TO AD AGENCY OR NUTRITIONAL SUPPLEMENTS, TERMINATE.
 OTHERWISE, CONTINUE.


 SCREEN #8

 6.0   Do you agree to answer the questions in this survey by yourself without the help or
       assistance of anyone else?

       ___1.   Yes  CONTINUE.

       ___2.   No  TERMINATE.


 SCREEN #9

 6.1   Do you agree to answer the questions in this survey without seeking information
       from any other source (for example, will not conduct an internet search)?

       ___1.   Yes  CONTINUE.

       ___2.   No  TERMINATE.


                                           - 7 -                                 TEST CELL
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                                   #:9704
 SCREEN #10

 7.0   Do you usually wear contact lenses or eyeglasses when you use the device you are
       using right now?

       ___1.   Yes  CONTINUE.

       ___2.   No  GO TO SCREEN #12.


 SCREEN #11

 7.1   Do you agree to wear them during the rest of the questionnaire?

       ___1.   Yes  CONTINUE.

       ___2.   No  TERMINATE.


 SCREEN #12

 8.0   Please select the number (INSERT RANDOM NUMBER ONE THROUGH FOUR)
       from the following list in order to continue with the survey.

       ___1.   One

       ___2.   Two

       ___3.   Three

       ___4.   Four

 PROGRAMMER NOTE: IF NUMBER ENTERED MATCHES NUMBER IN QUESTION,
 CONTINUE. OTHERWISE, TERMINATE.




                                          - 8 -                                TEST CELL
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                                   #:9705
                                    QUESTIONNAIRE - W

 SCREEN #13

        In this survey, you are going to be shown a product and then asked some questions.

        Please understand that we are only interested in your opinions or beliefs; and if you
 don't have an opinion or belief or don't know the answer to a question, that is an acceptable
 answer.


 SCREEN #14

        Please look at this product as you would if you were considering purchasing it.
 Please take as much time as you like looking at the product before continuing with the
 survey.
 PROGRAMMER NOTE: SHOW IMAGES W1, W2, AND W3 (SMALLER SIZE). DISPLAY
 "Click image to enlarge" BELOW EACH IMAGE. WHEN AN IMAGE IS CLICKED,
 SHOW LARGER SIZE.




     Click image to enlarge          Click image to enlarge         Click image to enlarge


 SCREEN #15

        Could you clearly read the words on the package?

        ___1.   Yes  CONTINUE.

        ___2.   No  TERMINATE.




                                            - 9 -                                   TEST CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 37 of 432 Page ID
                                   #:9706
 SCREEN #16

 PROGRAMMER NOTE: SHOW IMAGES W1, W2, AND W3 (SMALLER SIZE). DISPLAY
 "Click image to enlarge" BELOW EACH IMAGE. WHEN AN IMAGE IS CLICKED,
 SHOW LARGER SIZE.

 9.0   Who or what company do you believe makes or puts out this product? Please be as
       specific as possible.

       ___________________________________________________________

           Don't know GO TO  SCREEN #19.


 SCREEN #17

 PROGRAMMER NOTE: SHOW IMAGES W1, W2, AND W3 (SMALLER SIZE). DISPLAY
 "Click image to enlarge" BELOW EACH IMAGE. WHEN AN IMAGE IS CLICKED,
 SHOW LARGER SIZE.

 9.1   Why do you say that? Again, please be as specific as possible.

       ___________________________________________________________

           Don't know


 SCREEN #18

 PROGRAMMER NOTE: SHOW IMAGES W1, W2, AND W3 (SMALLER SIZE). DISPLAY
 "Click image to enlarge" BELOW EACH IMAGE. WHEN AN IMAGE IS CLICKED,
 SHOW LARGER SIZE.

 9.2   What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?    Again,
       please be as specific as possible.

       ___________________________________________________________

           Don't know




                                         - 10 -                              TEST CELL
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                                   #:9707
 SCREEN #19

 PROGRAMMER NOTE: SHOW IMAGES W1, W2, AND W3 (SMALLER SIZE). DISPLAY
 "Click image to enlarge" BELOW EACH IMAGE. WHEN AN IMAGE IS CLICKED,
 SHOW LARGER SIZE.

 10.0   What other brand or brands, if any, do you believe are made or put out by whoever
        makes or puts out this product? Please be as specific as possible.

        ____________________________________________________________

            Don't know GO TO  SCREEN #22.


 SCREEN #20

 PROGRAMMER NOTE: SHOW IMAGES W1, W2, AND W3 (SMALLER SIZE). DISPLAY
 "Click image to enlarge" BELOW EACH IMAGE. WHEN AN IMAGE IS CLICKED,
 SHOW LARGER SIZE.

 10.1   Why do you say that? Again, please be as specific as possible.

        ___________________________________________________________

            Don't know


 SCREEN #21

 PROGRAMMER NOTE: SHOW IMAGES W1, W2, AND W3 (SMALLER SIZE). DISPLAY
 "Click image to enlarge" BELOW EACH IMAGE. WHEN AN IMAGE IS CLICKED,
 SHOW LARGER SIZE.

 10.2   What, if anything, can you tell me about (INSERT RESPONSE TO Q10.0)?       Again,
        please be as specific as possible.

        ___________________________________________________________

            Don't know




                                          - 11 -                                 TEST CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 39 of 432 Page ID
 SCREEN #22                        #:9708

 PROGRAMMER NOTE: SHOW IMAGES W1, W2, AND W3 (SMALLER SIZE). DISPLAY
 "Click image to enlarge" BELOW EACH IMAGE. WHEN AN IMAGE IS CLICKED,
 SHOW LARGER SIZE.

 11.0   Do you believe this product...?
        PROGRAMMER NOTE: ROTATE FIRST TWO ALTERNATIVES. ALSO, ROTATE Q11.0
        AND Q12.0 SERIES.

        ___1.   IS being made or put out with the authorization or approval of any other
                company or companies

        ___2.   is NOT being made or put out with the authorization or approval of any other
                company or companies

        ___3.   don't know or have no opinion
                               PROGRAMMER NOTE: IF 'IS BEING MADE...,' CONTINUE;
                                              OTHERWISE, GO TO  SCREEN #26.

 SCREEN #23

 PROGRAMMER NOTE: SHOW IMAGES W1, W2, AND W3 (SMALLER SIZE). DISPLAY
 "Click image to enlarge" BELOW EACH IMAGE. WHEN AN IMAGE IS CLICKED,
 SHOW LARGER SIZE.

 11.1   What company or companies?     Please be as specific as possible.

        ___________________________________________________________

            Don't know GO TO SCREEN #26.


 SCREEN #24

 PROGRAMMER NOTE: SHOW IMAGES W1, W2, AND W3 (SMALLER SIZE). DISPLAY
 "Click image to enlarge" BELOW EACH IMAGE. WHEN AN IMAGE IS CLICKED,
 SHOW LARGER SIZE.

 11.2   Why do you say that? Again, please be as specific as possible.

        ___________________________________________________________

            Don't know


 SCREEN #25

 PROGRAMMER NOTE: SHOW IMAGES W1, W2, AND W3 (SMALLER SIZE). DISPLAY
 "Click image to enlarge" BELOW EACH IMAGE. WHEN AN IMAGE IS CLICKED,
 SHOW LARGER SIZE.

 11.3   What, if anything, can you tell me about (INSERT RESPONSE TO Q11.1)?         Again,
        please be as specific as possible.

        ___________________________________________________________

            Don't know



                                           - 12 -                                 TEST CELL
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 SCREEN #26                        #:9709

 PROGRAMMER NOTE: SHOW IMAGES W1, W2, AND W3 (SMALLER SIZE). DISPLAY
 "Click image to enlarge" BELOW EACH IMAGE. WHEN AN IMAGE IS CLICKED,
 SHOW LARGER SIZE.

 12.0   Do you believe that whoever makes or puts out this product...?
        PROGRAMMER NOTE: ROTATE FIRST TWO ALTERNATIVES. ALSO, ROTATE Q11.0
        AND Q12.0 SERIES.

        ___1.    HAS a business affiliation or business connection with any other company or
                 companies

        ___2.    does NOT have a business affiliation or business connection with any other
                 company or companies

        ___3.    don't know or have no opinion
                PROGRAMMER NOTE: IF 'HAS A BUSINESS AFFILIATION...,' CONTINUE;
                                               OTHERWISE, GO TO  SCREEN #30.

 SCREEN #27

 PROGRAMMER NOTE: SHOW IMAGES W1, W2, AND W3 (SMALLER SIZE). DISPLAY
 "Click image to enlarge" BELOW EACH IMAGE. WHEN AN IMAGE IS CLICKED,
 SHOW LARGER SIZE.

 12.1   With what company or companies? Please be as specific as possible.

        ___________________________________________________________

            Don't know GO TO SCREEN #30.

 SCREEN #28

 PROGRAMMER NOTE: SHOW IMAGES W1, W2, AND W3 (SMALLER SIZE). DISPLAY
 "Click image to enlarge" BELOW EACH IMAGE. WHEN AN IMAGE IS CLICKED,
 SHOW LARGER SIZE.

 12.2   Why do you say that? Again, please be as specific as possible.

        ___________________________________________________________

            Don't know

 SCREEN #29

 PROGRAMMER NOTE: SHOW IMAGES W1, W2, AND W3 (SMALLER SIZE). DISPLAY
 "Click image to enlarge" BELOW EACH IMAGE. WHEN AN IMAGE IS CLICKED,
 SHOW LARGER SIZE.

 12.3   What, if anything, can you tell me about (INSERT RESPONSE TO Q12.1)?          Again,
        please be as specific as possible.

        ___________________________________________________________

            Don't know

 SCREEN #30

 13.0   Thank you for your time and participation.

                                            - 13 -                                 TEST CELL
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                                   #:9710



                                         TABLE 1

                                       TEST CELL




 Q9.0 Who or what company do you believe makes or puts out this product?
      Please be as specific as possible.

 Q9.1 Why do you say that?       Again, please be as specific as possible.

 Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
      Again, please be as specific as possible.


                                                         Response Distribution
                                                       Number            Percent
 Response Categories                                                    (n=200)

   1. Orgain                                                5                  2.50

   2. Organic Protein (indeterminable)                      5                  2.50

   3. Purely Inspired / Iovate                            118                 59.00

   4. Other company(s)                                     25                 12.50

   5. Don't know /None                                     47                 23.50

               Total                                      200                100.00




                                          - 14 -                                TEST CELL
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                                   #:9711



                             RESPONSE CATEGORIES
                            Questions 9.0 through 9.2

                                     TEST CELL




                         1. Orgain

                         2. Organic Protein (indeterminable)

                         3. Purely Inspired / Iovate

                         4. Other company(s)

                         5. Don't know / None




                                      - 15 -                         TEST CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 43 of 432 Page ID
                                   #:9712



                              SURVEY RESPONSES
                                  TEST CELL


 Q9.0 Who or what company do you believe makes or puts out this product?
      Please be as specific as possible.
 Q9.1 Why do you say that? Again, please be as specific as possible.
 Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
      Again, please be as specific as possible.


 RESPONSE CATEGORY 1: Orgain

 RESPONDENT
   NUMBER   RESPONSE

      1007    Q9.0     Orgain.
              Q9.1     The label looks like it came from an Orgain product.
              Q9.2     They offer plant-based products and use organic ingredients
                       when possible.

      1026    Q9.0     USDA organic. Orgain Organic Creamy Chocolate Fudge
                       Protein Powder is a naturally smooth and delicious nourishment
                       drink with 21 grams of organic protein and 5 grams of organic
                       fiber per serving.
              Q9.1     My everyday go to protein powder - tastes great.
              Q9.2     Plant-based Organic Protein and priced right.

      1028    Q9.0     Purely Inspired by Orgain.
              Q9.1     Because this reminds of what Orgain has for there product line.
              Q9.2     It is a great alternative to a busy morning when you don't have
                       time to eat healthy.

      1032    Q9.0     Orgain.
              Q9.1     The packing.
              Q9.2     Plant-based protein supplements.

      1063    Q9.0     Orgain.
              Q9.1     Same lettering that's at Costco.
              Q9.2     Generic Costco brand.




                                     - 16 -                              TEST CELL
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 Q9.0 Who or what company do you believe
                                   #:9713makes or puts out this product?
      Please be as specific as possible.
 Q9.1 Why do you say that? Again, please be as specific as possible.
 Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
      Again, please be as specific as possible.


 RESPONSE CATEGORY 2: Organic Protein (indeterminable)

 RESPONDENT
   NUMBER   RESPONSE

      1036    Q9.0     I think Organic Protein.
              Q9.1     Don't know.
              Q9.2     Don't know.

      1081    Q9.0     I believe the name of the company is organic protein.
              Q9.1     I believe its a new company.
              Q9.2     I believe is a new company.

      1094    Q9.0     Organic protein.
              Q9.1     Is the quality product.
              Q9.2     Is very good for my family and very safe.

      1153    Q9.0     Organic Protein.
              Q9.1     Label description.
              Q9.2     20g plant protein 7g fiber less than 1g sugar non GMO.

      1195    Q9.0     Organic proteins.
              Q9.1     This product is unique and different.
              Q9.2     Is excellent product.




                                      - 17 -                             TEST CELL
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 Q9.0 Who or what company do you believe
                                   #:9714makes or puts out this product?
      Please be as specific as possible.
 Q9.1 Why do you say that? Again, please be as specific as possible.
 Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
      Again, please be as specific as possible.


 RESPONSE CATEGORY 3: Purely Inspired / Iovate

 RESPONDENT
   NUMBER   RESPONSE

      1002    Q9.0     Purely Inspired.
              Q9.1     It is on the label.
              Q9.2     They produce organic products.

      1003    Q9.0     Purely Inspired.
              Q9.1     Because it says that at the top of the container.
              Q9.2     I have never heard of it before today.

      1004    Q9.0     Purely Inspired.
              Q9.1     It's on the label.
              Q9.2     Don't know.

      1005    Q9.0     Purely Inspired.
              Q9.1     That's what's printed on the label.
              Q9.2     Not much. They have a website and their products are made in
                       the USA.

      1006    Q9.0     Purely Inspired.
              Q9.1     It says right on the package.
              Q9.2     Plant-based protein.

      1009    Q9.0     Purely Inspired.
              Q9.1     Purely Inspired.
              Q9.2     It is organic protein nutrition.

      1010    Q9.0     Purely Inspired.
              Q9.1     It looks like it is a name and a logo.
              Q9.2     They make plant products.

      1011    Q9.0     Purely Inspired.
              Q9.1     Only name I see on the packaging.
              Q9.2     Don't know.

      1013    Q9.0     Purely Inspired.
              Q9.1     It appears on the top/front of the package.
              Q9.2     I don't know anything about this company. Never heard of it
                       before.




                                       - 18 -                              TEST CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 46 of 432 Page ID
 Q9.0 Who or what company do you believe
                                   #:9715makes or puts out this product?
      Please be as specific as possible.
 Q9.1 Why do you say that? Again, please be as specific as possible.
 Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
      Again, please be as specific as possible.


 RESPONSE CATEGORY 3: Purely Inspired / Iovate continued

 RESPONDENT
   NUMBER   RESPONSE

      1014    Q9.0     Purely.
              Q9.1     Says it on the label.
              Q9.2     Don't know.

      1017    Q9.0     Purely Inspired.
              Q9.1     That is the brand name that I see. There is a trademark
                       company on the back of Sabinsa Corporation.
              Q9.2     Plant-based protein nutrition supplement.

      1018    Q9.0     Purely Inspired looks like brand name but I don't know for sure.
                       I've never heard of that so I could be wrong.
              Q9.1     It's above the name of the product and listed again on the back.
                       It seems to have a logo included with the name. Part of it is in
                       bold font, none of it is in caps, which is odd.
              Q9.2     It's centered on label, above name of product, which is a good
                       place for brand to be.

      1019    Q9.0     Purely Inspired.
              Q9.1     It's on the package, looks like a logo.
              Q9.2     It's plant based/nature based.

      1020    Q9.0     Purely Inspired.
              Q9.1     Purely Inspired.
              Q9.2     Organic protein.

      1022    Q9.0     Purely Inspired.
              Q9.1     Purely Inspired.
              Q9.2     They are dedicated to providing organic experiences with their
                       products.

      1023    Q9.0     Purely.
              Q9.1     Based on the little leaf logo on the front and back of the
                       packaging.
              Q9.2     Organic based products.

      1025    Q9.0     Purely Inspired.
              Q9.1     It's better option.
              Q9.2     It's better than others.




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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 47 of 432 Page ID
 Q9.0 Who or what company do you believe
                                   #:9716makes or puts out this product?
      Please be as specific as possible.
 Q9.1 Why do you say that? Again, please be as specific as possible.
 Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
      Again, please be as specific as possible.


 RESPONSE CATEGORY 3: Purely Inspired / Iovate continued

 RESPONDENT
   NUMBER   RESPONSE

      1027    Q9.0     Purely Inspired.
              Q9.1     The name at the top and then again above the shake.
              Q9.2     It is organic, lots of protein, sugar, and fiber, lower in fat and
                       calories. Includes plants and veggies. Non GMO and natural.
                       Made in USA.

      1031    Q9.0     Purely.
              Q9.1     Is what I believe.
              Q9.2     It is organic and contains a lot of proteins.

      1034    Q9.0     Purely Inspired.
              Q9.1     It says so.
              Q9.2     Don't know.

      1035    Q9.0     I think that the company is called "Purely Inspired."
              Q9.1     The brand name of the company is on the container.
              Q9.2     I cannot give any further information.

      1040    Q9.0     Purely Inspired.
              Q9.1     It's the name on the front and back of the packaging.
              Q9.2     Look to be green, plant based.

      1041    Q9.0     Purely Inspired.
              Q9.1     Purely Inspired.
              Q9.2     Organic protein.

      1045    Q9.0     Purely Inspired.
              Q9.1     It's labeled on the front and back.
              Q9.2     Plant-based protein, non gmo, and no artificial.

      1046    Q9.0     Purely Inspired.
              Q9.1     Don't know.
              Q9.2     Purely Inspired is a plant-based nutritional supplement that
                       contains 20 grams of protein.

      1047    Q9.0     Purely Inspired.
              Q9.1     That is the name on the package, Purely Inspired.
              Q9.2     Organic protein plant-base nutrition. Fastest growing
                       supplement brand.

      1050    Q9.0     Purely Inspired.
              Q9.1     The logo.
              Q9.2     I've seen it at Walmart.

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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 48 of 432 Page ID
 Q9.0 Who or what company do you believe
                                   #:9717makes or puts out this product?
      Please be as specific as possible.
 Q9.1 Why do you say that? Again, please be as specific as possible.
 Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
      Again, please be as specific as possible.


 RESPONSE CATEGORY 3: Purely Inspired / Iovate continued

 RESPONDENT
   NUMBER   RESPONSE

      1052    Q9.0     Purely.
              Q9.1     Because the word Purely is darkened.
              Q9.2     That its a protein powder that is non GMO and has no artificial
                       colors or sugar.

      1055    Q9.0     Purely Inspired.
              Q9.1     Purely Inspired.
              Q9.2     French vanilla organic plant nutrition.

      1056    Q9.0     Purely Inspired.
              Q9.1     It's on the label.
              Q9.2     Not much. I did buy this product several times in the past but
                       wanted to find a protein product without glyphosate. Come to
                       find out this product has less glyphosate than, than others. I
                       will start buying it again soon.

      1060    Q9.0     Purely Inspired.
              Q9.1     Because it's shown on the can above the name of product.
              Q9.2     Don't know.

      1062    Q9.0     Purely Inspired.
              Q9.1     It's in the name.
              Q9.2     I use this product and love it.

      1064    Q9.0     Purely Inspired.
              Q9.1     It says it on the container.
              Q9.2     Nothing, I've never heard of it before.

      1065    Q9.0     Purely Inspired.
              Q9.1     It's on the label.
              Q9.2     It's organic protein.

      1068    Q9.0     Purely Inspired.
              Q9.1     Because it's stated on the label. And on the back label there's
                       like a for more info please contact us at Purely Inspired. That's
                       the company name.
              Q9.2     Their products are natural plant based, non-GMO, gluten free,
                       organic and most importantly made in the USA.

      1069    Q9.0     Purely Inspired.
              Q9.1     It shows.
              Q9.2     The benefits.


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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 49 of 432 Page ID
 Q9.0 Who or what company do you believe
                                   #:9718makes or puts out this product?
      Please be as specific as possible.
 Q9.1 Why do you say that? Again, please be as specific as possible.
 Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
      Again, please be as specific as possible.


 RESPONSE CATEGORY 3: Purely Inspired / Iovate continued

 RESPONDENT
   NUMBER   RESPONSE

      1071    Q9.0     Purely Inspired.
              Q9.1     The name precedes the product type.
              Q9.2     Don't know.

      1074    Q9.0     Purely Inspired.
              Q9.1     Because it's written on the product.
              Q9.2     I don't know much about them but it looks like they make
                       organic foods.

      1078    Q9.0     Purely Inspired are made this. This is organic protein for plant-
                       based nutrition.
              Q9.1     Clearly I saw the name and the classification of this products and
                       details are show in the package picture.
              Q9.2     This is very healthy organic protein. This is plant-based
                       nutrition for.

      1079    Q9.0     Purely Inspired.
              Q9.1     It says it right before the organic protein part and looks like a
                       logo.
              Q9.2     It's organic and natural.

      1080    Q9.0     Purely Inspired.
              Q9.1     Don't know.
              Q9.2     For nutrition.

      1082    Q9.0     Purely Inspired.
              Q9.1     Plant based.
              Q9.2     Organic.

      1083    Q9.0     Purely Inspired.
              Q9.1     Large logo.
              Q9.2     It uses quality minimally processed organic ingredients.

      1084    Q9.0     Purely Inspired.
              Q9.1     That's what the package says.
              Q9.2     The product is non gmo and vegan friendly.

      1085    Q9.0     Purely Inspired.
              Q9.1     It clear brand name.
              Q9.2     Plant-based nutrition.




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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 50 of 432 Page ID
 Q9.0 Who or what company do you believe
                                   #:9719makes or puts out this product?
      Please be as specific as possible.
 Q9.1 Why do you say that? Again, please be as specific as possible.
 Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
      Again, please be as specific as possible.


 RESPONSE CATEGORY 3: Purely Inspired / Iovate continued

 RESPONDENT
   NUMBER   RESPONSE

      1086    Q9.0     Purely Inspired.
              Q9.1     Purely Inspired makes organic protein items.
              Q9.2     Purely Inspired is a good company who makes organic protein
                       items with no artificial.

      1087    Q9.0     Purely Inspired.
              Q9.1     On the package.
              Q9.2     Never heard of them.

      1090    Q9.0     Purely Inspired.
              Q9.1     It says is right there on the label.
              Q9.2     It shows everything on the label.

      1091    Q9.0     Purely Inspired.
              Q9.1     It's on the packaging.
              Q9.2     It's a plant-based protein.

      1092    Q9.0     Purely Inspired.
              Q9.1     Because the phrase "Purely Inspired" appears before the item
                       description and also on the back of the package.
              Q9.2     USDA organic certified; non-GMO; no artificial ingredients.

      1093    Q9.0     Purely Inspired.
              Q9.1     Because that is the main name at the top.
              Q9.2     It is very healthy and organic and only uses plants.

      1096    Q9.0     Purely Inspired.
              Q9.1     That looks like the product brand on the label.
              Q9.2     Organic.

      1097    Q9.0     Purely Inspired.
              Q9.1     Because this written on the box.
              Q9.2     Very Nice.

      1098    Q9.0     Purely Inspired.
              Q9.1     Says it on it.
              Q9.2     Makes organic products.

      1100    Q9.0     Purely Inspired.
              Q9.1     It is on the label.
              Q9.2     They make products that are organic.




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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 51 of 432 Page ID
 Q9.0 Who or what company do you believe
                                   #:9720makes or puts out this product?
      Please be as specific as possible.
 Q9.1 Why do you say that? Again, please be as specific as possible.
 Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
      Again, please be as specific as possible.


 RESPONSE CATEGORY 3: Purely Inspired / Iovate continued

 RESPONDENT
   NUMBER   RESPONSE

      1101    Q9.0     Purely Inspired.
              Q9.1     It's the first name I see on the label.
              Q9.2     It's an organic drink mix.

      1103    Q9.0     Purely Inspired.
              Q9.1     The brand is on the jar.
              Q9.2     It's a plant-based organ protein nutrition drink.

      1104    Q9.0     Purely Inspired.
              Q9.1     Because it's the owner company.
              Q9.2     It's sophisticated and universal.

      1106    Q9.0     Purely Inspired.
              Q9.1     It appears to be the brand on the label.
              Q9.2     They make organic, plant-based nutritional foodstuffs.

      1107    Q9.0     Purely Inspired.
              Q9.1     The brand logo displayed with the image of a leaf.
              Q9.2     They seem to be a company that puts out organic products that
                       focus on getting the most nutrition with fewer additives.

      1108    Q9.0     Purely Inspired.
              Q9.1     It's listed multiple times.
              Q9.2     It's organic.

      1109    Q9.0     Purely Inspired I figure since its about the name of the product
                       that it would be the company name.
              Q9.1     I didn't know this was gonna be the question kinda answered it
                       already (lol) but I feel as through the company name is above
                       the name of the product.
              Q9.2     I heard very little of this product but Purely Inspired (could be
                       thinking about something else) is somewhat similar to the
                       chocolate that said Purely on it that I've seen a long time ago.

      1110    Q9.0     Purely Inspired.
              Q9.1     The logo is in a few places and it has the social media handles
                       that say Purely Inspired nutrition.
              Q9.2     Purely Inspired sells nutritional supplements.




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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 52 of 432 Page ID
 Q9.0 Who or what company do you believe
                                   #:9721makes or puts out this product?
      Please be as specific as possible.
 Q9.1 Why do you say that? Again, please be as specific as possible.
 Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
      Again, please be as specific as possible.


 RESPONSE CATEGORY 3: Purely Inspired / Iovate continued

 RESPONDENT
   NUMBER   RESPONSE

      1111    Q9.0     Purely Inspired.
              Q9.1     The title above the Organic Protein Label appears to be a
                       business name.
              Q9.2     I do not know anything about this company other than the fact
                       that it appears that they make Organic Protein based on this
                       photo.

      1112    Q9.0     Purely.
              Q9.1     The brand name is right there.
              Q9.2     It is nutritious.

      1113    Q9.0     Purely Inspired.
              Q9.1     It is on the packaging.
              Q9.2     It seems to be an organic company, specializing in plant-based
                       nutritional products.

      1114    Q9.0     Purely Inspired.
              Q9.1     It's at the very top of the label, with the trade mark symbol next
                       to it.
              Q9.2     It is a plant-based protein powder.

      1116    Q9.0     Purely Inspired.
              Q9.1     Brand name on front of bottle.
              Q9.2     Don't know.

      1117    Q9.0     Purely Inspired.
              Q9.1     Don't know.
              Q9.2     Organic.

      1118    Q9.0     Purely Inspired.
              Q9.1     It is above the title of the product and on the side of the
                       package.
              Q9.2     Don't know.

      1119    Q9.0     Purely Inspired.
              Q9.1     Because that's the name on the bottle.
              Q9.2     Non GMO.

      1120    Q9.0     Purely Inspired.
              Q9.1     It says Purely Inspired on the package.
              Q9.2     Don't know.




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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 53 of 432 Page ID
 Q9.0 Who or what company do you believe
                                   #:9722makes or puts out this product?
      Please be as specific as possible.
 Q9.1 Why do you say that? Again, please be as specific as possible.
 Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
      Again, please be as specific as possible.


 RESPONSE CATEGORY 3: Purely Inspired / Iovate continued

 RESPONDENT
   NUMBER   RESPONSE

      1121    Q9.0     Purely Inspired.
              Q9.1     That's the label brand name on the jar.
              Q9.2     It's a organic supplement milk shake.

      1123    Q9.0     Purely Inspired.
              Q9.1     It is on the top of the container.
              Q9.2     It seems like it is a plant-based organic company that made
                       protein powders.

      1124    Q9.0     Purely Inspired.
              Q9.1     It is placed clearly on the front of the container.
              Q9.2     Purely Inspired is the brand of organic protein that this product
                       is.

      1125    Q9.0     Purely Inspired.
              Q9.1     Because it is the name at the top of the product.
              Q9.2     It makes products with organic natural and are plant based with
                       no artificials.

      1126    Q9.0     Purely Inspired.
              Q9.1     Says that on the main label.
              Q9.2     Organic plant-based protein with no artificial ingredients.

      1127    Q9.0     Purely Inspired.
              Q9.1     Because of the name listed on top.
              Q9.2     That they sell healthy and organic food.

      1129    Q9.0     Purely Inspired.
              Q9.1     That is the brand above the product name on the front. also
                       shows up on the back as well.
              Q9.2     They make plant-based protein that is organic, with no artificial
                       ingredients.

      1130    Q9.0     Purely Inspired.
              Q9.1     The logo is right above the words "Organic Protein."
              Q9.2     I have never heard of them before.

      1131    Q9.0     Purely Inspired.
              Q9.1     Because it says Purely Inspired.
              Q9.2     Honestly never heard of it.




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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 54 of 432 Page ID
 Q9.0 Who or what company do you believe
                                   #:9723makes or puts out this product?
      Please be as specific as possible.
 Q9.1 Why do you say that? Again, please be as specific as possible.
 Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
      Again, please be as specific as possible.


 RESPONSE CATEGORY 3: Purely Inspired / Iovate continued

 RESPONDENT
   NUMBER   RESPONSE

      1132    Q9.0     Purely Inspired.
              Q9.1     It is centrally located on the label.
              Q9.2     Don't know.

      1134    Q9.0     Purely Inspired.
              Q9.1     The name is on the package.
              Q9.2     It's America's fastest growing supplement brand.

      1136    Q9.0     Purely Inspired.
              Q9.1     Purely Inspired.
              Q9.2     It is organic.

      1137    Q9.0     Purely Inspired.
              Q9.1     It is on the package.
              Q9.2     It's organic.

      1138    Q9.0     Purely Inspired.
              Q9.1     It's on the top front of the carton but.
              Q9.2     It's plant-based organic protein.

      1140    Q9.0     Purely Inspired.
              Q9.1     Because it is above the organic protein title and there is a logo
                       near the name of the company.
              Q9.2     Don't know.

      1142    Q9.0     Purely Inspired.
              Q9.1     It says that on the container.
              Q9.2     Don't know.

      1143    Q9.0     Purely Inspired.
              Q9.1     That is the words above the words "Organic Protein".
              Q9.2     Don't know.

      1145    Q9.0     Purely Inspired.
              Q9.1     Because the company logo is visible above the product and there
                       is a registered sign, (R) after the logo.
              Q9.2     They are claiming to be America's fastest growing supplement
                       brand.

      1150    Q9.0     Purely Inspired.
              Q9.1     It said so on the package.
              Q9.2     Don't know.


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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 55 of 432 Page ID
 Q9.0 Who or what company do you believe
                                   #:9724makes or puts out this product?
      Please be as specific as possible.
 Q9.1 Why do you say that? Again, please be as specific as possible.
 Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
      Again, please be as specific as possible.


 RESPONSE CATEGORY 3: Purely Inspired / Iovate continued

 RESPONDENT
   NUMBER   RESPONSE

      1152    Q9.0     Purely Inspired.
              Q9.1     It appears the brand name is displayed clearly.
              Q9.2     Offer a pure product with no artificial ingredients etc.

      1155    Q9.0     Purely Inspired.
              Q9.1     On label and website.
              Q9.2     Nothing at all.

      1157    Q9.0     Purely Inspired.
              Q9.1     Because it's listed on the can.
              Q9.2     Don't know.

      1158    Q9.0     Purely Inspired.
              Q9.1     Label reflects name as well as their website listed.
              Q9.2     Has a good amount of protein, is made in the USA and less sugar
                       than a lot of protein items.

      1159    Q9.0     Purely Inspired.
              Q9.1     States on package.
              Q9.2     Organic plant-based protein.

      1164    Q9.0     Purely Inspired.
              Q9.1     The brand name is on the container at the top with a leaf
                       separating the words.
              Q9.2     They are a plant-based company.

      1165    Q9.0     Purely Inspired.
              Q9.1     The name is on the canister.
              Q9.2     It is a plant-based protein.

      1166    Q9.0     Purely Inspired.
              Q9.1     Because that's what it says on the label.
              Q9.2     It's a plant-based organic protein supplement powder. This one
                       is French Vanilla flavored.

      1168    Q9.0     Purely Inspired.
              Q9.1     Because its showing in the picture.
              Q9.2     Purely Inspired organic protein plant-based decadent chocolate.

      1169    Q9.0     Purely Inspired.
              Q9.1     That is on the container.
              Q9.2     Don't know.


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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 56 of 432 Page ID
 Q9.0 Who or what company do you believe
                                   #:9725makes or puts out this product?
      Please be as specific as possible.
 Q9.1 Why do you say that? Again, please be as specific as possible.
 Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
      Again, please be as specific as possible.


 RESPONSE CATEGORY 3: Purely Inspired / Iovate continued

 RESPONDENT
   NUMBER   RESPONSE

      1174    Q9.0     Purely Inspired.
              Q9.1     Says it above what product is.
              Q9.2     Plant-based nutrition.

      1176    Q9.0     Purely Inspired.
              Q9.1     Why l have seen lamarca.
              Q9.2     It is an excellent brand.

      1177    Q9.0     Purely Inspired.
              Q9.1     It has the impression of being the brand name of the product
                       based on the descriptive nature of the title and the placement of
                       the title/name.
              Q9.2     It appears all natural and organic based on the claims on the
                       container's label, and it would seem to be a healthier alternative
                       to milk-based protein powder because this product is plant
                       based.

      1179    Q9.0     Purely Inspired.
              Q9.1     It's on the box.
              Q9.2     It makes the product.

      1180    Q9.0     Purely Inspired.
              Q9.1     Because its on the container.
              Q9.2     It's an organic plant-based protein.

      1183    Q9.0     Purely Inspired.
              Q9.1     Because that is the name of the company that is printed on the
                       label.
              Q9.2     They make a plant-based protein supplement.

      1185    Q9.0     Purely Inspired.
              Q9.1     The name on the container.
              Q9.2     It's the name on the container.

      1186    Q9.0     Purely Inspired.
              Q9.1     It is in the area where the brand would be, has a leaf logo, and a
                       TM.
              Q9.2     It is plant based, organic, vegetarian, no artificial colors, no
                       cholesterol.

      1187    Q9.0     Purely Inspired.
              Q9.1     That's what it says.
              Q9.2     Organic protein.

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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 57 of 432 Page ID
 Q9.0 Who or what company do you believe
                                   #:9726makes or puts out this product?
      Please be as specific as possible.
 Q9.1 Why do you say that? Again, please be as specific as possible.
 Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
      Again, please be as specific as possible.


 RESPONSE CATEGORY 3: Purely Inspired / Iovate continued

 RESPONDENT
   NUMBER   RESPONSE

      1188    Q9.0     Purely Inspired organic protein shake powder is very good.
                       There are all ingredients are natural & no any artificial.
              Q9.1     I thinking it's positive to me that's why.
              Q9.2     There are all ingredients are natural & it makes us to healthy
                       because there are no any artificial thing.

      1189    Q9.0     Purely Inspired.
              Q9.1     It is on the label.
              Q9.2     It is plant based.

      1190    Q9.0     Purely Inspired.
              Q9.1     I saw it on the third packaging and I think that is the company
                       name.
              Q9.2     They manufacture a plant-based protein powder.

      1191    Q9.0     Purely Inspired.
              Q9.1     That is what the label says.
              Q9.2     Organic plant-based protein.

      1192    Q9.0     Purely Inspired.
              Q9.1     I think in basis of the image above.
              Q9.2     A plant-based nutrition maker company.

      1193    Q9.0     Purely Inspired.
              Q9.1     It says it.
              Q9.2     Don't know.

      1197    Q9.0     Purely Inspired.
              Q9.1     That is the name of their website.
              Q9.2     They make plant-based organic nutrition.

      1199    Q9.0     Purely Inspired.
              Q9.1     The name of the company produce the product.
              Q9.2     Company provide a great product.




                                       - 30 -                             TEST CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 58 of 432 Page ID
 Q9.0 Who or what company do you believe
                                   #:9727makes or puts out this product?
      Please be as specific as possible.
 Q9.1 Why do you say that? Again, please be as specific as possible.
 Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
      Again, please be as specific as possible.


 RESPONSE CATEGORY 4: Other company(s)

 RESPONDENT
   NUMBER   RESPONSE

      1012    Q9.0     Herbalife.
              Q9.1     High quality.
              Q9.2     Produce high quality products.

      1038    Q9.0     GNC outlet from a mall.
              Q9.1     It looks like something that GNC would put out.
              Q9.2     It is a general health and nutrition store that offers supplements
                       and vitamins for consumers.

      1048    Q9.0     GNC.
              Q9.1     I've seen it there.
              Q9.2     Great product, too expensive.

      1049    Q9.0     USA organics.
              Q9.1     Because of the packaging.
              Q9.2     Made of organic products.

      1053    Q9.0     Nature Valley.
              Q9.1     It just looks like their type of product.
              Q9.2     It is a premium brand with great health benefits and taste great.

      1054    Q9.0     LactoSpore USA.
              Q9.1     USA.
              Q9.2     Don't know.

      1057    Q9.0     Organic.
              Q9.1     It is the biggest text on the can.
              Q9.2     They make organic products.

      1070    Q9.0     A nutrition company.
              Q9.1     Because of the product itself.
              Q9.2     It focuses on getting people healthy and ensuring they have a
                       nutritious diet that benefits their health.

      1073    Q9.0     Vega.
              Q9.1     Looks pretty similar to what they already have to offer.
              Q9.2     Super befitting with what they have to offer.

      1075    Q9.0     365 organic.
              Q9.1     The green color.
              Q9.2     Don't know.




                                      - 31 -                              TEST CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 59 of 432 Page ID
 Q9.0 Who or what company do you believe
                                   #:9728makes or puts out this product?
      Please be as specific as possible.
 Q9.1 Why do you say that? Again, please be as specific as possible.
 Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
      Again, please be as specific as possible.


 RESPONSE CATEGORY 4: Other company(s) continued

 RESPONDENT
   NUMBER   RESPONSE

      1077    Q9.0     Unilever.
              Q9.1     Looks like a brand of unilever.
              Q9.2     Unilever has a lot of products and I like them.

      1095    Q9.0     Nature Made.
              Q9.1     The leaf in the name.
              Q9.2     Nature Made is a supplement brand.

      1099    Q9.0     Purely organic.
              Q9.1     Don't know.
              Q9.2     Don't know.

      1115    Q9.0     SlimFast.
              Q9.1     SlimFast is a brand I am familiar with that could have a protein
                       based product.
              Q9.2     SlimFast sells those tasty shakes which comes in many flavors.
                       It helps you loose weight and is healthy.

      1128    Q9.0     Protein.
              Q9.1     It was based on the plant.
              Q9.2     Don't know.

      1141    Q9.0     LactoSpore.
              Q9.1     That is what is in corner.
              Q9.2     Don't know.

      1144    Q9.0     Truly, because they make organic products.
              Q9.1     Truly makes organic products so by looking at the cover I can
                       tell they made the product.
              Q9.2     I can tell because the colors they use, like green, the letters, and
                       everything makes it look like they did it. It looks realistic from
                       my eyes that they made it.

      1146    Q9.0     LactoSpore.
              Q9.1     It has the brand on the back.
              Q9.2     Don't know.

      1154    Q9.0     Halo.
              Q9.1     Looks similar in packaging and Halo has protein enriched
                       products.
              Q9.2     Protein enriched products.




                                      - 32 -                               TEST CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 60 of 432 Page ID
 Q9.0 Who or what company do you believe
                                   #:9729makes or puts out this product?
      Please be as specific as possible.
 Q9.1 Why do you say that? Again, please be as specific as possible.
 Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
      Again, please be as specific as possible.


 RESPONSE CATEGORY 4: Other company(s) continued

 RESPONDENT
   NUMBER   RESPONSE

      1156    Q9.0     Sataina corp.
              Q9.1     It's on the label.
              Q9.2     Don't know.

      1161    Q9.0     Benefiber.
              Q9.1     I'm basing it on the ingredients and the package coloring.
              Q9.2     I have used it for years as a fiber supplement to help with
                       diverticulitis. And you mix in a similar way.

      1167    Q9.0     Garden of Life made Organic Protein I believe.
              Q9.1     Because I have seen a ad before about it.
              Q9.2     It have much plant-based Nutrition and Organic, too.

      1171    Q9.0     USDA Organic.
              Q9.1     USDA organic.
              Q9.2     Purely Inspired.

      1175    Q9.0     USDA organic.
              Q9.1     Non GMO and no artificial.
              Q9.2     Which define standards that integrate cultural biological and
                       mechanical practices.

      1184    Q9.0     USDA.
              Q9.1     It has the logo on the container.
              Q9.2     Don't know.




                                       - 33 -                             TEST CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 61 of 432 Page ID
 Q9.0 Who or what company do you believe
                                   #:9730makes or puts out this product?
      Please be as specific as possible.
 Q9.1 Why do you say that? Again, please be as specific as possible.
 Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
      Again, please be as specific as possible.


 RESPONSE CATEGORY 5: Don't know / None

   RESPONDENT          RESPONDENT
     NUMBER              NUMBER

       1001                1181
       1008                1182
       1015                1194
       1016                1196
       1021                1198
       1024                1200
       1029
       1030
       1033
       1037
       1039
       1042
       1043
       1044
       1051
       1058
       1059
       1061
       1066
       1067
       1072
       1076
       1088
       1089
       1102
       1105
       1122
       1133
       1135
       1139
       1147
       1148
       1149
       1151
       1160
       1162
       1163
       1170
       1172
       1173
       1178
                                    - 34 -                           TEST CELL
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                                   #:9731



                                         TABLE 2

                                        TEST CELL




 Q10.0 What other brand or brands, if any, do you believe are made or put out by
       whoever makes or puts out this product? Please be as specific as possible.

 Q10.1 Why do you say that?       Again, please be as specific as possible.

 Q10.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q10.0)?
       Again, please be as specific as possible.

                                                     Response Distribution
                                                                   Deduplicated
 Response Categories                           Number Percent Number Percent
                                                      (n=200)              (n=200)

    1. Orgain                                        5      2.50       4       2.00

    2. Organic Protein (indeterminable)              4      2.00

    3. Purely Inspired / Iovate                      9      4.50

    4. Other company(s)                             33     16.50

    5. Don't know / None                           149      74.50

             Total                                 200    100.00




                                          - 35 -                              TEST CELL
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                                   #:9732



                           RESPONSE CATEGORIES
                          Questions 10.0 through 10.2

                                     TEST CELL




                         1. Orgain

                         2. Organic Protein (indeterminable)

                         3. Purely Inspired / Iovate

                         4. Other company(s)

                         5. Don't know / None




                                      - 36 -                         TEST CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 64 of 432 Page ID
                                   #:9733



                                  SURVEY RESPONSES
                                      TEST CELL


 Q10.0 What other brand or brands, if any, do you believe are made or put out by
       whoever makes or puts out this product? Please be as specific as possible.
 Q10.1 Why do you say that? Again, please be as specific as possible.
 Q10.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q10.0)?
       Again, please be as specific as possible.


 RESPONSE CATEGORY 1: Orgain

 RESPONDENT
   NUMBER   RESPONSE

    *1028      Q10.0    Orgain.
               Q10.1    They have a very similar product.
               Q10.2    They have many different product to help people stay
                        healthy and ageing.

     1045      Q10.0    Orgain.
               Q10.1    Similar product and design.
               Q10.2    Plant-based protein.

     1073      Q10.0    Orgain.
               Q10.1    Look super similar to what they have to offer.
               Q10.2    Nothing else.

     1084      Q10.0    Orgain.
               Q10.1    It's on the package.
               Q10.2    There are vitamins in Orgain and other good stuff.

     1168      Q10.0    Orgain.
               Q10.1    Because they both are good for health.
               Q10.2    Orgain serves up 21g of vegan protein and 150 calories in
                        every serving.




 Note: Answers coded as an Orgain category response in previous question(s) are marked
       with an asterisk.

                                      - 37 -                                 TEST CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 65 of 432 Page ID
 Q10.0 What other brand or brands, if any, do you believe are made or put out by
                                      #:9734
       whoever makes or puts out this product? Please be as specific as possible.
 Q10.1 Why do you say that? Again, please be as specific as possible.
 Q10.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q10.0)? Again,
       please be as specific as possible.


 RESPONSE CATEGORY 2: Organic Protein (indeterminable)

 RESPONDENT
   NUMBER   RESPONSE

      1009     Q10.0   Organic protein Purely Inspired.
               Q10.1   It is protein product organic.
               Q10.2   Plant-based nutrition.

      1020     Q10.0   Organic Protein.
               Q10.1   USDA.
               Q10.2   Organic Protein.

      1102     Q10.0   Organic protein.
               Q10.1   Don't know.
               Q10.2   Don't know.

      1167     Q10.0   Organic protein powder Purely Inspired is also.
               Q10.1   USDA Organic certified for this.
               Q10.2   It's nutritional supplement feel good to me.




                                     - 38 -                              TEST CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 66 of 432 Page ID
 Q10.0 What other brand or brands, if any, do you believe are made or put out by
                                      #:9735
       whoever makes or puts out this product? Please be as specific as possible.
 Q10.1 Why do you say that? Again, please be as specific as possible.
 Q10.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q10.0)? Again,
       please be as specific as possible.


 RESPONSE CATEGORY 3: Purely Inspired /Iovate

 RESPONDENT
   NUMBER   RESPONSE

      1017     Q10.0   Purely.
               Q10.1   They are what I think of.
               Q10.2   It is a plant-based nutrition supplement with protein.

      1033     Q10.0   Purely Inspired.
               Q10.1   The leaf logo where it is placed on the product.
               Q10.2   I have never heard of them.

      1039     Q10.0   Purely Inspired.
               Q10.1   I'm not sure.
               Q10.2   I'm not sure at this time.

      1044     Q10.0   Nothing.
               Q10.1   Purely Inspired.
               Q10.2   They use colors like that.

      1049     Q10.0   Purely Inspired.
               Q10.1   I see on the label.
               Q10.2   Very natural ingredients.

      1146     Q10.0   Purely Inspired
               Q10.1   It says it in the front.
               Q10.2   Don't know.

      1147     Q10.0   Purely Inspired.
               Q10.1   Don't know.
               Q10.2   Don't know.

      1171     Q10.0   Purely Inspired.
               Q10.1   Purely Inspired.
               Q10.2   Purely Inspired.

      1200     Q10.0   Purely Inspired.
               Q10.1   Saw the name on the label.
               Q10.2   Organic plant-based protein mix.




                                       - 39 -                             TEST CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 67 of 432 Page ID
 Q10.0 What other brand or brands, if any, do you believe are made or put out by
                                      #:9736
       whoever makes or puts out this product? Please be as specific as possible.
 Q10.1 Why do you say that? Again, please be as specific as possible.
 Q10.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q10.0)? Again,
       please be as specific as possible.


 RESPONSE CATEGORY 4: Other company(s)

 RESPONDENT
   NUMBER   RESPONSE

      1002     Q10.0   Other organic products.
               Q10.1   Just seems like they do because of this product.
               Q10.2   Nothing much more.

      1015     Q10.0   Muscle Milk and Pure Protein.
               Q10.1   Similar products on market.
               Q10.2   High in protein.

      1019     Q10.0   LactoSpore, saba...(can't read it all).
               Q10.1   It's on the back of the package.
               Q10.2   Don't know.

      1022     Q10.0   LactoSpore.
               Q10.1   LactoSpore is affiliated with Purely Inspired.
               Q10.2   It is organic and Non GMO.

      1026     Q10.0   Lentils.
               Q10.1   Don't know.
               Q10.2   Don't know.

      1032     Q10.0   Vega.
               Q10.1   They also sell plant-based protein supplements.
               Q10.2   Vegan and non-GMO.

      1035     Q10.0   Milkshake brands as well as cereal brands.
               Q10.1   The company is an organic company.
               Q10.2   No further comments.

      1056     Q10.0   Garden of Life.
               Q10.1   I have purchased both.
               Q10.2   It cost more than I want to pay, but it's really good.

      1068     Q10.0   Bottled water, sweetner, cereal bar, energy bar.
               Q10.1   Things are sold by corps that sell these types.
               Q10.2   All natural, plant based, healthy.

      1070     Q10.0   Weight management powder.
               Q10.1   Because that's along the same line as this.
               Q10.2   It helps someone to control their weight.




                                      - 40 -                               TEST CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 68 of 432 Page ID
 Q10.0 What other brand or brands, if any, do you believe are made or put out by
                                      #:9737
       whoever makes or puts out this product? Please be as specific as possible.
 Q10.1 Why do you say that? Again, please be as specific as possible.
 Q10.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q10.0)? Again,
       please be as specific as possible.


 RESPONSE CATEGORY 4: Other company(s) continued

 RESPONDENT
   NUMBER   RESPONSE

      1077     Q10.0   Costco/ Kirkland.
               Q10.1   I have seen a lot of like this at Costco.
               Q10.2   Cheaper products.

      1078     Q10.0   Gaiam, legion casein, nutiva hemp protein.
               Q10.1   This are the famous brand.
               Q10.2   This are the famous brand.

      1079     Q10.0   Pure protein.
               Q10.1   I don't know.
               Q10.2   I buy their bars sometimes.

      1090     Q10.0   I think they make the amount.
               Q10.1   It is clear on the brand.
               Q10.2   I can't think of anything else.

      1097     Q10.0   All-In-One-Meal.
               Q10.1   I know.
               Q10.2   Good.

      1115     Q10.0   GNC.
               Q10.1   GNC sells these types of products.
               Q10.2   They sell vitamins and sports related products.

      1117     Q10.0   Berries.
               Q10.1   Saw in the picture.
               Q10.2   Don't know.

      1121     Q10.0   Organics company's.
               Q10.1   Because that's what the company's made to put.
               Q10.2   That's make organics products.

      1128     Q10.0   All plant based.
               Q10.1   Nothing.
               Q10.2   Yeah.

      1130     Q10.0   P90x.
               Q10.1   Because that is a supplement I use.
               Q10.2   It tastes good and is apparently nutritious.

      1131     Q10.0   Premier protein powder, pure protein.
               Q10.1   Because they are also makers of protein powder.
               Q10.2   That you can make protein shakes with it.

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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 69 of 432 Page ID
 Q10.0 What other brand or brands, if any, do you believe are made or put out by
                                      #:9738
       whoever makes or puts out this product? Please be as specific as possible.
 Q10.1 Why do you say that? Again, please be as specific as possible.
 Q10.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q10.0)? Again,
       please be as specific as possible.


 RESPONSE CATEGORY 4: Other company(s) continued

 RESPONDENT
   NUMBER   RESPONSE

      1134     Q10.0   Non GMO and no artificial.
               Q10.1   It is what is said on the package.
               Q10.2   The product is better for your health.

      1137     Q10.0   Anyway.
               Q10.1   Don't know.
               Q10.2   Don't know.

      1143     Q10.0   LactoSpore and Sabinsa.
               Q10.1   It is listed under the "Made in the USA" stamp.
               Q10.2   Don't know.

      1161     Q10.0   Fibercon, Walgreens or CVS brand, Metamucil.
               Q10.1   Same category of product as Benefiber.
               Q10.2   They are a supplement to the natural thing.

      1162     Q10.0   Jarrow.
               Q10.1   I have purchased from Jarrow before.
               Q10.2   They produce good protein powder products.

      1164     Q10.0   Refrigerated plant-based milk.
               Q10.1   They would have a refrigerated option also.
               Q10.2   That it is stored in a cooler with the rest of the plant-based
                       milks.

      1175     Q10.0   Garden of Life.
               Q10.1   Is gluten free and clean protein powder.
               Q10.2   Raw organic Protein is a certified organic, Non GMO project
                       verified Raw vegan.

      1182     Q10.0   Whey protein.
               Q10.1   It is organic protein.
               Q10.2   Their products are very unique.

      1186     Q10.0   GNC.
               Q10.1   They sell similar generic products for protein.
               Q10.2   They sell many types of protein drinks.

      1192     Q10.0   True value.
               Q10.1   Other company that also make this like true value.
               Q10.2   It is company like this.




                                      - 42 -                                TEST CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 70 of 432 Page ID
 Q10.0 What other brand or brands, if any, do you believe are made or put out by
                                      #:9739
       whoever makes or puts out this product? Please be as specific as possible.
 Q10.1 Why do you say that? Again, please be as specific as possible.
 Q10.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q10.0)? Again,
       please be as specific as possible.


 RESPONSE CATEGORY 4: Other company(s) continued

 RESPONDENT
   NUMBER   RESPONSE

      1195     Q10.0   Herbalife.
               Q10.1   Herbalife is excellent.
               Q10.2   Herbalife is organic.

      1198     Q10.0   USDA organic.
               Q10.1   Purely Inspired.
               Q10.2   It is a company that makes organic supplement.




                                      - 43 -                            TEST CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 71 of 432 Page ID
 Q10.0 What other brand or brands, if any, do you believe are made or put out by
                                      #:9740
       whoever makes or puts out this product? Please be as specific as possible.
 Q10.1 Why do you say that? Again, please be as specific as possible.
 Q10.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q10.0)? Again,
       please be as specific as possible.


 RESPONSE CATEGORY 5: Don't know / None

   RESPONDENT          RESPONDENT             RESPONDENT         RESPONDENT
     NUMBER              NUMBER                 NUMBER             NUMBER

       1001                1062                  1118                1178
       1003                1063                  1119                1179
       1004                1064                  1120                1180
       1005                1065                  1122                1181
       1006                1066                  1123                1183
       1007                1067                  1124                1184
       1008                1069                  1125                1185
       1010                1071                  1126                1187
       1011                1072                  1127                1188
       1012                1074                  1129                1189
       1013                1075                  1132                1190
       1014                1076                  1133                1191
       1016                1080                  1135                1193
       1018                1081                  1136                1194
       1021                1082                  1138                1196
       1023                1083                  1139                1197
       1024                1085                  1140                1199
       1025                1086                  1141
       1027                1087                  1142
       1029                1088                  1144
       1030                1089                  1145
       1031                1091                  1148
       1034                1092                  1149
       1036                1093                  1150
       1037                1094                  1151
       1038                1095                  1152
       1040                1096                  1153
       1041                1098                  1154
       1042                1099                  1155
       1043                1100                  1156
       1046                1101                  1157
       1047                1103                  1158
       1048                1104                  1159
       1050                1105                  1160
       1051                1106                  1163
       1052                1107                  1165
       1053                1108                  1166
       1054                1109                  1169
       1055                1110                  1170
       1057                1111                  1172
       1058                1112                  1173
       1059                1113                  1174
       1060                1114                  1176
       1061                1116                  1177
                                     - 44 -                           TEST CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 72 of 432 Page ID
                                   #:9741




                                        TABLE 3

                                     TEST CELL




 Q11.0   Do you believe this product...?
          1. IS being made or put out with the authorization or approval of any
             other company or companies
          2. is NOT being made or put out with the authorization or approval of any
             other company or companies
          3. don't know or have no opinion

 Q11.1   What company or companies?      Please be as specific as possible.

 Q11.2   Why do you say that?   Again, please be as specific as possible.

 Q11.3   What, if anything, can you tell me about (INSERT RESPONSE TO Q11.1)?
             Again, please be as specific as possible.


                                                   Response Distribution
                                                                  Deduplicated
 Response Categories                        Number   Percent  Number      Percent
                                                    (n=200)              (n=200)
 1. Is being made or put out with
    authorization or approval

       • Orgain                                 2        1.00         --         ---
       • Organic Protein (indeterminable)      --         ---
       • Purely Inspired / Iovate               9        4.50
       • Other company(s)                     32        16.00
       • Don't know/None                      54        27.00

              Subtotal                        97        48.50

 2. Is not being made or put out with
    authorization or approval                 34        17.00

 3. Don't know/no opinion                     69        34.50

              Total                          200      100.00




                                        - 45 -                                TEST CELL
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                                   #:9742



                              RESPONSE CATEGORIES
                             Questions 11.0 through 11.3

                                      TEST CELL




                 1. Is being made or put out with authorization or approval

                      •   Orgain
                      •   Organic Protein (indeterminable)
                      •   Purely Inspired / Iovate
                      •   Other company(s)
                      •   Don't know / None

                 2. Is not being made or put out with authorization or approval

                 3. Don't know/No opinion




                                        - 46 -                            TEST CELL
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                                   #:9743



                                   SURVEY RESPONSES
                                       TEST CELL


 Q11.0   Do you believe this product...?
          1. IS being made or put out with the authorization or approval of any other
             company or companies
          2. is NOT being made or put out with the authorization or approval of any other
             company or companies
          3. don't know or have no opinion
 Q11.1   With what company or companies? Please be as specific as possible.
 Q11.2   Why do you say that? Again, please be as specific as possible.
 Q11.3   What, if anything, can you tell me about (INSERT RESPONSE TO Q11.1)?
         Again, please be as specific as possible.


 RESPONSE CATEGORY 1: Is being made or put out with authorization or approval
                      - Orgain
 RESPONDENT
   NUMBER   RESPONSE

    *1084      Q11.0    One.
               Q11.1    Orgain.
               Q11.2    Don't know.
               Q11.3    There are vitamins in the powder.

    *1168      Q11.0    One.
               Q11.1    Orgain.
               Q11.2    Orgain.
               Q11.3    It fuels our body with clean, organic nutrition with a
                        complete amino acid.




 Note: Answers coded as an Orgain category response in previous question(s) are marked
       with an asterisk.

                                       - 47 -                               TEST CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 75 of 432 Page ID
 Q11.0 Do you believe this product...?#:9744
           1. IS being made or put out with the authorization or approval of any other
              company or companies
           2. is NOT being made or put out with the authorization or approval of any other
              company or companies
           3. don't know or have no opinion
 Q11.1    With what company or companies? Please be as specific as possible.
 Q11.2    Why do you say that? Again, please be as specific as possible.
 Q11.3    What, if anything, can you tell me about (INSERT RESPONSE TO Q11.1)?
          Again, please be as specific as possible.


 RESPONSE CATEGORY 1: Is being made or put out with authorization or approval
                      - Organic Protein (indeterminable)


         There are no responses in this category.




                                         - 48 -                            TEST CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 76 of 432 Page ID
 Q11.0 Do you believe this product...?#:9745
          1. IS being made or put out with the authorization or approval of any other
             company or companies
          2. is NOT being made or put out with the authorization or approval of any other
             company or companies
          3. don't know or have no opinion
 Q11.1   With what company or companies? Please be as specific as possible.
 Q11.2   Why do you say that? Again, please be as specific as possible.
 Q11.3   What, if anything, can you tell me about (INSERT RESPONSE TO Q11.1)?
         Again, please be as specific as possible.


 RESPONSE CATEGORY 1: Is being made or put out with authorization or approval
                      - Purely Inspired / Iovate continued
 RESPONDENT
   NUMBER   RESPONSE

      1022     Q11.0    One.
               Q11.1    Purely Inspired and LactoSpore.
               Q11.2    Because that is what is said on the labeling of the product.
               Q11.3    Good grief, I don't know what else I can say.

      1031     Q11.0    One.
               Q11.1    Purely.
               Q11.2    It's like that.
               Q11.3    Don't know.

      1071     Q11.0    One.
               Q11.1    Purely Inspired.
               Q11.2    It states on the bottle.
               Q11.3    Don't know.

      1078     Q11.0    One.
               Q11.1    Purely Inspired products.
               Q11.2    I know the name.
               Q11.3    Every thing is very good.

      1091     Q11.0    One.
               Q11.1    Purely Inspired.
               Q11.2    Not sure.
               Q11.3    Good.

      1104     Q11.0    One.
               Q11.1    Iovate.
               Q11.2    Purely Inspired is a nutritional supplement company owned
                        by Iovate, the corporation behind popular meathead brands
                        MuscleTech and Six Star supplements.
               Q11.3    International.

      1171     Q11.0    One.
               Q11.1    Purely Inspired.
               Q11.2    Purely Inspired.
               Q11.3    Purely Inspired.




                                          - 49 -                           TEST CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 77 of 432 Page ID
 Q11.0 Do you believe this product...?#:9746
          1. IS being made or put out with the authorization or approval of any other
             company or companies
          2. is NOT being made or put out with the authorization or approval of any other
             company or companies
          3. don't know or have no opinion
 Q11.1   With what company or companies? Please be as specific as possible.
 Q11.2   Why do you say that? Again, please be as specific as possible.
 Q11.3   What, if anything, can you tell me about (INSERT RESPONSE TO Q11.1)?
         Again, please be as specific as possible.


 RESPONSE CATEGORY 1: Is being made or put out with authorization or approval
                      - Purely Inspired / Iovate continued
 RESPONDENT
   NUMBER   RESPONSE

      1177     Q11.0    One.
               Q11.1    Purely Inspired Supplements.
               Q11.2    After examining the label on the container, that brand
                        name was the only name I could see that is an actual
                        company name.
               Q11.3    It's completely natural and organic with nothing artificial
                        within it. It's a plant-based protein supplement with a wide
                        blend of fruit and veggie extracts, plus a great fiber level.

      1188     Q11.0    One.
               Q11.1    Iovate.
               Q11.2    I thinking that's why.
               Q11.3    Iovate is a outstanding brand.   They always make pure
                        product.




                                       - 50 -                               TEST CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 78 of 432 Page ID
 Q11.0 Do you believe this product...?#:9747
          1. IS being made or put out with the authorization or approval of any other
             company or companies
          2. is NOT being made or put out with the authorization or approval of any other
             company or companies
          3. don't know or have no opinion
 Q11.1   With what company or companies? Please be as specific as possible.
 Q11.2   Why do you say that? Again, please be as specific as possible.
 Q11.3   What, if anything, can you tell me about (INSERT RESPONSE TO Q11.1)?
         Again, please be as specific as possible.


 RESPONSE CATEGORY 1: Is being made or put out with authorization or approval
                      - Other company(s)
 RESPONDENT
   NUMBER   RESPONSE

      1002     Q11.0    One.
               Q11.1    Other organic making companies.
               Q11.2    Don't know.
               Q11.3    Don't know.

      1009     Q11.0    One.
               Q11.1    USDA organic.
               Q11.2    It is certificate for organic nutrition.
               Q11.3    For organic nutrition.

      1012     Q11.0    One.
               Q11.1    Herbalife.
               Q11.2    Don't know.
               Q11.3    Don't know.

      1013     Q11.0    One.
               Q11.1    USDA.
               Q11.2    Their logo is on the package.
               Q11.3    They put products through certain criteria before they put
                        their stamp on a product.

      1016     Q11.0    One.
               Q11.1    Pure.
               Q11.2    Because of the packaging.
               Q11.3    Don't know.

      1019     Q11.0    One.
               Q11.1    LactoSpore and sabra.
               Q11.2    It says it on the package.
               Q11.3    Don't know.

      1025     Q11.0    One.
               Q11.1    Beverage company.
               Q11.2    Don't know.
               Q11.3    It's brand.




                                        - 51 -                            TEST CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 79 of 432 Page ID
 Q11.0 Do you believe this product...?#:9748
          1. IS being made or put out with the authorization or approval of any other
             company or companies
          2. is NOT being made or put out with the authorization or approval of any other
             company or companies
          3. don't know or have no opinion
 Q11.1   With what company or companies? Please be as specific as possible.
 Q11.2   Why do you say that? Again, please be as specific as possible.
 Q11.3   What, if anything, can you tell me about (INSERT RESPONSE TO Q11.1)?
         Again, please be as specific as possible.


 RESPONSE CATEGORY 1: Is being made or put out with authorization or approval
                      - Other company(s) continued
 RESPONDENT
   NUMBER   RESPONSE

      1026     Q11.0    One.
               Q11.1    USDA organic.
               Q11.2    Don't know.
               Q11.3    Don't know.

      1053     Q11.0    One.
               Q11.1    Nature Valley.
               Q11.2    Looks like their brand.
               Q11.3    Tastes great and is healthy.

      1068     Q11.0    One.
               Q11.1    Morning Star, or a corp like Edy's capitalizing on healthy
                        options.
               Q11.2    That's how marketing works. Get dollars from everywhere
                        you can.
               Q11.3    Morning Star is plant-based food co. Edy's isn't but will
                        market a product to any demographic .

      1073     Q11.0    One.
               Q11.1    Vega.
               Q11.2    Look similar to their products.
               Q11.3    Nothing.

      1077     Q11.0    One.
               Q11.1    Unilever.
               Q11.2    Similar to their products.
               Q11.3    Love all their products.

      1083     Q11.0    One.
               Q11.1    Sabinsa.
               Q11.2    There is a disclaimer for the other company.
               Q11.3    It is a good ingredient of this product.

      1086     Q11.0    One.
               Q11.1    They are authorized from the health ministry.
               Q11.2    Because products needs to verify.
               Q11.3    Yes organic product are all verified.


                                        - 52 -                            TEST CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 80 of 432 Page ID
 Q11.0 Do you believe this product...?#:9749
          1. IS being made or put out with the authorization or approval of any other
             company or companies
          2. is NOT being made or put out with the authorization or approval of any other
             company or companies
          3. don't know or have no opinion
 Q11.1   With what company or companies? Please be as specific as possible.
 Q11.2   Why do you say that? Again, please be as specific as possible.
 Q11.3   What, if anything, can you tell me about (INSERT RESPONSE TO Q11.1)?
         Again, please be as specific as possible.


 RESPONSE CATEGORY 1: Is being made or put out with authorization or approval
                      - Other company(s) continued
 RESPONDENT
   NUMBER   RESPONSE

      1092     Q11.0    One.
               Q11.1    USDA.
               Q11.2    Because USDA certified organic stamp is on the container.
               Q11.3    Governmental organization that certifies organic
                        ingredients.

      1095     Q11.0    One.
               Q11.1    Nature Made.
               Q11.2    Cause of the leaf in the product name.
               Q11.3    They are a supplement maker.

      1111     Q11.0    One.
               Q11.1    It states it is USDA Organic so I would assume USDA.
               Q11.2    Due to the mark that says USDA Organic.
               Q11.3    I'm not sure how to elaborate further on that. That is what
                        the can says.

      1114     Q11.0    One.
               Q11.1    LactoSpore.
               Q11.2    LactoSpore.
               Q11.3    Don't know.

      1115     Q11.0    One.
               Q11.1    FDA.
               Q11.2    The FDA approves these products before they go on
                        shelves.
               Q11.3    They give a approval to the food or ingestible product if it is
                        safe to eat/take.

      1117     Q11.0    One.
               Q11.1    LactoSpore.
               Q11.2    Don't know.
               Q11.3    Don't know.

      1121     Q11.0    One.
               Q11.1    Whatever it's connect to.
               Q11.2    That's what it's connected to.
               Q11.3    Don't know.

                                       - 53 -                                TEST CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 81 of 432 Page ID
 Q11.0 Do you believe this product...?#:9750
          1. IS being made or put out with the authorization or approval of any other
             company or companies
          2. is NOT being made or put out with the authorization or approval of any other
             company or companies
          3. don't know or have no opinion
 Q11.1   With what company or companies? Please be as specific as possible.
 Q11.2   Why do you say that? Again, please be as specific as possible.
 Q11.3   What, if anything, can you tell me about (INSERT RESPONSE TO Q11.1)?
         Again, please be as specific as possible.


 RESPONSE CATEGORY 1: Is being made or put out with authorization or approval
                      - Other company(s) continued
 RESPONDENT
   NUMBER   RESPONSE

      1134     Q11.0    One.
               Q11.1    LactoSpore.
               Q11.2    On packaging.
               Q11.3    Don't know.

      1137     Q11.0    One.
               Q11.1    USDA.
               Q11.2    Don't know.
               Q11.3    Don't know.

      1144     Q11.0    One.
               Q11.1    Nike.
               Q11.2    Nike.
               Q11.3    Colors.

      1146     Q11.0    One.
               Q11.1    LactoSpore.
               Q11.2    It says the name on the back.
               Q11.3    Don't know.

      1150     Q11.0    One.
               Q11.1    LactoSpore.
               Q11.2    Don't know.
               Q11.3    Don't know.

      1152     Q11.0    One.
               Q11.1    Gluten free program nongmo project.
               Q11.2    Displayed on package.
               Q11.3    Don't know.

      1167     Q11.0    One.
               Q11.1    Organic product Purely Inspired with.
               Q11.2    It make me a fan for it's good product.
               Q11.3    I feel good for it's product and Made with pure ingredients.




                                        - 54 -                             TEST CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 82 of 432 Page ID
 Q11.0 Do you believe this product...?#:9751
          1. IS being made or put out with the authorization or approval of any other
             company or companies
          2. is NOT being made or put out with the authorization or approval of any other
             company or companies
          3. don't know or have no opinion
 Q11.1   With what company or companies? Please be as specific as possible.
 Q11.2   Why do you say that? Again, please be as specific as possible.
 Q11.3   What, if anything, can you tell me about (INSERT RESPONSE TO Q11.1)?
         Again, please be as specific as possible.


 RESPONSE CATEGORY 1: Is being made or put out with authorization or approval
                      - Other company(s) continued
 RESPONDENT
   NUMBER   RESPONSE

      1175     Q11.0    One.
               Q11.1    GMO certified.
               Q11.2    Plant-based nutrition.
               Q11.3    Genetically modified organisms, it usually refers to foods
                        that have been genetically engineered for reasons
                        unrelated to health or nourishment.

      1186     Q11.0    One.
               Q11.1    Sabinsa.
               Q11.2    It is listed on the label.
               Q11.3    They manufacture health items.

      1192     Q11.0    One.
               Q11.1    LactoSpore.
               Q11.2    LactoSpore attach with this.
               Q11.3    It is another company.

      1193     Q11.0    One.
               Q11.1    Whole foods.
               Q11.2    Just guessing.
               Q11.3    It's a health grocery store.




                                       - 55 -                              TEST CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 83 of 432 Page ID
 Q11.0 Do you believe this product...?#:9752
          1. IS being made or put out with the authorization or approval of any other
             company or companies
          2. is NOT being made or put out with the authorization or approval of any other
             company or companies
          3. don't know or have no opinion
 Q11.1   With what company or companies? Please be as specific as possible.
 Q11.2   Why do you say that? Again, please be as specific as possible.
 Q11.3   What, if anything, can you tell me about (INSERT RESPONSE TO Q11.1)?
         Again, please be as specific as possible.


 RESPONSE CATEGORY 1: Is being made or put out with authorization or approval
                      - Don't know / None

   RESPONDENT             RESPONDENT
     NUMBER                 NUMBER

       1001                   1109
       1008                   1110
       1028                   1112
       1036                   1116
       1037                   1119
       1043                   1126
       1044                   1130
       1045                   1133
       1047                   1145
       1048                   1151
       1049                   1154
       1054                   1163
       1059                   1165
       1060                   1174
       1061                   1178
       1067                   1179
       1070                   1181
       1074                   1182
       1075                   1183
       1076                   1194
       1079                   1195
       1080                   1198
       1082                   1199
       1088                   1200
       1089
       1099
       1100
       1101
       1103
       1105

                                       - 56 -                             TEST CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 84 of 432 Page ID
                                   #:9753



                                          TABLE 4

                                         TEST CELL




 Q12.0   Do you believe that whoever makes or puts out this product...?
          1. HAS a business affiliation or business connection with any other
             company or companies
          2. does NOT have a business affiliation or business connection with any
             other company or companies
          3. don't know or have no opinion

 Q12.1   With what company or companies?         Please be as specific as possible.

 Q12.2   Why do you say that?       Again, please be as specific as possible.

 Q12.3   What, if anything, can you tell me about (INSERT RESPONSE TO Q12.1)?
             Again, please be as specific as possible.


                                                      Response Distribution
                                                                     Deduplicated
 Response Categories                           Number   Percent   Number     Percent
                                                       (n=200)              (n=200)
 1. Has a business affiliation or
    connection

       • Orgain                                    3        1.50         --           ---
       • Organic Protein (indeterminable)         --         ---
       • Purely Inspired / Iovate                  4        2.00
       • Other company(s)                        18         9.00
       • Don't know / None                       42        21.00

              Subtotal                           67        33.50

 2. Does not have a business affiliation         47        23.50
    or business connection

 3. Don't know/no opinion                        86        43.00

              Total                             200       100.00




                                           - 57 -                               TEST CELL
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                                   #:9754



                              RESPONSE CATEGORIES
                             Questions 12.0 through 12.3

                                      TEST CELL




                 1. Has a business affiliation or connection

                      •   Orgain
                      •   Organic Protein (indeterminable)
                      •   Purely Inspired / Iovate
                      •   Other company(s)
                      •   Don't know / None

                 2. Does not have a business affiliation or connection

                 3. Don't know/No opinion




                                        - 58 -                           TEST CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 86 of 432 Page ID
                                   #:9755



                               SURVEY RESPONSES
                                   TEST CELL


 Q12.0   Do you believe that whoever makes or puts out this product...?
          1. HAS a business affiliation or business connection with any other company or
             companies?
          2. does NOT have a business affiliation or business connection with any other
             company or companies?
          3. don't know or have no opinion?
 Q12.1   With what company or companies? Please be as specific as possible.
 Q12.2   Why do you say that? Again, please be as specific as possible.
 Q12.3   What, if anything, can you tell me about (INSERT RESPONSE TO Q12.1)?
         Again, please be as specific as possible.


 RESPONSE CATEGORY 1: Has a business affiliation or connection
                      – Orgain
 RESPONDENT
   NUMBER   RESPONSE

    *1028      Q12.0    One.
               Q12.1    Orgain.
               Q12.2    Very similar.
               Q12.3    Don't know.

    *1045      Q12.0    One.
               Q12.1    Orgain.
               Q12.2    Similar design and ingredients.
               Q12.3    Very popular dietary supplement for plant-based diet.

    *1084      Q12.0    One.
               Q12.1    Orgain.
               Q12.2    I know this design.
               Q12.3    The product is healthy.




 Note: Answers coded as an Orgain category response in previous question(s) are marked
       with an asterisk.

                                        - 59 -                            TEST CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 87 of 432 Page ID
 Q12.0 Do you believe that whoever makes
                                    #:9756or puts out this product...?
           1. HAS a business affiliation or business connection with any other company or
              companies
           2. does NOT have a business affiliation or business connection with any other
              company or companies
           3. don't know or have no opinion
 Q12.1    With what company or companies? Please be as specific as possible.
 Q12.2    Why do you say that? Again, please be as specific as possible.
 Q12.3    What, if anything, can you tell me about (INSERT RESPONSE TO Q12.1)?
          Again, please be as specific as possible.


 RESPONSE CATEGORY 1: Has a business affiliation or connection
                      – Organic Protein (indeterminable)


         There are no responses in this category.




                                         - 60 -                            TEST CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 88 of 432 Page ID
 Q12.0 Do you believe that whoever makes
                                    #:9757or puts out this product...?
          1. HAS a business affiliation or business connection with any other company or
             companies
          2. does NOT have a business affiliation or business connection with any other
             company or companies
          3. don't know or have no opinion
 Q12.1   With what company or companies? Please be as specific as possible.
 Q12.2   Why do you say that? Again, please be as specific as possible.
 Q12.3   What, if anything, can you tell me about (INSERT RESPONSE TO Q12.1)?
         Again, please be as specific as possible.


 RESPONSE CATEGORY 1: Has a business affiliation or connection
                      - Purely Inspired / Iovate
 RESPONDENT
   NUMBER   RESPONSE

      1022     Q12.0    One.
               Q12.1    Purely Inspired has a relationship with LactoSpore.
               Q12.2    I can only glean the information that is contained on the outside
                        of the carton.
               Q12.3    I can tell you that they use products that are organic and non
                        GMO.

      1025     Q12.0    One.
               Q12.1    Purely.
               Q12.2    It's better option.
               Q12.3    It's better than others brand.

      1161     Q12.0    One.
               Q12.1    Purely Inspired.
               Q12.2    On the label.
               Q12.3    Don't know.

      1163     Q12.0    One.
               Q12.1    Purely Inspired.
               Q12.2    The label said Purely Inspired.
               Q12.3    Purely Inspired is a plant base protein shake that is organic.




                                       - 61 -                               TEST CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 89 of 432 Page ID
 Q12.0 Do you believe that whoever makes
                                    #:9758or puts out this product...?
          1. HAS a business affiliation or business connection with any other company or
             companies
          2. does NOT have a business affiliation or business connection with any other
             company or companies
          3. don't know or have no opinion
 Q12.1   With what company or companies? Please be as specific as possible.
 Q12.2   Why do you say that? Again, please be as specific as possible.
 Q12.3   What, if anything, can you tell me about (INSERT RESPONSE TO Q12.1)?
         Again, please be as specific as possible.


 RESPONSE CATEGORY 1: Has a business affiliation or connection
                      - Other company(s)
 RESPONDENT
   NUMBER   RESPONSE

      1019     Q12.0    One.
               Q12.1    LactoSpore and saba.
               Q12.2    It says it on the package.
               Q12.3    Don't know.

      1032     Q12.0    One.
               Q12.1    LactoSpore. Non-GMO project.     GF Certification Program.
               Q12.2    The labeling.
               Q12.3    All certification programs.

      1068     Q12.0    One.
               Q12.1    Could be any companies, but I really would guess by the Purely
                        Inspired logo with the leaf that it's probably made by a
                        supplement company like Nature Made or Natures Harvest or
                        that type of place.
               Q12.2    Because the label logo looks just like you would see on a
                        supplement bottle.
               Q12.3    Supplement companies specialize in natural healthy products
                        like this. The label states all the same things you would see on
                        a supplement bottle.

      1077     Q12.0    One.
               Q12.1    Can be partner with any other products.
               Q12.2    Looks like a good products.
               Q12.3    Love them.

      1078     Q12.0    One.
               Q12.1    Organic protein supplement.
               Q12.2    I know the name.
               Q12.3    Organic protein supplement the products.

      1096     Q12.0    One.
               Q12.1    National foundation for Celiac awareness.
               Q12.2    It says on the back label.
               Q12.3    Don't know.




                                       - 62 -                             TEST CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 90 of 432 Page ID
 Q12.0 Do you believe that whoever makes
                                    #:9759or puts out this product...?
          1. HAS a business affiliation or business connection with any other company or
             companies
          2. does NOT have a business affiliation or business connection with any other
             company or companies
          3. don't know or have no opinion
 Q12.1   With what company or companies? Please be as specific as possible.
 Q12.2   Why do you say that? Again, please be as specific as possible.
 Q12.3   What, if anything, can you tell me about (INSERT RESPONSE TO Q12.1)?
         Again, please be as specific as possible..


 RESPONSE CATEGORY 1: Has a business affiliation or connection
                      - Other company(s) continued
 RESPONDENT
   NUMBER   RESPONSE

      1121     Q12.0    One.
               Q12.1    I, not sure. Probably other organic companies.
               Q12.2    Because there's more then one organic company's.
               Q12.3    Don't know.

      1127     Q12.0    One.
               Q12.1    Natures garden.
               Q12.2    The two companies remind me of each other.
               Q12.3    Sells organic snacks.

      1130     Q12.0    One.
               Q12.1    Probably Walmart or Target.
               Q12.2    Looks like it would be sold by a mass producer.
               Q12.3    They are big stores.

      1132     Q12.0    One.
               Q12.1    365.
               Q12.2    Looks like a whole foods product.
               Q12.3    Don't know.

      1134     Q12.0    One.
               Q12.1    LactoSpore.
               Q12.2    Name is on product.
               Q12.3    Don't know.

      1135     Q12.0    One.
               Q12.1    Walmart or Giant.
               Q12.2    Walmart or Giant.
               Q12.3    Don't know.

      1143     Q12.0    One.
               Q12.1    Nestlé.
               Q12.2    The leaf logo reminds me of Nestlé.
               Q12.3    I know that there are leaves in the logo and that they do many
                        products.




                                       - 63 -                             TEST CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 91 of 432 Page ID
 Q12.0 Do you believe that whoever makes
                                    #:9760or puts out this product...?
          1. HAS a business affiliation or business connection with any other company or
             companies
          2. does NOT have a business affiliation or business connection with any other
             company or companies
          3. don't know or have no opinion
 Q12.1   With what company or companies? Please be as specific as possible.
 Q12.2   Why do you say that? Again, please be as specific as possible.
 Q12.3   What, if anything, can you tell me about (INSERT RESPONSE TO Q12.1)?
         Again, please be as specific as possible..


 RESPONSE CATEGORY 1: Has a business affiliation or connection
                      - Other company(s) continued
 RESPONDENT
   NUMBER   RESPONSE

      1144     Q12.0    One.
               Q12.1    Nike, they might use proteins.
               Q12.2    They use proteins.
               Q12.3    Nike.

      1157     Q12.0    One.
               Q12.1    Ensure.
               Q12.2    Don't know.
               Q12.3    Ensure is good for people who need protein and vitamins.

      1192     Q12.0    One.
               Q12.1    LactoSpore.
               Q12.2    It associate with them.
               Q12.3    It is other company.

      1193     Q12.0    One.
               Q12.1    Whole foods.
               Q12.2    Just guessing again.
               Q12.3    It's a healthy place.

      1194     Q12.0    One.
               Q12.1    Healthy choice.
               Q12.2    Don't know.
               Q12.3    Don't know.




                                       - 64 -                             TEST CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 92 of 432 Page ID
 Q12.0 Do you believe that whoever makes
                                    #:9761or puts out this product...?
          1. HAS a business affiliation or business connection with any other company or
             companies
          2. does NOT have a business affiliation or business connection with any other
             company or companies
          3. don't know or have no opinion
 Q12.1   With what company or companies? Please be as specific as possible.
 Q12.2   Why do you say that? Again, please be as specific as possible.
 Q12.3   What, if anything, can you tell me about (INSERT RESPONSE TO Q12.1)?
         Again, please be as specific as possible


 RESPONSE CATEGORY 1: Has a business affiliation or connection
                      - Don't know/None

  RESPONDENT           RESPONDENT
    NUMBER               NUMBER

      1008                 1147
      1009                 1150
      1023                 1154
      1029                 1155
      1036                 1162
      1037                 1165
      1039                 1181
      1043                 1185
      1044                 1186
      1048                 1196
      1049
      1061
      1067
      1069
      1074
      1080
      1082
      1088
      1095
      1099
      1100
      1103
      1105
      1107
      1109
      1113
      1114
      1117
      1119
      1123
      1136
      1145

                                       - 65 -                             TEST CELL
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                                   #:9762



                                    TABLE 5

                                   TEST CELL




                       GENDER DISTRIBUTION OF RESPONDENTS



                                                Response Distribution
        Response Categories                    Number       Percent
                                                           (n=200)

           1. Male                              121           60.50

           2. Female                              79          39.50

              Total                             200          100.00




                                     - 66 -                           CONTROL CELL
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                                   #:9763



                                   TABLE 6

                                  TEST CELL




                  GENDER AND AGE DISTRIBUTION OF RESPONDENTS



                                               Response Distribution
        Response Categories                   Number       Percent

        1. Male                                            (n=121)

           - 18 to 34                           54           44.63

           - 35 to 54                           54           44.63

           - 55 or over                         13           10.74

           Male Total                          121          100.00

        2. Female                                           (n=79)

           - 18 to 34                           38           48.10

           - 35 to 54                           26           32.91

           - 55 or over                         15           18.99

           Female Total                         79          100.00

        Grand Total                            200




                                    - 67 -                           CONTROL CELL
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                                   #:9764




                                CONTROL CELL

                   EXHIBITS, SCREENER AND QUESTIONNAIRE




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                                   #:9765




                                    - 69 -                        CONTROL CELL
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                                   #:9766




                                    - 70 -                        CONTROL CELL
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                                   #:9767




                                    - 71 -                        CONTROL CELL
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                                   #:9768
                                                                                      FB&A
                                                                                     10/19
                                                                                     #2118
                                       SCREENER - X

 SCREEN #1

       Please take a few moments to complete our questionnaire. We value your opinions.


 SCREEN #2

 1.0   In the next 3 months, are you likely to purchase any of the following:
       PROGRAMMER NOTE: RANDOMIZE LIST.
                                                                                   Don't
                                                               Yes        No       know

       a protein supplement                                   ___1.     ___2.      ___3.

       organic milk                                           ___1.     ___2.      ___3.

       whole-grain cereal                                     ___1.     ___2.      ___3.

       PROGRAMMER NOTE: IF YES TO PROTEIN SUPPLEMENT, CONTINUE;
       OTHERWISE, TERMINATE.


 SCREEN #3

 2.0   Select your gender.

       ___1.     Male

       ___2.     Female

 PROGRAMMER NOTE: GENDER QUOTA
      MALES 61%, FEMALES 39%




                                           - 72 -                               CONTROL CELL
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                                    #:9769
  SCREEN #4

  2.1   For verification purposes, please enter your date of birth.

        __/__/____
        MM DD YYYY

        PROGRAMMER NOTE: TERMINATE IF DOES NOT MATCH PANELIST'S PRE-
        EXISTING DATA. IF DOB IS BLANK, TERMINATE AS REFUSED. CALCULATE
        AGE RANGES TO DETERMINE OPEN QUOTAS FOR AGE PRIOR TO
        CONTINUING. CODE AGE RANGE BASED ON DOB]

        ___1.   Under 18 TERMINATE.

        ___2.   18 to 34

        ___3.   35 to 54

        ___4. 55 or over
        PROGRAMMER NOTE: AGE/GENDER QUOTAS:
                       MALES FEMALES
        18 TO 34         47%   43%
        35 TO 54         44%   42%
        55 OR OVER       9%    15%



  SCREEN #5

  3.0   Please select the area of the country in which you reside:


        ___1.    Northeast (Connecticut, Maine, Massachusetts, New Hampshire, New
                 Jersey, New York, Pennsylvania, Rhode Island, Vermont)

        ___2.    Midwest (Illinois, Indiana, Iowa, Kansas, Michigan, Minnesota, Missouri,
                 Nebraska, North Dakota, Ohio, South Dakota, Wisconsin)

        ___3.    South (Alabama, Arkansas, DC, Delaware, Florida, Georgia, Kentucky,
                 Louisiana, Maryland, Mississippi, North Carolina, Oklahoma, South Carolina,
                 Tennessee, Texas, Virginia, West Virginia)

        ___4.    West (Alaska, Arizona, California, Colorado, Hawaii, Idaho, Montana,
                 Nevada, New Mexico, Oregon, Utah, Washington, Wyoming)

        ___5.    Other TERMINATE.

        PROGRAMMER NOTE: QUOTAS FOR POPULATION IN THE FOUR CENSUS
        REGIONS:
             NORTHEAST    20%
             MIDWEST      16%
             SOUTH        41%
             WEST         23%




                                             - 73 -                             CONTROL CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 101 of 432 Page ID
                                    #:9770
  SCREEN #6

  4.0   What best describes the device you are using right now to take this survey?

        ___1.    A desktop computer

        ___2.    A laptop/notebook computer

        ___3.    A tablet

        ___4.    A phone

        ___5.    Other

  PROGRAMMER NOTE: OPTION 1, 2, OR 3, CONTINUE.
  ALL OTHERS, TERMINATE.


  SCREEN #7

  5.0   Do you, or does anyone else in your household, work for...
                                                              Yes         No

        an advertising agency or a market research
        company?                                              ___1.      ___2.

        a company that makes, sells, or distributes any
        nutritional supplements?                              ___1.      ___2.

        a company that makes, sells, or distributes any
        dairy products?                                       ___1.      ___2.

        a company that makes, sells, or distributes any
        cereal products?                                      ___1.      ___2.

  PROGRAMMER NOTE:
  IF YES TO AD AGENCY OR NUTRITIONAL SUPPLEMENTS, TERMINATE.
  OTHERWISE, CONTINUE.


  SCREEN #8

  6.0   Do you agree to answer the questions in this survey by yourself without the help or
        assistance of anyone else?

        ___1.   Yes  CONTINUE.

        ___2.   No  TERMINATE.


  SCREEN #9

  6.1   Do you agree to answer the questions in this survey without seeking information
        from any other source (for example, will not conduct an internet search)?

        ___1.   Yes  CONTINUE.

        ___2.   No  TERMINATE.

                                           - 74 -                                CONTROL CELL
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                                    #:9771
  SCREEN #10

  7.0   Do you usually wear contact lenses or eyeglasses when you use the device you are
        using right now?

        ___1.   Yes  CONTINUE.

        ___2.   No  GO TO SCREEN #12.


  SCREEN #11

  7.1   Do you agree to wear them during the rest of the questionnaire?

        ___1.   Yes  CONTINUE.

        ___2.   No  TERMINATE.


  SCREEN #12

  8.0   Please select the number (INSERT RANDOM NUMBER ONE THROUGH FOUR)
        from the following list in order to continue with the survey.

        ___1.   One

        ___2.   Two

        ___3.   Three

        ___4.   Four

  PROGRAMMER NOTE: IF NUMBER ENTERED MATCHES NUMBER IN QUESTION,
  CONTINUE. OTHERWISE, TERMINATE.




                                           - 75 -                            CONTROL CELL
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                                    #:9772
                                      QUESTIONNAIRE - X

  SCREEN #13

         In this survey, you are going to be shown a product and then asked some questions.

         Please understand that we are only interested in your opinions or beliefs; and if you
  don't have an opinion or belief or don't know the answer to a question, that is an acceptable
  answer.


  SCREEN #14

         Please look at this product as you would if you were considering purchasing it.
  Please take as much time as you like looking at the product before continuing with the
  survey.
  PROGRAMMER NOTE: SHOW IMAGES X1, X2, AND X3 (SMALLER SIZE). DISPLAY
  "Click image to enlarge" BELOW EACH IMAGE. WHEN AN IMAGE IS CLICKED,
  SHOW LARGER SIZE.




      Click image to enlarge          Click image to enlarge        Click image to enlarge


  SCREEN #15

         Could you clearly read the words on the package?

         ___1.   Yes  CONTINUE.

         ___2.   No  TERMINATE.




                                             - 76 -                               CONTROL CELL
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                                    #:9773

  SCREEN #16

  PROGRAMMER NOTE: SHOW IMAGES X1, X2, AND X3 (SMALLER SIZE). DISPLAY
  "Click image to enlarge" BELOW EACH IMAGE. WHEN AN IMAGE IS CLICKED,
  SHOW LARGER SIZE.

  9.0   Who or what company do you believe makes or puts out this product? Please be as
        specific as possible.

        ___________________________________________________________

            Don't know GO TO  SCREEN #19.


  SCREEN #17

  PROGRAMMER NOTE: SHOW IMAGES X1, X2, AND X3 (SMALLER SIZE). DISPLAY
  "Click image to enlarge" BELOW EACH IMAGE. WHEN AN IMAGE IS CLICKED,
  SHOW LARGER SIZE.

  9.1   Why do you say that? Again, please be as specific as possible.

        ___________________________________________________________

            Don't know


  SCREEN #18

  PROGRAMMER NOTE: SHOW IMAGES X1, X2, AND X3 (SMALLER SIZE). DISPLAY
  "Click image to enlarge" BELOW EACH IMAGE. WHEN AN IMAGE IS CLICKED,
  SHOW LARGER SIZE.

  9.2   What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?    Again,
        please be as specific as possible.

        ___________________________________________________________

            Don't know




                                           - 77 -                          CONTROL CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 105 of 432 Page ID
                                    #:9774

  SCREEN #19

  PROGRAMMER NOTE: SHOW IMAGES X1, X2, AND X3 (SMALLER SIZE). DISPLAY
  "Click image to enlarge" BELOW EACH IMAGE. WHEN AN IMAGE IS CLICKED,
  SHOW LARGER SIZE.

  10.0   What other brand or brands, if any, do you believe are made or put out by whoever
         makes or puts out this product? Please be as specific as possible.

         ____________________________________________________________

             Don't know GO TO  SCREEN #22.


  SCREEN #20

  PROGRAMMER NOTE: SHOW IMAGES X1, X2, AND X3 (SMALLER SIZE). DISPLAY
  "Click image to enlarge" BELOW EACH IMAGE. WHEN AN IMAGE IS CLICKED,
  SHOW LARGER SIZE.

  10.1   Why do you say that? Again, please be as specific as possible.

         ___________________________________________________________

             Don't know


  SCREEN #21

  PROGRAMMER NOTE: SHOW IMAGES X1, X2, AND X3 (SMALLER SIZE). DISPLAY
  "Click image to enlarge" BELOW EACH IMAGE. WHEN AN IMAGE IS CLICKED,
  SHOW LARGER SIZE.

  10.2   What, if anything, can you tell me about (INSERT RESPONSE TO Q10.0)?       Again,
         please be as specific as possible.

         ___________________________________________________________

             Don't know




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                                    #:9775
  SCREEN #22

  PROGRAMMER NOTE: SHOW IMAGES X1, X2, AND X3 (SMALLER SIZE). DISPLAY
  "Click image to enlarge" BELOW EACH IMAGE. WHEN AN IMAGE IS CLICKED,
  SHOW LARGER SIZE.

  11.0   Do you believe this product...?
         PROGRAMMER NOTE: ROTATE FIRST TWO ALTERNATIVES. ALSO, ROTATE Q11.0
         AND Q12.0 SERIES.

         ___1.   IS being made or put out with the authorization or approval of any other
                 company or companies

         ___2.   is NOT being made or put out with the authorization or approval of any other
                 company or companies

         ___3.   don't know or have no opinion
                                PROGRAMMER NOTE: IF 'IS BEING MADE...,' CONTINUE;
                                               OTHERWISE, GO TO  SCREEN #26.


  SCREEN #23

  PROGRAMMER NOTE: SHOW IMAGES X1, X2, AND X3 (SMALLER SIZE). DISPLAY
  "Click image to enlarge" BELOW EACH IMAGE. WHEN AN IMAGE IS CLICKED,
  SHOW LARGER SIZE.

  11.1   What company or companies?     Please be as specific as possible.

         ___________________________________________________________

             Don't know GO TO SCREEN #26.


  SCREEN #24

  PROGRAMMER NOTE: SHOW IMAGES X1, X2, AND X3 (SMALLER SIZE). DISPLAY
  "Click image to enlarge" BELOW EACH IMAGE. WHEN AN IMAGE IS CLICKED,
  SHOW LARGER SIZE.

  11.2   Why do you say that? Again, please be as specific as possible.

         ___________________________________________________________

             Don't know


  SCREEN #25

  PROGRAMMER NOTE: SHOW IMAGES X1, X2, AND X3 (SMALLER SIZE). DISPLAY
  "Click image to enlarge" BELOW EACH IMAGE. WHEN AN IMAGE IS CLICKED,
  SHOW LARGER SIZE.

  11.3   What, if anything, can you tell me about (INSERT RESPONSE TO Q11.1)?         Again,
         please be as specific as possible.

         ___________________________________________________________

             Don't know
                                            - 79 -                               CONTROL CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 107 of 432 Page ID
                                    #:9776
  SCREEN #26

  PROGRAMMER NOTE: SHOW IMAGES X1, X2, AND X3 (SMALLER SIZE). DISPLAY
  "Click image to enlarge" BELOW EACH IMAGE. WHEN AN IMAGE IS CLICKED,
  SHOW LARGER SIZE.

  12.0   Do you believe that whoever makes or puts out this product...?
         PROGRAMMER NOTE: ROTATE FIRST TWO ALTERNATIVES. ALSO, ROTATE Q11.0
         AND Q12.0 SERIES.

         ___1.    HAS a business affiliation or business connection with any other company or
                  companies

         ___2.    does NOT have a business affiliation or business connection with any other
                  company or companies

         ___3.    don't know or have no opinion
                 PROGRAMMER NOTE: IF 'HAS A BUSINESS AFFILIATION...,' CONTINUE;
                                                OTHERWISE, GO TO  SCREEN #30.

  SCREEN #27

  PROGRAMMER NOTE: SHOW IMAGES X1, X2, AND X3 (SMALLER SIZE). DISPLAY
  "Click image to enlarge" BELOW EACH IMAGE. WHEN AN IMAGE IS CLICKED,
  SHOW LARGER SIZE.

  12.1   With what company or companies? Please be as specific as possible.

         ___________________________________________________________

             Don't know GO TO SCREEN #30.

  SCREEN #28

  PROGRAMMER NOTE: SHOW IMAGES X1, X2, AND X3 (SMALLER SIZE). DISPLAY
  "Click image to enlarge" BELOW EACH IMAGE. WHEN AN IMAGE IS CLICKED,
  SHOW LARGER SIZE.

  12.2   Why do you say that? Again, please be as specific as possible.

         ___________________________________________________________

             Don't know

  SCREEN #29

  PROGRAMMER NOTE: SHOW IMAGES X1, X2, AND X3 (SMALLER SIZE). DISPLAY
  "Click image to enlarge" BELOW EACH IMAGE. WHEN AN IMAGE IS CLICKED,
  SHOW LARGER SIZE.

  12.3   What, if anything, can you tell me about (INSERT RESPONSE TO Q12.1)?          Again,
         please be as specific as possible.

         ___________________________________________________________

             Don't know

  SCREEN #30

  13.0   Thank you for your time and participation.
                                             - 80 -                               CONTROL CELL
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                                    #:9777



                                          TABLE 7

                                      CONTROL CELL




  Q9.0 Who or what company do you believe makes or puts out this product?
       Please be as specific as possible.

  Q9.1 Why do you say that?       Again, please be as specific as possible.

  Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
       Again, please be as specific as possible.


                                                          Response Distribution
                                                        Number            Percent
  Response Categories                                                    (n=200)

    1. Orgain                                                --                 ---

    2. Protein Powder                                        4                  2.00

    3. Purely Inspired / Iovate                            132                 66.00

    4. Other company(s)                                     24                 12.00

    5. Don't know / None                                    40                 20.00

                Total                                      200                100.00




                                           - 81 -                             CONTROL CELL
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                             RESPONSE CATEGORIES
                            Questions 9.0 through 9.2

                                 CONTROL CELL




                            1. Orgain

                            2. Protein Powder

                            3. Purely Inspired / Iovate

                            4. Other company(s)

                            5. Don't know / None




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                                    #:9779



                             SURVEY RESPONSES
                               CONTROL CELL


  Q9.0 Who or what company do you believe makes or puts out this product?
       Please be as specific as possible.
  Q9.1 Why do you say that? Again, please be as specific as possible.
  Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
       Again, please be as specific as possible.


  RESPONSE CATEGORY 1: Orgain


        There are no responses in this category.




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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 111 of 432 Page ID
  Q9.0 Who or what company do you believe
                                    #:9780makes or puts out this product?
       Please be as specific as possible.
  Q9.1 Why do you say that? Again, please be as specific as possible.
  Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
       Again, please be as specific as possible.


  RESPONSE CATEGORY 2: Protein Powder

  RESPONDENT
    NUMBER   RESPONSE

      2027     Q9.0     Protein
               Q9.1     Protein Powder.
               Q9.2     Don't know.

      2088     Q9.0     Protein Powder.
               Q9.1     It is in bold print.
               Q9.2     Don't know.

      2122     Q9.0     Protein Powder. It is very innovate and premium these
                        brand.
               Q9.1     Because I say it is very important and interest possible for
                        the people.
               Q9.2     The protein it is very innovate and premium and interest in
                        the world.

      2174     Q9.0     Protein Powder.
               Q9.1     The title is bold on the front.
               Q9.2     Plant-based nutrition.




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  Q9.0 Who or what company do you believe
                                    #:9781makes or puts out this product?
       Please be as specific as possible.
  Q9.1 Why do you say that? Again, please be as specific as possible.
  Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
       Again, please be as specific as possible.


  RESPONSE CATEGORY 3: Purely Inspired / Iovate

  RESPONDENT
    NUMBER   RESPONSE

      2003     Q9.0     Purely Inspired.
               Q9.1     The text "purely inspired" appears at the top of the label
                        and it looks like a brand logo.
               Q9.2     I'm guessing it makes nutrition-related products such as
                        protein supplements.

      2004     Q9.0     Purely Inspired.
               Q9.1     On package.
               Q9.2     Reputable source.

      2006     Q9.0     Purely.
               Q9.1     It is what l saw.
               Q9.2     An excellent protein brand.

      2007     Q9.0     Purely Inspired.
               Q9.1     Top words.
               Q9.2     Healthy.

      2008     Q9.0     Purely Inspired.
               Q9.1     Because their name is right on the front and back of the
                        product.
               Q9.2     And it has the copy right R on the top right corner of their
                        name also.

      2009     Q9.0     Purelyinspired.
               Q9.1     On front and back label.
               Q9.2     Organic protein powder.

      2010     Q9.0     Purely Inspired.
               Q9.1     Based on the label.
               Q9.2     It is plant-based nutrition.

      2013     Q9.0     Purely Inspired.
               Q9.1     On label.
               Q9.2     Nothing.

      2017     Q9.0     Purely Inspired.
               Q9.1     Because its right on the package.
               Q9.2     Plant based. No artificial sweeteners.




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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 113 of 432 Page ID
  Q9.0 Who or what company do you believe
                                    #:9782makes or puts out this product?
       Please be as specific as possible.
  Q9.1 Why do you say that? Again, please be as specific as possible.
  Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
       Again, please be as specific as possible.


  RESPONSE CATEGORY 3: Purely Inspired / Iovate continued

  RESPONDENT
    NUMBER   RESPONSE

      2018     Q9.0     Purely Inspired.
               Q9.1     Because it printed on front and back of product.
               Q9.2     It's organic and plant-based nutrition (powder protein).

      2019     Q9.0     Purely Inspired.
               Q9.1     Name on package.
               Q9.2     Generic version.

      2020     Q9.0     Purely Inspired.
               Q9.1     It says on the label.
               Q9.2     Organic vegan.

      2021     Q9.0     Purely Inspired.
               Q9.1     To me, it's quite clear on the product itself.
               Q9.2     That it makes a plant-based protein powder with is non-
                        GMO and no artificial ingredients.

      2022     Q9.0     Purelyinspired.
               Q9.1     I really don't know who makes it, just the name on the
                        package.
               Q9.2     Don't know.

      2024     Q9.0     Purely Inspired.
               Q9.1     Says so right on the front.
               Q9.2     Don't know.

      2025     Q9.0     Purely Inspired.
               Q9.1     The name of the company is clearly shown above the
                        product name.
               Q9.2     It is a plant-based protein powder that you mix with your
                        desired liquid to get 20 grams of protein per serving
                        (although the ingredient list indicates 36 grams per
                        serving).

      2030     Q9.0     Purely Inspired.
               Q9.1     Because this is the name on the label.
               Q9.2     Non-GMO, its organic, and plant-based.

      2031     Q9.0     Purely Inspired.
               Q9.1     It is right on the label.
               Q9.2     They are another one of the players in the meal
                        replacement market. I was recently looking into some of
                        their products but ultimately decided not to purchase.

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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 114 of 432 Page ID
  Q9.0 Who or what company do you believe
                                    #:9783makes or puts out this product?
       Please be as specific as possible.
  Q9.1 Why do you say that? Again, please be as specific as possible.
  Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
       Again, please be as specific as possible.


  RESPONSE CATEGORY 3: Purely Inspired / Iovate continued

  RESPONDENT
    NUMBER   RESPONSE

      2032     Q9.0     Purely Inspired.
               Q9.1     That's the name on the package.
               Q9.2     It claims to be America's fastest growing supplement
                        brand, and its products are organic and GMO free.

      2033     Q9.0     Purely Inspired.
               Q9.1     There is a website for purelyinspired.com.
               Q9.2     I have never heard of the company before - but apparently
                        it makes plant-based nutrition products.

      2034     Q9.0     Purely Inspired.
               Q9.1     That's what it says on the container.
               Q9.2     It's plant-based nutrition.

      2037     Q9.0     Purely Inspired.
               Q9.1     It's on the package.
               Q9.2     Plant-based nutrition no artificial ingredients.

      2039     Q9.0     Purely Inspired.
               Q9.1     It is the first phrase on the container.
               Q9.2     It is based in the USA they are gluten free and non-GMO.
                        And, they are triple certified for purity, quality, and taste.

      2041     Q9.0     Purely Inspired.
               Q9.1     Written on the package description and the website at the
                        bottom of the label.
               Q9.2     Plant-based protein powder that is an organic formula.

      2042     Q9.0     Purely Inspired.
               Q9.1     That's the name above protein powder.
               Q9.2     It's non-GMO, plant-based 1.50 lbs.

      2043     Q9.0     Purely Inspired.
               Q9.1     Because of the company's name above Protein Powder.
               Q9.2     I don't know anything about this company. This is my first
                        time knowing about them.

      2044     Q9.0     Purely Inspired.
               Q9.1     On the package.
               Q9.2     Plant based.




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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 115 of 432 Page ID
  Q9.0 Who or what company do you believe
                                    #:9784makes or puts out this product?
       Please be as specific as possible.
  Q9.1 Why do you say that? Again, please be as specific as possible.
  Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
       Again, please be as specific as possible.


  RESPONSE CATEGORY 3: Purely Inspired / Iovate continued

  RESPONDENT
    NUMBER   RESPONSE

      2046     Q9.0     Purely Inspired.
               Q9.1     I really like everything about Purely Inspired. If I find out
                        my girl does not like it, the relationship is over.
               Q9.2     Don't know.

      2050     Q9.0     Purely Inspired.
               Q9.1     It's on the label.
               Q9.2     Don't know.

      2051     Q9.0     Purely Inspired.
               Q9.1     Because it says it on the can.
               Q9.2     I don't know much about it but I know it says it on the can
                        and it's made from natural plants.

      2054     Q9.0     Purely.
               Q9.1     It is titled Purely Inspired.
               Q9.2     They are the fastest growing protein supplement company.

      2055     Q9.0     Purely Inspired.
               Q9.1     It seems to be the brand name logo.
               Q9.2     Don't know.

      2057     Q9.0     Purely Inspired.
               Q9.1     Because above the identifying words that it is protein
                        powder are the words "purely inspired" with a leaf in the
                        middle and this looks like a brand name, logo.
               Q9.2     It is a plant-based product, organic, no added sugar or
                        artificial sweeteners, no artificial colors or flavors, the
                        flavor is French vanilla.

      2058     Q9.0     Purely Inspired.
               Q9.1     Seems to be the know on the front.
               Q9.2     It is a protein powder.

      2059     Q9.0     Purely Inspired.
               Q9.1     Is the brand.
               Q9.2     Nothing really.

      2060     Q9.0     Purely Inspired.
               Q9.1     Purely Inspired.
               Q9.2     Purely Inspired is a nutritional supplement company owned
                        by Iovate, the corporation behind popular meathead brands
                        MuscleTech and Six Star supplements.

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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 116 of 432 Page ID
  Q9.0 Who or what company do you believe
                                    #:9785makes or puts out this product?
       Please be as specific as possible.
  Q9.1 Why do you say that? Again, please be as specific as possible.
  Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
       Again, please be as specific as possible.


  RESPONSE CATEGORY 3: Purely Inspired / Iovate continued

  RESPONDENT
    NUMBER   RESPONSE

      2062     Q9.0     Purely Inspired.
               Q9.1     That's what it says on the label.
               Q9.2     It's America's #1 fastest growing supplement brand and is
                        USDA Organic.

      2064     Q9.0     Purely Inspired.
               Q9.1     The brand its clear in this package.
               Q9.2     It's nutrition plant-based, no artificial.

      2065     Q9.0     Purely Inspired.
               Q9.1     Because the name is on the front of the container.
               Q9.2     Americas# 1 fastest growing supplement brand.

      2067     Q9.0     Purely Inspired.
               Q9.1     Don't know.
               Q9.2     It is healthy.

      2071     Q9.0     Purely.
               Q9.1     No idea.
               Q9.2     Nothing.

      2072     Q9.0     Purely Inspired.
               Q9.1     Looks like the product name.
               Q9.2     Don't know.

      2073     Q9.0     Purely Inspired.
               Q9.1     Says it on the front.
               Q9.2     It's made from plants.

      2074     Q9.0     Purely Inspired.
               Q9.1     That's what wrote on the container.
               Q9.2     It has 20 grams of plant protein.

      2075     Q9.0     Purely Inspired.
               Q9.1     Saw name on 3rd image.
               Q9.2     Just what is on the label and now GMO.

      2076     Q9.0     Purely Inspired.
               Q9.1     It says it on the cover.
               Q9.2     Don't know.




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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 117 of 432 Page ID
  Q9.0 Who or what company do you believe
                                    #:9786makes or puts out this product?
       Please be as specific as possible.
  Q9.1 Why do you say that? Again, please be as specific as possible.
  Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
       Again, please be as specific as possible.


  RESPONSE CATEGORY 3: Purely Inspired / Iovate continued

  RESPONDENT
    NUMBER   RESPONSE

      2077     Q9.0     Purely Inspired.
               Q9.1     That's the name of it, the name of the Facebook and
                        Instagram pages as well.
               Q9.2     Plant-based nutrition.

      2078     Q9.0     Iovate.
               Q9.1     The company is known to made organic products.
               Q9.2     The company want to help people around the world with
                        good nutrition.

      2081     Q9.0     Purely Inspired.
               Q9.1     It is located at the top above the name of the product
                        where the brand name usually goes.
               Q9.2     It seems to be a nutrition brand that makes healthy protein
                        products.

      2082     Q9.0     Purely Inspired.
               Q9.1     Amazon.
               Q9.2     Provides great protein powder drink products.

      2083     Q9.0     Purely Inspired.
               Q9.1     Because that's the name on the front of the container.
               Q9.2     It is all natural, organic, plant-based, and nothing artificial
                        in it.

      2084     Q9.0     Purely Inspired.
               Q9.1     Don't know.
               Q9.2     Don't know.

      2085     Q9.0     Purely Inspired.
               Q9.1     Is the company that make this powder supplement.
               Q9.2     Is a plant-based protein powder that provide a high
                        amount of benefits like plant protein or fiber.

      2086     Q9.0     Purely Inspired.
               Q9.1     That's what it says on it.
               Q9.2     It's made with pure and good ingredients.

      2087     Q9.0     Purely Inspired.
               Q9.1     It has the name on the front.
               Q9.2     They make healthy nutrition products.




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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 118 of 432 Page ID
  Q9.0 Who or what company do you believe
                                    #:9787makes or puts out this product?
       Please be as specific as possible.
  Q9.1 Why do you say that? Again, please be as specific as possible.
  Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
       Again, please be as specific as possible.


  RESPONSE CATEGORY 3: Purely Inspired / Iovate continued

  RESPONDENT
    NUMBER   RESPONSE

      2089     Q9.0     Purely Inspired.
               Q9.1     Has their name on it and the way it looks.
               Q9.2     The make the best protein powder.

      2091     Q9.0     Purely.
               Q9.1     The name.
               Q9.2     Natural everything good and no bad stuff.

      2094     Q9.0     Purely Inspired.
               Q9.1     Inference based on the fact that the name is at the top of
                        the product, as with most all products.
               Q9.2     It is a naturally plant derived protein powder that contains
                        no artificial or GMO ingredients.

      2096     Q9.0     Purely Inspired.
               Q9.1     The name of the company is on the package.
               Q9.2     It's a company that makes natural supplements from pure
                        ingredients.

      2097     Q9.0     Purely Inspired.
               Q9.1     I can read the brand name on the label.
               Q9.2     Plant-based protein powder.

      2098     Q9.0     Purely Inspired.
               Q9.1     I see the name in bold letters.
               Q9.2     I see that this is a very healthy drink.

      2100     Q9.0     Purely Inspired.
               Q9.1     I see the brand name on the container.
               Q9.2     Don't know.

      2102     Q9.0     Purely Inspired.
               Q9.1     It is on the label.
               Q9.2     Don't know.

      2103     Q9.0     Purely Inspired.
               Q9.1     It is the name of the company or brand associated.
               Q9.2     It is a protein powder.

      2104     Q9.0     Purely.
               Q9.1     Because it's interesting.
               Q9.2     It's a, good, nice.



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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 119 of 432 Page ID
  Q9.0 Who or what company do you believe
                                    #:9788makes or puts out this product?
       Please be as specific as possible.
  Q9.1 Why do you say that? Again, please be as specific as possible.
  Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
       Again, please be as specific as possible.


  RESPONSE CATEGORY 3: Purely Inspired / Iovate continued

  RESPONDENT
    NUMBER   RESPONSE

      2105     Q9.0     Purely.
               Q9.1     It is a recognized brand.
               Q9.2     Produce high value nutritional products.

      2106     Q9.0     Purely Inspired.
               Q9.1     They're the brand listed above the name of the product.
               Q9.2     They create and sell plant-based protein powder.

      2108     Q9.0     I think the brand name is Purely Inspired.
               Q9.1     The company made it clear that that is the company's
                        name.
               Q9.2     It is plant based, and a healthy protein powder.

      2109     Q9.0     Purely Inspired.
               Q9.1     Says it.
               Q9.2     High quality.

      2110     Q9.0     Purely Inspired.
               Q9.1     I assume based off packaging the name of the company is
                        Purely Inspired.
               Q9.2     That it is plant-based protein powder.

      2111     Q9.0     Purely.
               Q9.1     It's on the bottle.
               Q9.2     They make healthy products.

      2112     Q9.0     Purely Inspired.
               Q9.1     Looks like it’s the name.
               Q9.2     It's from plants and organic.

      2113     Q9.0     Purely Inspired nutrition
               Q9.1     That's the site it says on the bottom of the bottle so I think
                        that is the maker of this product.
               Q9.2     Organic, natural, high protein, lots of fiber and low sugar
                        and no fat.

      2114     Q9.0     Purely Inspired.
               Q9.1     It's on the product.
               Q9.2     It's not artificial.

      2115     Q9.0     Purely Inspired.
               Q9.1     It says it right above protein powder.
               Q9.2     Don't know.

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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 120 of 432 Page ID
  Q9.0 Who or what company do you believe
                                    #:9789makes or puts out this product?
       Please be as specific as possible.
  Q9.1 Why do you say that? Again, please be as specific as possible.
  Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
       Again, please be as specific as possible.


  RESPONSE CATEGORY 3: Purely Inspired / Iovate continued

  RESPONDENT
    NUMBER   RESPONSE

      2116     Q9.0     Purely Inspired.
               Q9.1     Because it says.
               Q9.2     Organic products company.

      2118     Q9.0     Purely Inspired.
               Q9.1     It seems like it.
               Q9.2     It is plant-based nutrition and no artificial flavor.

      2120     Q9.0     Purely Inspired.
               Q9.1     It says it.
               Q9.2     Good product.

      2121     Q9.0     Purely Inspired.
               Q9.1     Don't know.
               Q9.2     Don't know.

      2123     Q9.0     Purely Inspired.
               Q9.1     Because the main title says so.
               Q9.2     It's plant-based and non-GMO.

      2124     Q9.0     Purely Inspired.
               Q9.1     Because it looks like that's the logo for the company.
               Q9.2     They deliver plant-based nutrition products.

      2125     Q9.0     Purely Inspired.
               Q9.1     It looks like it the name.
               Q9.2     It only makes natural products.

      2126     Q9.0     Purely Inspired.
               Q9.1     It specific said it on label.
               Q9.2     No artificial 1 gr sugar 7 g fiber.

      2127     Q9.0     Purely Inspired.
               Q9.1     It seem slide a company that would definitely sponsor this
                        product.
               Q9.2     I can tell that it is natural and an organic product.

      2130     Q9.0     Purely.
               Q9.1     Says it.
               Q9.2     Natural.




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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 121 of 432 Page ID
  Q9.0 Who or what company do you believe
                                    #:9790makes or puts out this product?
       Please be as specific as possible.
  Q9.1 Why do you say that? Again, please be as specific as possible.
  Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
       Again, please be as specific as possible.


  RESPONSE CATEGORY 3: Purely Inspired / Iovate continued

  RESPONDENT
    NUMBER   RESPONSE

      2131     Q9.0     Purely Inspired.
               Q9.1     Purely Inspired.
               Q9.2     It is a very good brand.

      2132     Q9.0     Purely Inspired.
               Q9.1     It's right on the front of the package.
               Q9.2     Don't know.

      2135     Q9.0     Purely Inspired.
               Q9.1     Well, I'm basing it off of at the top above where it says
                        protein powder at this Purely Inspired and to me that looks
                        like the company that makes.
               Q9.2     It's organic full of plant proteins very low sugar it's
                        probably really flavorful cuz it's vanilla so really, it's kind of
                        a very organic protein powder.

      2136     Q9.0     Purely Inspired.
               Q9.1     It's on the design.
               Q9.2     The are plant-based powder good for you.

      2138     Q9.0     Purely Inspired.
               Q9.1     Because that is what I believe is the brand.
               Q9.2     It's plant-based and organic with 20g of protein.

      2139     Q9.0     Purely Inspired.
               Q9.1     The product label.
               Q9.2     Plant-based protein powder.

      2140     Q9.0     Purely Inspired.
               Q9.1     Because of the brands name by a logo.
               Q9.2     It's organic protein powder brand.

      2142     Q9.0     Purely Inspired.
               Q9.1     That seems to be the name of the company that produces
                        it, since their logo is displayed a couple times.
               Q9.2     They seem to make protein powder and other nutrition
                        products, and seem to laud themselves on being non-GMO
                        and organic.

      2144     Q9.0     Purely Inspired.
               Q9.1     It's right on top of it.
               Q9.2     It looks organic.



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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 122 of 432 Page ID
  Q9.0 Who or what company do you believe
                                    #:9791makes or puts out this product?
       Please be as specific as possible.
  Q9.1 Why do you say that? Again, please be as specific as possible.
  Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
       Again, please be as specific as possible.


  RESPONSE CATEGORY 3: Purely Inspired / Iovate continued

  RESPONDENT
    NUMBER   RESPONSE

      2146     Q9.0     Purely Inspired.
               Q9.1     Because that is the name that I can find on the bottle.
               Q9.2     Don't know.

      2147     Q9.0     Purely Inspired.
               Q9.1     It's written on the product lol.
               Q9.2     It looks interesting, plus 20 grams of protein is aming for
                        this kinda product.

      2148     Q9.0     Purely Inspired.
               Q9.1     Listed on the label.
               Q9.2     They are made using natural ingredients.

      2149     Q9.0     Purely Inspired.
               Q9.1     I believe Purely Inspired created the product above
                        because it is shown in the front and back of the packaging.
               Q9.2     This product there is made out of natural organic
                        ingredients and the protein itself is a plant-based protein
                        which great.

      2150     Q9.0     Purely Inspired.
               Q9.1     I see this brand before.
               Q9.2     The title.

      2151     Q9.0     Purely Inspired.
               Q9.1     Says it on the package.
               Q9.2     Protein.

      2152     Q9.0     Purely Inspired.
               Q9.1     Written at top.
               Q9.2     It is a plant-based nutritional protein power.

      2153     Q9.0     Iovate Health Sciences.
               Q9.1     The label says distributed by Iovate Health Sciences.
               Q9.2     I never heard of the company.

      2154     Q9.0     Purely Inspired.
               Q9.1     Who knows.
               Q9.2     Plant based.

      2155     Q9.0     Purely Inspired.
               Q9.1     It is on the label.
               Q9.2     Don't know.

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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 123 of 432 Page ID
  Q9.0 Who or what company do you believe
                                    #:9792makes or puts out this product?
       Please be as specific as possible.
  Q9.1 Why do you say that? Again, please be as specific as possible.
  Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
       Again, please be as specific as possible.


  RESPONSE CATEGORY 3: Purely Inspired / Iovate continued

  RESPONDENT
    NUMBER   RESPONSE

      2156     Q9.0     Purely Inspired.
               Q9.1     Because of where it is located.
               Q9.2     It's a plant-based nutrition without any artificial
                        ingredients.

      2157     Q9.0     Purely Inspired.
               Q9.1     It shown in the image. And, I used it in past.
               Q9.2     It's organic product. It's a plant-based nutrition.

      2158     Q9.0     Purely Inspired.
               Q9.1     Asked what company make it so I answered.
               Q9.2     Sounds like a pretty good company that knows what it's
                        doing.

      2159     Q9.0     Purely impossible.
               Q9.1     It's what I see on the label.
               Q9.2     Plant-based product.

      2160     Q9.0     Purely Inspired.
               Q9.1     It says that on the container.
               Q9.2     It is a plant-based nutrition protein powder.

      2162     Q9.0     Purely Inspired, very good product and function.
               Q9.1     Is complete, proteinic, nice, useful and healthy.
               Q9.2     Good for my health and my family too.

      2163     Q9.0     Purely Inspired.
               Q9.1     It is written at the top of the product.
               Q9.2     It is plant-based nutrition.

      2165     Q9.0     Purely Inspired.
               Q9.1     The logo on front.
               Q9.2     Makes plant-based protein powder.

      2166     Q9.0     Purely Inspired.
               Q9.1     From looking at the product and package.
               Q9.2     It's a plant-based nutritional drink.

      2167     Q9.0     Purely Inspired.
               Q9.1     Logo appears in multiple places.
               Q9.2     Plant-based nutrition.




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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 124 of 432 Page ID
  Q9.0 Who or what company do you believe
                                    #:9793makes or puts out this product?
       Please be as specific as possible.
  Q9.1 Why do you say that? Again, please be as specific as possible.
  Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
       Again, please be as specific as possible.


  RESPONSE CATEGORY 3: Purely Inspired / Iovate continued

  RESPONDENT
    NUMBER   RESPONSE

      2168     Q9.0     Purely Inspired.
               Q9.1     It's listed right about the name of the product.
               Q9.2     Seems to take their inspiration from leaves.

      2170     Q9.0     Purely Inspired.
               Q9.1     I see the brand name on the top of the first photo.
               Q9.2     Like all the ingredients, very low carbs per serving, low
                        sugars, plant-based. Lots of vitamins and minerals.

      2171     Q9.0     Purely Inspired.
               Q9.1     It's on the label above the variety.
               Q9.2     Plant based; protein.

      2172     Q9.0     Purely Inspired.
               Q9.1     It is the main name listed on the label.
               Q9.2     They deal in plant-based nutrition.

      2175     Q9.0     Purely Inspired.
               Q9.1     It is on the label where I would normally see a company
                        name.
               Q9.2     That it is 20 grams of plant protein, organic, and also 7
                        grams of fiber and low sugar.

      2182     Q9.0     Purely Inspired.
               Q9.1     Purely Inspired protein powder.
               Q9.2     20 g plant protein.

      2183     Q9.0     Purely Inspired.
               Q9.1     Says it on the can.
               Q9.2     It's organic, FDA approved, high in protein, French vanilla
                        flavored.

      2186     Q9.0     Purely Inspired.
               Q9.1     I see the name of brand.
               Q9.2     It's clearly a good brand.

      2187     Q9.0     Purely.
               Q9.1     Purely Inspired.
               Q9.2     It's a protein powder.   It's help human bodies nutrition and
                        protein.




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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 125 of 432 Page ID
  Q9.0 Who or what company do you believe
                                    #:9794makes or puts out this product?
       Please be as specific as possible.
  Q9.1 Why do you say that? Again, please be as specific as possible.
  Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
       Again, please be as specific as possible.


  RESPONSE CATEGORY 3: Purely Inspired / Iovate continued

  RESPONDENT
    NUMBER   RESPONSE

      2188     Q9.0     Purely Inspired, a good protein company.
               Q9.1     They way it looks.
               Q9.2     Not much, but they look like a good company.

      2189     Q9.0     Purely.
               Q9.1     It's on the label.
               Q9.2     It's a company that sells healthy products.

      2190     Q9.0     Purely Inspired.
               Q9.1     Purely Inspired.
               Q9.2     They seem to be a company that tries to make pure, plant
                        ingredient health products.

      2191     Q9.0     Purely Inspired.
               Q9.1     It says it on the label.
               Q9.2     It's a plant-based protein powder.

      2193     Q9.0     Purely Inspired.
               Q9.1     Purely Inspired.
               Q9.2     Plant-base nutrition.

      2196     Q9.0     Purely Inspired.
               Q9.1     Looking at the outside of the package it clearly states the
                        name of the product and who makes this particular item.
               Q9.2     They produce protein powder and it claims that is plant-
                        based as well with minimum sugars and I believe you get
                        numerous servings out of the product as well.

      2197     Q9.0     Purely Inspired.
               Q9.1     It is shown good.
               Q9.2     It is very good.

      2199     Q9.0     Purely is product, good value.
               Q9.1     It is brand easy to use and safe.
               Q9.2     Brand good and I trust.

      2200     Q9.0     Purely Inspired.
               Q9.1     It looks to be prominently displayed on the packaging
                        several times.
               Q9.2     It looks like a company that is dedicated to creating health
                        items that are all natural and made only with the best
                        ingredients.



                                       - 98 -                            CONTROL CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 126 of 432 Page ID
  Q9.0 Who or what company do you believe
                                    #:9795makes or puts out this product?
       Please be as specific as possible.
  Q9.1 Why do you say that? Again, please be as specific as possible.
  Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
       Again, please be as specific as possible.


  RESPONSE CATEGORY 4: Other company(s)

  RESPONDENT
    NUMBER   RESPONSE

      2026     Q9.0     LactoSpore.
               Q9.1     Name at bottom of label.
               Q9.2     Don't know.

      2029     Q9.0     LactoSpore.
               Q9.1     Purely Inspired.
               Q9.2     Don't know.

      2038     Q9.0     Plant-based nutrition.
               Q9.1     Purely Inspired plant base.
               Q9.2     20 plant 7 fiber 1 sugar fruit and vegs blends 14 serving.

      2040     Q9.0     GNC.
               Q9.1     Looks like their product.
               Q9.2     The colors on the label.

      2048     Q9.0     It's a organic daily supplement for a healthy body.
               Q9.1     No artificial protein powder good for health.
               Q9.2     Purpose for the person workout at gym.

      2049     Q9.0     LactoSpore.
               Q9.1     I read it on the bottom of image 2.
               Q9.2     Plant protein, only 1g sugar, no artificial sweeteners colors
                        or flavors is non-GMO.

      2052     Q9.0     Scitec.
               Q9.1     Because generally speaking Scitec is known for healthy
                        supplements.
               Q9.2     Don't know
               Q9.2     It provides me with effective supplements.

      2061     Q9.0     LactoSpore.
               Q9.1     It has great brand value.
               Q9.2     Don't know
               Q9.2     It provides product containing dietary fiber, it is gluten-free
                        product.

      2066     Q9.0     Pure Protein.
               Q9.1     Because of the font and text.
               Q9.2     They offer protein powder and bars.




                                       - 99 -                             CONTROL CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 127 of 432 Page ID
  Q9.0 Who or what company do you believe
                                    #:9796makes or puts out this product?
       Please be as specific as possible.
  Q9.1 Why do you say that? Again, please be as specific as possible.
  Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
       Again, please be as specific as possible.


  RESPONSE CATEGORY 4: Other company(s) continued

  RESPONDENT
    NUMBER   RESPONSE

      2080     Q9.0     Dow.
               Q9.1     Good product.
               Q9.2     They make a lot of products.

      2093     Q9.0     LactoSpore.
               Q9.1     Because the product say it in the reverse.
               Q9.2     No more that we can see in the picture.

      2099     Q9.0     Nestlé.
               Q9.1     It's packaging looks like Nestlé product.
               Q9.2     Don't know.

      2101     Q9.0     I liked a lot the presentation of these products. They
                        seem very natural and have a lot of good properties.
               Q9.1     I liked a lot the description on the packaging, and the
                        presentation seems very natural to me.
               Q9.2     I liked a lot the colors and the images used on the
                        packaging, they make me feel that the product is natural
                        and well-made.

      2107     Q9.0     Sounds like a good project.
               Q9.1     Don't know.
               Q9.2     That it is plant based.

      2117     Q9.0     Because I like its presentation and description of the
                        product.
               Q9.1     Because I like the protein.
               Q9.2     I like the brand of protein.

      2119     Q9.0     A vegan inspired company.
               Q9.1     Because this product is plant-based.
               Q9.2     I believe they want to make vegan inspired product.

      2133     Q9.0     Pupmply.
               Q9.1     Don't know.
               Q9.2     It's a protein powder.

      2143     Q9.0     It's plant-based and shows the nutrients.
               Q9.1     It looks good and natural.
               Q9.2     It's natural.




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  Q9.0 Who or what company do you believe
                                    #:9797makes or puts out this product?
       Please be as specific as possible.
  Q9.1 Why do you say that? Again, please be as specific as possible.
  Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
       Again, please be as specific as possible.


  RESPONSE CATEGORY 4: Other company(s) continued

  RESPONDENT
    NUMBER   RESPONSE

      2145     Q9.0     I think a company that is vegan or plant-based created this
                        brand. A person that is into weight loss more than likely
                        created this.
               Q9.1     I say that because only a person on a weight lost journey
                        or are planning to be vegan would create something like
                        this.
               Q9.2     This powder looks like it as created to inspire others to lose
                        weight.

      2161     Q9.0     Nestlé Company.
               Q9.1     Quality and precision manufacture.
               Q9.2     It is a leading company in making natural and delicious
                        food.

      2169     Q9.0     Nestlé.
               Q9.1     It looks like the Nestlé products.
               Q9.2     I love Nestlé and all their products.

      2173     Q9.0     LactoSpore.
               Q9.1     In the logo.
               Q9.2     Don't know.

      2180     Q9.0     Plant-based protein.
               Q9.1     Pursley plan inspired.
               Q9.2     Not sure unless its soy.

      2192     Q9.0     Beyers.
               Q9.1     It has a creamy taste and flavor.
               Q9.2     It has some awesome flavors.




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  Q9.0 Who or what company do you believe
                                    #:9798makes or puts out this product?
       Please be as specific as possible.
  Q9.1 Why do you say that? Again, please be as specific as possible.
  Q9.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q9.0)?
       Again, please be as specific as possible.


  RESPONSE CATEGORY 5: Don't know / None

   RESPONDENT
     NUMBER

       2001
       2002
       2005
       2011
       2012
       2014
       2015
       2016
       2023
       2028
       2035
       2036
       2045
       2047
       2053
       2056
       2063
       2068
       2069
       2070
       2079
       2090
       2092
       2095
       2128
       2129
       2134
       2137
       2141
       2164
       2176
       2177
       2178
       2179
       2181
       2184
       2185
       2194
       2195
       2198




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                                    #:9799



                                          TABLE 8

                                      CONTROL CELL




  Q10.0 What other brand or brands, if any, do you believe are made or put out by
        whoever makes or puts out this product? Please be as specific as possible.

  Q10.1 Why do you say that?       Again, please be as specific as possible.

  Q10.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q10.0)?
        Again, please be as specific as possible.

                                                      Response Distribution
                                                                    Deduplicated
  Response Categories                           Number Percent Number Percent
                                                       (n=200)              (n=200)

     1. Orgain                                      2        1.00       2          1.00

     2. Protein Powder                              1        0.50

     3. Purely Inspired / Iovate                    3        1.50

     4. Other company(s)                            38      19.00

     5. Don't know / None                        156         78.00

                 Total                           200       100.00




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                            RESPONSE CATEGORIES
                           Questions 10.0 through 10.2

                                 CONTROL CELL




                         1. Orgain

                         2. Protein Powder

                         3. Purely Inspired / Iovate

                         4. Other company(s)

                         5. Don't know / None




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                                    #:9801



                                SURVEY RESPONSES
                                  CONTROL CELL


  Q10.0 What other brand or brands, if any, do you believe are made or put out by
        whoever makes or puts out this product? Please be as specific as possible.
  Q10.1 Why do you say that? Again, please be as specific as possible.
  Q10.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q10.0)?
        Again, please be as specific as possible.


  RESPONSE CATEGORY 1: Orgain

  RESPONDENT
    NUMBER   RESPONSE

      2094      Q10.0    Orgain.
                Q10.1    It's very similar in its marketing.
                Q10.2    It's plant derived protein powder.

      2157      Q10.0    Orgain.
                Q10.1    That is also a good brand.
                Q10.2    That is kind of similar product like Purely Inspired.




                                        - 105 -                            CONTROL CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 133 of 432 Page ID
  Q10.0 What other brand or brands, if any, do you believe are made or put out by
                                       #:9802
        whoever makes or puts out this product? Please be as specific as possible.
  Q10.1 Why do you say that? Again, please be as specific as possible.
  Q10.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q10.0)?
        Again, please be as specific as possible.


  RESPONSE CATEGORY 2: Protein Powder

  RESPONDENT
    NUMBER   RESPONSE

  2104          Q10.0    Protein Powder.
                Q10.1    Because it is interesting.
                Q10.2    It's a good powder.




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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 134 of 432 Page ID
  Q10.0 What other brand or brands, if any, do you believe are made or put out by
                                       #:9803
        whoever makes or puts out this product? Please be as specific as possible.
  Q10.1 Why do you say that? Again, please be as specific as possible.
  Q10.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q10.0)?
        Again, please be as specific as possible.


  RESPONSE CATEGORY 3: Purely Inspired / Iovate

  RESPONDENT
    NUMBER   RESPONSE

      2001      Q10.0    Purely Inspired.
                Q10.1    It's printed on the packaging.
                Q10.2    They make plant-based nutrition.

      2080      Q10.0    Purely Inspired.
                Q10.1    Says on package.
                Q10.2    Name is on packet.

      2174      Q10.0    Purely Inspired.
                Q10.1    I don't know.
                Q10.2    I never heard of them.




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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 135 of 432 Page ID
  Q10.0 What other brand or brands, if any, do you believe are made or put out by
                                       #:9804
        whoever makes or puts out this product? Please be as specific as possible.
  Q10.1 Why do you say that? Again, please be as specific as possible.
  Q10.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q10.0)?
        Again, please be as specific as possible.


  RESPONSE CATEGORY 4: Other company(s)

      2004      Q10.0    Nutrients.
                Q10.1    Health source.
                Q10.2    Healthy intake.

      2005      Q10.0    Under Armor.
                Q10.1    I could not think of another company.
                Q10.2    It is a comp-any that promotes fitness.

      2031      Q10.0    Maybe a company called Muscle Milk.
                Q10.1    Muscle Milk is in that market. Protein drink.
                Q10.2    They seem to be the most popular.

      2038      Q10.0    French vanilla.
                Q10.1    Don't know.
                Q10.2    New great taste.

      2039      Q10.0    GNC, Pure Protein, Phase 8.
                Q10.1    They are protein powder products.
                Q10.2    GNC is a sports based store that sells things of that nature,
                         Pure Protein is a product line that sells all thing protein
                         based, Phase 8 is the present protein powder that I am
                         using.

      2041      Q10.0    Orgami.
                Q10.1    Don't know.
                Q10.2    An organic protein powder that is widely available and that
                         uses natural flavors with added fiber.

      2051      Q10.0    Plants, artificial fruits.
                Q10.1    Because it clearly says it on the can.
                Q10.2    You can tell it's made with these ingredients.

      2060      Q10.0    Organic Super Greens.
                Q10.1    Organic Super Greens Powder.
                Q10.2    Organic Super Greens Powder with Superfoods &
                         Multivitamins (Non-GMO, Gluten Free, Vegan Friendly),
                         Unflavored, 24 servings.

      2061      Q10.0    Nestlé.
                Q10.1    It is excellent in producing protein powder.
                Q10.2    Unbelievable.

      2064      Q10.0    USDA, organic.
                Q10.1    It's marked brand in this package.
                Q10.2    Brand represents, high quality.



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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 136 of 432 Page ID
  Q10.0 What other brand or brands, if any, do you believe are made or put out by
                                       #:9805
        whoever makes or puts out this product? Please be as specific as possible.
  Q10.1 Why do you say that? Again, please be as specific as possible.
  Q10.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q10.0)?
        Again, please be as specific as possible.


  RESPONSE CATEGORY 4: Other company(s) continued

      2067      Q10.0    Organic company.
                Q10.1    Because it is plant based so it is organic.
                Q10.2    Don't know.

      2068      Q10.0    Trivita.
                Q10.1    Heard thy have it.
                Q10.2    I was trying a product of theirs now.

      2070      Q10.0    New brand.
                Q10.1    The brand is very important.
                Q10.2    Don't know.

      2082      Q10.0    Energy nutrition     bars.
                Q10.1    Amazon.
                Q10.2    For health body.

      2085      Q10.0    Maybe Premier Protein.
                Q10.1    That brand offer similar benefits.
                Q10.2    Are a series or supplement shakes that boost your health
                         and physical performance, give you proteins and fiber.

      2087      Q10.0    GNC products that have powders.
                Q10.1    Same type of product, powdered protein drinks.
                Q10.2    They are healthy choice of drinks.

      2091      Q10.0    GNC.
                Q10.1    Looks like their products.
                Q10.2    Vitamin shop.

      2099      Q10.0    Silk.
                Q10.1    I just guess.
                Q10.2    Don't know.

      2107      Q10.0    Vitamins.
                Q10.1    Sounds healthy.
                Q10.2    Healthy ingredients.

      2108      Q10.0    Nestlé.
                Q10.1    Would fit their line of products nicely.
                Q10.2    Good brand good products.

      2113      Q10.0    Protein shakes, protein bars, keto supplements.
                Q10.1    Don't know.
                Q10.2    They are high energy, low fat and low sugar.




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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 137 of 432 Page ID
  Q10.0 What other brand or brands, if any, do you believe are made or put out by
                                       #:9806
        whoever makes or puts out this product? Please be as specific as possible.
  Q10.1 Why do you say that? Again, please be as specific as possible.
  Q10.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q10.0)?
        Again, please be as specific as possible.


  RESPONSE CATEGORY 4: Other company(s) continued

      2122      Q10.0    I liked it is very premium.
                Q10.1    I say it is very innovate and premium.
                Q10.2    I liked it is very good and important in the world.

      2127      Q10.0    Nestlé could fall under this category.
                Q10.1    It is very organic.
                Q10.2    It is very organic.

      2130      Q10.0    Rx.
                Q10.1    Natural.
                Q10.2    Positive.

      2139      Q10.0    Ice cream.
                Q10.1    The back of the package.
                Q10.2    Like the design.

      2142      Q10.0    Other flavors of protein powder.
                Q10.1    Some people might want another flavor.
                Q10.2    Don't know.

      2145      Q10.0    Herbalife.
                Q10.1    Herbal life is a powder brand just like this one.
                Q10.2    It's a weight lost powder.

      2154      Q10.0    Protein.
                Q10.1    I think so.
                Q10.2    It's non-GMO and plant-based.

      2159      Q10.0    Other supplements.
                Q10.1    Written on package.
                Q10.2    Don't know.

      2161      Q10.0    Company Bamalat.
                Q10.1    All are giant and famous companies.
                Q10.2    A famous and international company since ancient times.

      2162      Q10.0    Nestlé or Unilever.
                Q10.1    Is very professional and good.
                Q10.2    Is very good brand.

      2171      Q10.0    Six Star, Pure Protein.
                Q10.1    Don't know.
                Q10.2    They are protein powders.




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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 138 of 432 Page ID
  Q10.0 What other brand or brands, if any, do you believe are made or put out by
                                       #:9807
        whoever makes or puts out this product? Please be as specific as possible.
  Q10.1 Why do you say that? Again, please be as specific as possible.
  Q10.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q10.0)?
        Again, please be as specific as possible.


  RESPONSE CATEGORY 4: Other company(s) continued

      2178      Q10.0    Whey.
                Q10.1    It produce same products.
                Q10.2    Has great product for body building.

      2180      Q10.0    Purely plant.
                Q10.1    The logo.
                Q10.2    No artificial ingredients.

      2183      Q10.0    GNC.
                Q10.1    They make these types of product.
                Q10.2    They sell health and workout products.

      2186      Q10.0    Dano.
                Q10.1    It's a, another good product.
                Q10.2    It's a good brand also.

      2192      Q10.0    It has the nutrition nets and vitamins.
                Q10.1    It will curve down the calories.
                Q10.2    It is good for your heart.

      2193      Q10.0    No artificial flavors.
                Q10.1    No artificial flavors.
                Q10.2    Non-GMO.




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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 139 of 432 Page ID
  Q10.0 What other brand or brands, if any, do you believe are made or put out by
                                       #:9808
        whoever makes or puts out this product? Please be as specific as possible.
  Q10.1 Why do you say that? Again, please be as specific as possible.
  Q10.2 What, if anything, can you tell me about (INSERT RESPONSE TO Q10.0)?
        Again, please be as specific as possible.


  RESPONSE CATEGORY 5: Don't know / None

    RESPONDENT            RESPONDENT             RESPONDENT           RESPONDENT
      NUMBER                NUMBER                 NUMBER               NUMBER

        2002                  2053                  2114                  2169
        2003                  2054                  2115                  2170
        2006                  2055                  2116                  2172
        2007                  2056                  2117                  2173
        2008                  2057                  2118                  2175
        2009                  2058                  2119                  2176
        2010                  2059                  2120                  2177
        2011                  2062                  2121                  2179
        2012                  2063                  2123                  2181
        2013                  2065                  2124                  2182
        2014                  2066                  2125                  2184
        2015                  2069                  2126                  2185
        2016                  2071                  2128                  2187
        2017                  2072                  2129                  2188
        2018                  2073                  2131                  2189
        2019                  2074                  2132                  2190
        2020                  2075                  2133                  2191
        2021                  2076                  2134                  2194
        2022                  2077                  2135                  2195
        2023                  2078                  2136                  2196
        2024                  2079                  2137                  2197
        2025                  2081                  2138                  2198
        2026                  2083                  2140                  2199
        2027                  2084                  2141                  2200
        2028                  2086                  2143
        2029                  2088                  2144
        2030                  2089                  2146
        2032                  2090                  2147
        2033                  2092                  2148
        2034                  2093                  2149
        2035                  2095                  2150
        2036                  2096                  2151
        2037                  2097                  2152
        2040                  2098                  2153
        2042                  2100                  2155
        2043                  2101                  2156
        2044                  2102                  2158
        2045                  2103                  2160
        2046                  2105                  2163
        2047                  2106                  2164
        2048                  2109                  2165
        2049                  2110                  2166
        2050                  2111                  2167
        2052                  2112                  2168
                                       - 112 -                         CONTROL CELL
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                                    #:9809




                                            TABLE 9

                                        CONTROL CELL




  Q11.0    Do you believe this product...?
            1. IS being made or put out with the authorization or approval of any
               other company or companies
            2. is NOT being made or put out with the authorization or approval of any
               other company or companies
            3. don't know or have no opinion

  Q11.1    What company or companies?         Please be as specific as possible.

  Q11.2    Why do you say that?       Again, please be as specific as possible.

  Q11.3    What, if anything, can you tell me about (INSERT RESPONSE TO Q11.1)?
               Again, please be as specific as possible.


                                                        Response Distribution
                                                                       Deduplicated
  Response Categories                            Number   Percent  Number      Percent
                                                         (n=200)              (n=200)
  1. Is being made or put out with
     authorization or approval

       •   Orgain                                   --         ---         --           ---
       •   Protein Powder                            1        0.50
       •   Purely Inspired / Iovate                16         8.00
       •   Other company(s)                        24        12.00
       •   Don't know / None                       57        28.50

                Subtotal                           98        49.00

  2. Is not being made or put out with
     authorization or approval                     42        21.00

  3. Don't know/no opinion                         60        30.00

                Total                             200       100.00




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                              RESPONSE CATEGORIES
                             Questions 11.0 through 11.3

                                    CONTROL CELL




                 1. Is being made or put out with authorization or approval

                      •   Orgain
                      •   Protein Powder
                      •   Purely Inspired / Iovate
                      •   Other company(s)
                      •   Don't know / None

                 2. Is not being made or put out with authorization or approval

                 3. Don't know/No opinion




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                                   SURVEY RESPONSES
                                     CONTROL CELL


  Q11.0    Do you believe this product...?
            1. IS being made or put out with the authorization or approval of any
               other company or companies
            2. is NOT being made or put out with the authorization or approval of any
               other company or companies
            3. don't know or have no opinion
  Q11.1    With what company or companies? Please be as specific as possible.
  Q11.2    Why do you say that? Again, please be as specific as possible.
  Q11.3    What, if anything, can you tell me about (INSERT RESPONSE TO Q11.1)?
           Again, please be as specific as possible.


  RESPONSE CATEGORY 1: Is being made or put out with authorization or approval
                       - Orgain


          There are no responses in this category.




                                         - 115 -                         CONTROL CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 143 of 432 Page ID
  Q11.0 Do you believe this product...?#:9812
           1. IS being made or put out with the authorization or approval of any
              other company or companies
           2. is NOT being made or put out with the authorization or approval of any
              other company or companies
           3. don't know or have no opinion
  Q11.1   With what company or companies? Please be as specific as possible.
  Q11.2   Why do you say that? Again, please be as specific as possible.
  Q11.3   What, if anything, can you tell me about (INSERT RESPONSE TO Q11.1)?
          Again, please be as specific as possible.


  RESPONSE CATEGORY 1: Is being made or put out with authorization or approval
                       - Protein Powder
  RESPONDENT
    NUMBER   RESPONSE

      2104      Q11.0    One.
                Q11.1    Protein powder.
                Q11.2    Because it is interesting.
                Q11.3    It's a good powder




                                        - 116 -                         CONTROL CELL
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 144 of 432 Page ID
  Q11.0 Do you believe this product...?#:9813
           1. IS being made or put out with the authorization or approval of any
              other company or companies
           2. is NOT being made or put out with the authorization or approval of any
              other company or companies
           3. don't know or have no opinion
  Q11.1   With what company or companies? Please be as specific as possible.
  Q11.2   Why do you say that? Again, please be as specific as possible.
  Q11.3   What, if anything, can you tell me about (INSERT RESPONSE TO Q11.1)?
          Again, please be as specific as possible.


  RESPONSE CATEGORY 1: Is being made or put out with authorization or approval
                       - Purely Inspired / Iovate
  RESPONDENT
    NUMBER   RESPONSE

      2008      Q11.0    One.
                Q11.1    Purely Inspired.
                Q11.2    There names all over the product.
                Q11.3    Don't know.

      2018      Q11.0    One.
                Q11.1    Purely Inspired.
                Q11.2    On front and back label.
                Q11.3    Protein powder that's plant-based nutrition / USDA organic.

      2039      Q11.0    One.
                Q11.1    Iovate Health Sciences, LactoSpore, National Foundation
                         for Celiac Awareness.
                Q11.2    It is on the label.
                Q11.3    They are different companies.

      2047      Q11.0    One.
                Q11.1    Purely.
                Q11.2    Don't know.
                Q11.3    Don't know.

      2058      Q11.0    One.
                Q11.1    Purely Inspired.
                Q11.2    The name is on the front.
                Q11.3    It is plant-based.

      2060      Q11.0    One.
                Q11.1    Purely Inspired.
                Q11.2    Purely Inspired.
                Q11.3    Purely Inspired is a nutritional supplement company owned
                         by Iovate, the corporation behind popular meathead brands
                         MuscleTech and Six Star supplements.




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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 145 of 432 Page ID
  Q11.0 Do you believe this product...?#:9814
           1. IS being made or put out with the authorization or approval of any
              other company or companies
           2. is NOT being made or put out with the authorization or approval of any
              other company or companies
           3. don't know or have no opinion
  Q11.1   With what company or companies? Please be as specific as possible.
  Q11.2   Why do you say that? Again, please be as specific as possible.
  Q11.3   What, if anything, can you tell me about (INSERT RESPONSE TO Q11.1)?
          Again, please be as specific as possible.


  RESPONSE CATEGORY 1: Is being made or put out with authorization or approval
                       - Purely Inspired / Iovate continued
  RESPONDENT
    NUMBER   RESPONSE

      2064      Q11.0    One.
                Q11.1    Purely Inspired, spore.
                Q11.2    The brand its marked.
                Q11.3    Contain high quality products.

      2116      Q11.0    One.
                Q11.1    Purely Inspired.
                Q11.2    Because it has the name on it.
                Q11.3    Company that works with organic products.

      2118      Q11.0    One.
                Q11.1    Purely Inspired protein powder.
                Q11.2    Because it is.
                Q11.3    Great taste.

      2145      Q11.0    One.
                Q11.1    Purely Inspired.
                Q11.2    It's on the can.
                Q11.3    It's a weight lost powder.

      2154      Q11.0    One.
                Q11.1    Purely Inspired.
                Q11.2    The name.
                Q11.3    Makes health products.

      2157      Q11.0    One.
                Q11.1    Purely Inspired.
                Q11.2    I know the brand very well.
                Q11.3    It's really good.

      2174      Q11.0    One.
                Q11.1    Purely Inspired.
                Q11.2    I don't know.
                Q11.3    A healthy brand.




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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 146 of 432 Page ID
  Q11.0 Do you believe this product...?#:9815
           1. IS being made or put out with the authorization or approval of any
              other company or companies
           2. is NOT being made or put out with the authorization or approval of any
              other company or companies
           3. don't know or have no opinion
  Q11.1   With what company or companies? Please be as specific as possible.
  Q11.2   Why do you say that? Again, please be as specific as possible.
  Q11.3   What, if anything, can you tell me about (INSERT RESPONSE TO Q11.1)?
          Again, please be as specific as possible.


  RESPONSE CATEGORY 1: Is being made or put out with authorization or approval
                       - Purely Inspired / Iovate continued
  RESPONDENT
    NUMBER   RESPONSE

      2187      Q11.0    One.
                Q11.1    Purely.
                Q11.2    Purely.
                Q11.3    Don't know.

      2189      Q11.0    One.
                Q11.1    Purely.
                Q11.2    It's on the label.
                Q11.3    I just told you.

      2193      Q11.0    One.
                Q11.1    Purely Inspired.
                Q11.2    Name of the company.
                Q11.3    Plant-base nutrition.




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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 147 of 432 Page ID
  Q11.0 Do you believe this product...?#:9816
           1. IS being made or put out with the authorization or approval of any
              other company or companies
           2. is NOT being made or put out with the authorization or approval of any
              other company or companies
           3. don't know or have no opinion
  Q11.1   With what company or companies? Please be as specific as possible.
  Q11.2   Why do you say that? Again, please be as specific as possible.
  Q11.3   What, if anything, can you tell me about (INSERT RESPONSE TO Q11.1)?
          Again, please be as specific as possible.


  RESPONSE CATEGORY 1: Is being made or put out with authorization or approval
                       - Other company(s)
  RESPONDENT
    NUMBER   RESPONSE

      2040      Q11.0    One.
                Q11.1    GNC.
                Q11.2    It looks like the products they sell.
                Q11.3    They have good items.

      2061      Q11.0    One.
                Q11.1    MuscleTech.
                Q11.2    Tremendous value.
                Q11.3    Protein powder producing brand.

      2080      Q11.0    One.
                Q11.1    Dow.
                Q11.2    Good brand.
                Q11.3    Make a lot.

      2082      Q11.0    One.
                Q11.1    Amazon.
                Q11.2    Nutrition.
                Q11.3    Has great    protein   products available.

      2085      Q11.0    One.
                Q11.1    The USDA.
                Q11.2    That organization confirm the authenticity of this product.
                Q11.3    Nothing more.

      2091      Q11.0    One.
                Q11.1    GNC.
                Q11.2    Looks like their products.
                Q11.3    Great vitamin company.




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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 148 of 432 Page ID
  Q11.0 Do you believe this product...?#:9817
           1. IS being made or put out with the authorization or approval of any
              other company or companies
           2. is NOT being made or put out with the authorization or approval of any
              other company or companies
           3. don't know or have no opinion
  Q11.1   With what company or companies? Please be as specific as possible.
  Q11.2   Why do you say that? Again, please be as specific as possible.
  Q11.3   What, if anything, can you tell me about (INSERT RESPONSE TO Q11.1)?
          Again, please be as specific as possible.


  RESPONSE CATEGORY 1: Is being made or put out with authorization or approval
                       - Other company(s) continued
  RESPONDENT
    NUMBER   RESPONSE

      2096      Q11.0    One.
                Q11.1    I don't know, maybe Purely Inspired is owned ny a larger
                         corporation? Probably not but its possible.
                Q11.2    I don't think it, I just meant it was possible. Don't see any
                         other companies advertised on the package though.
                Q11.3    Nothing. I'm most likely wrong. Purely Inspired is
                         probably the only company involved.

      2108      Q11.0    One.
                Q11.1    USDA.
                Q11.2    It says it on the package.
                Q11.3    They ensure products are okay to consume.

      2112      Q11.0    One.
                Q11.1    USDA.
                Q11.2    Cuz they have label on it.
                Q11.3    The like something as organic.

      2122      Q11.0    One.
                Q11.1    Because the company it is very good and important.
                Q11.2    Because I say is very interest and important.
                Q11.3    Because the company it is very important and good.

      2125      Q11.0    One.
                Q11.1    USDA.
                Q11.2    Don't know.
                Q11.3    Don't know.

      2127      Q11.0    One.
                Q11.1    Nestlé.
                Q11.2    It is very similar.
                Q11.3    It is a very popular brand.

      2130      Q11.0    One.
                Q11.1    Rx.
                Q11.2    Truth.
                Q11.3    Natural.



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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 149 of 432 Page ID
  Q11.0 Do you believe this product...?#:9818
           1. IS being made or put out with the authorization or approval of any
              other company or companies
           2. is NOT being made or put out with the authorization or approval of any
              other company or companies
           3. don't know or have no opinion
  Q11.1   With what company or companies? Please be as specific as possible.
  Q11.2   Why do you say that? Again, please be as specific as possible.
  Q11.3   What, if anything, can you tell me about (INSERT RESPONSE TO Q11.1)?
          Again, please be as specific as possible.


  RESPONSE CATEGORY 1: Is being made or put out with authorization or approval
                       - Other company(s) continued
  RESPONDENT
    NUMBER   RESPONSE

      2142      Q11.0    One.
                Q11.1    The FDA and USDA would have to approve this.
                Q11.2    Because the FDA has to approve everything, otherwise it's
                         illegal.
                Q11.3    If the FDA doesn't approve the product it cannot be sold.

      2149      Q11.0    One.
                Q11.1    The USDA and non-GMO companies are shown there.
                Q11.2    They are representing the brand and are approving it.
                Q11.3    They are there to tell you what they represent and what
                         they approve.

      2153      Q11.0    One.
                Q11.1    Sabinsa Corp.
                Q11.2    It says on the label that is where lacto spore is from.
                Q11.3    Don't know.

      2156      Q11.0    One.
                Q11.1    LactoSpore and part of a corporation.
                Q11.2    Because of what I see on the middle picture to the left of
                         the bar code.
                Q11.3    Don't know.

      2167      Q11.0    One.
                Q11.1    LactoSpore.
                Q11.2    Appears near UPC code.
                Q11.3    Belns to Sabria Corp.

      2169      Q11.0    One.
                Q11.1    Nestlé.
                Q11.2    Don't know.
                Q11.3    It's for people like me.




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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 150 of 432 Page ID
  Q11.0 Do you believe this product...?#:9819
           1. IS being made or put out with the authorization or approval of any
              other company or companies
           2. is NOT being made or put out with the authorization or approval of any
              other company or companies
           3. don't know or have no opinion
  Q11.1   With what company or companies? Please be as specific as possible.
  Q11.2   Why do you say that? Again, please be as specific as possible.
  Q11.3   What, if anything, can you tell me about (INSERT RESPONSE TO Q11.1)?
          Again, please be as specific as possible.


  RESPONSE CATEGORY 1: Is being made or put out with authorization or approval
                       - Other company(s) continued
  RESPONDENT
    NUMBER   RESPONSE

      2170      Q11.0    One.
                Q11.1    I see that its says 100% organic. on the back of the label
                         in picture two there are 3 logos from companies that give
                         its approval. these are certifications.
                Q11.2    Seeing it on the labels.
                Q11.3    Knowing that these are certifications of approval.

      2184      Q11.0    One.
                Q11.1    USDA company.
                Q11.2    Don't know.
                Q11.3    N0ne.

      2186      Q11.0    One.
                Q11.1    Nido.
                Q11.2    Nido.
                Q11.3    It's a good product of brand.

      2192      Q11.0    One.
                Q11.1    Got milk.
                Q11.2    Don't know.
                Q11.3    Don't know.

      2199      Q11.0    One.
                Q11.1    USDA.
                Q11.2    Brand good quality.
                Q11.3    It easy to use and safe.




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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 151 of 432 Page ID
  Q11.0 Do you believe this product...?#:9820
           1. IS being made or put out with the authorization or approval of any
              other company or companies
           2. is NOT being made or put out with the authorization or approval of any
              other company or companies
           3. don't know or have no opinion
  Q11.1   With what company or companies? Please be as specific as possible.
  Q11.2   Why do you say that? Again, please be as specific as possible.
  Q11.3   What, if anything, can you tell me about (INSERT RESPONSE TO Q11.1)?
          Again, please be as specific as possible.


  RESPONSE CATEGORY 1: Is being made or put out with authorization or approval
                       - Don't know / None

    RESPONDENT              RESPONDENT
      NUMBER                  NUMBER

          2002                  2120
          2005                  2121
          2006                  2126
          2011                  2128
          2020                  2129
          2021                  2131
          2027                  2132
          2028                  2133
          2030                  2134
          2036                  2135
          2042                  2138
          2045                  2141
          2046                  2146
          2050                  2148
          2053                  2150
          2056                  2155
          2059                  2163
          2063                  2164
          2066                  2176
          2067                  2177
          2069                  2180
          2070                  2181
          2078                  2188
          2084                  2194
          2089
          2097
          2098
          2099
          2107
          2110
          2114
          2117
          2119
                                       - 124 -                          CONTROL CELL
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                                    #:9821



                                            TABLE 10

                                         CONTROL CELL




  Q12.0     Do you believe that whoever makes or puts out this product...?
             1. HAS a business affiliation or business connection with any other
                company or companies
             2. does NOT have a business affiliation or business connection with any
                other company or companies
             3. don't know or have no opinion

  Q12.1     With what company or companies?         Please be as specific as possible.

  Q12.2     Why do you say that?       Again, please be as specific as possible.

  Q12.3     What, if anything, can you tell me about (INSERT RESPONSE TO Q12.1)?
                Again, please be as specific as possible.


                                                         Response Distribution
                                                                        Deduplicated
  Response Categories                             Number   Percent   Number     Percent
                                                          (n=200)              (n=200)
  1. Has a business affiliation or
     connection

        •   Orgain                                   --         ---         --           ---
        •   Protein Powder                           --         ---
        •   Purely Inspired / Iovate                  6        3.00
        •   Other company(s)                        15         7.50
        •   Don't know / None                       45        22.50

                 Subtotal                           66        33.00

  2. Does not have a business affiliation           63        31.50
     or business connection

  3. Don't know/no opinion                          71        35.50

                 Total                             200       100.00




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                                    #:9822



                              RESPONSE CATEGORIES
                             Questions 12.0 through 12.3

                                    CONTROL CELL




                 1. Has a business affiliation or connection

                      •   Orgain
                      •   Protein Powder
                      •   Purely Inspired / Iovate
                      •   Other company(s)
                      •   Don't know / None


                 2. Does not have a business affiliation or connection

                 3. Don't know/No opinion




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                                    #:9823



                             SURVEY RESPONSES
                               CONTROL CELL


  Q12.0   Do you believe that whoever makes or puts out this product...?
           1. HAS a business affiliation or business connection with any other
              company or companies?
           2. does NOT have a business affiliation or business connection with any
              other company or companies?
           3. don't know or have no opinion?
  Q12.1   With what company or companies? Please be as specific as possible.
  Q12.2   Why do you say that? Again, please be as specific as possible.
  Q12.3   What, if anything, can you tell me about (INSERT RESPONSE TO Q12.1)?
          Again, please be as specific as possible.


  RESPONSE CATEGORY 1: Has a business affiliation or connection
                       – Orgain


      There are no responses in this category.




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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 155 of 432 Page ID
  Q12.0 Do you believe that whoever makes
                                     #:9824or puts out this product...?
            1. HAS a business affiliation or business connection with any other
               company or companies
            2. does NOT have a business affiliation or business connection with any
               other company or companies
            3. don't know or have no opinion
  Q12.1    With what company or companies? Please be as specific as possible.
  Q12.2    Why do you say that? Again, please be as specific as possible.
  Q12.3    What, if anything, can you tell me about (INSERT RESPONSE TO Q12.1)?
           Again, please be as specific as possible.


  RESPONSE CATEGORY 1: Has a business affiliation or connection
                       – Protein Powder
  RESPONDENT
    NUMBER   RESPONSE


          There are no responses in this category.




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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 156 of 432 Page ID
  Q12.0 Do you believe that whoever makes
                                     #:9825or puts out this product...?
           1. HAS a business affiliation or business connection with any other
              company or companies
           2. does NOT have a business affiliation or business connection with any
              other company or companies
           3. don't know or have no opinion
  Q12.1   With what company or companies? Please be as specific as possible.
  Q12.2   Why do you say that? Again, please be as specific as possible.
  Q12.3   What, if anything, can you tell me about (INSERT RESPONSE TO Q12.1)?
          Again, please be as specific as possible.


  RESPONSE CATEGORY 1: Has a business affiliation or connection
                       - Purely Inspired / Iovate
  RESPONDENT
    NUMBER   RESPONSE

      2060      Q12.0    One.
                Q12.1    Iovate.
                Q12.2    Iovate.
                Q12.3    Iovate, the corporation behind popular meathead brands
                         MuscleTech and Six Star supplements.

      2087      Q12.0    One.
                Q12.1    Purely Inspired.
                Q12.2    It has the name on it.
                Q12.3    They make healthy protein drinks.

      2130      Q12.0    One.
                Q12.1    Purely.
                Q12.2    Truth.
                Q12.3    Natural.

      2136      Q12.0    One.
                Q12.1    Purely Inspired.
                Q12.2    It's on the cover and design.
                Q12.3    It's good for you healthy.

      2145      Q12.0    One.
                Q12.1    Purely Inspired.
                Q12.2    It's on the can.
                Q12.3    It's a weight lost powder.

      2187      Q12.0    One.
                Q12.1    Purely.
                Q12.2    Purely.
                Q12.3    It's a protein powder.




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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 157 of 432 Page ID
  Q12.0 Do you believe that whoever makes
                                     #:9826or puts out this product...?
           1. HAS a business affiliation or business connection with any other
              company or companies
           2. does NOT have a business affiliation or business connection with any
              other company or companies
           3. don't know or have no opinion
  Q12.1   With what company or companies? Please be as specific as possible.
  Q12.2   Why do you say that? Again, please be as specific as possible.
  Q12.3   What, if anything, can you tell me about (INSERT RESPONSE TO Q12.1)?
          Again, please be as specific as possible.


  RESPONSE CATEGORY 1: Has a business affiliation or connection
                       - Other company(s)
  RESPONDENT
    NUMBER   RESPONSE

      2041      Q12.0    One.
                Q12.1    Orgami.
                Q12.2    Again, I seen this ingredient list on an Orgami label and
                         looks the same.
                Q12.3    Don't know.

      2042      Q12.0    One.
                Q12.1    Maybe the honest company.
                Q12.2    It seems like something they would do.
                Q12.3    They have a lot of products and this could be one.

      2061      Q12.0    One.
                Q12.1    MuscleTech.
                Q12.2    Good product.
                Q12.3    Plant-based nutrition.

      2064      Q12.0    One.
                Q12.1    USDA.
                Q12.2    Valued for USDA.
                Q12.3    Certification respect.

      2066      Q12.0    One.
                Q12.1    Pure Protein.
                Q12.2    Because the look and feel of their products.
                Q12.3    They make a lot of protein powder, shakes, and bars.

      2082      Q12.0    One.
                Q12.1    Provides great source of energy.
                Q12.2    Great service.
                Q12.3    Great for the body.

      2104      Q12.0    One.
                Q12.1    Powder
                Q12.2    Because its interesting.
                Q12.3    It's a good powder.




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Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 158 of 432 Page ID
  Q12.0 Do you believe that whoever makes
                                     #:9827or puts out this product...?
           1. HAS a business affiliation or business connection with any other
              company or companies
           2. does NOT have a business affiliation or business connection with any
              other company or companies
           3. don't know or have no opinion
  Q12.1   With what company or companies? Please be as specific as possible.
  Q12.2   Why do you say that? Again, please be as specific as possible.
  Q12.3   What, if anything, can you tell me about (INSERT RESPONSE TO Q12.1)?
          Again, please be as specific as possible..


  RESPONSE CATEGORY 1: Has a business affiliation or connection
                       - Other company(s) continued
  RESPONDENT
    NUMBER   RESPONSE

      2108      Q12.0    One.
                Q12.1    USDA approved.
                Q12.2    They are partnered with the USDA.
                Q12.3    Makes sure all of your products are up to par.

      2122      Q12.0    One.
                Q12.1    The company it is very good and important.
                Q12.2    Because it is very important and interest.
                Q12.3    The company is the best in the world and in the life it is
                         very important.

      2127      Q12.0    One.
                Q12.1    Nestlé.
                Q12.2    It is very organic.
                Q12.3    It is a very popular brand.

      2144      Q12.0    One.
                Q12.1    I don't know the name looks vegan.
                Q12.2    The colors on the bottle.
                Q12.3    I don't know the company.

      2153      Q12.0    One.
                Q12.1    Sabinsa corp.
                Q12.2    It says that LactoSpore is from Sabinsa corp.
                Q12.3    Don't know.
                Q12.3

      2154      Q12.0    One.
                Q12.1    Some.
                Q12.2    Because I think so.
                Q12.3    Nothing.

      2162      Q12.0    One.
                Q12.1    Nestlé.
                Q12.2    Are very similar and professional.
                Q12.3    Is confident and truth.




                                       - 131 -                             CONTROL CELL
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  Q12.0 Do you believe that whoever makes
                                     #:9828or puts out this product...?
           1. HAS a business affiliation or business connection with any other
              company or companies
           2. does NOT have a business affiliation or business connection with any
              other company or companies
           3. don't know or have no opinion
  Q12.1   With what company or companies? Please be as specific as possible.
  Q12.2   Why do you say that? Again, please be as specific as possible.
  Q12.3   What, if anything, can you tell me about (INSERT RESPONSE TO Q12.1)?
          Again, please be as specific as possible..


  RESPONSE CATEGORY 1: Has a business affiliation or connection
                       - Other company(s) continued
  RESPONDENT
    NUMBER   RESPONSE

      2186      Q12.0    One.
                Q12.1    Milk Vita.
                Q12.2    Milk Vita.
                Q12.3    It's connected with it.




                                        - 132 -                         CONTROL CELL
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  Q12.0 Do you believe that whoever makes
                                     #:9829or puts out this product...?
            1. HAS a business affiliation or business connection with any other
               company or companies
            2. does NOT have a business affiliation or business connection with any
               other company or companies
            3. don't know or have no opinion
  Q12.1    With what company or companies? Please be as specific as possible.
  Q12.2    Why do you say that? Again, please be as specific as possible.
  Q12.3    What, if anything, can you tell me about (INSERT RESPONSE TO Q12.1)?
           Again, please be as specific as possible


  RESPONSE CATEGORY 1: Has a business affiliation or connection
                       - Don't know / None continued

   RESPONDENT             RESPONDENT
     NUMBER                 NUMBER

          2006                 2143
          2008                 2164
          2013                 2167
          2015                 2173
          2016                 2176
          2021                 2177
          2022                 2180
          2028                 2181
          2029                 2193
          2036                 2194
          2039                 2197
          2040                 2199
          2045
          2047
          2053
          2054
          2056
          2067
          2069
          2075
          2076
          2084
          2086
          2088
          2089
          2090
          2093
          2103
          2106
          2107
          2119
          2131
          2137
                                        - 133 -                          CONTROL CELL
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                                    TABLE 11

                                  CONTROL CELL




                       GENDER DISTRIBUTION OF RESPONDENTS



                                                  Response Distribution
        Response Categories                      Number       Percent
                                                             (n=200)

           1. Male                                114          57.00

           2. Female                                86         43.00

              Total                               200         100.00




                                     - 134 -                           CONTROL CELL
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                                   TABLE 12

                                 CONTROL CELL




                  GENDER AND AGE DISTRIBUTION OF RESPONDENTS



                                                 Response Distribution
        Response Categories                     Number       Percent

        1. Male                                              (n=114)

           - 18 to 34                             54           47.37

           - 35 to 54                             49           42.98

           - 55 or over                           11            9.65

           Male Total                            114          100.00

        2. Female                                             (n=86)

           - 18 to 34                             36           41.86

           - 35 to 54                             32           37.21

           - 55 or over                           18           20.93

           Female Total                           86         100.00

        Grand Total                              200




                                    - 135 -                            CONTROL CELL
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                                   TABLE 13

                          TEST CELL AND CONTROL CELL
                         COMPOSITE RESPONSE ANALYSIS




                        DEDUPLICATED ORGAIN RESPONSES




                                                      Response Distribution
                                                     Test Cell    Control Cell
  Response Categories                                 Percent        Percent
                                                     (n=200)        (n=200)

     1. Orgain                                         4.50           1.00




                                    - 136 -          TEST CELL AND CONTROL CELL
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                                      APPENDIX A

                               SURVEY SPECIFICATIONS


  SURVEY BACKGROUND

          In the instant matter, at the request of Hardin Law Group, APC, counsel for
  Defendant, Northern Innovations Holding Corp., et al. ("Defendant" or "Purely
  Inspired"), I designed and caused to be conducted a survey to address the issue of
  likelihood of confusion. Specifically, I was engaged to design a survey to measure
  the degree, if any, to which Defendant's "Organic Protein" product is likely to cause
  confusion as to source, authorization or approval of, or business affiliation or
  business connection with Plaintiff Orgain, Inc ("Orgain").


  SAMPLING FRAME

         This likelihood of confusion survey, hosted by Issues & Answers Network,
  Inc. ("Issues & Answers"), employed an online protocol using an internet panel
  created and maintained by Dynata. Potential respondents were invited to fill out
  the screening portion of the interview to determine whether or not they met the
  defined universe for this survey. Subsequently, those potential respondents who
  met the universe definition were invited to complete the main survey.

        In total, four hundred interviews (400) were completed in this likelihood of
  confusion survey. Two hundred interviews (200) were completed in the test cell
  and two hundred interviews (200) were completed in the control cell.


  SURVEY UNIVERSE

        The relevant universe for this survey consisted of males and females
  eighteen (18) years of age or older who were likely, in the next 3 months, to
  purchase a protein supplement.


  SURVEY METHODOLOGICAL PROCEDURES

        The sample selection, questions, questionnaire design, and interviewing
  procedures employed in this survey were designed in accordance with the generally
  accepted standards and procedures in the field of surveys. The survey was also
  designed to meet the criteria for survey trustworthiness detailed in the Manual for
  Complex Litigation, Fourth.

        The survey conducted in this matter was administered under a double-blind
  protocol. Specifically, not only were the respondents not informed as to the
  purpose or sponsor of the survey, but similarly, both the staff of Issues & Answers
  and the staff of Dynata were not informed as to the purpose or sponsor of the
  survey.



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  SURVEY RESEARCH DESIGN/TABULATION/ANALYSIS

        Ford Bubala & Associates
        16400 Pacific Coast Highway
        Suite 211
        Huntington Beach, California 92649


  PROFESSIONAL SURVEY ORGANIZATION

        Issues & Answers Network, Inc.
        5151 Bonney Road
        Virginia Beach, Virginia 23462


  SAMPLE PROVIDER / kNOW OMNIBUS PROVIDER

        Dynata
        53 Riverside Ave
        Westport, Connecticut   06880


  DATA COLLECTION DATES

        Omnibus: October 16 – 17, 2019
        Survey: October 17 – November 7, 2019




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                                  APPENDIX B

                           TEST CELL - SCREEN SHOTS
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                                  APPENDIX D

                         RESPONDENT NUMBERING SYSTEM




                                            QUESTIONNAIRE
             SURVEY                             NUMBER

             Test Cell                         1001 - 1200

             Control Cell                     2001 - 2200




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                                         APPENDIX E

                              FINAL SAMPLE DISPOSITION



                                                                      Total

  A   Total Participants                                              2,940

  B   Completed Interviews                                             400

  C   Terminates (not qualified)
        Q1.0 Not likely to purchase a protein supplement              2,130
        Q2.1 Age does not match panel age or over quota                  81
        Q3.0 Census region - Other                                       10
        Q4.0 Device disqualification                                    191
        Q5.0 Employment restriction                                      89
        Q6.0 Did not agree to answer questions without outside help      20
        Q6.1 Did not agree to answer questions without seeking
              additional source                                           5
        Q7.1 Did not agree to wear glasses/contact lenses                --
        Q8.0 Chose incorrect number                                       8
        S15 Not able to read the words on the package                     6

  D   Qualified Incompletes                                              --

  E   Total Responding                                                2,940


      Qualification Rate = (E-C) / (E)                                  13.61%

      Completion Rate = (B) / (B+D)                                    100.00%

      Response Rate = (E) / (A)                                        100.00%




                                            E-1
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                                  APPENDIX F

                               SURVEY DATA FILE



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                                  APPENDIX G

                          OMNIBUS SURVEY DATA FILE



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psid                    QNUM    a      g     Q1_1Q1_2   Q1_3   Q2   Q2_1_M    Q2_1_D    Q2_1_Y    calcyear   verify_age   age_groups
3YLO2525642782A3CU3B       1001 68         1   1      1      1    1        11        17      1951       1951            0            4
M4Z82525642658YW1YH9       1002 54         1   1      1      1    1         6        25      1965       1965            0            3

5CXO2525643564CNM2SD       1003 57         2   1       2      1     2        10        17      1962      1962           0           4
XZA62525645878YEQZEZ       1004 55         1   1       2      1     1         1         3      1964      1964           0           4

7J752525646534ON4OF2       1005 67         1   1       1      1     1         9         1      1952      1952           0           4
J34O2525648182FJR4Y0       1006 61         1   1       2      2     1         8        31      1958      1958           0           4

KTMT2525643307CXS8X8       1007   71       2   1       1      1     2         9        16      1948      1948           0           4
O5N02525648576DR2IXA       1008   44       1   1       1      1     1         6        20      1975      1975           0           3
1KXA2525644891JY0EHN       1009   34       1   1       1      1     1         2         7      1985      1985           0           2
R0CZ2525649601GYU68E       1010   44       1   1       1      1     1         5        20      1975      1975           0           3
LPUZ2525647796JBI3EY       1011   55       2   1       2      1     2         1        20      1964      1964           0           4
RYQU2525650735VR2ACX       1012   39       1   1       1      1     1         1        19      1980      1980           0           3

9OHB2525647191NLY2GH       1013   67       2   1       3      1     2         5         6      1952      1952           0           4
8O8Z2525652903MEL2JR       1014   41       1   1       2      3     1         8        26      1978      1978           0           3
JWPY2525652945KZJ3OL       1015   72       2   1       2      1     2         1        17      1947      1947           0           4
TUJ42525659673B840YU       1016   37       2   1       2      1     2         8        27      1982      1982           0           3


6EI42525653049BCKM64       1017 36         1   1       1      1     1         9         9      1983      1983           0           3




A0LB2525656491ABLV3T       1018   55       2   1       2      1     2         2         6      1964      1964           0           4
9LRM2525654478CKDPYT       1019   38       2   1       2      3     2         3        19      1981      1981           0           3
JYU42525657681WG7DBC       1020   32       1   1       1      1     1         4        28      1987      1987           0           2
U1DB2525663719DZ9BND       1021   31       2   1       2      1     2         3        21      1988      1988           0           2

54932525660709EBLS8D       1022 68         2   1       1      1     2         6        26      1951      1951           0           4

7IIC2525662989X2TVAM       1023 34         2   1       1      1     2         3        23      1985      1985           0           2
LHYK2525668452NWAI3J       1024 32         2   1       1      1     2         5         2      1987      1987           0           2
DHHQ2525664430TXBMPE       1025 34         1   1       1      1     1        12        12      1985      1985           0           2
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MRJU2525662788OHAKE4       1026 49     1   1    1      1    1        5       19     1970     1970         0   3



G2OC2525669235ZI1Q2P       1027 33     1   1    1      1    1       10        3     1986     1986         0   2

854R2525668337FNBC3V       1028   37   2   1    1      1    2        7       19     1982     1982         0   3
3XBM2525678379QULK1R       1029   35   2   1    1      1    2       11       11     1983     1984         1   3
LD0X2525677173OC8JSR       1030   51   2   1    2      1    2        5       21     1968     1968         0   3
NV9G2525679247A3BAE7       1031   25   1   1    1      1    1        6        6     1994     1994         0   2

IAIY2525668643ZTQ4AB       1032 27     2   1    1      1    2        4        9     1992     1992         0   2
J0S32525685691ZR5B18       1033 43     2   1    3      1    2        5        1     1976     1976         0   3
YYFN2525691056GHCP95       1034 33     1   1    1      1    1       10       23     1985     1986         1   2

2S1Y2525688697LUL9AG       1035 29     2   1    1      1    2       10       22     1989     1990         1   2
KATX2525687973VCXI2C       1036 32     1   1    1      1    1        9       25     1987     1987         0   2
K7522525691237RUDUN1       1037 34     2   1    1      1    2        8        5     1985     1985         0   2


92GV2525685618RCXT97       1038 31     1   1    2      1    1       11        6     1987     1988         1   2
77Z22525693032NG0E4B       1039 41     1   1    1      1    1       11       11     1977     1978         1   3

ADNY2525700746DG7TAZ       1040 45     2   1    2      2    2        3       29     1974     1974         0   3
UZNR2525701399SMSHUK       1041 40     2   1    1      1    2       11       10     1979     1979         0   3
TKOZ2525702730IR4PPX       1042 47     2   1    1      1    2        9       30     1972     1972         0   3

PBPD2525701638CTBR7G       1043 25     2   1    1      1    2        1       15     1994     1994         0   2
9EOZ2525705352TZNXWT       1044 52     1   1    1      1    1       12       29     1966     1967         1   3

A1VZ2525703079WRQ7PN       1045 25     2   1    1      1    2        1       30     1994     1994         0   2


PZL82525689845FNMDHB       1046 36     2   1    1      1    2       12       27     1982     1983         1   3
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LEHL2525701472LK7KYE       1047   45   2   1    1      1    2       11       11     1974     1974         0   3
483L2525707269VYLNTV       1048   54   1   1    2      1    1       12       10     1965     1965         0   3
10VA2525703739DGCFOV       1049   45   2   1    1      1    2        3        3     1974     1974         0   3
KS9D2525707450KWUZ9V       1050   48   2   1    2      1    2       10       18     1970     1971         1   3
S0PH2525712998LNJ9J4       1051   30   2   1    1      1    2        6        1     1989     1989         0   2

1Z012525714817VNKQMY       1052 49     2   1    2      1    2       10        2     1970     1970         0   3

7UQJ2525727007W9V57H       1053 45     2   1    1      1    2        3       22     1974     1974         0   3
WJ282525752624QI9HP0       1054 32     1   1    1      1    1       10       19     1987     1987         0   2
0K9V2525782305GJ9L8G       1055 65     1   1    1      1    1        2       17     1954     1954         0   4




HIWK2525950557BU3SFW       1056   71   1   1    2      2    1        5       22     1948     1948         0   4
S10W2526342388JRX1LR       1057   27   1   1    1      1    1        5       30     1992     1992         0   2
JAW52526055076J2EU2N       1058   34   1   1    1      1    1        8       24     1985     1985         0   2
9ZZA2527782653QGTTUF       1059   25   2   1    1      1    2       11       11     1994     1994         0   2

LX1N2527083882TS3E80       1060   30   2   1    1      1    2       12       25     1988     1989         1   2
O57E2528339799AIVFGP       1061   31   2   1    1      1    2        5       16     1988     1988         0   2
GNTF2527122839VKTMDS       1062   36   1   1    1      1    1        8       10     1983     1983         0   3
DXN62526936775JGED4Y       1063   38   1   1    2      1    1        7        6     1981     1981         0   3

UEKL2528354053RE6D6K       1064   45   2   1    2      1    2        3       19     1974     1974         0   3
ZGC12526363506RPWW3Q       1065   28   2   1    1      1    2        7       24     1991     1991         0   2
7JMP2528361945S7TZ77       1066   39   2   1    1      1    2        5       22     1980     1980         0   3
NVUY2528361877VXWHE6       1067   41   1   1    1      1    1        4       22     1978     1978         0   3



C6AD2528341066DROFNR       1068 49     1   1    3      1    1       12       20     1969     1970         1   3
RB7M2528354070HC7TKX       1069 40     2   1    1      1    2        2       17     1979     1979         0   3
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24I12528360606Q2MRID       1070 22     2   1    3      2    2        3       21     1997     1997         0   2
SSJJ2526973160MJTMTX       1071 33     1   1    3      1    1        5       18     1986     1986         0   2
UQ862528386298QGY534       1072 33     1   1    1      1    1        9       11     1986     1986         0   2

LN652528361249Z997GH       1073 27     2   1    1      1    2       10       29     1991     1992         1   2

QPC72528399642P8CZ5J       1074   43   1   1    1      1    1        8       18     1976     1976         0   3
CJK62528286593C9GJAT       1075   34   1   1    1      1    1        1       15     1985     1985         0   2
BQLO2526092205BD6AUE       1076   41   1   1    1      1    1       11       17     1977     1978         1   3
5XGV2528460404PDI2GX       1077   29   2   1    1      1    2        1        9     1990     1990         0   2


MKM12528875819SCD7II       1078 40     1   1    1      1    1       10       22     1979     1979         0   3

TA8H2528463052IZE5IR       1079 22     2   1    1      2    2        3       28     1997     1997         0   2
L9142527127303N94R93       1080 54     1   1    1      1    1       11        7     1964     1965         1   3

CNFG2527135497Q1ZLE9       1081 33     2   1    1      1    2        1        3     1986     1986         0   2
93LM2529035069G5KG2B       1082 39     1   1    1      1    1        1       18     1980     1980         0   3

KJW52529059194WMXC20       1083 32     1   1    1      1    1       11        6     1986     1987         1   2
1QS72525993781UVD4TK       1084 22     1   1    1      1    1        9        3     1997     1997         0   2
QCJG2529125353SO6LFJ       1085 40     1   1    1      1    1        3       17     1979     1979         0   3


M5802529139759IYB12N       1086   36   1   1    1      1    1        4       12     1983     1983         0   3
O1KL2526190682M36KBK       1087   46   1   1    1      1    1        2        7     1973     1973         0   3
R5432529243443NXZLC1       1088   28   1   1    1      1    1        8       15     1991     1991         0   2
VBML2527646224ZYVQ06       1089   41   1   1    1      1    1        8        5     1978     1978         0   3
CI0T2529272022G1LD30       1090   43   1   1    1      1    1        4       14     1976     1976         0   3
APDT2527054142CARN2K       1091   29   2   1    1      1    2        3       20     1990     1990         0   2


9I5I2529296284DITT64       1092 30     2   1    1      1    2        1       11     1989     1989         0   2

O2OI2526411268MF3TRB       1093 29     1   1    1      1    1        5       22     1990     1990         0   2
88QC2529295028Y18RBU       1094 31     1   1    1      1    1        5       30     1988     1988         0   2
MKKU2529302770UYBW2T       1095 50     1   1    2      1    1        7        9     1969     1969         0   3
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USCS2529330338KOVEWH       1096   29   2   1    1      1    2        6        9     1990     1990         0    2
9T0R2529330951H0IZMH       1097   40   1   1    3      2    1       10       16     1978     1979         1    3
TWJG2531040596DJESIZ       1098   25   1   1    1      1    1        7        2     1994     1994         0    2
7TLO2531071279RO0A3T       1099   34   1   1    1      1    1       10       27     1984     1985         1    2
DGSE2531174788HN2LMM       1100   25   1   1    1      1    1       12       21     1993     1994         1    2
YDI32531179776NWQD68       1101   31   1   1    1      1    1       10       10     1988     1988         0    2
S9M92530687973FCF5UT       1102   31   1   1    1      1    1        7       12     1988     1988         0    2

TIPS2526932240XTDMAQ       1103 26     2   1    1      1    2        6       28     1993     1993         0    2



6SSS2540468374K6FSKH       1104 34     1   1    1      1    1        5       15     1985     1985         0    2
587Y2540486583GH7DCB       1105 29     1   1    3      1    1        8       17     1990     1990         0    2

ILX02540490769VLXXEF       1106 30     1   1    2      1    1        5       12     1990     1989         -1   2


7GU82540491762LHXD8J       1107 22     2   1    3      1    2        2       19     1997     1997         0    2
J1P62540495681MH12LJ       1108 29     1   1    1      1    1        3       29     1990     1990         0    2




YM3C2540488569KU6N6T       1109 21     1   1    1      1    1        4       28     1998     1998         0    2


OQHY2540497146RW8IQX       1110 27     2   1    2      1    2        3       18     1992     1992         0    2


0YE22540494008AO4YPE       1111 30     2   1    1      1    2        6       14     1989     1989         0    2
ZPOC2540503781HJIB1I       1112 31     1   1    1      1    1        7       25     1988     1988         0    2


L6OO2540502349L0GEOR       1113 33     2   1    2      1    2       12       16     1985     1986         1    2

AG7H2540501539OPL22T       1114 27     2   1    2      1    2        1       16     1992     1992         0    2
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MYEC2540500915EZHOYY       1115 26     2   1    2      1    2       12       21     1992     1993         1   2
V1OW2540502501E57LN7       1116 25     2   1    1      1    2        7       21     1994     1994         0   2
H55U2540510034VGW90D       1117 34     2   1    1      1    2       10       18     1984     1985         1   2

GQV62540511477LWVGGV       1118 22     2   1    2      1    2       10       20     1997     1997         0   2
QXA82540499098WBQX79       1119 21     2   1    1      1    2       11       21     1997     1998         1   2
1SWZ2540516812OPK0ZO       1120 27     2   1    2      1    2       10        4     1992     1992         0   2

CLJG2540510685IT2LQS       1121 24     1   1    1      1    1        5       14     1995     1995         0   2
EZHA2540518776PJUAF6       1122 22     1   1    1      1    1        6       20     1997     1997         0   2

31QK2540516346WA4O8C       1123 22     2   1    3      3    2        5        7     1997     1997         0   2

8G612540516937M9P2Y9       1124 20     1   1    3      1    1        4       29     1999     1999         0   2

S0UW2540518736HATYUR       1125 27     2   1    1      1    2        9       28     1992     1992         0   2

G0A12540519289UNRXAN       1126 27     2   1    1      1    2        9       29     1992     1992         0   2
61OU2540496087FTFEYY       1127 23     2   1    1      1    2        7       27     1996     1996         0   2
23672540496082F8TC9W       1128 27     2   1    1      1    2       11       29     1992     1992         0   2


LD7T2540540643DSN5F3       1129 32     1   1    3      1    1        2        3     1987     1987         0   2

URRP2540539597ZMUTZG       1130   30   1   1    1      1    1       10       12     1989     1989         0   2
E0YQ2540534760CQWQ6L       1131   23   1   1    2      1    1        4       24     1996     1996         0   2
9W622540544602U6Q42M       1132   33   1   1    1      1    1        8        5     1986     1986         0   2
NOSQ2540558799RWU6EF       1133   27   1   1    2      1    1        1       24     1992     1992         0   2

VDE02540563155ABQ0QQ       1134   32   1   1    1      1    1        5        5     1987     1987         0   2
JM9L2540564884V3QQMM       1135   19   1   1    1      1    1        5       20     2000     2000         0   2
MN9Z2540577158SNR4U0       1136   33   1   1    2      3    1        1       17     1986     1986         0   2
MW112540586205PU3LF3       1137   29   1   1    1      1    1        9       11     1990     1990         0   2
S0FV2540593136IQPYQH       1138   34   1   1    3      2    1        3        9     1985     1985         0   2
1SBH2540610884K6P4L0       1139   31   1   1    1      1    1        5        1     1988     1988         0   2


05V92540611464ZPVA9V       1140 29     1   1    2      1    1       11       28     1989     1990         1   2
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IJQG2540632669ZX5DO6       1141 21     1   1    2      1    1        9       26     1998     1998         0   2
D5CS2540630752R9MC9M       1142 33     1   1    1      1    1        9       25     1986     1986         0   2

AXKK2540640308PC13EV       1143 30     1   1    1      1    1       10        1     1989     1989         0   2



VNNK2540646960USRFHS       1144 21     1   1    1      1    1        2        1     1997     1998         1   2


SWVV2540646794J1L3UG       1145   18   1   1    2      1    1        8       25     2001     2001         0   2
0TMM2540656216W9E2EL       1146   34   1   1    1      2    1       10       22     1985     1985         0   2
4JII2540662119FIIONF       1147   25   1   1    1      1    1       11       19     1993     1994         1   2
BKJM2525838124BIE3V8       1148   72   2   1    2      1    2        3       24     1947     1947         0   4
TX3S2528518866FB35OA       1149   73   1   1    2      1    1        8       22     1946     1946         0   4
W8IZ2526946973QC5Y8Y       1150   75   1   1    1      1    1        3       24     1944     1944         0   4
YZ1L2526162906IVGPIU       1151   65   2   1    1      1    2        3       21     1954     1954         0   4

LDQ52525889059UCO4DV       1152 65     1   1    1      1    1       11       29     1953     1954         1   4

KXID2529316723T7SUPM       1153 65     1   1    1      1    1        2        4     1954     1954         0   4

950Q2528756133Z0V7GR       1154   51   2   1    1      1    2        6       21     1968     1968         0   3
QQ862526277504TG2NUP       1155   67   1   1    2      3    1        3       14     1952     1952         0   4
ELQT2528788132EJRGNB       1156   82   1   1    2      2    1       12        6     1936     1937         1   4
SYXN2526105105PKWFRH       1157   77   2   1    3      1    2       10       28     1942     1942         0   4


YED42526953155OVFC3D       1158 72     2   1    3      1    2        4        9     1947     1947         0   4
6C5K2529276483O2EAHL       1159 57     2   1    1      1    2        3        3     1962     1962         0   4
CFVW2530140190FJABJQ       1160 64     2   1    3      1    2        2        8     1955     1955         0   4


5ZBK2528536896XDTDLK       1161 68     1   1    3      1    1        3       10     1951     1951         0   4
0YTV2528940335K8XFYZ       1162 70     2   1    1      1    2        7       11     1949     1949         0   4
8QPW2541032402UEW7TB       1163 67     2   1    1      1    2        1       13     1952     1952         0   4

DAAY2526912636CRA149       1164 39     2   1    1      1    2       12        1     1979     1980         1   3
5BRL2526224731HL7SQE       1165 36     2   1    1      1    2        8       22     1983     1983         0   3
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P2UC2528970990QZEV6R       1166 48     2   1    2      1    2        1        1     1971     1971         0   3

3NIP2541069074T4BGL6       1167 37     1   1    2      2    1        1        5     1982     1982         0   3

1CZW2541085734HN1MMD       1168 41     1   1    1      1    1        2        1     1978     1978         0   3

Q5UH2541095587A79RGS       1169   42   1   1    1      1    1        7        1     1977     1977         0   3
S2QO2541097570RFQI98       1170   45   1   1    1      1    1        5        5     1974     1974         0   3
7SZA2541095430RQUQUA       1171   34   1   1    1      1    1       10       19     1985     1985         0   2
7RXX2526170051L8NB1C       1172   53   2   1    1      1    2        3       10     1966     1966         0   3
P95G2540818523TH8W47       1173   40   2   1    1      1    2        4       15     1979     1979         0   3
ZAI42526229394AY8O2W       1174   38   1   1    1      1    1        2        1     1981     1981         0   3


VE6J2526893231TC04M4       1175 44     1   1    1      1    1        6        5     1975     1975         0   3
IGUN2541160323G1XJYZ       1176 36     1   1    1      1    1        5       22     1983     1983         0   3




W2WO2526220340YUBFYI       1177   37   1   1    1      1    1        2       22     1982     1982         0   3
VBCI2541195731W6FX6S       1178   38   2   1    1      1    2        9       12     1981     1981         0   3
UDL22541210801WXF83E       1179   35   1   1    1      1    1       11        8     1983     1984         1   3
336V2529140651ANL255       1180   36   2   1    3      1    2        2       23     1983     1983         0   3
NN3Y2541445058BZJZYF       1181   40   1   1    1      1    1        5        7     1979     1979         0   3
MUH62540889825I9XN0C       1182   42   1   1    1      1    1       11       10     1976     1977         1   3

1MGN2541527183V0WYII       1183 40     1   1    3      3    1        8       25     1979     1979         0   3
5ZVV2525886311MSEDVH       1184 42     1   1    2      2    1        2       21     1977     1977         0   3
JY2T2541614278OK5FLB       1185 35     1   1    1      1    1        3        1     1984     1984         0   3

RZL62541603431GP0ZF4       1186 43     1   1    1      1    1        7       28     1976     1976         0   3
YD8I2540493698B717YN       1187 41     1   1    2      2    1        1       25     1978     1978         0   3



VQJD2540874606QUTH0J       1188 43     1   1    1      1    1        6        1     1976     1976         0   3
K99M2542107524IY6JQU       1189 39     1   1    1      1    1        8        6     1980     1980         0   3
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8N8U2542117625J99DWP       1190   44   1   1    1      1    1        3       10     1975     1975         0   3
KQPH2542124010W44POH       1191   40   1   1    3      1    1        8       16     1979     1979         0   3
RAGT2528533477JVOOAP       1192   44   1   1    1      1    1        8       15     1975     1975         0   3
GSZ82542144760PSMQEL       1193   37   1   1    1      1    1        4       10     1982     1982         0   3
84BU2542905044X4BUVQ       1194   51   1   1    1      1    1        7        8     1968     1968         0   3
I11K2542924655C43GK7       1195   50   1   1    1      1    1        1        2     1969     1969         0   3
7IV82542925617N0X6D2       1196   39   1   1    2      1    1        2        1     1980     1980         0   3
3MUE2542929164AI01T9       1197   43   1   1    1      1    1       11        2     1976     1976         0   3
UIIW2542924705OLWZJX       1198   35   1   1    1      2    1        6       23     1984     1984         0   3

N7LP2542932121IA6RJ2       1199 44     1   1    1      2    1        6       11     1975     1975         0   3
YOW72542935329SPW2X3       1200 28     1   1    1      1    1        8       14     1991     1991         0   2
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m18_34       f18_34       m35_54       f35_54       m55over       f55over       Q3       Q4       Q5_1       Q5_2       Q5_3       Q5_4       Q6       Q6_1       Q7       Q7_1       Q8_1
                                                              1                      1        1          2          2          2          2        1          1        1          1
                                   1                                                 1        2          2          2          2          2        1          1        1          1

                                                                            1        1        1          2          2          2          2        1          1        1          1
                                                              1                      3        2          2          2          2          2        1          1        1          1

                                                              1                      4        2          2          2          2          2        1          1        1          1
                                                              1                      4        1          2          2          2          2        1          1        1          1

                                                                            1        4        2          2          2          2          2        1          1        1          1
                                   1                                                 3        1          2          2          2          2        1          1        1          1
         1                                                                           2        2          2          2          2          2        1          1        2                     1
                                   1                                                 1        1          2          2          2          2        1          1        2
                                                                            1        3        2          2          2          2          2        1          1        1          1
                                   1                                                 4        2          2          2          2          2        1          1        2

                                                                            1        2        2          2          2          2          2        1          1        1          1
                                   1                                                 2        2          2          2          2          2        1          1        2
                                                                            1        3        1          2          2          2          2        1          1        1          1
                                                1                                    3        3          2          2          2          2        1          1        2


                                   1                                                 2        2          2          2          2          2        1          1        2




                                                                            1        3        1          2          2          2          2        1          1        1          1          1
                                                1                                    2        1          2          2          2          2        1          1        1          1
         1                                                                           1        2          2          2          2          2        1          1        1          1
                      1                                                              2        2          2          2          2          2        1          1        1          1

                                                                            1        1        1          2          2          2          2        1          1        1          1

                      1                                                              1        1          2          2          2          2        1          1        2                     1
                      1                                                              3        2          2          2          2          2        1          1        2                     1
         1                                                                           1        2          2          2          2          2        1          1        1          1
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           1                             3    2     2      2      2      2    1      1     1   1



1                                        1    2     2      2      2      2    1      1     1   1

                   1                     4    3     2      2      2      2    1      1     2
                   1                     1    1     2      2      2      2    1      1     2
                   1                     2    1     2      2      2      2    1      1     2
1                                        1    2     2      2      2      2    1      1     1   1

    1                                    4    1     2      2      2      2    1      1     2
                   1                     4    1     2      2      2      2    1      1     1   1
1                                        2    1     2      2      2      2    1      1     2       1

    1                                    1    3     2      2      2      2    1      1     2
1                                        3    2     2      2      2      2    1      1     1   1
    1                                    1    2     2      2      2      2    1      1     2


1                                        3    2     2      2      2      2    1      1     1   1   1
           1                             2    1     2      2      2      2    1      1     2

                   1                     2    2     2      2      2      2    1      1     2       1
                   1                     3    2     2      2      2      2    1      1     2
                   1                     4    1     2      2      2      2    1      1     1   1

    1                                    1    2     2      2      2      2    1      1     1   1
           1                             2    1     2      2      2      2    1      1     1   1

    1                                    4    2     2      2      2      2    1      1     1   1


                   1                     3    2     2      2      2      2    1      1     1   1   1
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                   1                     1    2     2      2      2      2    1      1     2       1
           1                             3    1     2      2      2      2    1      1     2
                   1                     3    3     2      2      2      2    1      1     2
                   1                     3    3     2      2      2      2    1      1     2
    1                                    3    1     2      2      2      2    1      1     1   1

                   1                     3    2     2      2      2      2    1      1     1   1

                   1                     3    2     2      2      2      2    1      1     2       1
1                                        4    2     2      2      1      1    1      1     1   1
                            1            2    1     2      2      2      2    1      1     1   1




                            1            2    1     2      2      2      2    1      1     2
1                                        3    2     2      2      2      2    1      1     1   1
1                                        3    1     2      2      2      2    1      1     1   1
    1                                    2    2     2      2      2      2    1      1     2       1

    1                                    3    2     2      2      2      2    1      1     2
    1                                    1    2     2      2      2      2    1      1     2       1
           1                             3    1     2      2      2      2    1      1     2
           1                             2    2     2      2      2      2    1      1     1   1   1

                   1                     4    2     2      2      2      2    1      1     2       1
    1                                    3    2     2      2      2      2    1      1     2
                   1                     3    3     2      2      2      2    1      1     1   1
           1                             3    2     2      2      2      2    1      1     1   1



           1                             2    2     2      2      2      2    1      1     2
                   1                     3    2     2      2      2      2    1      1     1   1
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    1                                    4    1     2      2      2      2    1      1     1   1
1                                        2    1     2      2      2      2    1      1     1   1
1                                        3    1     2      2      2      2    1      1     1   1

    1                                    3    2     2      2      2      2    1      1     2

           1                             3    2     2      2      2      2    1      1     2
1                                        1    2     2      2      2      2    1      1     1   1   1
           1                             3    2     2      2      2      2    1      1     2
    1                                    4    1     2      2      2      2    1      1     1   1


           1                             4    1     2      2      2      2    1      1     1   1

    1                                    3    2     2      2      2      2    1      1     1   1
           1                             3    1     2      2      2      2    1      1     1   1   1

    1                                    3    2     2      2      2      2    1      1     2
           1                             2    1     2      2      2      2    1      1     1   1

1                                        2    2     2      2      2      2    1      1     2       1
1                                        3    2     2      2      2      2    1      1     2
           1                             2    3     2      2      2      2    1      1     2


           1                             4    1     2      2      2      2    1      1     2
           1                             3    2     2      2      2      2    1      1     1   1
1                                        4    1     2      2      2      2    1      1     2
           1                             3    2     2      2      2      2    1      1     1   1
           1                             3    1     2      2      2      2    1      1     2
    1                                    3    2     2      2      2      2    1      1     2       1


    1                                    4    1     2      2      2      2    1      1     2

1                                        3    2     2      2      2      2    1      1     1   1   1
1                                        4    2     2      2      2      2    1      1     1   1
           1                             3    2     2      2      2      2    1      1     1   1
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    1                                    1    2     2      2      2      2    1      1     1   1
           1                             4    2     2      2      2      2    1      1     1   1
1                                        3    2     2      2      2      2    1      1     2
1                                        4    1     2      2      2      2    1      1     1   1
1                                        4    2     2      2      2      2    1      1     1   1
1                                        3    1     2      2      2      2    1      1     2       1
1                                        2    1     2      2      2      2    1      1     2

    1                                    3    1     2      2      2      2    1      1     1   1



1                                        3    2     2      2      2      2    1      1     1   1
1                                        2    1     2      2      2      2    1      1     1   1   1

1                                        4    1     2      2      2      2    1      1     2


    1                                    3    2     2      2      2      2    1      1     1   1
1                                        2    1     2      2      2      2    1      1     2




1                                        3    1     2      2      2      2    1      1     2


    1                                    1    2     2      2      2      2    1      1     2       1


    1                                    3    2     2      2      2      2    1      1     2
1                                        1    1     2      2      2      2    1      1     2


    1                                    4    1     2      2      2      2    1      1     2

    1                                    3    1     2      2      2      2    1      1     1   1
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    1                                    3    1     2      2      2      2    1      1     2
    1                                    4    2     2      2      2      2    1      1     1   1
    1                                    2    2     2      2      2      2    1      1     1   1

    1                                    2    2     2      2      2      2    1      1     1   1   1
    1                                    3    2     2      2      2      2    1      1     2
    1                                    2    1     2      2      2      2    1      1     1   1   1

1                                        1    1     2      2      2      2    1      1     2
1                                        1    1     2      2      2      2    1      1     2

    1                                    4    2     2      2      2      2    1      1     1   1

1                                        2    2     2      2      2      2    1      1     2       1

    1                                    2    2     2      2      2      2    1      1     2       1

    1                                    4    2     2      2      2      2    1      1     1   1   1
    1                                    1    2     2      2      2      2    1      1     2       1
    1                                    3    2     2      2      2      2    1      1     1   1   1


1                                        4    1     2      2      2      2    1      1     1   1

1                                        3    1     2      2      2      2    1      1     1   1
1                                        3    2     2      2      2      2    1      1     2
1                                        3    2     2      2      2      2    1      1     2
1                                        4    2     2      2      2      2    1      1     1   1

1                                        3    2     2      2      2      2    1      1     2
1                                        3    1     2      2      2      2    1      1     1   1   1
1                                        3    1     2      2      1      1    1      1     1   1
1                                        4    1     2      2      2      2    1      1     1   1
1                                        2    1     2      2      2      2    1      1     1   1
1                                        4    1     2      2      2      2    1      1     1   1


1                                        2    2     2      2      2      2    1      1     2
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1                                    1    2     2      2      2      2    1      1     2
1                                    1    2     2      2      2      2    1      1     2

1                                    3    2     2      2      2      2    1      1     2



1                                    3    2     2      2      2      2    1      1     2       1


1                                    3    2     2      2      2      2    1      1     2
1                                    4    1     2      2      2      2    1      1     2
1                                    3    2     2      2      2      2    1      1     2
                                1    2    1     2      2      2      2    1      1     1   1   1
                        1            1    1     2      2      2      2    1      1     1   1
                        1            3    1     2      2      2      2    1      1     1   1   1
                                1    1    3     2      2      2      2    1      1     1   1

                        1            1    1     2      2      2      2    1      1     1   1

                        1            2    2     2      2      2      2    1      1     1   1

               1                     1    1     2      2      2      2    1      1     2
                        1            1    1     2      2      2      2    1      1     2
                        1            1    2     2      2      2      2    1      1     2
                                1    3    1     2      2      2      2    1      1     1   1


                                1    2    1     2      2      2      2    1      1     1   1
                                1    4    1     2      2      2      2    1      1     2
                                1    3    1     2      2      2      2    1      1     1   1


                        1            2    1     2      2      2      2    1      1     1   1
                                1    4    1     2      2      2      2    1      1     1   1
                                1    3    2     2      2      2      2    1      1     1   1

               1                     3    1     2      2      2      2    1      1     2
               1                     3    1     2      2      2      2    1      1     2       1
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                                        #:9924



               1                     3    3     2      2      2      2    1      1     2

       1                             4    1     2      2      2      2    1      1     1   1

       1                             3    1     2      2      1      1    1      1     2

       1                             1    2     2      2      2      2    1      1     1   1
       1                             1    2     2      2      2      2    1      1     1   1
1                                    1    2     2      2      2      2    1      1     2
               1                     3    2     2      2      2      2    1      1     1   1   1
               1                     1    1     2      2      2      2    1      1     1   1   1
       1                             3    1     2      2      2      2    1      1     1   1


       1                             3    2     2      2      2      2    1      1     2       1
       1                             4    1     2      2      2      2    1      1     1   1




       1                             3    2     2      2      2      2    1      1     2       1
               1                     4    1     2      2      2      2    1      1     2       1
       1                             4    2     2      2      2      2    1      1     1   1
               1                     4    1     2      2      2      2    1      1     2       1
       1                             1    1     2      2      2      2    1      1     1   1
       1                             3    1     2      2      2      2    1      1     1   1

       1                             4    3     2      2      2      2    1      1     2
       1                             3    2     2      2      2      2    1      1     1   1
       1                             3    1     2      2      2      2    1      1     1   1

       1                             3    2     2      2      2      2    1      1     2
       1                             4    2     2      2      2      2    1      1     1   1



       1                             1    1     2      2      2      2    1      1     1   1
       1                             1    1     2      2      2      2    1      1     2
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       1                             1    2     2      2      2      2    1      1     1   1
       1                             3    3     2      2      2      2    1      1     2
       1                             3    1     2      2      2      2    1      1     2
       1                             3    2     2      2      2      2    1      1     2
       1                             1    2     2      2      2      2    1      1     2       1
       1                             3    2     2      2      2      2    1      1     1   1
       1                             4    1     2      2      2      2    1      1     2
       1                             3    1     2      2      2      2    1      1     1   1
       1                             3    2     2      2      2      2    1      1     2       1

       1                             1    1     2      2      2      2    1      1     2
1                                    1    1     2      2      2      2    1      1     2
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Q8_2       Q8_3       Q8_4       screen15       Q9_0       Q9_0_T                           Q9_1       Q9_1_T                                   q9_2
       2                                    1          2
       2                                    1          1 purely inspired                           1 it is on the label                                1
                                                                                                     because it says that at the top of the
                             4              1          1 purely inspired ?                         1 container                                         1
                  3                         1          1 purely inspired                           1 its on the label                                  2

       2                                    1          1 "purely inspired"                         1 That's what's printed on the label.               1
                             4              1          1 Purely inspired                           1 It says right on the package.                     1
                                                                                                     the label looks like it came from an
                             4              1          1   orgain                                  1 orgain product                                    1
                  3                         1          2
                                            1          1   purly inspired                          1 purely inspired                                   1
                  3                         1          1   purely inspired                         1 It looks like it is a name and a logo             1
                             4              1          1   Purely Inspired                         1 only name I see on the packaging                  2
       2                                    1          1   herbalife                               1 high quality                                      1
                                                                                                     it appears on the top/front of the
                             4              1          1 purely inspired                           1 package                                           1
                             4              1          1 Purely                                    1 says it on the label                              2
                  3                         1          2
                             4              1          2
                                                                                                       That is the brand name that I see.
                                                                                                       There is a trademark company on
                             4              1          1 Purely inspired                           1   the back of Sabinsa Corporation.                1
                                                                                                       It's above the name of the product
                                                         purely inspired looks like brand              and listed again on the back. It
                                                         name but I don't know for sure.               seems to have a logo included with
                                                         I've never heard of that so I                 the name. Part of it is in bold font,
                                            1          1 could be wrong.                           1   none of it is in caps, which is odd             1
                             4              1          1 purely inspired                           1   it's on the package, looks like a logo          1
                             4              1          1 purely inspired                           1   puerly inspired                                 1
                  3                         1          2

                             4              1          1 Purely Inspired                           1 Purely Inspired                                   1
                                                                                                     Based on the little leaf logo on the
                                            1          1 Purely                                    1 front and back of the packaging                   1
                                            1          2
                  3                         1          1 Purely inspire                            1 Its better option                                 1
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                            USDA organi..Orgain Organic
                            Creamy Chocolate Fudge
                            Protein Powder is a naturally
                            smooth and delicious
                            nourishment drink with 21          My Everyday, Go To Protein Powder -
    3               1     1 grams of organic protein and 5   1 Tastes Great.                          1


                                                               The name at the tp and then again
    3               1     1 Purely Inspired                  1 above the shake                        1
                                                               Because this reminds of what orgain
        4           1     1 Purely inspired by orgain        1 has for there product line             1
    3               1     2
2                   1     2
        4           1     1 Purely                           1 Is what I believe                      1

2                   1     1 ORGAIN                           1 THE PACKING                            1
2                   1     2
                    1     1 purely inspired                  1 it says so                             2
                            I think that the company is        The brand name of the company is
2                   1     1 called "Purely Inspired. "       1 on the container.                      1
        4           1     1 i think ORGANIC PROTEIN          2                                        2
    3               1     2

                                                               It looks like something that GNC
                    1     1 GNC outlet from a mall           1 would put out.                         1
    3               1     2
                                                               iit's the name on the front and back
                    1     1 purely inspired                  1 of the packaging                       1
    3               1     1 purley inspired                  1 purely inspired                        1
2                   1     2
                                                               Because I'm not sure LOL Looks like
        4           1     1 Not sure exactly.                1 a good brand though                    1
    3               1     2

2                   1     1 Purely inspired                  1 It's labeled on the front and back     1


                    1     1 Purely Inspired                  2                                        1
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                                                            THAT IS THENAMEON THE
                    1     1   PURELY INSPIRED           1   PACKAGE PURELY INSPIRED                  1
        4           1     1   gnc                       1   ive seen it there                        1
        4           1     1   USA organics              1   Because of the packaging                 1
2                   1     1   Purely inspired           1   The logo                                 1
        4           1     2
                                                          Because the word purely is
    3               1     1 Purely                      1 darkened.                                  1

                    1     1 nature valley               1 it just looks like their type of product   1
2                   1     1 LactoSpore USA              1 USA                                        2
        4           1     1 purely inspired             1 purely inspired                            1




    3               1     1 PURELY INSPIRED             1 IT'S ON THE LABEL                          1
        4           1     1 Organic                     1 It is the biggest text on the can          1
2                   1     2
                    1     2
                                                          because it's shown on the can above
    3               1     1 Purely inspired             1 the name of product                        2
                    1     2
        4           1     1 Purely Inspired             1 It's in the name                           1
                    1     1 Orgain.                     1 Same lettering that's at Costco.           1

                    1     1 purely inspired             1 It says it on the container                1
        4           1     1 purely inspired             1 its on the label                           1
2                   1     2
        4           1     2
                                                          Because its stated on the label!!
                                                          And on the back label theres like a
                                                          for more info please contact us at
    3               1     1 Purely inspired             1 Purely inspired. Thats the company         1
2                   1     1 purley inspired             1 it shows                                   1
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    3               1     1 A nutrition company                 1 Because of the product itself          1
    3               1     1 Purely Inspired                     1 The name precedes the product type     2
2                   1     2
                                                                  looks pretty similar to what they
    3               1     1 vega                                1 already have to offer                  1

2                   1     1 Purely Inspired                     1 because it's written on the product    1
                    1     1 365 organic                         1 the green color                        2
2                   1     2
        4           1     1 unilever                            1 looks like a brand of unilever         1
                            purely inspired are made this.        clearly i saw the name and the
                            this is organic protein for plant     classification of this products and
        4           1     1 based nutrition                     1 details are show in the package        1
                                                                  It says it right before the organic
2                   1     1 purely inspired                     1 protein part and looks like a logo     1
                    1     1 purely inspired                     2                                        1
                            I believe the name of the
    3               1     1 company is organic protein          1 I believe its a new company            1
2                   1     1 purely unspired                     1 plant baaed                            1

                    1     1 Purely Inspired                     1 Large logo                             1
    3               1     1 purely inspired                     1 That's what the package says           1
        4           1     1 Purely inspired                     1 It clear brand name                    1

                                                                  purely inspired makes organic
2                   1     1   purely inspired                   1 protein items                          1
    3               1     1   purely inspired                   1 on the package                         1
2                   1     2
        4           1     2
        4           1     1   purely inspired                   1 it says is right there on the label    1
                    1     1   purely inspired                   1 its on the packaging                   1
                                                                  because the phrase "purely inspired"
                                                                  appears before the item description
    3               1     1 purely inspired                     1 and also on the back of the package    1
                                                                  because that is the main name at the
                    1     1 Purely Inspired                     1 top                                    1
2                   1     1 Organic protein                     1 is the quality product                 1
2                   1     1 nature made                         1 the leaf in the name                   1
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                                                                   That looks like the product brand on
        4           1     1   Purely Inspired                    1 the label.                                1
    3               1     1   purely inspired                    1 because this written on the box           1
        4           1     1   purely inspired                    1 says it on it                             1
    3               1     1   Purely orgnaic                     2                                           2
2                   1     1   purely inspired                    1 it is on the label                        1
                    1     1   purely inspired                    1 its the first name i see on the label     1
        4           1     2

2                   1     1 Purely inspired                      1 The brand is on the jar                   1



2                   1     1 Purely Inspired                      1 Because it's the owner company            1
                    1     2
                                                                   It appears to be the brand on the
    3               1     1 Purely Inspired                      1 label                                     1

                                                                   The brand logo displayed with the
    3               1     1 purely inspired                      1 image of a leaf.                          1
2                   1     1 purely inspired                      1 its listed multiple times                 1
                                                                   I didnt know this was gonna be the
                            Purely inspired I figure since its     question kinda answered it already
                            about the name of the product          (lol) but I feel as through the
                            that it would be the company           company name is above the name of
        4           1     1 name.                                1 the product.                              1
                                                                   the logo is in a few places and it has
                                                                   the social media handles that say
                    1     1 purely inspired                      1 purely inspired nutrition                 1
                                                                   The title above the Organic Protein
                                                                   Label appears to be a business
        4           1     1 Purely Inspired                      1 name.                                     1
        4           1     1 purely                               1 the brand name is right there             1


        4           1     1 purely inspired                      1 it is on the packaging                    1
                                                                   It's at the very top of the label, with
2                   1     1 Purely Inspired                      1 the trade mark symbol next to it.         1
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                                                          Slimfast is a brand I am familiar with
                                                          that could have a protein based
    3               1     1 Slimfast                    1 product                                    1
2                   1     1 Purely Inspired             1 Brand name on front of bottle              2
    3               1     1 purely inspired             2                                            1
                                                          It is above the title of the product and
                    1     1 Purely Inspired             1 on the side of the package                 2
    3               1     1 purely inspired             1 Because that's the name on the             1
                    1     1 Purely Inspired             1 It says Purely Inspired on the             2
                                                          THATS THE LABEL BAND NAME
2                   1     1 PURELY INSPIRED             1 ON THE JAR                                 1
    3               1     2

    3               1     1 purely inspired             1 It is on the top of the container          1
                                                          It is placed clearly on the front of the
                    1     1 Purely Inspired             1 container                                  1
                                                          Because it is the name at the top of
                    1     1 purely inspired             1 the product                                1

                    1     1 Purely inspired             1 says that on the main label                1
                    1     1 purely inspired             1 because of the name listed on top          1
                    1     1 protein                     1 it was based on the plant                  2
                                                          That is the brand above the product
                                                          name on the front... also shows up
2                   1     1 Purely Inspired             1 on the back as well.                       1
                                                          The logo is right above the words
    3               1     1 Purely Inspired             1 "Organic Protien."                         1
    3               1     1 purely inmspired            1 because it says purely inspired            1
    3               1     1 purely inspired             1 it is centrally located on the label.      2
2                   1     2

        4           1     1   Purely Inspired           1 The name is on the package.                1
                    1     2
        4           1     1   purely inspired           1 purely inspired                            1
        4           1     1   Purely inspired           1 It is on the package                       1
        4           1     1   Purely Inspired           1 It's on the top front of the carton but    1
        4           1     2
                                                          because it is above the organic
                                                          protein title and there is a logo near
2                   1     1 purley inspired             1 the name of the company                    2
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    3               1     1 lacto spore                 1 that is what is in corner               2
    3               1     1 purely inspired             1 it says that on the container           2
                                                          That is the words above the words
    3               1     1 Purely Inspired             1 "Organic Protein"                       2

                                                          Trully makes organic products so by
                            Trully, because they make     looking at the cover I can tell they
                    1     1 organic products            1 made the product.                       1
                                                          Because the company logo is visible
                                                          above the product and there is a
        4           1     1 Purely Inspired             1 regitstered sign, (R) after the logo.   1
        4           1     1 LACTO-SPORE                 1 It has the brand on the back.           2
2                   1     2
                    1     2
2                   1     2
                    1     1 purelyinspired              1 it said so on the package               2
        4           1     2
                                                          it appears the brand name is
        4           1     1 purely inspired             1 displayed clearly                       1

2                   1     1 Organic Protein             1 Label description                       1
                                                          Looks similiar in packaging and Halo
2                   1     1   Halo                      1 has protein enriched products.          1
        4           1     1   Purely Inspired           1 on label and website                    1
    3               1     1   sataina corp              1 its on the label                        2
        4           1     1   Purley inspired           1 Because it's listed on the can          2

                                                          Label reflects name as well as their
        4           1     1 Purely Inspired             1 website listed                          1
        4           1     1 purely inspired             1 states on package                       1
        4           1     2

                                                          I'm basing it on the ingrediants and
    3               1     1 Benefibre?                  1 the package coloring                    1
    3               1     2
2                   1     2
                                                          the brand name is on the container
    3               1     1 purely inspired             1 at the top with a leaf seperating the   1
                    1     1 purely inspired             1 The name is on the canister             1
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                                                                Because that's what it says on the
2                   1     1 Purely Inspired                   1 label.                                    1
                            Garden of life made Organic         Because I have seen a ad before
2                   1     1 Protein I believe.                1 about it.                                 1

2                   1     1 purely inspired                   1 because its showing in the picture        1

    3               1     1 purely inspired                   1 that is on the container                  2
        4           1     2
    3               1     1 USDA Organic                      1 USDA organic                              1
                    1     2
                    1     2
2                   1     1 Purely Inspired                   1 says it above what product is             1


                    1     1 USDA organic                      1 Non GMO and no artificial                 1
    3               1     1 purely inspired                   1 why l have seen lamarca                   1

                                                                It has the impression of being the
                                                                brand name of the product based on
                                                                the descriptive nature of the title and
                    1     1 Purely Inspired                   1 the placement of the title/name.          1
                    1     2
2                   1     1 Purely Inspired                   1 its on the box                            1
                    1     1 purely inspired                   1 because its on the container              1
    3               1     2
    3               1     2
                                                                Because that is the name of the
2                   1     1 Purely Inspired                   1 company that is printed on the label.     1
    3               1     1 USDA                              1 It has the logo on the container.         2
    3               1     1 pURELY iNSPIRED?                  1 The name on the container                 1
                                                                It is in the area where the brand
2                   1     1 purely inspired                   1 would be, has a leaf logo, and a TM       1
    3               1     1 purely inspired                   1 that's what it says                       1
                            Purely inspired organic protein
                            shake powder is very good.
                            There are all ingredients are       I thinking it's positive to me that's
    3               1     1 natural & no any artificial       1 why                                       1
2                   1     1 Purely Inspired                   1 It is on the label                        1
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                                                            I saw it on the third packaging and I
2                   1     1 Purely Inspired             1   think that is the company name          1
        4           1     1 Purely inspired             1   That is what the label says             1
        4           1     1 Purely inspired             1   I think in basis of the image above.    1
        4           1     1 purely inspired             1   it says it                              2
                    1     2
    3               1     1 organic proteins            1 this product is unique and diferent       1
    3               1     1 I am not sure               1 I don't know who would make this          1
2                   1     1 purely inspired             1 that is the name of their website         1
                    1     2
                                                          The name f the company produce
    3               1     1 Purely Inspired             1 the product                               1
    3               1     2
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q9_2_T                                  Q10_0       Q10_0_T                                 Q10_1     Q10_1_T                                 q10_2
                                                2
they produce organic products                   1 other organic products                            1 just seems like they do because of th           1

i have never heard of it before today           2
                                                2
Not much. They have a website and
their products are made in the USA.             2
Plant based protein                             2
they offer plant based products and
use organic ingredients when                    2
                                                2
it is organic protein nutrition                 1 organic protien purely inspired                   1 it is protien product organic                   1
They make plant products                        2
                                                2
produce high quality products                   2
I don't know anything about this
company. Never heard of it before.              2
                                                2
                                                1 muscle milk and pure protein                      1 similar products on market                      1
                                                2

Plant based protein nutrition
supplement.                                     1 purely                                            1 They are what I think of.                       1


It's centered on label, above name of
product, which is a good place for                I'm not familiar with this brand so I
brand to be                                     1 have no idea                                      2                                                 2
it's plant based/nature based                   1 lactospore, saba....(can't read it all)           1 it's on the back of the package                 2
Organic protein                                 1 Organic Protein                                   1 USDA                                            1
                                                2
They are dedicated to providing
organic experiences with their                  1 LactoSpore                                        1 LactoSpore is affliated with Purely Ins         1

Organic based products                          2
                                                2
Its better than others                          1 None                                              1 I think it purely                               1
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Plant based Organic Protein and
priced right!                               1 Lentils                              2                                           2
It is organic, lots of protein, sugar,
and fiber, lower in fat and calories.
Includes plants and veggies. Non
GMO and natural. Made in USA                2
It is a great alternative to a busy
morning when you don?t have time to         1 Orgain                               1 They have a very similar product          1
                                            2
                                            2
It is organic and contains a lot of         1 I think none                         2                                           2
PLANT BASED PROTEIN
SUPPLEMENTS                                 1 VEGA                                 1 THEY ALSO SELL PLANT BASED P              1
                                            1 Purely inspired                      1 the leaf logo where it is placed on the   1
                                            2
                                              Milkshake brands as well as cereal
I cannot give any further information.      1 brands.                              1 The company is an organic company         1
                                            2
                                            2
It is a general health and nutrition
store that offers supplements and
vitamins for consumers.                     1 None others                          1 I don't think any other brand puts this   1
                                            1 purely inspired                      1 I'm not sure                              1

look to be green, plant based               2
organic protein                             2
                                            2
I'm not sure what brand puts out the
product.                                    2
                                            2
Plant based protein, non gmo, and no
artificial                                  1 Orgain                               1 Similar product and design                1
Purely Inspired is a plant based
nutritional supplement that contains
20 grams of protein.                        2
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ORGANIC PROTEIN PLANT BASE
NUTRITION FASTEST GROWING
SUPPLEMENT BRAND                              2
great product to expensive                    2
Made of organic products                      1 Purely inspired                       1 I see on the lebel                         1
I?ve seen it at Walmart                       2
                                              2
That its a protein powder that is non
GMO and has no artificial colors or           2
it is a premium brand with great
health benefits and taste great               2
                                              2
french vannilaorganic plant nutrition         2
NOT MUCH, I DID BUY THIS
PRODUCT SEVERAL TIMES IN
THE PAST BUT WANTED TO FIND
A PROTEIN PRODUCT WITHOUT
GLYPGOSATE. COME TO FIND
OUT THIS PRODUCT HAS LESS
GLYPGOSATE THAN THAN                          1 GARDEN OF LIFE                        1 I HAVE PURCHASED BOTH.                     1
They make organic products                    2
                                              2
                                              2

                                              2
                                              2
I use this product and love it                2
Generic Costco brand?                         2
                                                I have no idea, I've never heard of
nothing, I've never heard of it before        1 them before                           1 As I said, I've never heard of this bran   1
its organic protein                           1 unsure                                1 unsure                                     1
                                              2
                                              2
Their products are natural plant
based, non gmo, gluten free , organic           Bottled
and most importantly made in the                water,sweetner,cerealbar,energy
USA!!!                                        1 bar.                                  1 Things are sold by corp's that sell the    1
the beneifits                                 2
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It focuses on getting people healthy
and ensuring they have a nutritious
diet that benefits their health            1 Weight management powder                1 Because that's along the same line a       1
                                           2
                                           2
super befitting with what they have to
offer                                      1 orgain                                  1 look super similar to what they have t     1
I don't know much about them but it
looks like they make organic foods         2
                                           2
                                           2
unilever has a lot of products and i       1 costco/ kirkland                        1 i have seen a lot of like this at costco   1

this is very healthy organic protein.        gaiam, legion casein, nutiva hemp
this is plant based nutrition for          1 protein                                 1 this are the famous brand                  1

it's organic and natural                   1 pure protein                            1 I don't know                               1
for nutrition                              2
                                             I don't think its affiliated with any
I believe is a new company                 1 other brands                            1 it doesn't look related to any brands.     1
organic                                    2
It uses quality minimally processed
organic ingredients                        2
The product is non gmo and vegan           1 Orgain                                  1 It's on the package                        1
Plant based nutrition...                   2
purely inspired is a good company
who makes organic protein items
with no artificial                         1 no other brand                          1 they are the only thing i consider         1
never heard of them                        2
                                           2
                                           2
it shows everything on the label           1 i think they make the amount            1 it is clear on the brand                   1
its a plant based protein                  1 none                                    1 not sure                                   1

usda organic certified; non gmo; no
artificial ingredients                     2
it is very healthy and organic and only
uses plants                                2
is very good for my family and very        1 none                                    1 none                                       1
nature made is a supplement brand          2
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Organic                                    2
Very Nice                                  1 All-In-One-Meal                1 I know                             1
makes organic products                     2
                                           2
they make products that are organic        2
its an organuc drink mix..                 2
                                           1 organic protein                2                                    2
It?s a plant based organ protein
nutrition drink                            2



It's sophisticated and universal           2
                                           1 I'm not sure                   1 It looks familiar                  1
They make organic, plant-based
nutritional foodstuffs                     2
They seem to be a company that
puts out organic products that focus
on getting the most nutrition with         2
its organic                                2
I heard very little of this product but
Purely inspired ( could be thinking
about something else) is somewhat
similar to the chocolate that sad
purely on it that I've seen a long time    2

purely inspired sells nutritional
supplements                                2
I do not know anything about this
company other than the fact that it
appears that they make Organic             1 I do not know.                 2                                    2
it is nutritious                           2
it seems to be an organic company,
specializing in plant-based nutritional
prducts                                    2

It is a plant based protein powder.        2
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Slimfast sells those tasty shakes
which comes in many flavors. It helps
you loose weight and is healthy.           1 GNC                               1 GNC sells these types of products.     1
                                           2
organic                                    1 berries                           1 saw in the picture                     2

                                           2
non GMO                                    2
                                           2
ITS A ORGANIC SUPPLEMENT
MILK SHAKE                                 1 ORGANICS COMPANYS                 1 BECAUSE THATS WHAT THE COM             1
                                           2
It seems like it is a plant based
organic company that made protein          2
Purely Inspired is the brand of
organic protein that this product is       2
It makes products with organic
natural and are plant based with no        2
organic plant based protein with no
artificial ingredients                     2
that they sell healthy and organic         1 i dont understand this question   1 other organic brands                   1
                                           1 all palnt based                   1 nothign                                1
They make plant-based protein that
is organic, with no artificial
ingredients                                2

I have never heard of them before.         1 P90x                              1 Because that is a supplement I use.    1
honestly never heard of it                 1 premier protein powder, pure      1 because they are also makers of prot   1
                                           2
                                           2
It's America's fastest growing
supplement brand.                          1 Non GMO and no artificial         1 It is what is said on the package.     1
                                           2
it is organic                              2
It's organic?                              1 Anyway                            2                                        2
It'd plant based organic protiein          2
                                           2


                                           2
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                                            2
                                            2

                                            1 LactoSpore and Sabinsa              1 It is listed under the "Made in the USA   2
I cna tell because the colors they
use, like green, the letters, and
everything makes it look like they did
it. It looks realistic from my eyes that    1 Nothing                             1 Purely inspired                           1

They are claiming to be America's
fastest growing supplement brand.           2
                                            1 PURELY INSPIRED                     1 It says it in the front.                  2
                                            1 purely inspired                     2                                           2
                                            2
                                            2
                                            2
                                            2
offer a pure product with no artificial
ingredients etc                             2
20 g plant protein 7 g fiber less than
1 g sugar non GMO                           2

Protein enriched products                   2
nothing at all                              2
                                            2
                                            2
has a good amount of protein, is
made in the USA and less sugar than
a lot of protein items                      2
organic plant based protein                 2
                                            2
I have used it for years as a fibre
supplement to help .with diverticulitis.      Fibrecon, walgreens or cvs brand,
And you mix in a similar way.               1 metimucial                          1 same catgory of product as benefibre      1
                                            1 Jarrow                              1 I have purchased from Jarrow before       1
                                            2

they are a plant based company              1 refrigerated plant based milk       1 they would have a refrigerated option     1
It is a plant based protien                 2
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It's a plant-based organic protein
supplement powder. This one is
French Vanilla flavored.                   2
It have much Plant based Nutrition           Organic protein powder purely
and Organic too.                           1 inspired is also.               1 USDA Organic citified for this .           1
purely inspired organic protein plant
based decadent chocolate                   1 orgain                          1 because they both are good for healt       1
                                             i never heard of the company
                                           1 before today                    1 because i never heard of them              2
                                           2
Purely inspired                            1 Purely inspired                 1 purely inspired                            1
                                           2
                                           2
plant-based nutrition                      2
which define standards that integrate
cultural biological and machanical
praitices                                  1 Garden of life                  1 is gluten free and clean protein powd      1
it is an excellent brand                   2
It appears all natural and organic
based on the claims on the
container's label, and it would seem
to be a healthier alternative to milk
based protein powder because this          2
                                           2
it makes the product                       1 none                            1 because I don't know                       1
its an organic plant based protein         2
                                           2
                                           1 Whey protein                    1 It is organic protein.                     1
They make a plant based protein
supplement.                                2
                                           2
It's the name on the container.            2
it is plant based, organic, vegetarian,
no artificial colors, no cholesterol       1 GNC                             1 they sell similar generic products for p   1
organic protein                            2

There are all ingredients are natural
& it makes us to healthy because
there are no any artificial thing          2
It is plant based                          2
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They manufacture a plant based
protein powder                          2
Organjc plant based protein             2
A plant based nutrition maker           1 true value                     1 other company that also make this lik   1
                                        2
                                        2
is excellent product                    1 herbalife                      1 herbalife is excellent                  1
none                                    2
they make plant based organic           2
                                        1 usda organic                   1 purely inspired                         1

Company provide a great product         2
                                        1 Purely Inspired                1 Saw the name on the label               1
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q10_2_T                                Q11_0       Q11_1     Q11_1_T                           Q11_2       Q11_2_T                                 q11_3
                                               1           2
nothing much more                              1           1 other organic making companies            2                                                   2

                                               3
                                               3

                                               3
                                               3

                                               3
                                               1           2
plant based nutrition                          1           1 USDA organic                              1 it is certificate for organic nutrition           1
                                               2
                                               2
                                               1           1 herbalife                                 2                                                   2

                                               1           1 USDA                                      1 their logo is on the package.                     1
                                               3
high in protein                                2
                                               1           1 Pure                                      1 Because of the packaging                          2

It is a plant based nutrition
supplement with protein.                       2




                                               3
                                               1           1 lactospore and sabra...                   1 it says it on the package                         2
Organic Protein                                2
                                               3
                                                                                                         Because that is what is said on the
It is organic and Non GMO                      1           1 Purely Inspired and LactoSpore.           1 labeling of the product.                          1

                                               3
                                               2
Its better                                     1           1 bevarage company                          2                                                   1
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                                          1       1 USDA organic                    2                           2



                                          2
They have many different product to
help people stay healthy and ageing       1       2
                                          3
                                          3
                                          1       1 Purely                          1 It's like that            2

VEGAN AND NON-GMO                         3
I have never heard of them                3
                                          3

No further comments.                      2
                                          1       2
                                          1       2


Nothing                                   2
I'm not sure at this time.                3

                                          3
                                          3
                                          3

                                          1       2
                                          1       2

plant based protein                       1       2


                                          3
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                                           1       2
                                           1       2
Very natural ingredients                   1       2
                                           3
                                           3

                                           2

                                           1       1 nature valley                       1 looks like their brand             1
                                           1       2
                                           2




IT COST MORE THAN I WANT TO
PAY, BUT IT'S REALLY GOOD!                 3
                                           3
                                           3
                                           1       2

                                           1       2
                                           1       2
                                           2
                                           3

This doesn't even make sense.              3
im unsure about it                         2
                                           3
                                           1       2


                                                     Morning star,or a corp like Edy's     Thats how marketing works .Get
All natural ,plant based , healthy.        1       1 capitalizing on healthy options.    1 dollars from everywhere you can!   1
                                           3
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It helps someone to control their
weight                                        1       2
                                              1       1 Purely Inspired                       1 It states on the bottle                 2
                                              3

nothing else                                  1       1 vega                                  1 look similar to their products          1

                                              1       2
                                              1       2
                                              1       2
cheaper products                              1       1 unilever                              1 similar to their products               1


this are the famous brand                     1       1 purely inspired products              1 i know the name                         1

I buy their bars sometimes                    1       2
                                              1       2

again I believe its a brand new brand         2
                                              1       2
                                                                                                There is a disclaimer for the other
                                              1       1 Sabinsa                               1 company                                 1
There are vitamins in Orgain and              1       1 Orgain                                2                                         1
                                              2

yes purely inspired is the only thing i                 they are authorized from the health
consider                                      1       1 minstry                               1 because products needs to verify        1
                                              2
                                              1       2
                                              1       2
i can't think of anything else                2
not much                                      1       1 purely inspired                       1 not sure                                1

                                                                                                because usda certified organic stamp
                                              1       1 usda                                  1 is on the container                     1

                                              2
none                                          2
                                              1       1 nature made                           1 cause of the leaf in the product name   1
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                            3
Good                        3
                            3
                            1       2
                            1       2
                            1       2
                            2

                            1       2
                                                                            Purely Inspired is a nutritional
                                                                            supplement company owned by Iovate,
                                                                            the corporation behind popular
                            1       1 Iovate                              1 meathead brands MuscleTech and Six    1
Whey protein                1       2

                            3


                            3
                            3




                            1       2


                            1       2

                                      It states it is USDA Organic so I     Due to the mark that says USDA
                            1       1 would assume USDA.                  1 Organic.                              1
                            1       2


                            3

                            1       1 LactaSpore                          1 Lactaspore                            2
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They sell vitamins and sports related                                                  The FDA approves these products
products.                                  1       1 FDA                             1 before they go on shelves.        1
                                           1       2
                                           1       1 lactospore                      2                                   2

                                           2
                                           1       2
                                           3
THATS MAKE ORGANICS                                                                    THATS WHAT ITS CONNECTED
PRODOUCTS                                  1       1 WHAT EVER ITS CONNECT TOO       1 TOO                               2
                                           3

                                           2

                                           3

                                           3

                                           1       2
the question was not worded properly       3
yeah                                       2


                                           2
It tastes good and is apparently
nutritious.                                1       2
that you can make protein shakes with      3
                                           3
                                           1       2

The product is better for your health.     1       1 Lactospore                      1 On packaging                      2
                                           3
                                           2
                                           1       1 USDA                            2                                   2
                                           3
                                           3


                                           3
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                                              3
                                              3

                                              2



They use colors like that                     1      1 Nike                                1 Nike                            1


                                              1      2
                                              1      1 LACTO_SPORE                         1 It says the name on the back.   2
                                              2
                                              3
                                              3
                                              1      1 loctospore                          2                                 2
                                              1      2

                                              1      1 glutenfree program nongmo project   1 displayed on package            2

                                              3

                                              1      2
                                              3
                                              2
                                              3


                                              3
                                              3
                                              3

they are a supplement to the natural
thing                                         3
They produce good protein powder              3
                                              1      2
that it is stored in a cooler with the rest
of the plant based milks                      2
                                              1      2
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                                           3
It's Nutritional supplement feel good to             Organic product purely inspired
me.                                        1       1 with.                             1 It make me a fan for it's good product.   1
orgain serves up 21g of vegan protein
and 150 calories in every serving          1       1 orgain                            1 orgain                                    1

                                           2
                                           3
purely inspired                            1       1 purely inspired                   1 purely inspired                           1
                                           3
                                           2
                                           1       2
Raw organic Protein is a certified
organic, Non GMO project verified
Raw vegan                                  1       1 GMO certified                     1 Plant based nutrition                     1
                                           2

                                                                                         After examining the label on the
                                                                                         container, that brand name was the
                                                                                         only name I could see that is an actual
                                           1       1 Purely Inspired Supplements       1 company name.                             1
                                           1       2
nothing                                    1       2
                                           3
                                           1       2
Their products are very unique.            1       2

                                           1       2
                                           3
                                           2

they sell many types of protein drinks     1       1 sabrisa                           1 it is listed on the label                 1
                                           3



                                           1       1 Lovate                            1 I thinking that's why                     1
                                           3
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                                         3
                                         3
it is company like this                  1       1 lacto spore                     1 lacto spore attach with this   1
                                         1       1 whole foods                     1 just guessing                  1
                                         1       2
herbalife is organic                     1       2
                                         3
                                         2
it is a company that makes organic       1       2

                                         1       2
Organic plant based protein mix          1       2
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q11_3_T                                Q12_0       Q12_1       Q12_1_T                            Q12_2     Q12_2_T                            q12_3
                                               3
                                               3

                                               3
                                               3

                                               3
                                               3

                                               3
                                               1           2
for organic nutrition                          1           2
                                               2
                                               3
                                               2
they put products through certain
criteria before they put their stamp           3
                                               3
                                               3
                                               3


                                               2




                                               3
                                               1           1 lactospore and saba.....                     1 it says it on the pacakge                  2
                                               2
                                               3
Good grief. I don't know what else I                         Purely Inspired has a relationship             I can only glean the information
can say.                                       1           1 with LactoSprore.                            1 that is contained on the outside           1

                                               1           2
                                               2
Its brand                                      1           1 Purely                                       1 Its better option                          1
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            3



            2

            1      1 Orgain                           1 Very simmular                    2
            1      2
            3
            2
                     LACTOSPORE. NON GMO
            1      1 PROJECT. GF CERTIFICATION        1 THE LABELING                     1
            2
            2

            2
            1      2
            1      2


            2
            1      2

            3
            3
            3

            1      1 Not sure                         2                                  2
            1      2

            1      1 Orgain                           1 Similar design and ingredients   1


            3
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                                         3
                                         1      2
                                         1      2
                                         3
                                         3

                                         2

tates great and is healthy               3
                                         3
                                         2




                                         3
                                         3
                                         2
                                         2

                                         3
                                         1      2
                                         3
                                         3

                                         3
                                         2
                                         3
                                         1      2
                                                  Cod be any companies but I realy
Morning star is plant based food co.              would guess by the purely inspired       Because the label logo looks
Edy's isnt but will market a product              logo with the leaf that its probably     just like you would see on a
to any demographic .                     1      1 made by a suppliment company like      1 suppliment bottle ..           1
                                         1      2
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                                          3
                                          3
                                          3

nothing                                   2

                                          1      2
                                          2
                                          3
love all their products                   1      1 can be partner with any other    1 looks like a good products   1


every thing is very good                  1      1 organicpretein supliment         1 i know the name              1

                                          3
                                          1      2

                                          2
                                          1      2
It is a good ingredient of this
product                                   3
There are vitamins in the powder          1      1 Orgain                           1 I know this design           1
                                          2


yes organic product are all verified      2
                                          2
                                          1      2
                                          3
                                          3
good                                      2

governmental organization that
certifies organic ingredients             3

                                          2
                                          2
they are a supplement maker               1      2
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                                                  National foundation for Celiac
                                         1      1 awarness                         1 It says on the back label   2
                                         3
                                         3
                                         1      2
                                         1      2
                                         2
                                         2

                                         1      2



International                            2
                                         1      2

                                         3


                                         1      2
                                         3




                                         1      2


                                         3

I'm not sure how to elaborate further
on that. That is what the can says.      3
                                         2


                                         1      2

                                         1      2
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They give a approval to the food or
ingestible product if it is safe to
eat/take.                               2
                                        3
                                        1      2

                                        2
                                        1      2
                                        3
                                                 I NOT SURE PROBLEMLY OTHER         BECAUSE THERES MORE
                                        1      1 ORGANIC COMPANYS                 1 THEN ONE ORGANIC                   2
                                        3

                                        1      2

                                        3

                                        3

                                        3
                                        1      1 natures garden                   1 the two companies remind me        1
                                        3


                                        3
                                                                                    Looks like it would be sold by a
                                        1      1 Probably Walmart or Target.      1 mass producer.                     1
                                        3
                                        1      1 365                              1 looks like a whole foods product   2
                                        3

                                        1      1 Lactospore                       1 Name is on product                 2
                                        1      1 Walmart or giant                 1 Walmart or Giant                   2
                                        1      2
                                        3
                                        2
                                        3


                                        3
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                     3
                     3
                                                                 The leaf logo reminds me of
                     1      1 Nestle                           1 nestle                           1



Colors               1      1 Nike, they might use proteins    1 They use proteins                1


                     1      2
                     3
                     1      2
                     3
                     3
                     1      2
                     2

                     3

                     3

                     1      2
                     1      2
                     3
                     1      1 Ensure                           2                                  1


                     3
                     3
                     2


                     1      1 Purely Inspired                  1 on the label                     2
                     1      2
                     1      1 purley inspired                  1 the label said purley inspired   1

                     2
                     1      2
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                                            3
I feel good for it's product and Made
with pure ingredients.                      2
it fuels our body with clean,organic
nutrition with a complete amino acid        2

                                            2
                                            3
purely inspired                             2
                                            3
                                            3
                                            2
Genetically modified organisms, it
usually refers to foods that have
been genetically engineered for             2
                                            2
It's completely natural and organic
with nothing artificial within it. It's a
plant based protein supplement with
a wide blend of fruit and veggie
extracts, plus a great fiber level.         3
                                            3
                                            3
                                            3
                                            1      2
                                            2

                                            3
                                            3
                                            1      2

they manufacture health items               1      2
                                            3


Lovate is a outstanding brand. They
always make pure product                    2
                                            3
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                                         3
                                         3
it is another company                    1      1 lacto spore                      1 it associate with them     1
its a health grocery store               1      1 whole foods                      1 just guessing again        1
                                         1      1 Healthy choice                   2                            2
                                         2
                                         1      2
                                         2
                                         3

                                         2
                                         3
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q12_3_T                             cms     rKey           rDate               rDateComplete
                                          1 ZT5RQ3VMPT     2019-10-17 16:03:09 2019-10-17 16:07:28
                                          1 YGQB1S0SXQ     2019-10-17 16:03:01 2019-10-17 16:07:53

                                          1 PF5T9K4TG7     2019-10-17 16:04:16 2019-10-17 16:09:32
                                          1 210DMNF5GN     2019-10-17 16:07:12 2019-10-17 16:12:25

                                          1 Q3J1GPC188     2019-10-17 16:07:50 2019-10-17 16:13:21
                                          1 Y2YR7368MN     2019-10-17 16:09:29 2019-10-17 16:13:49

                                          1   RVZ2JJG0CM   2019-10-17 16:04:12   2019-10-17 16:15:51
                                          1   HCP18GHHWR   2019-10-17 16:10:20   2019-10-17 16:16:30
                                          1   RFJQ3987MV   2019-10-17 16:05:56   2019-10-17 16:16:53
                                          1   D6HBMV0YBV   2019-10-17 16:12:07   2019-10-17 16:17:21
                                          1   DJM0YGRFDS   2019-10-17 16:09:51   2019-10-17 16:18:06
                                          1   N81W15NQ07   2019-10-17 16:14:28   2019-10-17 16:18:55

                                          1   6VRTC1B12C   2019-10-17 16:08:19   2019-10-17 16:20:44
                                          1   DT6S5VSN3G   2019-10-17 16:17:12   2019-10-17 16:21:06
                                          1   J86P921HBP   2019-10-17 16:19:40   2019-10-17 16:23:05
                                          1   BVKQZJY6K3   2019-10-17 16:25:55   2019-10-17 16:28:09


                                          1 RXGMX425TW     2019-10-17 16:17:39 2019-10-17 16:28:20




                                          1   37M5950XGP   2019-10-17 16:21:01   2019-10-17 16:28:51
                                          1   T1R1HQNHNV   2019-10-17 16:19:25   2019-10-17 16:31:32
                                          1   M9SZNZP282   2019-10-17 16:23:10   2019-10-17 16:32:19
                                          1   T7RKFJM90T   2019-10-17 16:31:57   2019-10-17 16:34:17
I can tell you that they use
products that are organic and non         1 N0NM2RXHB6     2019-10-17 16:27:19 2019-10-17 16:35:09

                                          1 FS85SSJ0Z5     2019-10-17 16:30:41 2019-10-17 16:35:21
                                          1 W53C57RF4Y     2019-10-17 16:39:45 2019-10-17 16:40:46
Its better than others brand              1 QGZZCMB0B0     2019-10-17 16:36:33 2019-10-17 16:41:22
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                                    1 XHFGSWYGGT     2019-10-17 16:30:28 2019-10-17 16:41:57



                                    1 YP6HPDJGDP     2019-10-17 16:40:50 2019-10-17 16:44:57

                                    1   T4PKV8YX03   2019-10-17 16:39:01   2019-10-17 16:47:43
                                    1   DRQRZ42GZZ   2019-10-17 16:52:23   2019-10-17 16:53:47
                                    1   XFV891R9YV   2019-10-17 16:50:46   2019-10-17 16:55:30
                                    1   W635JCFQT2   2019-10-17 16:54:23   2019-10-17 16:58:59
ALL CERTIFICATION
PROGRAMS                            1 VB2G17QKCQ     2019-10-17 16:46:01 2019-10-17 17:01:40
                                    1 6C79X5G3D6     2019-10-17 17:03:00 2019-10-17 17:06:39
                                    1 F6579ZX3Q4     2019-10-17 17:10:15 2019-10-17 17:12:42

                                    1 MWGD4ZQ85J     2019-10-17 17:07:51 2019-10-17 17:12:42
                                    1 VZX05NG801     2019-10-17 17:07:37 2019-10-17 17:12:56
                                    1 G3M093WX9Q     2019-10-17 17:10:49 2019-10-17 17:15:44


                                    1 G5K39T1DG5     2019-10-17 17:10:49 2019-10-17 17:16:22
                                    1 QYGP92KKMR     2019-10-17 17:12:57 2019-10-17 17:19:27

                                    1 90H4SPJQ7V     2019-10-17 17:23:02 2019-10-17 17:26:19
                                    1 24BP1FPFKC     2019-10-17 17:23:23 2019-10-17 17:26:59
                                    1 P9DVDS2863     2019-10-17 17:24:54 2019-10-17 17:27:15

                                    1 KXM19D1R3D     2019-10-17 17:23:40 2019-10-17 17:28:27
                                    1 BYWQVWNFCK     2019-10-17 17:28:11 2019-10-17 17:30:23
Very popular dietary supplement
for plant based diet                1 8S37YVSHR9     2019-10-17 17:25:55 2019-10-17 17:30:29


                                    1 BSB5GMNHXH     2019-10-17 17:10:39 2019-10-17 17:31:05
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                                        1   6HNXGJ0HPB   2019-10-17 17:23:26   2019-10-17 17:31:54
                                        1   51DPHZ9CBN   2019-10-17 17:30:19   2019-10-17 17:33:40
                                        1   8CT5B92MHG   2019-10-17 17:26:23   2019-10-17 17:33:41
                                        1   VW6C734P3B   2019-10-17 17:32:23   2019-10-17 17:37:11
                                        1   Q6TZS99D59   2019-10-17 17:43:41   2019-10-17 17:45:41

                                        1 FCBRKG9S7J     2019-10-17 17:46:44 2019-10-17 17:52:14

                                        1 Q94YV3FV7F     2019-10-17 18:03:54 2019-10-17 18:18:32
                                        1 KMNWQSK33G     2019-10-17 18:38:50 2019-10-17 18:56:14
                                        1 FRWP72GGX5     2019-10-18 11:47:51 2019-10-18 11:55:20




                                        1   JHJYWMHNNV   2019-10-18 11:42:36   2019-10-18 11:55:45
                                        1   K4ZHHPF09G   2019-10-18 12:12:29   2019-10-18 12:41:02
                                        1   M6JB174WCS   2019-10-21 09:17:47   2019-10-21 09:22:03
                                        1   X11GBM25G1   2019-10-21 09:50:27   2019-10-21 09:55:14

                                        1   XW2N9JK0DP   2019-10-21 09:53:24   2019-10-21 09:57:48
                                        1   5KTJDHX7ZV   2019-10-21 13:00:11   2019-10-21 13:12:32
                                        1   42K4JY9GVJ   2019-10-21 13:09:50   2019-10-21 13:13:21
                                        1   NTHV9DFH4W   2019-10-21 13:08:59   2019-10-21 13:13:45

                                        1   RNFRFG75YC   2019-10-21 13:19:03   2019-10-21 13:23:00
                                        1   ZXR6ZMZHNM   2019-10-21 13:22:06   2019-10-21 13:24:52
                                        1   YM898PZRCQ   2019-10-21 13:23:48   2019-10-21 13:26:50
                                        1   47BHHMQ811   2019-10-21 13:23:50   2019-10-21 13:28:30
Suppliment companies specialize
in natural healthy products like this
. The label states all the same
things you would see on a               1 PBGWYZ8KR2     2019-10-21 13:01:32 2019-10-21 13:28:57
                                        1 XCM46YFSQT     2019-10-21 13:16:18 2019-10-21 13:29:03
                            Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 296 of 432 Page ID
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                                     1 Z9W8SGYXCW     2019-10-21 13:22:17 2019-10-21 13:39:16
                                     1 CNQK8FDYVH     2019-10-21 13:40:20 2019-10-21 13:45:54
                                     1 PGY7X90YVB     2019-10-21 13:55:07 2019-10-21 14:06:12

                                     1 QDQ067CW37     2019-10-21 13:23:10 2019-10-21 14:16:38

                                     1   7X1HB0MYWD   2019-10-21 14:12:50   2019-10-21 14:18:37
                                     1   RGH70CZ5CY   2019-10-21 12:01:04   2019-10-21 14:22:26
                                     1   KNFGJPYFQB   2019-10-21 14:54:20   2019-10-21 14:56:29
love them                            1   2VMB64422W   2019-10-21 15:33:58   2019-10-21 15:42:37

organic protein supliment the
products                             1 PST9SMYZD0     2019-10-22 04:09:28 2019-10-22 04:26:37

                                     1 6RZSG8M0FF     2019-10-22 09:00:53 2019-10-22 09:16:04
                                     1 KGMT2G35TB     2019-10-22 09:24:58 2019-10-22 09:26:55

                                     1 QFMKDHZCB0     2019-10-22 09:25:05 2019-10-22 09:29:15
                                     1 T6CP7228HB     2019-10-22 09:41:00 2019-10-22 09:44:18

                                     1 R2JGQ1CMSC     2019-10-22 10:10:56 2019-10-22 10:15:34
The product is healthy               1 6SG2C2YQ81     2019-10-22 11:02:24 2019-10-22 11:08:43
                                     1 DNX2YVN0QF     2019-10-22 11:23:30 2019-10-22 11:31:40


                                     1   D05N7DYXCR   2019-10-22 11:36:49   2019-10-22 11:42:17
                                     1   K3C4G0J1QH   2019-10-22 11:17:10   2019-10-22 11:44:22
                                     1   S197J05V5X   2019-10-22 13:35:21   2019-10-22 13:38:09
                                     1   GTZ7NBVNVJ   2019-10-22 14:07:52   2019-10-22 14:09:43
                                     1   C64KF3QXQG   2019-10-22 14:04:28   2019-10-22 14:13:34
                                     1   WT66GNVK2G   2019-10-22 14:21:35   2019-10-22 14:25:10


                                     1 SW477J9SY7     2019-10-22 14:30:52 2019-10-22 14:34:32

                                     1 1M98VYNNFC     2019-10-22 14:33:13 2019-10-22 14:37:20
                                     1 QWGTPZ8FYQ     2019-10-22 14:30:07 2019-10-22 14:42:44
                                     1 V1CC0P7B63     2019-10-22 14:38:21 2019-10-22 14:43:45
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         1   NWHPGBJC6Z   2019-10-22 15:10:18   2019-10-22 15:15:14
         1   P2BWRKZGY7   2019-10-22 15:11:18   2019-10-22 15:17:17
         1   NVHND77BRH   2019-10-24 13:21:05   2019-10-24 13:24:39
         1   GM5TKYP74T   2019-10-24 14:06:13   2019-10-24 14:15:13
         1   28D4KCJ1YH   2019-10-24 16:00:31   2019-10-24 16:03:10
         1   MRKRZ6WPMH   2019-10-24 16:05:36   2019-10-24 16:09:18
         1   X50ZWKH2S5   2019-10-24 18:19:23   2019-10-24 18:30:05

         1 H4TMSJ2V9X     2019-11-04 16:02:32 2019-11-04 16:05:33



         1 F5SNB77CWT     2019-11-04 15:45:35 2019-11-04 16:10:20
         1 CRX8S0SCP3     2019-11-04 16:06:09 2019-11-04 16:10:31

         1 774K1WXHF8     2019-11-04 16:10:59 2019-11-04 16:14:16


         1 G2H23F3N53     2019-11-04 16:11:49 2019-11-04 16:15:41
         1 R9TR7Q7Z6S     2019-11-04 16:15:21 2019-11-04 16:18:28




         1 HZYN22K4XR     2019-11-04 16:08:37 2019-11-04 16:19:38


         1 NH8PZS10DR     2019-11-04 16:17:53 2019-11-04 16:21:59


         1 HDBNT9C33Q     2019-11-04 16:14:01 2019-11-04 16:23:00
         1 GNRGWS9T9T     2019-11-04 16:24:42 2019-11-04 16:26:38


         1 C82PQB8FZH     2019-11-04 16:22:50 2019-11-04 16:26:41

         1 1SZZP41V7V     2019-11-04 16:23:03 2019-11-04 16:26:51
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                                1 4QNQ3YG5HH     2019-11-04 16:22:49 2019-11-04 16:30:38
                                1 J53YPNM9TF     2019-11-04 16:22:53 2019-11-04 16:30:46
                                1 J5MNTVF20H     2019-11-04 16:30:32 2019-11-04 16:33:31

                                1 PSB0H9K2KX     2019-11-04 16:32:23 2019-11-04 16:36:09
                                1 CR36JSS5DB     2019-11-04 16:20:04 2019-11-04 16:37:32
                                1 N3SCNGF58H     2019-11-04 16:38:04 2019-11-04 16:40:40

                                1 1PB69Y9TD3     2019-11-04 16:31:33 2019-11-04 16:40:55
                                1 5QH26B2RNN     2019-11-04 16:40:13 2019-11-04 16:41:28

                                1 W1PRV6X4QM     2019-11-04 16:38:16 2019-11-04 16:42:16

                                1 Y8RZVNZBYQ     2019-11-04 16:39:37 2019-11-04 16:43:39

                                1 BG51X3K5NW     2019-11-04 16:40:45 2019-11-04 16:49:02

                                1 2M7BSVNCSH     2019-11-04 16:42:04 2019-11-04 16:54:04
sells organic snacks            1 6HCFC0HWSW     2019-11-04 16:15:50 2019-11-04 16:55:48
                                1 3CX8X24RP6     2019-11-04 16:16:44 2019-11-04 17:03:28


                                1 PBCS5XRH14     2019-11-04 17:05:32 2019-11-04 17:07:32

They are big stores             1   YWR5JRT07J   2019-11-04 17:04:28   2019-11-04 17:09:21
                                1   H8QGMTTMTJ   2019-11-04 17:01:16   2019-11-04 17:13:18
                                1   BP4Y9Y6B6D   2019-11-04 17:10:39   2019-11-04 17:15:04
                                1   VB3R7QKP0M   2019-11-04 17:29:50   2019-11-04 17:31:41

                                1   WPDJXD6PS6   2019-11-04 17:31:16   2019-11-04 17:36:21
                                1   VPQGJGXZWZ   2019-11-04 17:32:54   2019-11-04 17:36:35
                                1   4NT96GBRHZ   2019-11-04 17:46:33   2019-11-04 17:49:35
                                1   RMHQPYXZ7D   2019-11-04 17:57:46   2019-11-04 18:01:10
                                1   8D78CJGHCM   2019-11-04 18:14:20   2019-11-04 18:16:51
                                1   G1RTP61X0K   2019-11-04 18:37:31   2019-11-04 18:38:55


                                1 7CPF4XQ2TY     2019-11-04 18:38:05 2019-11-04 18:40:33
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                                      1 S5WVPPC0VK     2019-11-04 18:59:00 2019-11-04 19:01:48
                                      1 428XGQ3S16     2019-11-04 18:57:27 2019-11-04 19:06:49
I know that there are leaves in the
logo and that they do many            1 52W2VGG20Q     2019-11-04 19:07:13 2019-11-04 19:14:28



Nike                                  1 JV1QG349VM     2019-11-04 19:14:22 2019-11-04 19:21:16


                                      1   Z5X4WZDKS3   2019-11-04 19:14:32   2019-11-04 19:22:26
                                      1   XWXNNY9TXB   2019-11-04 19:26:56   2019-11-04 19:30:19
                                      1   C713G51B6D   2019-11-04 19:34:42   2019-11-04 19:38:41
                                      1   9C7305RTMN   2019-11-05 09:07:19   2019-11-05 09:09:58
                                      1   TFGY551Q1M   2019-11-05 09:10:30   2019-11-05 09:12:56
                                      1   SKC84W1P59   2019-11-05 09:06:24   2019-11-05 09:13:40
                                      1   2Y45B4SCZ4   2019-11-05 09:11:08   2019-11-05 09:14:49

                                      1 8JNDS00MMH     2019-11-05 09:10:43 2019-11-05 09:17:11

                                      1 NRNHZQ8M6R     2019-11-05 09:13:20 2019-11-05 09:17:46

                                      1   NVH15H175C   2019-11-05 09:11:39   2019-11-05 09:17:51
                                      1   3PJRKBYNJQ   2019-11-05 09:14:42   2019-11-05 09:18:36
                                      1   SD151CT6VV   2019-11-05 09:12:11   2019-11-05 09:18:43
Ensure is good for people who         1   15YZCG9NRP   2019-11-05 09:15:10   2019-11-05 09:23:14


                                      1 MJX9FH5W8Z     2019-11-05 09:16:11 2019-11-05 09:24:07
                                      1 KMCV6KC2KC     2019-11-05 09:18:57 2019-11-05 09:24:32
                                      1 7TRCWTWF6J     2019-11-05 09:19:21 2019-11-05 09:25:15


                                      1 XGVQMG8G0H 2019-11-05 09:13:22 2019-11-05 09:26:58
                                      1 MGMWGW8X8W 2019-11-05 09:22:04 2019-11-05 09:27:49
purley inspired is a plant base       1 QCFKQP0HVQ 2019-11-05 09:11:39 2019-11-05 09:32:55

                                      1 8KRY423C54     2019-11-05 09:41:53 2019-11-05 09:45:21
                                      1 QNJC4ND787     2019-11-05 09:39:51 2019-11-05 09:46:32
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         1 MFN3211ZFY     2019-11-05 09:59:32 2019-11-05 10:04:11

         1 HFS502VH79     2019-11-05 09:58:33 2019-11-05 10:21:24

         1 2HRV95WSWF     2019-11-05 10:16:46 2019-11-05 10:27:59

         1   SR40R5V0X8   2019-11-05 10:26:31   2019-11-05 10:32:00
         1   MQMS2X37P6   2019-11-05 10:28:38   2019-11-05 10:32:31
         1   4MH90V53H7   2019-11-05 10:26:45   2019-11-05 10:41:23
         1   TTWYMPB5WP   2019-11-05 10:43:58   2019-11-05 10:47:01
         1   6XP6QY0SRC   2019-11-05 10:48:12   2019-11-05 10:50:26
         1   PS7SXYYJK8   2019-11-05 11:19:17   2019-11-05 11:22:09


         1 59X9VS5RXX     2019-11-05 11:01:04 2019-11-05 11:26:52
         1 6HWQ3RHJW1     2019-11-05 11:34:11 2019-11-05 11:45:26




         1   90KYBK3XBF   2019-11-05 11:21:35   2019-11-05 11:46:45
         1   DJ3345BCQH   2019-11-05 12:08:00   2019-11-05 12:10:58
         1   T3GSH16GTT   2019-11-05 12:22:37   2019-11-05 12:25:07
         1   QS4QS9JSB8   2019-11-05 12:11:12   2019-11-05 12:31:09
         1   Y1H64MZJ8S   2019-11-05 16:13:36   2019-11-05 16:15:31
         1   341DV98H2T   2019-11-05 16:58:31   2019-11-05 17:04:17

         1 5G1PT59B7S     2019-11-05 18:06:31 2019-11-05 18:10:24
         1 5MGFPCB69H     2019-11-05 19:51:00 2019-11-05 19:55:32
         1 B1Q1B5WKRD     2019-11-05 19:59:19 2019-11-05 20:01:43

         1 2M7RGMJ2FQ     2019-11-05 19:55:16 2019-11-05 20:02:21
         1 RBYNWFCRPR     2019-11-05 20:25:12 2019-11-05 20:28:13



         1 7SHCVYJVQK     2019-11-06 11:37:07 2019-11-06 11:52:06
         1 5X67XMHBYF     2019-11-06 12:31:38 2019-11-06 12:34:18
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                                1   P0KRKYBNZV   2019-11-06 12:43:36   2019-11-06 12:48:56
                                1   NHYGFHMY7T   2019-11-06 12:51:02   2019-11-06 12:57:47
it is other company.            1   B55V6VPXV0   2019-11-06 12:41:36   2019-11-06 13:02:31
its a healthy place             1   4V3BPRWN83   2019-11-06 13:13:27   2019-11-06 13:17:07
                                1   XTMKC1P9W0   2019-11-07 10:47:40   2019-11-07 10:49:59
                                1   T3569BYW48   2019-11-07 11:06:58   2019-11-07 11:10:05
                                1   JMR9KMSCQZ   2019-11-07 11:07:54   2019-11-07 11:10:37
                                1   JX8R289B0Z   2019-11-07 11:11:19   2019-11-07 11:14:14
                                1   883CNB6M1Q   2019-11-07 11:07:08   2019-11-07 11:14:41

                                1 WYTDXZH9WT     2019-11-07 11:14:54 2019-11-07 11:18:05
                                1 B94XYBYVF0     2019-11-07 11:18:51 2019-11-07 11:22:21
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psid                   QNUM   a     g       Q1_1       Q1_2       Q1_3       Q2       Q2_1_M

WHE42534541895XFNZZG      2001 51       1          1          1          1        1            5

G92M2534542213HJ3B4R      2002 71       1          1          2          2        1            1


BCY22534542065A8JQZC      2003 36       2          1          2          2        2            4

3VU52534541817Q6OV5L      2004 35       1          1          1          1        1            1

OCLJ2534542495Z9FPTI      2005 57       1          1          1          1        1            12

IO9C2534541883G2X119      2006 25       1          1          1          1        1            9

WFQ12534548153EKT7CK      2007 55       1          1          1          1        1            8

JOJY2534542193EQUBZJ      2008 49       1          1          1          1        1            9

BENN2534547967QAFTAB      2009 60       2          1          1          3        2            6

1P7X2534548704JVPA2E      2010 54       2          1          1          1        2            12

EP332534550568Z3HMZJ      2011 33       2          1          1          1        2            8

BQ4Y2534549717I34YGV      2012 76       1          1          2          1        1            4

U5BY2534547717U1RUAQ      2013 80       1          1          2          3        1            7

831B2534548209OZWJGF      2014 80       1          1          2          1        1            3

EJMV2534550394BKL2TT      2015 72       2          1          2          1        2            4

GXD92534549242ELN0TD      2016 80       2          1          2          1        2            11

CRFI2534551179W4EWAV      2017 37       2          1          3          1        2            9

4Y9K2534548145DOYNZY      2018 70       2          1          2          1        2            10

3BST2534552038HLVRQ6      2019 38       1          1          1          1        1            1

JZBZ2534549521RJ7YPL      2020 63       2          1          1          1        2            11


7W5P2534548406V41W6Q      2021 74       2          1          1          1        2            1

O4CR2534549986LXVOAN      2022 50       2          1          2          1        2            7

86JK2534552191WT50BH      2023 68       2          1          2          2        2            8

FMHI2534550958VGUQOJ      2024 36       1          1          1          1        1            10
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ST7N2534549972Y876LY      2025 62    1     1      3      1    1       10

HMCC2534549866R9O4Y3      2026 84    2     1      1      1    2        7

I5OB2534553512P84MEJ      2027 30    1     1      1      1    1       11

I83M2534551280HBR7ID      2028 64    2     1      2      1    2        5

EYXQ2534550619ATNHMI      2029 68    2     1      1      1    2        4

PLQB2534552493DPN3GO      2030 55    1     1      1      1    1        6



122Y2534549633ZKXPNW      2031 49    1     1      1      1    1        5


V8CU2534552754X6XE40      2032 61    2     1      2      3    2        7


TBUC2534556291OTK44H      2033 74    2     1      3      1    2        4

JD3U2534555537ZCDASG      2034 76    2     1      2      3    2       10

4WGJ2534553483GL7RGG      2035 67    2     1      2      1    2        8

AAY42534554701TH06G8      2036 84    2     1      2      1    2        9

08A92534560055XGKTYL      2037 53    2     1      1      1    2        7

FS5Y2534553416R2ELEE      2038 56    2     1      2      2    2       11




H4YE2534542282U9JXT5      2039 58    2     1      3      1    2       12

1RTB2534560668NH313O      2040 53    1     1      1      1    1        4


W81B2534542047HRJ1C7      2041 63    1     1      3      1    1       11

AP5N2534557195QQPJUU      2042 45    1     1      2      1    1        2

C62E2534563109FHJRNR      2043 51    2     1      1      1    2        9

HLDB2534552024AA71ER      2044 36    2     1      1      1    2        4
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UEW52534561432VDBLU6      2045 31    2     1      1      1    2        1


GWB62534564319V2CP85      2046 28    1     1      1      1    1        5

WOSZ2534547550OP26SA      2047 42    1     1      1      1    1       11

EH4W2534557890G67UOH      2048 40    2     1      1      1    2        3

YTPN2534565172M1QP5C      2049 45    2     1      3      1    2        9

XYNH2534562105F0KE18      2050 38    1     1      1      1    1       12


8OG32534566682YGNS6I      2051 20    2     1      2      2    2       12

0H8I2534557226IPN39I      2052 26    1     1      1      1    1       11

0Y4B2534562442HHW4XW      2053 25    1     1      2      2    1        1

1J402534571453UMJTON      2054 19    1     1      3      1    1        3

DV5T2534563301FAOISM      2055 52    2     1      1      1    2        3

JZXR2534575492PVCTZL      2056 30    2     1      1      1    2        5




GUB52534567106Z6F8TY      2057 50    2     1      2      1    2       12

F1AY2534574045OWRHN7      2058 43    1     1      1      1    1       12

P44V2534575628BLQT4K      2059 41    2     1      1      1    2        5



WRMQ2534558754KOVQ5W      2060 36    1     1      1      1    1        6

2ZZV2534569755IF6PHN      2061 48    1     1      1      1    1       11

SZ5D2534578862JL0IVZ      2062 49    2     1      3      1    2       10

9LRX2534579274SRD4AW      2063 54    2     1      2      1    2       11

3EK72534579889S1PVOP      2064 28    2     1      2      1    2        1

B5UU2534579769J2LKWE      2065 48    2     1      1      1    2        9

5OZP2534563902LWNR8L      2066 35    2     1      1      1    2        2
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PBVT2534571235LDJFMR      2067 51    2     1      1      1    2        7

H4PK2534549756ZCS239      2068 85    2     1      2      1    2       12

R5382537014041DQ0OQ3      2069 40    1     1      1      1    1       10

CBPA2537018637S9R4RS      2070 32    1     1      2      1    1       11

IWIW2537020433GO9VO2      2071 40    1     1      2      1    1        4

HGZP2537033805WXXAXF      2072 44    1     1      2      1    1       11

C56F2537047719R308NI      2073 45    1     1      3      1    1        8

C67V2537043237YIKFCK      2074 52    1     1      1      1    1        6

0FAW2537054121PQKDA0      2075 44    1     1      3      1    1       10

LPW62537093890VM4XPV      2076 43    1     1      3      2    1       10


X6Y62537093391BXIAMO      2077 39    1     1      1      1    1        2

LLRA2537093672LYRD96      2078 32    2     1      1      1    2        1

35SF2537100401F5KFKJ      2079 30    1     1      1      1    1       11

H03G2537093536F2KUL9      2080 42    1     1      1      1    1        8


GT0V2537094430A529YT      2081 27    2     1      1      1    2        8

ITMS2537100721O6XOUP      2082 24    1     1      1      1    1       11

03O12537112799AA97EL      2083 29    1     1      1      1    1        4

5EOS2537113206SREO30      2084 22    1     1      1      1    1        7



IHDE2537107122GMFBM1      2085 30    1     1      1      1    1        5

4YO92537117160VO6KO6      2086 29    2     1      1      1    2        7

HAQK2537122575KXB3PY      2087 36    1     1      1      1    1        7

82PE2537124739J23Q35      2088 36    2     1      1      1    2        5

2V2G2537127438LH40TD      2089 33    1     1      1      1    1        1

ATWI2537127162L1GQCA      2090 22    1     1      3      1    1       12
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6MNZ2537121028Y5XZ7L      2091 45    1     1      1      1    1        2

DDHN2537132994POX3CO      2092 34    2     1      1      1    2       12

KXEP2537119172X81G5B      2093 36    1     1      1      1    1        9


25QS2537201462N6ULWN      2094 26    1     1      1      1    1        5

3PA22537233643FOQYR4      2095 28    1     1      1      1    1        1


OFPB2537274124IXFIE0      2096 29    1     1      1      1    1       12

GGWS2537275221P6IPKN      2097 27    1     1      3      1    1        3

ZBB92537273580U3DOME      2098 31    1     1      1      1    1        5

Z8IE2540395880K05S62      2099 25    2     1      1      1    2        8

GYCP2540433239P7BMHO      2100 31    1     1      1      1    1        3


S98T2540449196EHUMN4      2101 33    1     1      1      1    1        5

RS9F2540451007HY990Z      2102 28    2     1      2      1    2        8

AMO42540452985WTZHXO      2103 20    1     1      1      1    1        5

I14L2540453236EG4ABM      2104 33    2     1      1      1    2        1

YUI32540453779WFLF3O      2105 32    1     1      1      1    1        3

0SIS2540455800JGM20M      2106 19    2     1      1      1    2        5

5AGJ2540455872UO2I8A      2107 34    2     1      1      1    2        4

45G62540455054NGI3SL      2108 25    2     1      1      1    2        3

T1T02540457191VAX43R      2109 26    1     1      1      1    1        2


BUNY2540456330MCOGK9      2110 28    2     1      1      1    2        5

QJDM2540456881Z7A5JP      2111 28    1     1      1      1    1        1

IKM22540454947IROZDJ      2112 30    1     1      1      1    1        3


MDND2540456528UKG5F0      2113 32    2     1      1      1    2        2
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OH362540460044Y944EU      2114 22    2     1      1      1    2       12

U6U32540457042ZS2BRF      2115 31    1     1      1      1    1        9

OGZS2540461977M7NPWM      2116 33    1     1      1      1    1        6

5IOW2540458922NS60ZG      2117 33    1     1      1      1    1        4

CIGE2540463630ENRPB2      2118 32    2     1      1      1    2       10

J1RI2540457245HF8M7G      2119 28    2     1      1      1    2       10

Q7142540464441A1CUAQ      2120 33    2     1      1      1    2        9

A3ZS2540467451CYYRQP      2121 31    2     1      1      1    2        4

DN852540457174JRG6AS      2122 32    2     1      1      1    2       12

CP122540463594CYM7Z7      2123 31    1     1      1      1    1        2

VU5L2540468851ZS5N4C      2124 22    2     1      1      1    2        2

B63O2540459857H9S6MH      2125 23    2     1      1      1    2        2

1FJZ2540468119ZTI5NJ      2126 31    1     1      1      1    1        6

FPUT2540465977GZP5N6      2127 27    2     1      2      1    2       11

9QSC2540493173KM84JM      2128 29    2     1      1      1    2        9

8LPK2540494413N6UX9P      2129 22    1     1      1      1    1       11

PSF72540493903ROICSE      2130 32    1     1      1      1    1        5

8PVP2540496632II8389      2131 34    1     1      1      1    1        4

WF842540499817RYXFYA      2132 34    2     1      1      1    2        9

SERQ2540504434E4K6M0      2133 22    1     1      1      1    1        1

6WKE2540505655OUJ0PD      2134 26    2     1      1      1    2        6




XXRF2540504301I55LDE      2135 32    2     1      1      1    2       11

LOOK2540501461NSWXVC      2136 33    2     1      1      1    2        3

F4DO2540511389K6NPBY      2137 32    1     1      1      1    1        4
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NMFS2540513202F127MF      2138 30    1     1      1      1    1        9

LPA82540514062ET64SJ      2139 27    1     1      1      1    1        7

HMHL2540514009S6DEDS      2140 28    1     1      1      1    1       11

N8T52540512417E85U70      2141 24    2     1      1      1    2        3



RTBR2540512603NG9787      2142 24    1     1      2      1    1       10

90KH2540511128HU5B8H      2143 31    2     1      1      1    2       10

GQZF2540518055HJUXDR      2144 25    2     1      1      1    2        5



UKTX2540509403G3K082      2145 30    2     1      1      1    2        7

IY432540519544G2DFCI      2146 33    2     1      1      1    2        9

05X52540521630KLM9U7      2147 32    1     1      1      1    1       12

E10T2540527276B2XSPG      2148 29    1     1      1      1    1        1



1ZW72540539406AU2FD6      2149 22    1     1      1      1    1        3

TMTK2540538362R5351K      2150 31    1     1      1      1    1        2

NUT72540543737J64A48      2151 33    1     1      1      1    1       10

0UDR2541030055WCOGJD      2152 68    1     1      2      1    1       12

20PQ2537018483D1BIGW      2153 65    1     1      2      1    1        1

HBHK2537040842KJJEUS      2154 39    2     1      1      1    2        9

TV312541058485D44NQX      2155 44    2     1      1      1    2        6

UG5W2537023894LJ8OG8      2156 47    2     1      2      3    2        2

8ZP02540390914OBVNQ7      2157 40    1     1      1      1    1        9

OPRW2537171339M81F3Z      2158 53    2     1      2      1    2       12

FRL52540805894PON4QY      2159 44    2     1      1      1    2        2

FY6E2541110970DFXU5V      2160 41    2     1      1      1    2        6
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G47E2540535422GZAC6Z      2161 38    1     1      1      1    1        4

T8QZ2541143050ETCXEP      2162 37    1     1      1      1    1        8

7G2G2537156334QPUZAV      2163 36    2     1      1      1    2        4

GJIR2541160150JEHHTR      2164 39    1     1      1      2    1        2

ANHB2540697029EAU1FZ      2165 45    1     1      2      1    1       10

L77C2537157105JWLBXY      2166 54    2     1      2      1    2        1

1S8M2541210055SXZXDS      2167 45    2     1      1      1    2        8

6BW62537265829UVRRM7      2168 49    2     1      2      1    2        1

LZG32540604431K38MUU      2169 37    1     1      1      1    1       11



VSXB2540368302WD866W      2170 52    2     1      1      1    2        8

3EWZ2541291598LT2IVB      2171 50    2     1      2      1    2        4

ECKQ2541291591L8DVUY      2172 50    2     1      2      1    2       12

GEN32541291397W9G1RZ      2173 42    2     1      1      1    2        4

3K7S2541428101VVCL9B      2174 40    1     1      1      2    1        5

RYE32540807009BHJGMF      2175 39    1     1      1      1    1        5

FOSS2540387147MPZ186      2176 40    1     1      1      1    1        5

R2DD2541483052PXV14A      2177 30    1     1      1      1    1        3

SVEX2541591921XK2M0M      2178 35    1     1      1      1    1        8

L6IO2541639152E8Q5QP      2179 33    1     1      1      1    1        1

MLJD2541654767RZ4TS5      2180 35    1     1      1      1    1        4

XGJ22540754084FR41UR      2181 35    1     1      1      1    1       12

JJFZ2541724838A7I0GG      2182 47    1     1      1      1    1        7

BC9F2541731103I8G492      2183 38    1     1      1      1    1        2

1C0C2541763170QLXVJL      2184 42    1     1      2      1    1        4

IU1W2540881793XM9LRM      2185 40    1     1      1      1    1       11
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X8A62542099882UA9MX1      2186 40    1     1      1      1    1        2

N8OV2542129831ZYR5UQ      2187 37    1     1      1      1    1        3

RCE22542150504TSMUE9      2188 34    1     1      1      1    1        9

TM4D2542164644XV4Z5A      2189 45    1     1      1      1    1        4

EYGI2542163658YZZJUA      2190 53    1     1      1      1    1        8

TBL22542166506JF26JR      2191 30    1     1      1      1    1       12

7I7H2542164606ZUI62R      2192 30    1     1      1      1    1        6

YB682540511708C632A4      2193 34    1     1      1      1    1        5

L6OK2542903927ZW9C5G      2194 32    1     1      1      1    1        1

P9212542924044XOOOV6      2195 46    1     1      2      1    1        5



GRZS2542925639HJEGLF      2196 48    1     1      1      1    1       10

QSKX2543459998FK07R2      2197 34    1     1      1      1    1        4

7WOK2543549867MDHFZK      2198 44    1     1      1      1    1        1

SQQT2543550939IXDJHD      2199 33    1     1      1      1    1        6


YPOW2543549349H8LWCD      2200 53    1     1      2      1    1        6
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Q2_1_D        Q2_1_Y     calcyear     verify_age        age_groups       m18_34       f18_34       m35_54

         4        1968         1968                0                 3                                      1

         2        1948         1948                0                 4


         6        1983         1983                0                 3

         15       1985         1984                -1                3                                      1

         14       1961         1962                1                 4

         9        1994         1994                0                 2            1

         14       1964         1964                0                 4

         22       1970         1970                0                 3                                      1

         23       1959         1959                0                 4

         12       1964         1965                1                 3

         17       1986         1986                0                 2                         1

         21       1943         1943                0                 4

         18       1939         1939                0                 4

         21       1938         1939                1                 4

         14       1947         1947                0                 4

         14       1938         1939                1                 4

         10       1982         1982                0                 3

         20       1948         1949                1                 4

         1        1981         1981                0                 3                                      1

         23       1955         1956                1                 4


         5        1945         1945                0                 4

         19       1969         1969                0                 3

         31       1951         1951                0                 4

         24       1983         1983                0                 3                                      1
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      14     1957     1957         0          4

      28     1935     1935         0          4

      21     1989     1989         0          2        1

      13     1955     1955         0          4

       6     1951     1951         0          4

      18     1964     1964         0          4



      18     1970     1970         0          3                         1


       2     1958     1958         0          4


      13     1945     1945         0          4

      23     1943     1943         0          4

      12     1952     1952         0          4

      15     1935     1935         0          4

      17     1966     1966         0          3

       6     1963     1963         0          4




       5     1960     1961         1          4

      16     1966     1966         0          3                         1


       6     1955     1956         1          4

       7     1974     1974         0          3                         1

      15     1968     1968         0          3

      23     1983     1983         0          3
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      29     1988     1988         0          2                1


      10     1992     1991        -1          2        1

      10     1976     1977         1          3                         1

      21     1979     1979         0          3

       5     1974     1974         0          3

      29     1980     1981         1          3                         1


      11     1998     1999         1          2                1

       5     1992     1993         1          2        1

      17     1994     1994         0          2        1

       1     2000     2000         0          2        1

       2     1967     1967         0          3

       5     1988     1989         1          2                1




      14     1968     1969         1          3

      18     1975     1976         1          3                         1

       5     1978     1978         0          3



      24     1983     1983         0          3                         1

       3     1970     1971         1          3                         1

      23     1970     1970         0          3

      27     1964     1965         1          3

      25     1991     1991         0          2                1

      19     1971     1971         0          3

      10     1984     1984         0          3
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      13     1968     1968         0          3

      16     1933     1934         1          4

       5     1980     1979        -1          3                         1

       2     1986     1987         1          2        1

      10     1979     1979         0          3                         1

      23     1974     1975         1          3                         1

      18     1973     1974         1          3                         1

      12     1967     1967         0          3                         1

       5     1974     1975         1          3                         1

      23     1976     1976         0          3                         1


      13     1980     1980         0          3                         1

       2     1987     1987         0          2                1

      30     1988     1989         1          2        1

      24     1977     1977         0          3                         1


      14     1992     1992         0          2                1

      21     1994     1995         1          2        1

      27     1991     1990        -1          2        1

       4     1997     1997         0          2        1



      13     1989     1989         0          2        1

      20     1990     1990         0          2                1

       3     1983     1983         0          3                         1

      22     1982     1983         1          3

       9     1986     1986         0          2        1

       2     1996     1997         1          2        1
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      21     1974     1974         0          3                         1

      22     1984     1985         1          2                1

      15     1983     1983         0          3                         1


      10     1993     1993         0          2        1

      12     1991     1991         0          2        1


      29     1989     1990         1          2        1

       9     1992     1992         0          2        1

       4     1988     1988         0          2        1

      26     1994     1994         0          2                1

      20     1988     1988         0          2        1


      23     1986     1986         0          2        1

      13     1991     1991         0          2                1

       1     1999     1999         0          2        1

      10     1986     1986         0          2                1

       1     1987     1987         0          2        1

      22     2000     2000         0          2                1

      15     1985     1985         0          2                1

       3     1994     1994         0          2                1

       2     1993     1993         0          2        1


      16     1991     1991         0          2                1

       9     1991     1991         0          2        1

      24     1989     1989         0          2        1


       1     1987     1987         0          2                1
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 316 of 432 Page ID
                                    #:9985



       8     1996     1997         1          2                1

      13     1988     1988         0          2        1

      19     1986     1986         0          2        1

       6     1986     1986         0          2        1

      28     1986     1987         1          2                1

      30     1991     1991         0          2                1

      20     1986     1986         0          2                1

      20     1988     1988         0          2                1

       9     1986     1987         1          2                1

       5     1988     1988         0          2        1

      16     1997     1997         0          2                1

       1     1996     1996         0          2                1

       2     1988     1988         0          2        1

      18     1991     1992         1          2                1

       2     1990     1990         0          2                1

       2     1996     1997         1          2        1

      27     1987     1987         0          2        1

      16     1985     1985         0          2        1

      16     1985     1985         0          2                1

      15     1997     1997         0          2        1

       3     1993     1993         0          2                1




      11     1986     1987         1          2                1

      10     1986     1986         0          2                1

      13     1987     1987         0          2        1
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 317 of 432 Page ID
                                    #:9986



      15     1989     1989         0          2        1

      27     1992     1992         0          2        1

      30     1990     1991         1          2        1

       3     1995     1995         0          2                1



      20     1995     1995         0          2        1

      31     1988     1988         0          2                1

      28     1994     1994         0          2                1



      25     1989     1989         0          2                1

       3     1986     1986         0          2                1

      20     1986     1987         1          2        1

       4     1990     1990         0          2        1



       6     1997     1997         0          2        1

      14     1988     1988         0          2        1

      28     1986     1986         0          2        1

       9     1950     1951         1          4

      27     1954     1954         0          4

      15     1980     1980         0          3

      24     1975     1975         0          3

       8     1972     1972         0          3

      26     1979     1979         0          3                         1

       6     1965     1966         1          3

      14     1975     1975         0          3

      18     1978     1978         0          3
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 318 of 432 Page ID
                                    #:9987



      15     1981     1981         0          3                         1

      14     1982     1982         0          3                         1

      24     1983     1983         0          3

      10     1980     1980         0          3                         1

      31     1974     1974         0          3                         1

      27     1965     1965         0          3

       9     1974     1974         0          3

       1     1970     1970         0          3

      25     1981     1982         1          3                         1



      10     1967     1967         0          3

      11     1969     1969         0          3

      20     1968     1969         1          3

      30     1977     1977         0          3

      24     1980     1979        -1          3                         1

      19     1980     1980         0          3                         1

       5     1979     1979         0          3                         1

      28     1989     1989         0          2        1

       6     1984     1984         0          3                         1

      29     1987     1986        -1          2        1

      21     1984     1984         0          3                         1

      30     1984     1984         0          3                         1

      10     1972     1972         0          3                         1

       2     1981     1981         0          3                         1

      12     1977     1977         0          3                         1

      19     1978     1979         1          3                         1
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 319 of 432 Page ID
                                    #:9988



      15     1979     1979         0          3                         1

      25     1982     1982         0          3                         1

      29     1985     1985         0          2        1

      12     1974     1974         0          3                         1

       3     1966     1966         0          3                         1

       8     1988     1989         1          2        1

       9     1989     1989         0          2        1

      12     1985     1985         0          2        1

       7     1987     1987         0          2        1

      11     1973     1973         0          3                         1



      29     1971     1971         0          3                         1

      20     1985     1985         0          2        1

      27     1975     1975         0          3                         1

       2     1986     1986         0          2        1


      10     1966     1966         0          3                         1
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 320 of 432 Page ID
                                    #:9989


f35_54       m55over       f55over       Q3       Q4       Q5_1       Q5_2       Q5_3       Q5_4       Q6       Q6_1       Q7

                                              3        1          2          2          2          2        1          1        2

                       1                      3        1          2          2          2          2        1          1        1


         1                                    3        2          2          2          2          2        1          1        2

                                              2        1          2          2          2          2        1          1        2

                       1                      3        1          2          2          2          2        1          1        2

                                              1        2          2          2          2          2        1          1        1

                       1                      4        1          2          2          2          2        1          1        1

                                              1        2          2          2          2          2        1          1        1

                                     1        4        1          2          2          2          2        1          1        1

         1                                    3        2          2          2          2          2        1          1        1

                                              2        2          2          2          2          2        1          1        2

                       1                      4        2          2          2          2          2        1          1        1

                       1                      1        2          2          2          2          2        1          1        2

                       1                      4        1          2          2          2          2        1          1        2

                                     1        2        1          2          2          2          2        1          1        1

                                     1        1        2          2          2          2          2        1          1        2

         1                                    2        1          2          2          2          2        1          1        1

                                     1        3        2          2          2          2          2        1          1        1

                                              3        1          2          2          2          2        1          1        2

                                     1        3        2          2          2          2          2        1          1        1


                                     1        3        2          2          2          2          2        1          1        2

         1                                    2        2          2          2          2          2        1          1        1

                                     1        3        3          2          2          2          2        1          1        1

                                              3        2          2          2          2          2        1          1        1
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 321 of 432 Page ID
                                    #:9990




               1            4    3     2      2      2      2    1      1    1

                       1    4    1     2      2      2      2    1      1    1

                            2    1     2      2      2      2    1      1    1

                       1    3    1     2      2      2      2    1      1    2

                       1    3    1     2      2      2      2    1      1    1

               1            3    1     2      2      2      2    1      1    2



                            2    1     2      2      2      2    1      1    1


                       1    4    2     2      2      2      2    1      1    1


                       1    3    2     2      2      2      2    1      1    2

                       1    1    1     2      2      2      2    1      1    1

                       1    2    1     2      2      2      2    1      1    1

                       1    2    2     2      2      2      2    1      1    2

      1                     2    2     2      2      2      2    1      1    1

                       1    4    1     2      2      2      2    1      1    1




                       1    1    1     2      2      2      2    1      1    1

                            3    3     2      2      2      2    1      1    2


               1            2    2     2      2      2      2    1      1    2

                            2    1     2      2      2      2    1      1    1

      1                     3    2     2      2      2      2    1      1    2

      1                     3    2     2      2      2      2    1      1    2
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 322 of 432 Page ID
                                    #:9991



                            3    2     2      2      2      2    1      1    1


                            4    1     2      2      2      2    1      1    2

                            1    1     2      2      2      2    1      1    2

      1                     3    1     2      2      2      2    1      1    1

      1                     1    1     2      2      2      2    1      1    1

                            2    1     2      2      2      2    1      1    1


                            3    2     2      2      2      2    1      1    1

                            4    1     2      2      2      2    1      1    2

                            1    2     2      2      2      2    1      1    1

                            2    2     2      2      2      2    1      1    1

      1                     4    2     2      2      2      2    1      1    2

                            2    2     2      2      2      2    1      1    2




      1                     1    2     2      2      2      2    1      1    1

                            2    2     2      2      2      2    1      1    1

      1                     4    1     2      2      2      2    1      1    1



                            3    2     2      2      2      2    1      1    1

                            1    2     2      2      2      2    1      1    1

      1                     3    1     2      2      2      2    1      1    1

      1                     1    2     2      2      2      2    1      1    1

                            1    2     2      2      2      2    1      1    2

      1                     3    3     2      2      2      2    1      1    2

      1                     3    1     2      2      2      2    1      1    2
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                                    #:9992



      1                     1    2     2      2      2      2    1      1    2

                       1    3    3     2      2      2      2    1      1    1

                            4    1     2      2      2      2    1      1    2

                            4    1     2      2      2      2    1      1    2

                            3    2     2      2      2      2    1      1    1

                            1    2     2      2      2      2    1      1    1

                            1    3     2      2      2      2    1      1    2

                            3    2     2      2      2      2    1      1    1

                            4    1     2      2      2      2    1      1    1

                            1    1     2      2      2      2    1      1    2


                            1    2     2      2      2      2    1      1    2

                            3    1     2      2      2      2    1      1    2

                            2    2     2      2      2      2    1      1    1

                            3    3     2      2      2      2    1      1    2


                            1    2     2      2      2      2    1      1    1

                            1    1     2      2      2      2    1      1    2

                            2    1     2      2      2      2    1      1    2

                            3    2     2      2      2      2    1      1    2



                            3    2     2      2      2      2    1      1    2

                            4    2     2      2      2      2    1      1    2

                            4    2     2      2      2      2    1      1    2

      1                     3    1     2      2      2      2    1      1    2

                            3    1     2      2      2      2    1      1    1

                            1    2     2      2      2      2    1      1    2
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 324 of 432 Page ID
                                    #:9993



                            1    2     2      2      2      2    1      1    2

                            2    2     2      2      2      2    1      1    1

                            3    2     2      2      2      2    1      1    2


                            4    1     2      2      2      2    1      1    1

                            4    1     2      2      2      2    1      1    2


                            2    1     2      2      2      2    1      1    2

                            2    1     2      2      2      2    1      1    2

                            2    2     2      2      2      2    1      1    1

                            3    2     2      2      2      2    1      1    1

                            3    1     2      2      2      2    1      1    1


                            3    1     2      2      2      2    1      1    2

                            2    2     2      2      2      2    1      1    2

                            1    1     2      2      2      2    1      1    1

                            3    2     2      2      2      2    1      1    1

                            3    2     2      2      2      2    1      1    1

                            4    2     2      2      2      2    1      1    1

                            2    2     2      2      2      2    1      1    1

                            2    1     2      2      2      2    1      1    1

                            2    1     2      2      2      2    1      1    2


                            2    1     2      2      2      2    1      1    1

                            3    2     2      2      2      2    1      1    2

                            1    1     2      2      2      2    1      1    1


                            1    1     2      2      2      2    1      1    1
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 325 of 432 Page ID
                                    #:9994



                            4    2     2      2      2      2    1      1    2

                            2    2     2      2      2      2    1      1    2

                            3    2     2      2      2      2    1      1    2

                            3    2     2      2      2      2    1      1    2

                            2    2     2      2      2      2    1      1    2

                            3    1     2      2      2      2    1      1    1

                            1    3     2      2      2      2    1      1    2

                            2    2     2      2      2      2    1      1    2

                            4    2     2      2      2      2    1      1    1

                            3    2     2      2      2      2    1      1    2

                            2    1     2      2      2      2    1      1    2

                            4    2     2      2      2      2    1      1    2

                            4    2     2      2      2      2    1      1    2

                            3    3     2      2      2      2    1      1    1

                            3    2     2      2      2      2    1      1    2

                            1    2     2      2      2      2    1      1    2

                            1    1     2      2      2      2    1      1    1

                            3    2     2      2      2      2    1      1    1

                            3    2     2      2      2      2    1      1    1

                            3    1     2      2      2      2    1      1    1

                            3    2     2      2      2      2    1      1    2




                            3    2     2      2      2      2    1      1    1

                            3    2     2      2      2      2    1      1    2

                            4    2     2      2      2      2    1      1    2
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 326 of 432 Page ID
                                    #:9995



                            4    2     2      2      2      2    1      1    2

                            4    2     2      2      2      2    1      1    2

                            3    2     2      2      2      2    1      1    2

                            4    2     2      2      2      2    1      1    1



                            1    2     2      2      2      2    1      1    1

                            3    2     2      2      2      2    1      1    2

                            4    1     2      2      2      2    1      1    2



                            3    2     2      2      2      2    1      1    1

                            4    2     2      2      2      2    1      1    2

                            4    2     2      2      2      2    1      1    2

                            1    1     2      2      2      2    1      1    2



                            3    2     2      2      2      2    1      1    1

                            1    1     2      2      2      2    1      1    1

                            3    2     2      2      2      2    1      1    2

               1            3    1     2      2      2      2    1      1    2

               1            1    2     2      2      2      2    1      1    1

      1                     4    2     2      2      2      2    1      1    2

      1                     4    3     2      2      2      2    1      1    1

      1                     3    2     2      2      2      2    1      1    2

                            3    2     2      2      2      2    1      1    1

      1                     3    1     2      2      2      2    1      1    1

      1                     4    3     2      2      2      2    1      1    1

      1                     3    3     2      2      2      2    1      1    2
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 327 of 432 Page ID
                                    #:9996



                            3    2     2      2      2      2    1      1    2

                            3    2     2      2      2      2    1      1    1

      1                     3    2     2      2      2      2    1      1    1

                            3    1     2      2      2      2    1      1    1

                            3    1     2      2      2      2    1      1    1

      1                     3    1     2      2      2      2    1      1    1

      1                     1    2     2      2      2      2    1      1    2

      1                     4    1     2      2      2      2    1      1    1

                            1    1     2      2      2      2    1      1    1



      1                     4    1     2      2      2      2    1      1    2

      1                     4    1     2      2      2      2    1      1    2

      1                     4    2     2      2      2      2    1      1    2

      1                     4    2     2      2      2      2    1      1    2

                            4    1     2      2      2      2    1      1    1

                            2    2     2      2      2      2    1      1    2

                            1    1     2      2      2      2    1      1    1

                            3    2     2      2      2      2    1      1    2

                            3    2     2      2      2      2    1      1    2

                            3    2     2      2      2      2    1      1    2

                            4    2     2      2      2      2    1      1    2

                            3    1     2      2      2      2    1      1    1

                            3    2     2      2      2      2    1      1    2

                            3    2     2      2      2      2    1      1    1

                            3    1     2      2      2      2    1      1    1

                            3    2     2      2      2      2    1      1    1
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 328 of 432 Page ID
                                    #:9997



                            4    2     2      2      2      2    1      1    1

                            3    2     2      2      2      2    1      1    2

                            3    1     2      2      2      2    1      1    1

                            4    2     2      2      2      2    1      1    2

                            1    1     2      2      2      2    1      1    2

                            1    3     2      2      2      2    1      1    1

                            1    1     2      2      2      2    1      1    2

                            3    1     2      2      2      2    1      1    2

                            3    1     2      2      2      2    1      1    1

                            3    2     2      2      2      2    1      1    2



                            3    1     2      2      2      2    1      1    2

                            4    2     2      2      2      2    1      1    2

                            1    2     2      2      2      2    1      1    2

                            1    2     2      2      2      2    1      1    2


                            4    2     2      2      2      2    1      1    1
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 329 of 432 Page ID
                                    #:9998


Q7_1       Q8_1       Q8_2       Q8_3       Q8_4       screen15       Q9_0       Q9_0_T          Q9_1

                                                   4              1          2

       1                                           4              1          2


                                        3                         1          1 Purely Inspired          1

                             2                                    1          1 purely inspired          1

                                        3                         1          2

       1                     2                                    1          1 Purely                   1

       1                                3                         1          1 PURELY INSPIRED          1

       1                                3                         1          1 purely inspired          1

       1                                           4              1          1 purelyinspires           1

       1                                3                         1          1 purely inspired          1

                                        3                         1          2

       1                                           4              1          2

                                        3                         1          1 Purely inspired          1

                                                   4              1          2

       1                                3                         1          2

                  1                                               1          2

       1                     2                                    1          1 purely inspired          1

       1                                           4              1          1 purely inspired          1

                  1                                               1          1 purely inspired          1

       1          1                                               1          1 purely inspired          1


                                        3                         1          1 Purely Inspired          1

       1                     2                                    1          1 purelyinspired           1

       1          1                                               1          2

       1                                3                         1          1 purely inspired          1
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 330 of 432 Page ID
                                    #:9999




     1      1                             1     1 Purely Inspired            1

     1      1                             1     1 Lactospore                 1

     1                          4         1     1 Protein                    1

            1                             1     2

     1            2                       1     1 Lactospore                 1

                         3                1     1 Purely inspired            1



     1            2                       1     1 Purely Inspired            1


     1      1                             1     1 Purely Inspired            1


                         3                1     1 purely inspired            1

     1                   3                1     1 Purely inspired            1

     1      1                             1     2

                  2                       1     2

     1                   3                1     1 purely inspired            1

     1      1                             1     1 plant based nutriton       1




     1                          4         1     1 purely inspired            1

            1                             1     1 Gnc                        1


                                4         1     1 purely inspired            1

     1                          4         1     1 purely inspired            1

                  2                       1     1 purely inspired            1

                                4         1     1 purley inspired            1
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 331 of 432 Page ID
                                   #:10000



     1                   3                1     2


                  2                       1     1 Purely Inspired            1

                  2                       1     2
                                                  It's a organic daily
     1                          4         1     1 supplement for a healthy   1

     1                          4         1     1 Lactospore                 1

     1                   3                1     1 Purely Inspired            1


     1            2                       1     1 Purely inspired            1

            1                             1     1 scitec                     1

     1            2                       1     2

     1      1                             1     1 Purely                     1

                                4         1     1 purely inspired            1

                         3                1     2




     1                   3                1     1 Purely Inspired            1

     1                   3                1     1 purely inspired            1

     1      1                             1     1 purely inspired            1



     1      1                             1     1 purely inspired            1

     1                   3                1     1 lacto spore                1

     1                          4         1     1 Purely Inspired            1

     1            2                       1     2

                         3                1     1 purely inspired            1

                  2                       1     1 Purely inspired            1

                         3                1     1 pure protein               1
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 332 of 432 Page ID
                                   #:10001



                  2                       1     1 purely inspired            2

     1            2                       1     2

            1                             1     2

                                4         1     2

     1      1                             1     1 Purely                     1

     1                   3                1     1 purely inspired            1

                                4         1     1 Purely inspired            1

     1                   3                1     1 purely inspired            1

     1                   3                1     1 purely inspired            1

                         3                1     1 purely inspired            1


                                4         1     1 purely inspired            1

                                4         1     1 iovate                     1

     1                   3                1     2

            1                             1     1 Dow                        1


     1                          4         1     1 Purely inspired            1

            1                             1     1 Purely inspired            1

            1                             1     1 Purely Inspired            1

                  2                       1     1 purely inspired            2



                  2                       1     1 Purely Inspired            1

            1                             1     1 purely inspired            1

                         3                1     1 purely inspired            1

            1                             1     1 protein powder             1

     1                          4         1     1 purely ipspired            1

            1                             1     2
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 333 of 432 Page ID
                                   #:10002



                                4         1     1 Purely                           1

     1      1                             1     2

                  2                       1     1 lactaspore                       1


     1                   3                1     1 Purely inspired                  1

                  2                       1     2


            1                             1     1 purely inspired                  1

                  2                       1     1 Purely Inspired                  1

     1            2                       1     1 purely inspired                  1

     1                   3                1     1 nestle                           1

     1      1                             1     1 Purely Inspired                  1
                                                  I liked a lot the presentation
                                                  of these products. They
                         3                1     1 seem very natural and have       1

                         3                1     1 Purely inspired                  1

     1                          4         1     1 Purely Inspired                  1

     1                   3                1     1 purely                           1

     1                   3                1     1 Purely                           1

     1      1                             1     1 purely inspired                  1

     1      1                             1     1 Sounds like a good project       2
                                                  I think the brand name is
     1                   3                1     1 Purely inspired                  1

            1                             1     1 purely inspired                  1


     1                   3                1     1 purely inspired                  1

                  2                       1     1 purely                           1

     1      1                             1     1 purely inspiered                 1


     1            2                       1     1 purely inspired nutrition        1
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 334 of 432 Page ID
                                   #:10003



                         3                1     1 purely inspired                 1

            1                             1     1 purely inspired                 1

                                4         1     1 Purely Inspired                 1
                                                  because i like its
                                4         1     1 presentattion and description   1

                                4         1     1 purely inspired                 1

     1                          4         1     1 A vegan inspired company        1

                                4         1     1 Purely inspired                 1

                                4         1     1 purely inspired                 2
                                                  protein powder it is very
     1      1                             1     1 innovate and premium these      1

                         3                1     1 purely inspired                 1

            1                             1     1 purely inspired                 1

            1                             1     1 purely inspired                 1

            1                             1     1 purley inspired                 1

     1      1                             1     1 Purely inspired                 1

            1                             1     2

                                4         1     2

     1      1                             1     1 purely                          1

     1                   3                1     1 Purely Inspired                 1

     1      1                             1     1 Purely inspired                 1

     1                   3                1     1 pupmply                         2

                         3                1     2




     1                   3                1     1 Purely Inspired                 1

                  2                       1     1 purely inspired                 1

                  2                       1     2
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                  2                       1     1 purely inspired                1

            1                             1     1 purely inspired.               1

                                4         1     1 purely inspired                1

     1      1                             1     2



     1                   3                1     1 Purely Inspired                1
                                                  it's plant-based and shows
                                4         1     1 the nutrients                  1

            1                             1     1 purely inspired                1
                                                  I think a company that is
                                                  vegan or plant based created
                                                  this brand. a person that is
     1      1                             1     1 into weight loss more than     1

                         3                1     1 Purely inspired                1

                  2                       1     1 Purely inspired                1

                                4         1     1 purely inspired                1



     1            2                       1     1 Purely Inspired                1

     1                   3                1     1 Purely inspired                1

            1                             1     1 purel inspired                 1

                  2                       1     1 purely inspired                1

     1            2                       1     1 iovate health sciences         1

                  2                       1     1 purely inspired                1

     1            2                       1     1 Purely inspired                1

                         3                1     1 Purely Inspired                1

     1                   3                1     1 Purely Inspired                1

     1                          4         1     1 purely inspired                1

     1                   3                1     1 Purely impossible              1

                                4         1     1 Purely inspired                1
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                  2                       1     1 Nestlé Company               1
                                                  purely inspired, very good
     1                   3                1     1 product and function         1

     1            2                       1     1 Purely Inspired              1

     1            2                       1     2

     1      1                             1     1 Purely Inspired              1

     1            2                       1     1 purely inspired              1

            1                             1     1 purely inspired              1

     1            2                       1     1 purely inspired              1

     1            2                       1     1 Nestle                       1



                  2                       1     1 purely inspired              1

                                4         1     1 purely inspired              1

            1                             1     1 Purely Inspired              1

            1                             1     1 lactospore                   1

     1                          4         1     1 protein powder               1

                                4         1     1 Purely Inspired              1

     1                          4         1     2

                         3                1     2

                         3                1     2

                  2                       1     2

                                4         1     1 plant based protien          1

     1            2                       1     2

            1                             1     1 PURELY INSPIRED              1

     1                          4         1     1 purely inspired              1

     1                          4         1     2

     1            2                       1     2
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     1            2                       1     1 Purely Inspired                1

                  2                       1     1 Purely                         1
                                                  purely inspired, a good
     1            2                       1     1 protein company                1

            1                             1     1 Purely                         1

            1                             1     1 Purely inspired                1

     1      1                             1     1 Purely Inspired                1

                         3                1     1 Beyers                         1

            1                             1     1 PURELY INSPIRED                1

     1                          4         1     2

                  2                       1     2



                         3                1     1 purely inspired                1

            1                             1     1 purely inspired                1

            1                             1     2

                  2                       1     1 Purely is product good value   1


     1      1                             1     1 purely inspired                1
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Q9_1_T                                     q9_2       q9_2_T                                        Q10_0

                                                                                                            1

                                                                                                            2
The text "purely inspired" appears at
the top of the label and it looks like a            I'm guessing it makes nutrition-related
brand logo                                        1 products such as protein supplements                    2

on package                                        1 reputable source                                        1

                                                                                                            1

It is what law                                    1 An excellent protein brand                              2

TOP WORDS                                         1 HEALTHY                                                 2
Because there name is right on the                  and it has the copy right R on the top right
front and back of the product                     1 corner of there name also                               2

on front and back label                           1 organic protein powder                                  2

based on the label                                1 it is plant based nutrition                             2

                                                                                                            2

                                                                                                            2

On Label                                          1 Nothing                                                 2

                                                                                                            2

                                                                                                            2

                                                                                                            2

because its right on the package                  1 plant based. no artificial sweeteners                   2
because it printed on front and back                its organic and plant based nutrition (powder
of product                                        1 protein)                                                2

name on package                                   1 generic version                                         1

it says on the lable                              1 organic vegan                                           2

To me, it's quite clear on the product              that it makes a plant-based protein powder
itself.                                           1 with is non GMO and mo artificial ingredients           2
I really don't know who makes it, just
the name on the package                           2                                                         2

                                                                                                            2

says so right on the front                        2                                                         2
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                                            It is a plant based protein powder that you mix
                                            with your desired liquid to get 20 grams of
The name of the company is clearly          protein per serving (although the ingredient
shown above the product name.             1 list indicates 36 grams per serving).             2

Name at bottom of label                   2                                                   2

Protein Powder                            2                                                   2

                                                                                              2

Purely Inspired                           2                                                   2
Because this is the name on the
lable.                                    1 non gmo, its organic, and plant based.            2
                                            they are another one of the players in the
                                            meal replacement market. I was recently
                                            looking into some of their products but
It is right on the label.                 1 ultimately decided not to purchase.               1
                                            It claims to be America's fastest growing
                                            supplement brand, and its products are
That's the name on the package            1 organic and GMO free.                             2
                                            i have never heard of the company before -
there is a website for                      but apparently it makes plant-based nutrition
purelyinspired.com                        1 products                                          2

That's what it says on the container      1 it's plant based nutirtion                        2

                                                                                              2

                                                                                              2

its on the package                        1 plant based nutrition no artificial ingrediants   2
                                            20 plant 7 fiber 1 sugar fruit and vegs blends
purely inspitrd plant base                1 14 serving                                        1


                                            it is based in the USA they are gluten free and
                                            non GMO. and they are triple certified for
it is the first phrase on the container   1 purity ,quality , and taste                       1

Looks like their prodcut                  1 The colors on the label                           2
written on the package description
and the website at the bottom of the        plant based protein powder that is an organic
label                                     1 formula                                           1
thats the name above protein
ppowder                                   1 its non gmo, plant based 1.50 lbs                 2
Because of the company's name               I don't know anything about this company.
above Protein Powder                      1 This is my first time knowing about them.         2

on the package                            1 plant based                                       2
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                                                                                                  2
I really like everything about Purley
Inspired. If I find out my girl does not
like it, the relationship is over.         2                                                      2

                                                                                                  2
No artificial protein powder good for
health                                     1 purpose for the person workout at gym                1
                                             plant protein, only 1g sugar, no atificial
I read it on the bottom of image 2         1 sweeteners colors or flavors is NON GMO              2

It's on the label                          2                                                      2
                                             I don't know much about it but I know it say
                                             sot on the can and its made from natural
Because it saya it on the can              1 plants                                               1
becausegenerally speaking scitec is
known for healthy supplements              1 it provides me with effective supplements            2

                                                                                                  2
                                             They are the fastest growing protein
It is titled Purely Inspired               1 supplement company                                   2

it seems to be the brand name logo         2                                                      2

                                                                                                  2
Because above the identifying words
that it is protein powder are the
words "purely inspired" with a leaf in       it is a plant-based product, organic, no added
the middle and this looks like a brand       sugar or artificial sweeteners, no artificial
name, logo                                 1 colors or flavors, the flavor is french vanilla      2

Seems to be the know on the front          1 it is a protein powder                               2

is the brand                               1 nothing really                                       2
                                             Purely Inspired is a nutritional supplement
                                             company owned by Iovate, the corporation
                                             behind popular meathead brands MuscleTech
purely inspired                            1 and Six Star supplements.                            1
                                             it provides product containing dietary fiber,it is
it has great brand value                   1 gluten free product                                  1
                                             It's America's #1 fastest growing supplement
That's what it says on the label           1 brand and is USDA Organic                            2

                                                                                                  2

the brand its clear in this package        1 its nutrition plant based, no artificial             1
Because the name is on the front of          Americas# 1 fastest growing supplement
the container                              1 brand                                                2

because of the font and text               1 they offer protein powder and bars                   2
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                                         1 it is healthy                                    1

                                                                                            1

                                                                                            2

                                                                                            1

No idea                                  1 nothing                                          1

Looks like the product name              2                                                  2

Says it on the front                     1 It's made fro. Plants                            2

that's what wrote on the container       1 it has 20 grams of plant protein                 2

saw name on 3rd image                    1 jusst what is on the label and now gmo           2

it says it on the cover                  2                                                  2
that's the name of it, the name of the
facebook and instagram pages as
well                                     1 plant based nutrition                            2
the company is known to made               the company want to help people around the
organic products                         1 world with good nutrition                        2

                                                                                            2

Good product                             1 They make a lot of products                      1
It is located at the top above the
name of the product where the brand        It seems to be a nutrition brand that makes
name usually goes.                       1 healthy protein products.                        2

Amazon                                   1 Provides great protein powder drink products     1
Because that's the name on the front       It is all natural, organic, plant based, and
of the container                         1 nothing artificial in it.                        2

                                         2                                                  2

                                           Is a Plant based protein powder that provide a
is the company that make this              high amount of benefits like plant protein or
powder supplement                        1 fiber                                            1

thats what it says on it                 1 it's made with pure and good ingrediants         1

it has the name on the front             1 they make healthy nutrition products             1

it is in bold print                      2                                                  2
has thir name on it and the way it
looks                                    1 the make the best protein powder                 2

                                                                                            2
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The name                                 1 Natural everything good and no bad stuff.           1

                                                                                               2
because the product say it in the
reverse                                  1 no more that we can see in the picture              2
Inference based on the fact that the
name is at the top of the product, as      it is a naturally plant derived protein powder
with most all products.                  1 that contains no artificial or gmo ingredients      1

                                                                                               2

the name of the company is on the          its a company that makes natural
package                                  1 supplements from pure ingredients.                  2
I can read the brand name on the
label.                                   1 plant based protein powder                          2

i see the name in bold letters.          1 i see that this is a very healthy drink.            1

its packging looks like neslte product   2                                                     1
I see the brand name on the
container.                               2                                                     2
I liked a lot the description on the       I liked a lot the colors and the images used on
packaging, and the presentation            the packaging, they make me feel that the
seems very natural to me.                1 product is natural and well-made                    2

It is on the label                       2                                                     2
it is the name of the company or
brand associated                         1 It is a protien powder                              2

BECAUSE ITS INTERESTING                  1 its a good nice                                     1

It is a recognized brand                 1 Produce high value nutritional products             2
They're the brand listed above the         They create and sell plant-based protein
name of the product.                     1 powder.                                             2

                                         1 That it is Plant - Based                            1
the company made it clear that that        It is plant based, and a healthy protein
is the companys name                     1 powder.                                             1

says it                                  1 high quality                                        2
i assume based off packaging the
name of the company is purely
inspired                                 1 that it is plant based protein powder               2

its on the bottle                        1 they make healthy products                          2

looks like its the name                  1 its from plants and organic                         2
That's the site it says on the bottom
of the bottle so I think that is the       Organic, natural, high protein, lots of fiber and
maker of this product.                   1 low sugar and no fat.                               1
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its on the product                        1 its not artificial                                     2

It says it right above protein powder     2                                                        1

Because it says                           1 Organic products company                               2

because i like the protein                1 i like the brand of proteind                           1

it seems like it                          1 it is plant based nutrition and no artificial flavor   2
                                            I believe they want to make vegan inspired
Because this product is plant based       1 product                                                2

It says it                                1 Good product                                           2

                                          2                                                        2
because i say it is very important and      the protein it is very innovate and premium
interest possible for the people          1 and interest in the world                              1

because the main title says so.           1 its plant based and non gmo.                           1
because it looks like that's the logo
for the company.                          1 they deliver plant based nutrition products.           2

it looks like it the name                 1 it only makes natural prduts                           2

it specific said it on lable              1 no artifical 1 gr sugar 7 g fiber                      2
It seem slide a company that would          I can tell that it is natural and an organic
definitely sponsor this product           1 product                                                1

                                                                                                   2

                                                                                                   2

says it                                   1 natural                                                1

Purely Inspired                           1 it is a very good brand                                2

It's right on the front of the package.   2                                                        2

                                          1 its a protein powder                                   2

                                                                                                   2

Well I'm basing it off of at the top
above where it says protein powder          It's organic full of plant proteins very low sugar
at this Purely Inspired and to me that      it's probably really flavorful cuz it's vanilla so
looks like the company that makes         1 really it's kind of a very organic protein powder      1

it's on the design                        1 the are plant based powder good for you                2

                                                                                                   2
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because that is what i believe is the
brand                                   1 its plant based and organic with 20g of protien       2

the product label.                      1 plant based protein powder.                           1
because of the brands name by a
logo                                    1 its organic protein powder brand                      2

                                                                                                2

That seems to be the name of the          They seem to make protein powder and other
company that produces it, since their     nutrition products, and seem to laud
logo is displayed a couple times.       1 themselves on being non-GMO and organic.              1

it looks good and natural               1 it's natural                                          2

its right on tp of it                   1 it looks organic                                      1
i say that because only a person on
a weight lost journy or are planning
to be vegan would create something        this powder looks like it as created to inspire
like this.                              1 others to lose weight.                                1
because that is the name that I can
find on the bottle.                     2                                                       2
                                          it looks interesting, plus 20 grams of protien is
It's written on the product lol         1 aming for this kinda product                          2

listed on the label                     1 they are made using natural ingredients               2

I believe Purely Inspired created the     This product there is made out of natural
product above because it is shown in      organic ingredients and the protein itself is a
the front and back of the packaging     1 plant based protein which great                       2

I see this brand before                 1 The title                                             2

says it on the package                  1 protein                                               2

written at top                          1 it is a plant based nutritional protein power         2
the label says distributed by iovate
health sciences                         1 I never heard of the company                          2

who knows                               1 plant based                                           1

It is on the label                      2                                                       2
                                          It's a plant based nutrition without any artificial
Because of where it is located          1 ingredients                                           2
It shown in the image. And I used it      It's organic product. It's a plant based
in past                                 1 nutrition.                                            1
asked what company make it so i           sounds like a pretty good company that knows
answered                                1 what it's doing                                       2

Its what i see on the label             1 Plant based product                                   1

It says that on the container           1 It is a plant based nutrition protien powder          1
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                                            It is a leading company in making natural and
Quality and precision manufacture         1 delicious food                                   1
is complete, proteinic, nice, useful
and healthy                               1 good for my health and my family too             1

It is written at the top of the product   1 It is plant-based nutrition                      2

                                                                                             2

the logo on front                         1 makes plant-based protein powder                 2
from looking at the product and
package                                   1 it's a plant based nutritional drink             2

logo appears in multiple places.          1 plant based nutrition                            2
it's listed right about the name of the
product                                   1 seems to take their inspiration from leaves      2

it looks like the nestle products         1 I love nestle and all their products             1

                                            like all the ingredients, very low carbs per
I seethe brand name on the top of           serving, low sugars, plant based. lots of
the first photo                           1 vitamins and minerals.                           2

it's on the label above the variety       1 plant based; protein                             1
It is the main name listed on the
label                                     1 They deal in plant based nutrition               2

in the logo                               2                                                  1

The title is bold on the front            1 Plant based nutrition                            1
It is on the label where I would            That it is 20 grams of plant protein, organic,
normally see a company name               1 and also 7 grams of fiber and low sugar          2

                                                                                             2

                                                                                             2

                                                                                             1

                                                                                             2

pursley plan inspired                     1 not sure unless its soy                          1

                                                                                             2
PURELY INSPIRED PROTEIN
POWDER                                    1 20 G PLANT PROTEIN                               2
                                            it's organic, fda approved, high in protein,
says it on the can                        1 french vanilla flavored                          1

                                                                                             2

                                                                                             2
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I see the name of brand.                1 Its clearly a good brand.                        1
                                          It's a protin powder,It's help human bodies
Purely Inspirred                        1 nutrition and protin.                            2

they way it looks                       1 not much, but they look like a good company      2

Its on the label                        1 It's a company that sells healthy products       2
                                          They seem to be a company that tries to
Purely Inspired                         1 make pure, plant ingredient health products.     2

It says it on the label                 1 It?s a plant based protein powder                2

It has a creamy taste and flavor        1 It has some awesome flavors                      1

Purely inspired                         1 Plant base nutrition                             1

                                                                                           2

                                                                                           2
looking at the outside of the package     they produce protein powder and it claims that
it clearly states the name of the         is plant-based as well with minimum sugars
product and who makes this                and I believe you get numerous servings out
particular item                         1 of the product as well                           1

it is shown good                        1 it is very good                                  2

                                                                                           2

It is brand easy to use and safe        1 Brand good and i trust                           2
                                          it looks like a company that is dedicated to
It looks to be prominently dispayed       creating health items that are all natural and
on the packaging several times          1 made only with the best ingredients              2
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Q10_0_T           Q10_1     Q10_1_T                         q10_2

purely inspired           1 it's printed on the packaging           1




nutrients                 1 health source                           1
                            I could not think of another
Under Armor               1 company.                                1




none                      1 seems generic                           1
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Maybe a company called      Muscle Milk is in that market.
Muscle Milk.              1 protein drink                    1




french vanilla            2                                  1



GNC, pure protein,Phase     they are protein powder
8                         1 products                         1




orgami                    2                                  1
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                           plant-based nutrition to eat
None                     1 healthier.                          1




                           Because it clearly says it on the
plants, artical fruits   1 can                                 1




Organic Super Greens     1 Organic Super Greens Powder         1
                           it is excellentin producing
nestle                   1 protein powder                      1




                           its marked brand in this
usda, organic            1 package                             1
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                           because it is planet based so it
organic company          1 is organic                          2

Trivita                  1 Heard thy haveit                    1



new brand                1 The brand is very important.        2

No idea                  1 No idea                             1




Purely inspired          1 Says on package                     1




Energy nutrition bars    1 Amazon                              1




Maybe premier protein    1 that brand offer similar benefits   1
                           because i think this is the only
none i can think of      1 one and unique                      1
gnc products that have     same type of product,
powders                  1 powdered protein drinks             1
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Gnc                       1 Looks like there products.          1




Orgain                    1 its very similar in its marketing   1




none                      1 none                                1

silk                      1 i just guess                        2




protein powder            1 BECAUSE ITS INTERETING              1




Vitamins                  1 sounds healthy                      1
                            would fit their line of products
nestle                    1 nicely.                             1




Protein shakes, protein
bars, keto supplements    2                                     1
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None                         1 It doesnt hint at any               1



nothing                      1 because this protein is unique      1




                               i say it is very innovate and
i liked it is very premium   1 premium                             1
                               don't know first time seeing this
dont know                    1 one                                 1




Nestle could fall under
this category                1 It is very organic                  1




rx                           1 natural                             1




                               This is my first time seeing this
I I'm not sure at all        1 brand                               1
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ice cream.                 1 the back of the package.        1




Other flavors of protein     Some people might want
powder                     1 another flavor.                 2



im not sure honestly       1 the colors on the outside       1


                             herbal life is a powder brand
herbalife                  1 just like this one              1




protein                    1 I think so                      1




orgain                     1 That is also a good brand       1



Other supplements          1 Written on package              1
                             It does not mention any other
None                       1 brands                          1
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                           All are giant and famous
Company Bamalat          1 companies                       1

nestle or unilever       1 is very professional and good   1




not sure about that      2                                 2




six star, pure protein   2                                 1


i don't know what this
question mean?           2                                 1

purely inspired          1 i dont know                     1




whey                     1 it produce same products        1



purley plant             1 the logo                        1




                           they make these types of
gnc                      1 product                         1
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Dano                        1 Its a another good product.       1




It has the nutrition nets
and vitamins                1 It will curve down the calories   1

No artificial flavors.      1 No artificial flavors.            1




I do not believe they
make any other products     1 all they make is protein powder   1
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q10_2_T                                   Q11_0       Q11_1       Q11_1_T

they make plant based nutrition                   3

                                                  1           2


                                                  3

healthy intake                                    2

It is a comp-any that promotes fitness.           1           2

                                                  1           2

                                                  2

                                                  1           1 purely inspired

                                                  3

                                                  2

                                                  1           2

                                                  3

                                                  3

                                                  3

                                                  3

                                                  3

                                                  3

                                                  1           1 purely inspired

nothing at all                                    2

                                                  1           2


                                                  1           2

                                                  3

                                                  3

                                                  3
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                                               3

                                               3

                                               1   2

                                               1   2

                                               3

                                               1   2



They seem to be the most popular               3


                                               3


                                               3

                                               3

                                               3

                                               1   2

                                               2

new great taste                                3
GNC is a sports based store that sells
things of that nature,pure protein is a
product line that sells all thing protein
based,Phase 8 is the present protein                 lovate health sciences, Lacto=spore,
powder that I am using.                        1   1 national Foundation for Celiac Awareness

                                               1   1 GNC
an organic protein powder that is widely
available and that uses natural flavors with
added fiber                                    3

                                               1   2

                                               2

                                               3
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                                            1   2


                                            1   2

                                            1   1 purely

I haven't seen anything thing like this     3

                                            2

                                            1   2

YOu can tell its made with these
ingredents                                  3

                                            2

                                            1   2

                                            3

                                            3

                                            1   2




                                            3

                                            1   1 purely inspired

                                            1   2
Organic Super Greens Powder with
Superfoods & Multivitamins (Non-GMO,
Gluten Free, Vegan Friendly), Unflavored,
24 servings                                 1   1 Purely Inspired

unbeliebavle                                1   1 MuscleTech

                                            3

                                            1   2

brand represents, high quality              1   1 purely inspired, spore

                                            2

                                            1   2
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                                            1   2

Iastryig a product of theirs now            3

                                            1   2

                                            1   2

Nothing                                     2

                                            3

                                            2

                                            2

                                            3

                                            3


                                            3

                                            1   2

                                            2

Name is on packet                           1   1 Dow


                                            2

For health body                             1   1 Amazon

                                            3

                                            1   2

are a series or supplement shakes that
boost your health and physical
performance.. give you proteins and fiber   1   1 The USDA

nothing                                     3

they are healthy choice of drinks           2

                                            2

                                            1   2

                                            2
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Vitamin shop                            1   1 Gnc

                                        2

                                        2


It's plant derived protein powder       3

                                        3
                                              I dont know, maybe purely inspired is
                                              owned ny a larger corporation? Probably
                                        1   1 not but its possible.

                                        1   2

none                                    1   2

                                        1   2

                                        3


                                        2

                                        3

                                        2

its a good powder                       1   1 protein powder

                                        2

                                        3

healthy ingedrients                     1   2

good brand good products                1   1 USDA

                                        2


                                        1   2

                                        2

                                        1   1 usda

they are high energy, low fat and low
sugar.                                  2
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                                               1   2

Theres no second compny                        2

                                               1   1 Purely Inspired

i don not other protein                        1   1 i don not know

                                               1   1 purely inspired protein powder

                                               1   2

                                               1   2

                                               1   2
i liked it is very good and important in the         because the company it is very good and
world                                          1   1 important

nothing else                                   2

                                               3

                                               1   1 usda

                                               1   2

It is very orgwnic                             1   1 Nestle

                                               1   2

                                               1   2

positive                                       1   1 rx

                                               1   2

                                               1   2

                                               1   2

                                               1   2




I don't know any other products                1   2

                                               2

                                               2
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                                   #:10031



                                              1   2

like the design.                              2

                                              3

                                              1   2


                                                    The FDA and USDA would have to
                                              1   1 approve this.

                                              3

i dont know a lot about the plant             3



its a weight lost powder                      1   1 Purely Inspired

                                              1   2

                                              2

                                              1   2


                                                    The USDA and NON-GMO companies are
                                              1   1 shown there

                                              1   2

                                              2

                                              3

                                              1   1 Sabinsa Corp

it's non gmo and plant based                  1   1 purely inspired

                                              1   2

                                              1   1 Lacto Spore and part of a coporation
That is kind of similar product like purely
inspired                                      1   1 Purely Inspired

                                              3

Dont know                                     3

Nothing                                       2
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                                   #:10032


A famous and international company since
ancient times                                  2

is very good brand                             2

                                               1   2

                                               1   2

                                               3

                                               3

                                               1   1 lactospore

                                               3

                                               1   1 Nestle
                                                     I see that its says 100% organic. on the
                                                     back of the label in picture two there are 3
                                                     logos from companies that give its
                                               1   1 approval. these are certifications.

they are protein powders                       3

                                               3
I can see its Sabrisa Corporation it is only
now i heard that company                       3

i never heard of them                          1   1 purely inspired

                                               2

                                               1   2

                                               1   2

has great product for body bulding             2

                                               2

no artificial ingredients                      1   2

                                               1   2

                                               2

they sell health and workout products          3

                                               1   1 USDA company

                                               3
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Its a good brand also.                      1   1 Nido

                                            1   1 Purely

                                            1   2

                                            1   1 Purely

                                            3

                                            3

It is good for your heart                   1   1 Got milk

Non GMO                                     1   1 Purely Inspired.

                                            1   2

                                            2



I haven't seen any other products by them   2

                                            3

                                            3

                                            1   1 USDA


                                            2
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Q11_2     Q11_2_T                            q11_3




        1 there names all over the product           2




        1 on front and back label                    1
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      1 it is on the label                     1

      1 It looks like the products they sell   1
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      2                                        2




      1 the name is on the front               1




      1 Purely Inspired                        1

      1 tremendous value                       1




      1 the brand its marked                   1
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      1 Good brand                                      1




      1 Nutrition                                       1




        That organization confirm the authenticity of
      1 this product                                    1
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      1 Looks like there products.                            1




        I dont think it, I just meant it was possible. Dont
        see any other companies advertised on the
      1 package though.                                       1




      1 BECAUSE ITS INTERESTING                               1




      1 it says it on the package                             1




      1 cuz they have label on it                             1
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                                   #:10039




      1 Because it has the name on it                  1

      1 because is the best                            1

      1 because it is                                  1




      1 because i say is very interest and important   1




      2                                                2



      1 It is very similar                             1




      1 truth                                          1
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        Because the FDA has to approve everything,
      1 otherwise it's illegal.                             1




      1 its on the can                                      1




        They are representing the brand and are
      1 approving it.                                       1




        it says on the label that is where lacto spore is
      1 from                                                2

      1 the name                                            1


        Because of what I see on the middle picture to
      1 the left of the bar code                            2

      1 I know the brand very well                          1
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                                   #:10041




      1 Appears near UPC code                  1



      2                                        1



      1 seeing it on the labels.               1




      1 i dont know                            1




      2                                        1
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      1 Nido                                   1

      1 purely                                 2



      1 Its on the label                       1




      2                                        2

      1 Name of the company.                   1




      1 Brand good quality                     1
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                                   #:10043


q11_3_T                                         Q12_0       Q12_1       Q12_1_T

                                                        3

                                                        3


                                                        3

                                                        2

                                                        3

                                                        1           2

                                                        2

                                                        1           2

                                                        3

                                                        2

                                                        3

                                                        3

                                                        1           2

                                                        3

                                                        1           2

                                                        1           2

                                                        3
protein powder that's plant based nutrition /
usdaorganic                                             3

                                                        2

                                                        2


                                                        1           2

                                                        1           2

                                                        3

                                                        3
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                                   #:10044




                                        3

                                        3

                                        2

                                        1      2

                                        1      2

                                        3



                                        3


                                        3


                                        3

                                        3

                                        3

                                        1      2

                                        2

                                        3



                                                 it is on the label but I can not make it
they are different companies.           1      1 out to properly write it down.

They have good items                    1      2


                                        1      1 orgami

                                        1      1 maybe the honest company

                                        2

                                        3
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                                   #:10045



                                              1   2


                                              3

                                              1   2

                                              3

                                              2

                                              2


                                              3

                                              2

                                              1   2

                                              1   2

                                              3

                                              1   2




                                              2

it is plant based                             3

                                              2
Purely Inspired is a nutritional supplement
company owned by Iovate, the corporation
behind popular meathead brands MuscleTech
and Six Star supplements.                     1   1 Iovate

protein powder producing brand                1   1 muscle tech

                                              3

                                              3

contain high quality products                 1   1 usda

                                              2

                                              1   1 pure protein
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                                   #:10046



                                        1      2

                                        3

                                        1      2

                                        3

                                        2

                                        3

                                        2

                                        2

                                        1      2

                                        1      2


                                        3

                                        3

                                        3

Make alot                               2


                                        3

Has great protien products available    1      1 Provides great source of energy

                                        3

                                        1      2



nothing more                            2

                                        1      2

                                        1      1 purely inspired

                                        1      2

                                        1      2

                                        1      2
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                                   #:10047



Great vitamin company                            2

                                                 2

                                                 1   2


                                                 2

                                                 3

Nothing, Im most likely wrong. Purely inspired
is probably the only company involved.           2

                                                 2

                                                 2

                                                 2

                                                 3


                                                 2

                                                 3

                                                 1   2

its a g ood power                                1   1 POWDER

                                                 2

                                                 1   2

                                                 1   2

they ensure products are okay to consume         1   1 usda approved

                                                 2


                                                 3

                                                 3

the like something as organic                    3


                                                 3
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                                   #:10048



                                               2

                                               2

Company that works with organic products       2

i like this brand unique                       2

great taste                                    3

                                               1   2

                                               3

                                               3
because the company it is very important and         the company it is very good and
good                                           1   1 important

                                               2

                                               2

                                               3

                                               2

It is a very popular brand                     1   1 Nestle

                                               3

                                               2

natural                                        1   1 purely

                                               1   2

                                               2

                                               2

                                               3




                                               2

                                               1   1 purely inspired

                                               1   2
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                                   #:10049



                                                 2

                                                 2

                                                 3

                                                 3


If the FDA doesn't approve the product it
cannot be sold.                                  2

                                                 1   2

                                                 1   1 i dont know the name looks vegan



its a weight lost powder                         1   1 purely inspired

                                                 3

                                                 2

                                                 3


They are there to tell you what they represent
and what they approve                            2

                                                 3

                                                 2

                                                 3

                                                 1   1 sabinsa corp

makes health products                            1   1 some

                                                 3

                                                 3

It's really good                                 3

                                                 2

                                                 3

                                                 2
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                                   #:10050



                                           2

                                           1   1 nestle

                                           3

                                           1   2

                                           3

                                           2

belns to Sabria Corp                       1   2

                                           3

its for people like me                     2


knowing that these are certifications of
approval.                                  3

                                           2

                                           3

                                           1   2

a healthy brand                            2

                                           2

                                           1   2

                                           1   2

                                           2

                                           2

                                           1   2

                                           1   2

                                           2

                                           3

N0ne                                       2

                                           3
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                                   #:10051



Its a good product of brand.            1      1 Milk Vita

                                        1      1 Purely

                                        3

I just told you                         2

                                        3

                                        3

                                        2

Plant base nutrition.                   1      1 None

                                        1      2

                                        2



                                        2

                                        1      2

                                        3

it easy to use and safe                 1      2


                                        2
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                                   #:10052


Q12_2   Q12_2_T                  q12_3   q12_3_T
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                                   #:10053




        it is fine print under the Lacto-        please read what I have written again. I am sure it
      1 spore logo                             1 explains it very well


        again I seen this ingredient list on
        an Orgami label and looks the
      1 same                                   2
        it seems like something they would
      1 do                                     1 they have a lot of products and this could be one
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                                               Iovate, the corporation behind popular meathead
      1 Iovate                               1 brands MuscleTech and Six Star supplements.

      1 good product                         1 plant based nutrition




      1 valued for usda                      1 certification respect


        because the look and feel of their
      1 products                             1 they make a lot of protein powder, shakes, and bars
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      1 Great service                  1 Great for the body




      1 it has the name on it          1 they make healthy protein drinks
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      1 because its interesting            1 ITS A GOOD POWDER




      1 they are patenered with the usda   1 makes sure all of your products are up to par
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        because it is very important and     the company is the best in the world and in the life it is
      1 interest                           1 very important




      1 It is very organic                 1 It is a very popular brand




      1 truth                              1 natural




      1 it's on the cover and design       1 it's good for you heathly
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                                   #:10058




      1 the colors on the botte           1 i dont know the company



      1 it's on the can                   1 it's a weight lost powder




        it says that lactospore is from
      1 sabinsa corp                      2

      1 because I think so                1 nothing
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                                   #:10059




      1 are very similar and professional   1 is confident and trusth
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                                   #:10060



      1 Milk Vita                      1 Its connected with it.

      1 purely                         1 It's a protin powder




      1 No other.                      1 No other company.
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                                   #:10061


cms    rKey          rDate               rDateComplete

      1 X1WPZGPD6W   2019-10-28 17:34:29 2019-10-28 17:37:21

      1 4G5D194XX9   2019-10-28 17:35:05 2019-10-28 17:37:46


      1 GG39DN77PT   2019-10-28 17:34:45 2019-10-28 17:38:16

      1 PP2HXQZ0KT   2019-10-28 17:34:20 2019-10-28 17:38:33

      1 R2FKMQ5DQW   2019-10-28 17:35:27 2019-10-28 17:41:13

      1 DJXM4VQK9Q   2019-10-28 17:34:31 2019-10-28 17:41:37

      1 GB3W73XWBW   2019-10-28 17:41:16 2019-10-28 17:43:47

      1 5ZPVZJS5G7   2019-10-28 17:35:04 2019-10-28 17:44:51

      1 K83SVNVHJS   2019-10-28 17:41:05 2019-10-28 17:45:00

      1 QPSZ0WKT6J   2019-10-28 17:42:18 2019-10-28 17:45:29

      1 30TQBN8Z0M   2019-10-28 17:44:25 2019-10-28 17:46:07

      1 G3TY9RSQFJ   2019-10-28 17:43:43 2019-10-28 17:46:55

      1 ZH32QR4G3Z   2019-10-28 17:42:13 2019-10-28 17:47:02

      1 1F75YSDBWN   2019-10-28 17:41:29 2019-10-28 17:47:34

      1 HZN4NWNW6N   2019-10-28 17:44:16 2019-10-28 17:48:02

      1 XMBPF9JN26   2019-10-28 17:42:45 2019-10-28 17:48:18

      1 9K0QG1NZXX   2019-10-28 17:45:12 2019-10-28 17:48:23

      1 V4RRN5NH13   2019-10-28 17:41:19 2019-10-28 17:48:23

      1 KD9F0SMFP0   2019-10-28 17:46:20 2019-10-28 17:48:26

      1 RG8GFQGKK9   2019-10-28 17:43:09 2019-10-28 17:48:40


      1 5QZQ8JW6G8   2019-10-28 17:41:35 2019-10-28 17:49:35

      1 P3RD2ZC0J2   2019-10-28 17:44:11 2019-10-28 17:49:41

      1 VK0GG2YYDV   2019-10-28 17:46:33 2019-10-28 17:50:46

      1 BJH8J4THXN   2019-10-28 17:45:08 2019-10-28 17:50:55
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    1 MVXCPSTFDN   2019-10-28 17:43:45 2019-10-28 17:51:26

    1 W7929BKRT2   2019-10-28 17:45:32 2019-10-28 17:51:58

    1 G22YPB6209   2019-10-28 17:48:22 2019-10-28 17:52:10

    1 Q02HQPDS6X   2019-10-28 17:45:29 2019-10-28 17:52:13

    1 2QYPX5TPG8   2019-10-28 17:44:32 2019-10-28 17:53:23

    1 BT18F773MK   2019-10-28 17:47:01 2019-10-28 17:54:37



    1 4HWZ8CT7YH   2019-10-28 17:43:21 2019-10-28 17:55:07


    1 NDT5VDFHXN   2019-10-28 17:47:39 2019-10-28 17:55:08


    1 3YGM23MHB8   2019-10-28 17:50:50 2019-10-28 17:56:20

    1 4TNK4V27SQ   2019-10-28 17:50:14 2019-10-28 17:56:21

    1 Y645ST81KK   2019-10-28 17:48:25 2019-10-28 17:56:31

    1 V41X0KYSZZ   2019-10-28 17:49:37 2019-10-28 17:57:21

    1 6H26PGJCHF   2019-10-28 17:55:32 2019-10-28 17:58:12

    1 V5MV518Y7X   2019-10-28 17:48:19 2019-10-28 18:00:27




    1 GDYGK68WX3   2019-10-28 17:36:57 2019-10-28 18:00:55

    1 PMCTV3ZX00   2019-10-28 17:56:05 2019-10-28 18:01:11


    1 BVYNNKYM6R   2019-10-28 17:35:14 2019-10-28 18:01:24

    1 9ZYMNZQQJ9   2019-10-28 17:52:19 2019-10-28 18:01:35

    1 SYJJ6Y45YY   2019-10-28 17:58:55 2019-10-28 18:01:44

    1 G7MBWWR8V8   2019-10-28 17:46:48 2019-10-28 18:01:50
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    1 CCKMGB66NW   2019-10-28 17:56:54 2019-10-28 18:02:23


    1 X03K7YQV8S   2019-10-28 18:00:39 2019-10-28 18:03:58

    1 2YMMF647MQ   2019-10-28 17:40:54 2019-10-28 18:06:26

    1 G1PRYRVDCP   2019-10-28 17:52:21 2019-10-28 18:07:50

    1 Y0S3SGQM0W   2019-10-28 18:01:53 2019-10-28 18:08:17

    1 VHMS5WH37Y   2019-10-28 17:57:46 2019-10-28 18:08:36


    1 YNYWBH084Q   2019-10-28 18:04:44 2019-10-28 18:09:48

    1 984R84J4FS   2019-10-28 17:51:41 2019-10-28 18:09:52

    1 6QMBXKPPR4   2019-10-28 17:58:24 2019-10-28 18:13:04

    1 5RCBMB8HYK   2019-10-28 18:11:11 2019-10-28 18:16:06

    1 WH4T1JP8FZ   2019-10-28 18:15:47 2019-10-28 18:18:31

    1 B63D3CJNT3   2019-10-28 18:17:05 2019-10-28 18:19:23




    1 V5PG9PTC9Z   2019-10-28 18:05:11 2019-10-28 18:19:53

    1 7QCW6J2W25   2019-10-28 18:15:52 2019-10-28 18:23:02

    1 RK4TNV7KJP   2019-10-28 18:17:34 2019-10-28 18:23:51



    1 PKF70MTWW5   2019-10-28 17:55:08 2019-10-28 18:24:02

    1 2CQ380H3GC   2019-10-28 18:08:41 2019-10-28 18:24:21

    1 68D8HJVSV8   2019-10-28 18:21:09 2019-10-28 18:25:11

    1 16DC5BGSC1   2019-10-28 18:21:48 2019-10-28 18:27:14

    1 GCCD9PCDX4   2019-10-28 18:23:40 2019-10-28 18:35:56

    1 XRM23QVFZW   2019-10-28 18:22:35 2019-10-28 18:44:55

    1 PN8RVM39F1   2019-10-28 18:05:09 2019-10-28 19:36:35
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    1 N9FFCJVYQQ   2019-10-28 18:10:43 2019-10-28 19:43:04

    1 GS39TYFQFH   2019-10-28 17:43:25 2019-10-30 12:35:14

    1 RCN50Q6PQF   2019-10-31 12:31:17 2019-10-31 12:46:12

    1 R9VS0MJVRK   2019-10-31 12:37:01 2019-10-31 12:46:59

    1 SQQN4K9FQ4   2019-10-31 12:38:42 2019-10-31 12:48:18

    1 W4V2Q008T7   2019-10-31 12:53:23 2019-10-31 12:58:44

    1 KC5TSTPKYV   2019-10-31 13:04:50 2019-10-31 13:08:41

    1 G3GDNKMNHW   2019-10-31 13:01:39 2019-10-31 13:11:53

    1 SW4NNMVJD1   2019-10-31 13:11:55 2019-10-31 13:23:05

    1 7KZVQRFHD9   2019-10-31 13:52:24 2019-10-31 13:55:31


    1 7KK7MZY161   2019-10-31 13:51:49 2019-10-31 13:56:01

    1 N46FSS1SGJ   2019-10-31 13:51:52 2019-10-31 13:56:56

    1 TP30B9MNWV   2019-10-31 13:57:56 2019-10-31 13:58:51

    1 1QBB027RWT   2019-10-31 13:52:41 2019-10-31 14:00:31


    1 WF49BZJZFG   2019-10-31 13:53:27 2019-10-31 14:01:01

    1 NX34GYTW9B   2019-10-31 13:58:24 2019-10-31 14:08:47

    1 WD83T3J5BN   2019-10-31 14:08:49 2019-10-31 14:11:00

    1 HDJJHTMVR2   2019-10-31 14:09:33 2019-10-31 14:11:25



    1 8DJYWXPDQ5   2019-10-31 14:04:01 2019-10-31 14:12:35

    1 N30GKBK280   2019-10-31 14:16:57 2019-10-31 14:23:50

    1 TQBDYQ8FWB   2019-10-31 14:19:56 2019-10-31 14:24:50

    1 V4M2VV4KQR   2019-10-31 14:19:53 2019-10-31 14:24:55

    1 2GF10HCQYN   2019-10-31 14:21:49 2019-10-31 14:25:16

    1 D652JKJ5TT   2019-10-31 14:21:29 2019-10-31 14:25:25
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    1 ZGSCF103JG   2019-10-31 14:16:09 2019-10-31 14:26:23

    1 X67G32J7RM   2019-10-31 14:26:31 2019-10-31 14:32:38

    1 T0MQTN9TKQ   2019-10-31 14:17:00 2019-10-31 14:40:42


    1 7PHRM0MCKN   2019-10-31 15:43:58 2019-10-31 15:50:58

    1 MS27RHBXXQ   2019-10-31 16:06:19 2019-10-31 16:15:05


    1 QKKZGX8PHY   2019-10-31 17:09:45 2019-10-31 17:15:18

    1 YX8Q7ZG2MV   2019-10-31 17:13:52 2019-10-31 17:16:19

    1 2JG24XN2KV   2019-10-31 17:08:04 2019-10-31 17:16:56

    1 64ZF0TGH3M   2019-11-04 14:18:24 2019-11-04 14:22:22

    1 5M1Q1M59Y3   2019-11-04 15:08:24 2019-11-04 15:21:08


    1 NPDR27KBF3   2019-11-04 15:22:35 2019-11-04 15:25:25

    1 N78ZDRWWXB   2019-11-04 15:24:57 2019-11-04 15:28:29

    1 RNRQ22J8CT   2019-11-04 15:26:49 2019-11-04 15:29:40

    1 QJS3P452X3   2019-11-04 15:28:24 2019-11-04 15:31:45

    1 KSX1C1D371   2019-11-04 15:27:45 2019-11-04 15:32:57

    1 Y7HFWGHK6K   2019-11-04 15:30:12 2019-11-04 15:33:04

    1 ZCNQBH6HP2   2019-11-04 15:30:26 2019-11-04 15:33:49

    1 6VZSR8XTZ5   2019-11-04 15:29:16 2019-11-04 15:34:03

    1 QN9Q6TW9PY   2019-11-04 15:31:55 2019-11-04 15:34:12


    1 FPKWZBR9Q4   2019-11-04 15:31:46 2019-11-04 15:35:24

    1 8KFJZD16KM   2019-11-04 15:32:20 2019-11-04 15:36:22

    1 9CFHY5JPZT   2019-11-04 15:29:24 2019-11-04 15:36:41


    1 M72F9ZCXGK   2019-11-04 15:31:16 2019-11-04 15:36:51
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    1 GKWBS7Q9ZS   2019-11-04 15:35:39 2019-11-04 15:37:40

    1 M4FPX9J0M0   2019-11-04 15:37:00 2019-11-04 15:40:59

    1 DZQSDNYMXP   2019-11-04 15:37:59 2019-11-04 15:41:39

    1 NJV53FH87K   2019-11-04 15:34:21 2019-11-04 15:42:54

    1 S857VMP20M   2019-11-04 15:40:00 2019-11-04 15:43:27

    1 KM255N15TB   2019-11-04 15:32:34 2019-11-04 15:43:34

    1 QN975TB0S1   2019-11-04 15:41:12 2019-11-04 15:44:28

    1 YK3B91CMNZ   2019-11-04 15:44:14 2019-11-04 15:47:20

    1 VV7TT6ZYWY   2019-11-04 15:31:57 2019-11-04 15:47:37

    1 S6S94RNSPY   2019-11-04 15:40:00 2019-11-04 15:47:58

    1 D21FMYGT2V   2019-11-04 15:46:54 2019-11-04 15:48:36

    1 M0BD9DZDTW   2019-11-04 15:36:18 2019-11-04 15:50:11

    1 6W6XRPKBNP   2019-11-04 15:47:27 2019-11-04 15:54:50

    1 HFW5TFV06Z   2019-11-04 15:44:04 2019-11-04 15:55:15

    1 PHZW130CDW   2019-11-04 16:13:09 2019-11-04 16:16:17

    1 TFDQ62FMZF   2019-11-04 16:14:51 2019-11-04 16:17:05

    1 JCKFNZQDJ0   2019-11-04 16:18:14 2019-11-04 16:24:31

    1 QFRDHCR4HT   2019-11-04 16:16:30 2019-11-04 16:24:40

    1 31122722CS   2019-11-04 16:19:38 2019-11-04 16:25:04

    1 76GWHBXPPC   2019-11-04 16:25:39 2019-11-04 16:27:58

    1 3B2FDWDVNC   2019-11-04 16:26:44 2019-11-04 16:28:06




    1 3FG1PGF5VQ   2019-11-04 16:25:02 2019-11-04 16:29:49

    1 7FYQH7X6ZP   2019-11-04 16:21:37 2019-11-04 16:34:33

    1 GFBS7B0KCZ   2019-11-04 16:32:55 2019-11-04 16:36:44
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    1 P3R292PJ8Y   2019-11-04 16:34:16 2019-11-04 16:38:19

    1 9BVN464XPC   2019-11-04 16:35:40 2019-11-04 16:38:31

    1 1T2C3X9PT3   2019-11-04 16:35:59 2019-11-04 16:38:54

    1 4YQ1WM7GMB   2019-11-04 16:36:04 2019-11-04 16:39:43



    1 V1Q5VXRPV1   2019-11-04 16:33:34 2019-11-04 16:39:46

    1 18HZ51SM32   2019-11-04 16:33:04 2019-11-04 16:41:52

    1 J69ZBK9K7W   2019-11-04 16:39:19 2019-11-04 16:41:52



    1 V6F5VCW1CP   2019-11-04 16:30:06 2019-11-04 16:47:09

    1 TKMTJGKSJR   2019-11-04 16:41:56 2019-11-04 16:48:56

    1 XC8W65GC3M   2019-11-04 16:43:36 2019-11-04 16:50:29

    1 C1PVGS21DD   2019-11-04 16:49:42 2019-11-04 16:51:57



    1 RH3JFF0WTK   2019-11-04 17:03:16 2019-11-04 17:09:44

    1 4K9F91WJQR   2019-11-04 17:05:39 2019-11-04 17:27:08

    1 ST7XK04P56   2019-11-04 17:09:40 2019-11-04 17:30:51

    1 DHBYTTR0SN   2019-11-05 09:07:25 2019-11-05 09:14:43

    1 W991RH1CK8   2019-11-05 09:11:48 2019-11-05 09:23:13

    1 2NCKJX3T6X   2019-11-05 09:42:53 2019-11-05 09:47:05

    1 ZF2CF07VVN   2019-11-05 09:46:04 2019-11-05 09:48:54

    1 BDFBM1N7TQ   2019-11-05 10:06:00 2019-11-05 10:13:47

    1 CQ5KT3YQHR   2019-11-05 10:07:22 2019-11-05 10:20:26

    1 X52685DV3Y   2019-11-05 10:17:26 2019-11-05 10:24:03

    1 V56W1CWC08   2019-11-05 10:21:24 2019-11-05 10:25:18

    1 D8X008VH9B   2019-11-05 10:42:43 2019-11-05 10:54:10
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    1 W7B8G8KG0F     2019-11-05 10:56:23 2019-11-05 11:12:22

    1 R2BNRX21J7     2019-11-05 11:16:37 2019-11-05 11:19:41

    1 MZ98GJ257F     2019-11-05 11:22:40 2019-11-05 11:29:17

    1 B5YNZW0BQT     2019-11-05 11:33:36 2019-11-05 11:35:53

    1 2Y3YD3DB3N     2019-11-05 11:33:32 2019-11-05 11:37:47

    1 11MQ3C4KTQ     2019-11-05 11:35:41 2019-11-05 11:41:26

    1 DYN8MWGSWY 2019-11-05 12:22:00 2019-11-05 12:35:46

    1 R53ZK4GTJF     2019-11-05 12:37:45 2019-11-05 12:40:12

    1 53BN62VY7H     2019-11-05 12:43:13 2019-11-05 12:48:40



    1 20Z725S1VP     2019-11-05 13:18:36 2019-11-05 13:26:37

    1 V1H31TXGGG     2019-11-05 13:33:12 2019-11-05 13:36:14

    1 Q8QQXNJ1NH     2019-11-05 13:33:29 2019-11-05 13:38:20

    1 3D8S2ZXJGC     2019-11-05 13:33:20 2019-11-05 14:14:29

    1 5K4CVC0C7Y     2019-11-05 15:53:32 2019-11-05 15:56:43

    1 H8K98X2MT6     2019-11-05 16:11:03 2019-11-05 16:13:38

    1 WFBJXD307X     2019-11-05 16:36:26 2019-11-05 16:48:14

    1 GXMZVK13TS     2019-11-05 16:59:01 2019-11-05 17:00:03

    1 NMW38GF5N1     2019-11-05 19:35:06 2019-11-05 19:43:15

    1 DVZ9RR67XB     2019-11-05 20:28:44 2019-11-05 20:30:57

    1 KTZ5M61CCP     2019-11-05 20:45:21 2019-11-05 20:51:21

    1 Y78KNK8K45     2019-11-05 21:31:07 2019-11-05 21:36:46

    1 X9WM4JCP0D     2019-11-05 22:16:55 2019-11-05 22:24:52

    1 VV3G6SGSTV     2019-11-05 22:27:23 2019-11-05 22:42:03

    1 XGF8XW2G3C     2019-11-05 23:48:49 2019-11-05 23:54:24

    1 W1MM161Q23     2019-11-06 01:29:25 2019-11-06 01:31:21
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    1 QZ2ZMN1H46   2019-11-06 12:23:24 2019-11-06 12:29:54

    1 K13TXG01Q1   2019-11-06 13:05:55 2019-11-06 13:15:11

    1 5NZ3WXRJ3G   2019-11-06 13:20:30 2019-11-06 13:22:56

    1 RCZR1JJD3Z   2019-11-06 13:37:47 2019-11-06 13:40:13

    1 8554VG1PZ9   2019-11-06 13:36:42 2019-11-06 13:40:58

    1 ZX9F9H9FG7   2019-11-06 13:39:34 2019-11-06 13:41:25

    1 350QQNPT26   2019-11-06 13:37:55 2019-11-06 13:41:28

    1 R2J35Q08DS   2019-11-07 09:43:04 2019-11-07 09:54:31

    1 6RMGS598Q7   2019-11-07 10:46:39 2019-11-07 11:06:14

    1 QQTB312QBS   2019-11-07 11:06:17 2019-11-07 11:10:46



    1 H2XV6K3NGR   2019-11-07 11:08:01 2019-11-07 11:17:48

    1 1HYH2265BX   2019-11-07 19:44:45 2019-11-07 19:49:46

    1 VVKFM91YTQ   2019-11-07 21:07:12 2019-11-07 21:10:53

    1 7BQJSPW9QM   2019-11-07 21:09:06 2019-11-07 21:18:46


    1 KQCRHYHDR6   2019-11-07 21:09:29 2019-11-07 21:21:22
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Please see Exhibit A, pages 5-13 and 72-80.
                       Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 402 of 432 Page ID
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                                                   LENGTH_
                                                   OF_INTE
CID        START_DATE          END_DATE            RVIEW      RESP_TOKEN             IS_MOBILE    S1 S2 S3 S4 S5 S6 S7 S8 S9 S10 S13_1 Q1 GENAGE S12 S11 AGE
97871680    10/16/2019 14:54    10/16/2019 14:54          5   43852524634505F5U1S5            2    1 3 2 2 3 2 5 1 5           1 62293 2       13  2 14 44
97871690    10/16/2019 14:54    10/16/2019 14:54          7   F9BN2524634850GAPTBE            2    1 3 1 1 6 2 5 4 6           1 20151 1       13  3 47 37
97871692    10/16/2019 14:54    10/16/2019 14:54          8   DRYD2524634934KEZHEZ            2    2 4 1 1 6 2 5 4 3           6 52346 2       24  2 16 48
97871693    10/16/2019 14:54    10/16/2019 14:54          4   3UHB2524634829ZDQ0OZ            2    1 4 2 2 2 2 5 2 5           9 24401 2       14  3 47 54
97871700    10/16/2019 14:54    10/16/2019 14:54          5   W1BU2524634968NINM0D            2    1 4 1 2 6 2 5 2 6           4 48170 2       14  2 23 51
97871711    10/16/2019 14:54    10/16/2019 14:54          6   35TC2524634868GQO0OH            2    1 3 1 1 4 2 5 3 8           2 98125 1       13  4 48 37
97871713    10/16/2019 14:54    10/16/2019 14:54          7   GHOO2524635006C44LXH            1    2 2 1 1 2 1 5 4 2           6 89030 1       22  4 29 28
97871714    10/16/2019 14:54    10/16/2019 14:54         11   FWLZ2524634687ADVAZL            2    1 1 2 1 7 1 7 6 3           8 7506 1        11  1 31 21
97871716    10/16/2019 14:54    10/16/2019 14:54          8   JJL22524634598C1YEX3            2    1 3 1 1 6 2 5 4 6           1 32807 1       13  3 10 38
97871717    10/16/2019 14:54    10/16/2019 14:54         33   12YK2524634703OY9DMN            2    2 3 1 1 2 2 5 6 8           5 36856 2       23  3   1 35
97871733    10/16/2019 14:54    10/16/2019 14:54          7   UHP12524634956U3VD4V            2    2 6 1 2 7 2 5 2 6           7 27613 2       26  3 34 70
97871737    10/16/2019 14:54    10/16/2019 14:54          6   UI1A2524635195ET0726            1    2 2 1 1 6 2 3 3 6           1 85225 1       22  4   3 29
97871753    10/16/2019 14:54    10/16/2019 14:54          5   4Q1A2524635304BYJ1GA            1    2 2 1 1 4 1 5 4 3           6 98826 1       22  4 48 27
97871761    10/16/2019 14:54    10/16/2019 14:54          8   WZZU2524634596WVCKZO            1    2 3 1 1 2 1 5 6 3           6 93730 2       23  4   5 36
97871764    10/16/2019 14:54    10/16/2019 14:54          5   J8UZ2524635310U9YMKR            2    2 2 1 2 3 2 5 2 3           1 53080 2       22  2 50 26
97871770    10/16/2019 14:54    10/16/2019 14:54          6   0TDU2524635422KD5LKS            2    1 5 1 1 4 2 5 4 3           1 1301 3        15  1 22 57
97871787    10/16/2019 14:54    10/16/2019 14:54          8   OQBC2524634964E4QV2L            2    2 2 1 1 6 2 5 4 3           1 48306 1       22  2 23 32
97871797    10/16/2019 14:54    10/16/2019 14:55         13   ZN0S2524634806AC0RDS            1    2 2 6 1 2 2 5 3 3           4 43917 2       22  2 36 30
97871806    10/16/2019 14:54    10/16/2019 14:54          5   0Y352524635682E7AQ67            2    2 5 1 2 4 2 5 2 2           5 33772 2       25  3 10 59
97871816    10/16/2019 14:54    10/16/2019 14:55          4   R4DK2524635721XI6A3M            2    1 4 2 2 1 1 5 1 4           4 53406 2       14  2 50 50
97871822    10/16/2019 14:55    10/16/2019 14:55         10   ZL6Z2524635768YB1ZXM            2    2 3 1 1 4 2 5 4 6           1 46151 2       23  2 15 39
97871828    10/16/2019 14:55    10/16/2019 14:55          4   F5VQ2524635753BINHD1            2    1 2 1 1 4 2 5 4 8           1 80211 1       12  4   6 31
97871842    10/16/2019 14:55    10/16/2019 14:55         10   D8CG2524635905CJJN4N            2    1 6 2 2 1 2 1 1 2           7 7050 2        16  1 31 65
97871844    10/16/2019 14:55    10/16/2019 14:55          7   SQ0L2524635955C3QB7F            2    1 4 1 2 8 2 5 2 6           1 85050 2       14  4   3 45
97871845    10/16/2019 14:55    10/16/2019 14:55         10   NRNR2524635796UAS43P            2    1 3 1 1 5 2 5 4 7           1 90504 1       13  4   5 37
97871848    10/16/2019 14:55    10/16/2019 14:55          6   SEF82524636118ORKWQB            1    2 5 1 2 2 2 5 3 6           7 92251 1       25  4   5 59
97871854    10/16/2019 14:55    10/16/2019 14:55          7   OHFR2524636029NHGRBS            1    2 4 3 1 1 2 5 3 5           9 42501 1       24  3 18 49
97871855    10/16/2019 14:55    10/16/2019 14:55         10   GQE72524636023BZ09AI            2    2 6 5 2 1 2 1 1 2           7 15010 2       26  1 39 70
97871864    10/16/2019 14:55    10/16/2019 14:55          6   LBIX2524636224EL9QF2            2    2 5 1 2 1 2 5 2 2           4 48097 2       25  2 23 60
97871865    10/16/2019 14:55    10/16/2019 14:55          8   RBT42524636172M8EUXT            1    2 2 2 2 3 2 1 3 2           3 30224 2       22  3 11 26
97871875    10/16/2019 14:55    10/16/2019 14:55          8   3HBD2524636313C6WNNJ            1    1 6 5 2 1 2 5 1 6           9 43026 2       16  2 36 66
97871883    10/16/2019 14:55    10/16/2019 14:55          5   M01V2524636314CZZWOS            2    1 3 1 1 8 2 5 3 8           1 32221 1       13  3 10 40
97871885    10/16/2019 14:55    10/16/2019 14:55          5   C3F22524636364H5SPAB            2    1 2 1 2 4 2 5 2 6           1 33408 1       12  3 10 30
97871893    10/16/2019 14:55    10/16/2019 14:55          4   T50J2524636375ZD84ZM            2    2 1 3 2 4 2 5 2 6           8 40511 2       21  3 18 23
97871907    10/16/2019 14:55    10/16/2019 14:55          6   F35E2524636615X5TGNN            2    2 5 1 1 2 2 5 4 3           1 17856 2       25  1 39 64
97871908    10/16/2019 14:55    10/16/2019 14:55          5   KXZ52524636594FV76QX            2    1 4 1 1 6 2 5 4 6           1 57103 2       14  2 42 45
97871911    10/16/2019 14:55    10/16/2019 14:55         10   7IQ92524636590XUOL4U            2    1 2 1 1 6 2 5 4 6           1 11412 1       12  1 33 33
97871925    10/16/2019 14:55    10/16/2019 14:55          6   Z0WD2524636459IH5EN5            2    2 5 1 2 5 2 5 2 3           2 15120 2       25  1 39 58
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97871933   10/16/2019 14:55   10/16/2019 14:56    6   N5CI2524636575QOJO17   1   1   3   1   1   4   2   5   4   2   1   17866   2   13   1   39   36
97871940   10/16/2019 14:55   10/16/2019 14:56    6   A04L2524636852J7UWQS   2   2   5   1   2   6   2   5   2   2   6   79925   2   25   3   44   64
97871943   10/16/2019 14:55   10/16/2019 14:56    7   JRIS2524636847XO1G4I   2   1   5   4   1   4   2   1   3   3   7   76014   2   15   3   44   55
97871944   10/16/2019 14:55   10/16/2019 14:56    4   DK432524636888SWQI45   2   2   3   1   1   6   2   3   3   8   6   15101   2   23   1   39   40
97871974   10/16/2019 14:56   10/16/2019 14:56    4   ERO42524636945VX6HPG   2   1   2   1   1   6   2   5   4   6   1   32807   1   12   3   10   34
97871984   10/16/2019 14:56   10/16/2019 14:56    3   A92T2524636338UYPWVB   2   1   3   1   1   5   2   5   3   9   1   15090   3   13   1   39   39
97871991   10/16/2019 14:56   10/16/2019 14:56    4   NSYA2524637032Q6DWPQ   2   1   3   1   1   5   2   5   3   8   1   20904   1   13   3   21   43
97871996   10/16/2019 14:56   10/16/2019 14:56   10   UWNP2524637013CTZJH4   2   1   6   1   2   4   2   5   2   5   7   32256   2   16   3   10   86
97872008   10/16/2019 14:56   10/16/2019 14:56    6   NUYW2524637054RZJOCO   2   2   6   5   2   3   2   5   1   6   7   53051   2   26   2   50   73
97872016   10/16/2019 14:56   10/16/2019 14:56   27   WJ1O2524637106QTWYBP   2   2   4   1   1   5   2   5   5   8   1   17314   1   24   1   39   47
97872025   10/16/2019 14:56   10/16/2019 14:56    7   C2RX2524637211I0A3YF   2   2   5   1   1   5   2   5   4   2   6   21040   2   25   3   21   60
97872027   10/16/2019 14:56   10/16/2019 14:56    8   XPQM2524637077P0HT8U   2   1   4   1   2   1   2   5   3   2   2   42220   2   14   3   18   52
97872045   10/16/2019 14:56   10/16/2019 14:57   57   WROR2524634612T0VQUR   2   2   3   1   1   4   2   5   3   6   1    2136   2   23   1   22   44
97872048   10/16/2019 14:56   10/16/2019 14:56    7   JK602524637091HMUGJN   2   1   3   1   1   6   2   5   4   6   1    7032   2   13   1   31   39
97872065   10/16/2019 14:56   10/16/2019 14:56    7   CMB82524637324Y0DNEA   2   1   3   1   1   6   1   5   4   6   1   21154   1   13   3   21   37
97872066   10/16/2019 14:56   10/16/2019 14:56    9   0YGQ2524637363Y61O14   2   1   2   2   2   2   2   1   2   4   5    7304   2   12   1   31   26
97872078   10/16/2019 14:56   10/16/2019 14:56    8   1H1O2524637531JG7X6W   2   1   4   1   1   5   2   5   2   6   6    8721   2   14   1   31   49
97872082   10/16/2019 14:56   10/16/2019 14:56    9   GVB92524637510FGHIIB   2   2   5   4   2   2   2   5   1   6   2   34683   2   25   3   10   64
97872083   10/16/2019 14:56   10/16/2019 14:56    7   HEDJ2524637525P16D0F   2   2   5   2   2   2   2   5   2   5   4   55433   2   25   2   24   56
97872100   10/16/2019 14:56   10/16/2019 14:56    7   0G5O2524637645KB4SW9   2   2   5   2   2   2   2   5   1   6   9   95409   1   25   4    5   57
97872111   10/16/2019 14:56   10/16/2019 14:57   10   4CJQ2524637603LO9U2C   2   2   5   3   1   4   2   5   3   2   6   19026   1   25   1   39   57
97872123   10/16/2019 14:56   10/16/2019 14:57    4   DAHE2524637823ZCJUL9   2   2   2   2   1   4   2   5   4   9   1   21228   1   22   3   21   32
97872124   10/16/2019 14:57   10/16/2019 14:57   13   RU5J2524637881A1Q64D   1   2   2   1   1   3   2   1   5   2   5   30236   2   22   3   11   31
97872138   10/16/2019 14:57   10/16/2019 14:57    7   HOB62524635756WQMNKC   2   1   4   2   2   4   2   5   1   3   1   60522   2   14   2   14   47
97872166   10/16/2019 14:57   10/16/2019 14:57    6   0LQB2524638029UMXE8K   2   1   5   1   1   6   2   1   4   8   1   35216   1   15   3    1   57
97872167   10/16/2019 14:57   10/16/2019 14:57    4   CWBI2524638128AJF7Z9   2   2   5   4   2   1   2   5   1   4   1   35085   2   25   3    1   56
97872168   10/16/2019 14:57   10/16/2019 14:57    6   JIYG2524637594C10QQL   2   1   2   1   1   6   1   5   4   6   1   98112   1   12   4   48   33
97872192   10/16/2019 14:57   10/16/2019 14:57    6   LRV42524638282S7QUJ7   1   2   6   5   2   5   2   1   1   3   7   60429   1   26   2   14   73
97872193   10/16/2019 14:57   10/16/2019 14:57    6   WXRJ2524638239T4S6UM   2   1   2   2   2   1   2   5   3   2   5    6437   1   12   1    7   30
97872195   10/16/2019 14:57   10/16/2019 14:57    9   5XSA2524638052IS2YYC   2   1   3   2   2   4   2   5   1   3   4   32148   4   13   3   10   36
97872211   10/16/2019 14:57   10/16/2019 14:57    8   VAXK2524638265H7SKLW   2   2   4   1   1   4   2   5   4   6   1   52003   2   24   2   16   53
97872213   10/16/2019 14:57   10/16/2019 14:57   10   WE8E2524638322ERTUNB   2   1   4   4   2   2   2   5   1   3   7   13021   2   14   1   33   49
97872240   10/16/2019 14:57   10/16/2019 14:57    8   KHTG2524638493Y3P8MZ   2   1   3   1   1   6   2   5   3   8   1   20020   1   13   3    9   40
97872273   10/16/2019 14:57   10/16/2019 14:58   10   73K32524638698SRE33N   2   2   5   1   2   1   2   5   2   3   9   32934   2   25   3   10   56
97872280   10/16/2019 14:57   10/16/2019 14:58   24   Y9ON2524638535YXLHLU   2   2   2   3   2   2   1   7   2   2   5   53577   3   22   2   50   30
97872298   10/16/2019 14:58   10/16/2019 14:58    5   OJD72524638815W4WUJK   2   1   2   1   1   6   2   5   5   8   1   20147   1   12   3   47   34
97872306   10/16/2019 14:58   10/16/2019 14:58    8   HOZL2524639160MBGAR6   2   1   5   1   2   2   2   5   3   8   1   37211   2   15   3   43   63
97872307   10/16/2019 14:58   10/16/2019 14:58    4   FYQA2524638796GZWXKK   2   1   2   1   1   6   2   5   4   8   1   71201   1   12   3   19   30
97872363   10/16/2019 14:58   10/16/2019 14:58    7   LX4Y2524639707XJ2WK8   2   2   5   1   2   5   2   5   2   6   5   18104   2   25   1   39   57
97872384   10/16/2019 14:58   10/16/2019 14:59   12   BUK42524639758T3XACX   2   1   2   1   1   6   1   5   5   6   1   60602   2   12   2   14   32
97872386   10/16/2019 14:58   10/16/2019 14:58    8   YTYA2524639627I4Y2KA   2   1   5   2   2   4   2   5   1   6   9   60103   2   15   2   14   58
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97872387   10/16/2019 14:58   10/16/2019 14:58     6   2D952524639845KX99S3   2   2   5   2   2   4   2   5   1   5   7   73064   2   25   3   37   64
97872401   10/16/2019 14:58   10/16/2019 14:58     4   ZWTS2524639879YEXUMH   2   1   3   1   1   6   2   5   4   6   1   45202   1   13   2   36   41
97872404   10/16/2019 14:58   10/16/2019 14:59    10   XLHI2524639922Q0MMUR   2   1   3   1   1   7   2   5   4   8   1   32826   1   13   3   10   42
97872412   10/16/2019 14:58   10/16/2019 14:59    22   ZEHJ2524639921XXLAFG   2   1   3   1   1   7   1   5   5   6   1   98112   1   13   4   48   35
97872421   10/16/2019 14:59   10/16/2019 14:59     4   UUI82524640063AJ22DL   2   2   3   1   1   7   2   5   4   8   1   10009   1   23   1   33   40
97872423   10/16/2019 14:59   10/16/2019 14:59     4   5LMP2524639996HUNQIJ   2   1   3   1   1   6   2   5   5   7   1   20902   1   13   3   21   39
97872430   10/16/2019 14:59   10/16/2019 14:59     6   Z7SF2524640057NHPSZB   2   1   3   1   1   8   1   5   4   6   1   10940   1   13   1   33   41
97872431   10/16/2019 14:59   10/16/2019 14:59     5   0T2T2524640167NB4HU7   2   2   5   1   2   7   2   5   2   6   1   29693   1   25   3   41   55
97872435   10/16/2019 14:59   10/16/2019 14:59    13   NOPJ2524639864I6H9E7   2   1   3   1   1   7   2   5   4   8   1   34769   1   13   3   10   41
97872447   10/16/2019 14:59   10/16/2019 14:59     7   PVM82524640190LWPA9K   1   2   3   1   2   2   2   5   2   5   1   99223   2   23   4   48   42
97872456   10/16/2019 14:59   10/16/2019 15:00    77   1ROR2524640073LCYPMF   2   1   3   3   1   6   1   5   5   6   1   60602   3   13   2   14   35
97872488   10/16/2019 14:59   10/16/2019 14:59     8   XZGT2524640658YVYD09   2   1   6   1   2   5   2   1   2   6   7   30296   2   16   3   11   68
97872490   10/16/2019 14:59   10/16/2019 14:59     6   PZZU2524640670ZZZX2C   2   1   6   1   2   7   2   5   2   8   7   97209   2   16   4   38   74
97872495   10/16/2019 14:59   10/16/2019 14:59     9   AHKU2524640474C52LO3   2   1   6   1   2   3   2   5   2   3   7   16023   2   16   1   39   79
97872501   10/16/2019 14:59   10/16/2019 14:59     6   U7MS2524640694JAGJ8F   2   1   3   1   1   6   2   5   4   6   1   28273   1   13   3   34   41
97872516   10/16/2019 14:59   10/16/2019 14:59    17   58Y72524640638EEAXDY   2   2   4   1   2   1   2   1   2   3   6   31602   2   24   3   11   53
97872518   10/16/2019 14:59   10/16/2019 14:59     8   Z7HQ2524637230MH4NG8   2   2   5   4   2   1   2   5   2   2   1   46580   2   25   2   15   61
97872519   10/16/2019 14:59   10/16/2019 14:59     6   AMZX2524640815GHPK98   2   2   4   1   1   5   2   3   6   8   1   98303   2   24   4   48   46
97872526   10/16/2019 14:59   10/16/2019 15:01   133   W6SQ2524640703BR8D92   2   1   6   1   1   8   2   5   4   8   1   92705   2   16   4    5   99
97872541   10/16/2019 14:59   10/16/2019 14:59    10   RZBE2524640853P65L0Q   2   1   4   2   2   2   2   5   2   4   9   17364   2   14   1   39   48
97872547   10/16/2019 14:59   10/16/2019 14:59     6   U2UP2524640869PFPEH1   2   1   5   1   2   6   2   5   3   6   7   94503   2   15   4    5   61
97872558   10/16/2019 14:59   10/16/2019 15:00     9   SIJB2524641056S5328N   2   1   3   1   1   8   2   5   3   9   1   10119   1   13   1   33   44
97872562   10/16/2019 14:59   10/16/2019 15:00     4   PAD02524641109LDKHX8   1   2   2   1   1   8   1   7   5   5   1   77063   1   22   3   44   31
97872567   10/16/2019 14:59   10/16/2019 15:00    11   3MOR2524641032I0QBI8   2   2   3   1   1   6   1   5   4   6   1   33605   1   23   3   10   38
97872571   10/16/2019 14:59   10/16/2019 15:00     8   BB7S2524641131XXQJEF   2   1   5   1   2   6   2   5   2   9   7   28779   2   15   3   34   64
97872581   10/16/2019 15:00   10/16/2019 15:00    15   W98R2524641068F7Z13T   2   1   3   1   1   6   2   5   4   8   1   43420   1   13   2   36   41
97872584   10/16/2019 15:00   10/16/2019 15:00     5   PTS42524641116YRC7JM   2   1   4   2   2   4   2   5   1   8   1   94015   2   14   4    5   53
97872588   10/16/2019 15:00   10/16/2019 15:00     8   616U2524641212M5QZSI   2   2   3   1   1   7   2   5   5   8   1   10023   1   23   1   33   37
97872592   10/16/2019 15:00   10/16/2019 15:00     7   7J7I2524641262Q78HCF   2   2   6   1   2   4   2   5   2   2   7   32174   2   26   3   10   72
97872594   10/16/2019 15:00   10/16/2019 15:00     5   SYT42524641283PRP0HE   2   2   6   5   2   2   2   5   1   8   7   13662   2   26   1   33   79
97872595   10/16/2019 15:00   10/16/2019 15:00     6   DU6E2524641301LKQZB3   2   2   6   2   2   1   1   5   1   6   7   32009   2   26   3   10   66
97872610   10/16/2019 15:00   10/16/2019 15:00    14   H94Q2524641343TGYK3X   2   1   3   1   1   6   2   5   4   6   1   32807   1   13   3   10   39
97872619   10/16/2019 15:00   10/16/2019 15:00     4   ZPID2524640259D1P7EN   2   2   1   2   1   3   2   5   4   6   1   83843   1   21   4   13   24
97872621   10/16/2019 15:00   10/16/2019 15:00     6   0UMB2524641434UFBEPO   1   2   3   3   1   4   2   5   4   6   1    1301   2   23   1   22   41
97872629   10/16/2019 15:00   10/16/2019 15:00     5   GME32524641582JSPPO8   2   2   6   4   2   3   2   5   1   3   2    1742   2   26   1   22   69
97872640   10/16/2019 15:00   10/16/2019 15:00    10   F8TO2524641673DE5XYE   1   2   2   1   1   2   2   5   5   2   6   98513   2   22   4   48   32
97872647   10/16/2019 15:00   10/16/2019 15:00     9   L2872524641572SIY2BO   2   1   3   1   1   6   2   5   4   3   1   75204   1   13   3   44   39
97872653   10/16/2019 15:00   10/16/2019 15:00     5   AQ2R2524640385XY537S   1   1   2   3   2   2   2   5   2   6   1   11570   2   12   1   33   28
97872678   10/16/2019 15:00   10/16/2019 15:00     5   RZGA2524641824X4U00G   2   1   2   1   2   5   1   5   2   6   1   33134   2   12   3   10   27
97872689   10/16/2019 15:00   10/16/2019 15:00     7   CRUT2524642062GB10UR   2   2   6   1   2   5   2   3   2   8   1   77414   2   26   3   44   68
97872727   10/16/2019 15:01   10/16/2019 15:01    13   E4TI2524642468LE6BDX   2   1   6   3   2   3   2   5   2   2   7   18431   1   16   1   39   76
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97872738   10/16/2019 15:01   10/16/2019 15:01    9   8C9X2524642531K5MON2   2   1   2   1   1   6   2   5   4   8   1   71201   1   12   3   19   30
97872744   10/16/2019 15:01   10/16/2019 15:01   14   K2JE2524634562TMDR6U   2   1   4   1   1   7   2   5   3   6   1   60022   2   14   2   14   45
97872754   10/16/2019 15:01   10/16/2019 15:02   62   6WUH2524642630LNQMGJ   2   1   3   1   1   3   2   1   3   2   1   24112   2   13   3   47   40
97872763   10/16/2019 15:01   10/16/2019 15:01    7   K65E2524642755CPVBAV   2   2   4   1   1   2   2   5   6   7   6   53520   2   24   2   50   46
97872765   10/16/2019 15:01   10/16/2019 15:01   11   F4JE2524642727A2PAMY   2   1   3   1   1   8   2   5   3   9   1   92119   1   13   4    5   44
97872778   10/16/2019 15:01   10/16/2019 15:01    6   DPTI2524642773P7937E   2   1   3   1   1   8   1   5   4   8   1   20743   1   13   3   21   43
97872792   10/16/2019 15:01   10/16/2019 15:01   12   F5122524642926DU5O7J   2   2   1   2   2   1   2   5   4   2   5   92021   2   21   4    5   23
97872809   10/16/2019 15:01   10/16/2019 15:01    5   3YDQ2524643016DOS1FM   2   1   5   1   2   6   2   5   2   7   1   18360   2   15   1   39   63
97872849   10/16/2019 15:02   10/16/2019 15:02   27   AIEZ2524643355QUPWF7   2   1   2   1   1   7   2   5   4   7   1   90732   1   12   4    5   29
97872862   10/16/2019 15:02   10/16/2019 15:02    9   B1RO2524643198EJ8MP1   2   1   2   1   1   8   2   5   4   8   1   77304   2   12   3   44   30
97872875   10/16/2019 15:02   10/16/2019 15:02    4   GGTN2524643556BFX983   2   1   3   1   1   5   2   5   3   8   1   37876   1   13   3   43   41
97872902   10/16/2019 15:02   10/16/2019 15:02    7   E3TE2524643576R1VZZF   2   2   4   2   1   1   2   5   2   2   7   48706   2   24   2   23   51
97872904   10/16/2019 15:02   10/16/2019 15:02   13   4LYC2524643366IHC8D2   2   1   3   1   1   8   2   5   4   9   1   20149   1   13   3   47   40
97872927   10/16/2019 15:02   10/16/2019 15:02    5   6RZK2524643783B3GBLF   2   2   4   1   1   4   1   6   5   2   1   75119   2   24   3   44   50
97872933   10/16/2019 15:02   10/16/2019 15:02    7   2WR02524643767OISODK   2   2   4   4   1   3   2   6   4   3   1   48224   1   24   2   23   50
97872982   10/16/2019 15:02   10/16/2019 15:03   12   VSZF2524644001OOG4PN   1   2   4   1   1   4   2   5   4   6   6   94506   2   24   4    5   48
97872991   10/16/2019 15:03   10/16/2019 15:03   14   AE892524634804CFSUHV   1   2   4   3   2   4   2   5   2   2   5   65802   2   24   2   26   48
97872992   10/16/2019 15:03   10/16/2019 15:03    6   4P4Z2524644187BH3Q2I   2   2   3   4   2   1   2   5   1   5   4   34972   2   23   3   10   44
97873044   10/16/2019 15:03   10/16/2019 15:03    7   GA7A2524644471DX9ZFN   1   2   3   4   1   1   2   5   6   3   9   46231   2   23   2   15   38
97873068   10/16/2019 15:03   10/16/2019 15:03    7   ZZBG2524644815O0FFUP   2   1   5   1   2   6   2   5   2   6   1   13790   2   15   1   33   63
97873078   10/16/2019 15:03   10/16/2019 15:03    6   KRV72524638605PM0UIP   2   2   4   1   2   4   2   5   3   3   2   49341   2   24   2   23   51
97873091   10/16/2019 15:03   10/16/2019 15:03    8   094F2524638262D1RM5G   2   2   4   3   2   5   2   5   2   6   3   60016   1   24   2   14   50
97873142   10/16/2019 15:04   10/16/2019 15:04    6   48N52524645167COISFB   2   2   2   1   1   4   2   5   4   2   6   21227   2   22   3   21   32
97873150   10/16/2019 15:04   10/16/2019 15:04    8   MFRS2524645153NIKLMA   2   1   5   1   1   4   1   4   2   7   1   89123   2   15   4   29   57
97873161   10/16/2019 15:04   10/16/2019 15:04   11   VVY82524645246HBFQBB   2   1   5   2   2   2   2   5   1   5   9   60525   2   15   2   14   59
97873165   10/16/2019 15:04   10/16/2019 15:04    7   U0FA2524645216TKMNU7   2   1   2   1   1   6   2   5   4   6   1   32812   1   12   3   10   33
97873182   10/16/2019 15:04   10/16/2019 15:04    8   EQMC2524645392ZE6CH2   1   1   3   1   1   4   1   5   3   6   1   12210   1   13   1   33   40
97873191   10/16/2019 15:04   10/16/2019 15:04    5   3ZPT2524645387ZWV8P4   2   1   5   1   1   4   2   5   3   5   1   43611   1   15   2   36   60
97873201   10/16/2019 15:04   10/16/2019 15:04    7   4O3P2524645432RIXXTJ   2   2   5   1   2   4   2   5   2   8   2   14086   2   25   1   33   64
97873205   10/16/2019 15:04   10/16/2019 15:04    5   D79J2524645423I4QO6M   2   2   3   1   1   7   2   5   4   8   1   11432   1   23   1   33   41
97873209   10/16/2019 15:04   10/16/2019 15:04    8   EAYR2524638268ML91NX   2   2   5   5   2   2   2   1   1   3   5   20011   2   25   3    9   64
97873216   10/16/2019 15:04   10/16/2019 15:04   13   SAZ62524645318NKF50E   2   1   2   1   1   5   1   5   4   6   1   98112   1   12   4   48   34
97873222   10/16/2019 15:04   10/16/2019 15:04    7   Q2112524645547CF66KC   2   1   6   1   2   3   2   5   2   3   2   81428   2   16   4    6   66
97873241   10/16/2019 15:04   10/16/2019 15:04    8   282G2524645739CPMFDA   2   2   4   2   1   1   2   1   3   5   9   93309   2   24   4    5   54
97873242   10/16/2019 15:04   10/16/2019 15:04   12   2DUC2524645806C8ICGN   2   2   5   4   2   2   2   5   1   6   5   90049   2   25   4    5   56
97873243   10/16/2019 15:04   10/16/2019 15:04    9   B39B2524645677V5FXH4   2   1   3   4   2   3   2   5   1   3   1   10031   2   13   1   33   35
97873262   10/16/2019 15:04   10/16/2019 15:04    8   L8002524645942ITOY51   2   1   6   1   2   1   2   5   2   3   7   37725   3   16   3   43   65
97873267   10/16/2019 15:04   10/16/2019 15:05   18   5HF72524645908NQUS3J   2   1   5   1   1   4   2   5   4   6   1   94565   2   15   4    5   60
97873277   10/16/2019 15:04   10/16/2019 15:04    5   W9QK2524641264ASHPF6   2   2   3   1   1   6   2   5   4   5   1   15210   2   23   1   39   37
97873318   10/16/2019 15:05   10/16/2019 15:05   12   FG1W2524646174KLPN5W   1   2   3   3   1   4   2   5   3   2   6   25840   2   23   3   49   40
97873322   10/16/2019 15:05   10/16/2019 15:05   21   KK5J2524645998SJ8DKB   2   2   2   1   1   5   2   5   4   8   1   66614   2   22   2   17   32
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97873336   10/16/2019 15:05   10/16/2019 15:05    5   9FSV2524646536U1WYKE   1   2   3   3   1   4   2   5   7   6   6   57107   2   23   2   42   37
97873345   10/16/2019 15:05   10/16/2019 15:05    5   FZFJ2524645989RUSD1R   2   1   3   3   2   5   2   5   4   3   3   35976   1   13   3    1   38
97873350   10/16/2019 15:05   10/16/2019 15:05    7   YJGK2524646593VPUTY3   2   1   3   1   1   4   2   5   3   8   1   14605   1   13   1   33   43
97873355   10/16/2019 15:05   10/16/2019 15:05    8   XII42524646355PQ3LYA   2   2   3   1   1   5   1   6   3   5   8   77494   2   23   3   44   43
97873360   10/16/2019 15:05   10/16/2019 15:05    6   DXG72524646592H2RFI4   2   2   3   3   1   4   2   5   5   2   6   13140   1   23   1   33   40
97873399   10/16/2019 15:05   10/16/2019 15:05    4   7M902524646808CETPHV   2   2   3   1   2   3   2   5   2   2   4   34442   2   23   3   10   39
97873403   10/16/2019 15:05   10/16/2019 15:05    5   0MK92524634710YEUH49   2   2   4   3   1   5   2   5   3   5   1   12116   2   24   1   33   46
97873404   10/16/2019 15:05   10/16/2019 15:06   16   RLUN2524636931LCXP51   2   1   3   1   1   5   2   5   5   8   1   85742   4   13   4    3   36
97873407   10/16/2019 15:05   10/16/2019 15:05    4   GGTN2524647079XWANWP   2   1   6   1   2   6   2   5   2   6   4    7060   2   16   1   31   65
97873409   10/16/2019 15:05   10/16/2019 15:05    6   CRM52524636712TQD3X0   2   2   6   1   2   4   2   5   2   3   6   33484   1   26   3   10   79
97873410   10/16/2019 15:05   10/16/2019 15:05    8   WEWH2524647107MHSK54   1   1   4   1   1   4   2   5   5   2   1   50201   2   14   2   16   53
97873411   10/16/2019 15:05   10/16/2019 15:05    5   5Z4C2524647078IVGOV0   1   2   3   3   1   2   2   5   4   3   2   44135   2   23   2   36   43
97873414   10/16/2019 15:05   10/16/2019 15:05    5   13952524647144R39MIK   2   2   4   1   2   7   2   5   2   6   1   91405   2   24   4    5   46
97873472   10/16/2019 15:06   10/16/2019 15:06    5   V9J52524647661K1H4KP   2   2   2   1   2   5   2   5   2   6   1   27540   2   22   3   34   29
97873514   10/16/2019 15:06   10/16/2019 15:06    6   7GIR2524648023ICNPN8   2   1   5   1   2   5   2   5   2   6   7   32940   2   15   3   10   63
97873527   10/16/2019 15:06   10/16/2019 15:06    4   E1H42524637229EA2PVD   2   2   2   4   1   3   2   5   5   5   1   46385   2   22   2   15   30
97873541   10/16/2019 15:06   10/16/2019 15:06    8   KC4W2524648126JOW5PH   2   1   3   1   1   7   2   5   4   8   1   89701   1   13   4   29   41
97873552   10/16/2019 15:06   10/16/2019 15:06    7   6FKK2524648128LS7GO1   2   2   5   3   2   2   2   5   2   6   9    8005   1   25   1   31   56
97873572   10/16/2019 15:06   10/16/2019 15:06    5   1LVL2524639099D62424   2   2   3   1   1   5   2   5   5   6   6   98375   2   23   4   48   40
97873585   10/16/2019 15:06   10/16/2019 15:07    6   EAH62524648436INXL5C   2   2   6   4   2   4   2   5   1   5   7   80031   2   26   4    6   70
97873593   10/16/2019 15:07   10/16/2019 15:07    8   XG8S2524648490JZKI3S   1   2   5   4   1   2   1   5   2   6   1   93304   2   25   4    5   60
97873605   10/16/2019 15:07   10/16/2019 15:07    4   J4692524648497V73U9A   1   2   1   2   2   2   2   5   1   6   2    5089   2   21   1   46   22
97873608   10/16/2019 15:07   10/16/2019 15:07    5   K5U32524648597F785MF   1   2   5   1   2   3   2   5   2   2   7   19504   2   25   1   39   59
97873620   10/16/2019 15:07   10/16/2019 15:07    5   2MO82524648653WMWLO8   1   2   2   2   1   1   2   3   5   1   5   32205   2   22   3   10   34
97873643   10/16/2019 15:07   10/16/2019 15:07   15   P2VJ2524648870CSEHD7   2   2   5   4   2   4   2   1   2   6   5   60409   1   25   2   14   62
97873735   10/16/2019 15:08   10/16/2019 15:08    5   SG112524649577BMVQX2   2   2   4   2   2   1   2   5   3   3   7   21222   2   24   3   21   52
97873741   10/16/2019 15:08   10/16/2019 15:08   14   N7Z62524649522LBVG76   2   1   6   1   2   5   2   5   2   6   7   24095   2   16   3   47   70
97873756   10/16/2019 15:08   10/16/2019 15:08    5   R86V2524649624M8HGJG   2   1   5   4   2   8   2   5   1   9   1   62025   2   15   2   14   60
97873759   10/16/2019 15:08   10/16/2019 15:08    7   2ANL2524649628VCH20P   2   1   6   1   2   3   2   5   2   5   1   32809   2   16   3   10   66
97873768   10/16/2019 15:08   10/16/2019 15:08    7   YD8C2524649634MVB8LK   2   2   5   1   2   8   2   5   3   6   1   12590   2   25   1   33   56
97873770   10/16/2019 15:08   10/16/2019 15:08    8   H2LG2524649672V48AUY   1   1   2   1   1   1   1   6   4   3   2   78043   2   12   3   44   33
97873777   10/16/2019 15:08   10/16/2019 15:08   16   VFW92524649641WSWNTD   2   2   5   1   2   5   2   5   2   3   2   59405   2   25   4   27   57
97873786   10/16/2019 15:08   10/16/2019 15:08    8   JXD22524649668NPA14N   2   2   4   5   1   1   2   5   2   2   9   30101   2   24   3   11   52
97873787   10/16/2019 15:08   10/16/2019 15:08    7   CYGX2524634879ZCUC3T   2   2   4   4   1   4   2   5   6   4   1   63830   1   24   2   26   49
97873798   10/16/2019 15:08   10/16/2019 15:08    5   IADQ2524649729MSQVL0   2   1   4   4   2   5   1   5   1   8   1   31210   2   14   3   11   53
97873835   10/16/2019 15:08   10/16/2019 15:08    6   AU9T2524650048VH5BQ9   1   1   3   2   2   5   2   7   1   3   1   95816   2   13   4    5   42
97873851   10/16/2019 15:08   10/16/2019 15:08    6   T0OA2524650116JCNIHA   2   2   4   4   1   1   2   5   2   5   6   64831   2   24   2   26   50
97873858   10/16/2019 15:08   10/16/2019 15:09    8   TT482524650114L83FYO   1   1   4   2   2   1   2   5   1   2   2   29406   2   14   3   41   49
97873899   10/16/2019 15:09   10/16/2019 15:09   35   T0C62524638861UISRMY   2   2   4   3   1   4   1   5   3   3   1    7204   2   24   1   31   49
97873930   10/16/2019 15:09   10/16/2019 15:09    5   AE752524650529PPIQ57   2   2   3   1   1   4   2   5   3   3   2    2896   1   23   1   40   37
97873951   10/16/2019 15:09   10/16/2019 15:09    5   O0H92524650660BE3261   1   2   2   3   1   4   2   5   3   2   2    6614   1   22   1    7   33
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97873957   10/16/2019 15:09   10/16/2019 15:09    8   O8PX2524650654KVC9DS   2   2   6   4   2   5   2   5   1   3   7   21236   2   26   3   21   79
97873971   10/16/2019 15:09   10/16/2019 15:09    8   F0OD2524650498BXX88J   2   1   3   1   1   2   2   5   3   8   1   77057   1   13   3   44   41
97873972   10/16/2019 15:09   10/16/2019 15:09    8   NR542524650676C0JP8D   2   2   2   2   1   8   2   5   3   8   1   90001   1   22   4    5   26
97873973   10/16/2019 15:09   10/16/2019 15:10   23   5GTZ2524642890F0TJDJ   1   2   2   3   1   4   2   5   5   2   1   45410   1   22   2   36   28
97874021   10/16/2019 15:10   10/16/2019 15:10    6   MRZT2524651222F841V7   2   1   5   2   2   3   2   7   2   3   7   60803   2   15   2   14   63
97874054   10/16/2019 15:10   10/16/2019 15:10   20   3NSR2524651059O1G9BX   2   1   3   1   1   6   1   5   4   6   1   11004   2   13   1   33   37
97874070   10/16/2019 15:10   10/16/2019 15:10    6   90GB2524651388P2WYVB   2   2   4   1   2   5   2   5   2   2   6   79245   2   24   3   44   46
97874116   10/16/2019 15:10   10/16/2019 15:10    6   1VQL2524651502DNVY93   1   1   4   1   1   2   2   1   8   2   1   75654   1   14   3   44   49
97874127   10/16/2019 15:10   10/16/2019 15:10    7   SWOY2524651599M1Q8HE   2   2   5   4   1   4   2   5   4   2   1   47620   1   25   2   15   62
97874138   10/16/2019 15:10   10/16/2019 15:10    4   VMRD2524651666TU3OAS   2   1   3   1   1   5   2   5   3   6   1   78130   4   13   3   44   41
97874205   10/16/2019 15:11   10/16/2019 15:11    6   4RIU2524652238WKA8UA   2   2   4   5   1   5   2   5   3   6   1   60453   2   24   2   14   50
97874206   10/16/2019 15:11   10/16/2019 15:11    3   JS0L2524652338M5YAOA   1   2   3   3   1   4   2   5   6   6   4    1854   2   23   1   22   35
97874209   10/16/2019 15:11   10/16/2019 15:11   10   W5IY2524648476VGS22P   2   2   5   1   2   8   2   5   2   8   6   14450   2   25   1   33   57
97874220   10/16/2019 15:11   10/16/2019 15:11    6   TJ3I2524652350C5R68G   1   2   2   2   2   1   2   5   1   2   2   64429   2   22   2   26   34
97874234   10/16/2019 15:11   10/16/2019 15:11    7   SFK12524652442RQE45U   2   1   6   1   2   3   2   5   3   4   7   93536   1   16   4    5   66
97874253   10/16/2019 15:11   10/16/2019 15:11    8   6UT92524652379GK7ZWM   2   2   4   4   2   1   2   1   1   1   2   23664   1   24   3   47   54
97874257   10/16/2019 15:11   10/16/2019 15:11    7   7JQ82524645329PAXNMC   2   1   3   1   1   5   2   5   3   8   1   35810   1   13   3    1   40
97874258   10/16/2019 15:11   10/16/2019 15:11    5   S4SD2524652701M699B6   1   2   5   1   2   7   2   5   3   6   6   10598   2   25   1   33   57
97874278   10/16/2019 15:11   10/16/2019 15:11    7   G9DB2524652223IXCM26   1   2   3   1   1   6   2   5   4   5   1   17824   1   23   1   39   37
97874293   10/16/2019 15:11   10/16/2019 15:11    9   ZHFW2524652302UMERXL   2   2   5   1   2   4   1   6   3   4   6   77802   2   25   3   44   63
97874322   10/16/2019 15:11   10/16/2019 15:12    7   R0W32524652772WER5EL   2   1   3   1   1   7   2   5   5   6   1   98121   1   13   4   48   42
97874335   10/16/2019 15:11   10/16/2019 15:12    7   F8OD2524637996W0PNUX   1   2   4   2   1   1   2   5   2   4   7   12065   1   24   1   33   49
97874354   10/16/2019 15:12   10/16/2019 15:12    6   I8YP2524649192YWNY35   2   1   3   1   1   6   1   5   5   6   1   11004   1   13   1   33   37
97874366   10/16/2019 15:12   10/16/2019 15:12    7   LP7R2524653163HZN039   2   2   5   4   2   2   2   4   1   5   1   47446   2   25   2   15   56
97874388   10/16/2019 15:12   10/16/2019 15:12   10   ZTUX2524645279BQMYSN   2   1   3   1   1   5   2   1   3   3   1   32833   1   13   3   10   39
97874391   10/16/2019 15:12   10/16/2019 15:12    5   BU942524639769JTPZQN   2   1   2   1   1   4   2   5   4   8   1   75248   1   12   3   44   33
97874448   10/16/2019 15:12   10/16/2019 15:12   12   IRUP2524647086SUI2HT   2   2   5   1   1   4   2   5   3   6   6   68164   2   25   2   28   58
97874449   10/16/2019 15:12   10/16/2019 15:12    4   2CE62524643443UFBMB0   2   2   2   2   1   2   1   5   3   6   1   60633   1   22   2   14   29
97874452   10/16/2019 15:12   10/16/2019 15:12    6   SVX12524653690W01LRF   2   2   3   1   1   7   2   1   5   6   4   91932   1   23   4    5   39
97874453   10/16/2019 15:12   10/16/2019 15:12   10   J7CA2524653593WBHP9M   2   1   6   1   2   6   2   5   2   6   7   23666   2   16   3   47   83
97874463   10/16/2019 15:12   10/16/2019 15:12    5   UBK12524653773LUZTT6   2   1   5   4   2   3   2   5   2   4   1   26003   2   15   3   49   55
97874467   10/16/2019 15:12   10/16/2019 15:12   13   7BVT2524636528N6WL19   2   2   5   2   2   2   2   5   1   6   7   28001   2   25   3   34   59
97874520   10/16/2019 15:13   10/16/2019 15:13   30   ITU02524654066OJZF1R   1   2   6   5   2   1   2   1   2   2   7   29532   2   26   3   41   73
97874547   10/16/2019 15:13   10/16/2019 15:13    8   ZX9A2524654254W5DFVR   2   2   2   2   1   1   2   5   3   2   9   18254   3   22   1   39   28
97874591   10/16/2019 15:13   10/16/2019 15:13    5   OJ102524654540CSGMUW   2   2   2   2   2   6   2   1   2   8   1   35211   2   22   3    1   33
97874592   10/16/2019 15:13   10/16/2019 15:13    7   Z2JW2524654552F56M7K   2   1   3   2   2   2   2   5   3   6   1   95610   2   13   4    5   36
97874600   10/16/2019 15:13   10/16/2019 15:13    9   DDFF2524640273QHSK6W   1   2   4   2   2   5   2   5   3   2   4   37064   2   24   3   43   53
97874660   10/16/2019 15:13   10/16/2019 15:14   15   MO562524642063GCIQUP   2   1   3   1   1   6   2   5   4   8   1   20904   1   13   3   21   41
97874662   10/16/2019 15:13   10/16/2019 15:14    7   OI652524655121WAVSG0   2   1   6   1   2   4   2   5   2   8   7   23185   2   16   3   47   72
97874697   10/16/2019 15:14   10/16/2019 15:14   14   X11K2524654928WTYWRF   2   1   2   1   1   6   1   5   5   6   1   98112   1   12   4   48   33
97874750   10/16/2019 15:14   10/16/2019 15:14    5   BQED2524655724M1LR18   2   1   4   1   1   8   2   5   3   8   1   20001   1   14   3    9   46
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97874782   10/16/2019 15:14   10/16/2019 15:14    4   SETV2524653435RJCQ6K   2   2   3   1   1   5   2   5   7   3   1   98942   1   23   4   48   42
97874783   10/16/2019 15:14   10/16/2019 15:14    7   T0BV2524642067CN7RRB   2   2   3   1   1   4   2   5   4   5   6   53545   2   23   2   50   37
97874789   10/16/2019 15:14   10/16/2019 15:14    7   U85Y2524655898CBJG7P   2   2   5   2   2   1   2   5   1   5   2   33843   2   25   3   10   57
97874801   10/16/2019 15:14   10/16/2019 15:14    5   OTSG2524656051USPKAW   2   2   2   1   1   4   2   5   4   6   1   46001   1   22   2   15   29
97874831   10/16/2019 15:14   10/16/2019 15:14    5   P3QW2524656238MI6A9Y   2   1   3   1   1   6   1   5   4   6   3   34997   1   13   3   10   36
97874846   10/16/2019 15:14   10/16/2019 15:15    7   M1M22524656278SB2Y2D   1   2   5   5   1   2   2   5   4   6   2    8037   1   25   1   31   59
97874850   10/16/2019 15:15   10/16/2019 15:15    5   SVB32524656285HM67QQ   2   2   4   1   1   6   2   5   6   5   6   78154   2   24   3   44   54
97874854   10/16/2019 15:15   10/16/2019 15:15    7   DH232524656367KNOMZT   2   1   6   5   2   6   2   5   1   6   7   94015   2   16   4    5   74
97874864   10/16/2019 15:15   10/16/2019 15:15    9   B5WT2524656348K1345Q   1   2   6   1   2   4   2   5   2   8   7   12603   2   26   1   33   69
97874891   10/16/2019 15:15   10/16/2019 15:15   10   UE1X2524656525C4F0BU   1   1   2   2   2   4   2   5   1   6   4   60706   2   12   2   14   33
97874903   10/16/2019 15:15   10/16/2019 15:15    6   TMAB2524656536EOXT3S   2   2   4   1   1   4   2   5   5   2   6   43230   2   24   2   36   51
97874914   10/16/2019 15:15   10/16/2019 15:15   32   5QPD2524656599QVK53J   2   1   2   1   1   6   2   5   3   8   1   80211   1   12   4    6   33
97874923   10/16/2019 15:15   10/16/2019 15:15    7   H07O2524635972YK1602   2   1   3   1   2   4   2   5   2   3   9   10308   1   13   1   33   43
97874929   10/16/2019 15:15   10/16/2019 15:15    6   LK8I2524656648WHELZQ   2   2   4   1   1   4   1   6   3   4   1   91402   2   24   4    5   52
97874940   10/16/2019 15:15   10/16/2019 15:15    7   997J2524656728QKO2QQ   2   2   5   1   2   5   2   5   2   2   7   27509   3   25   3   34   60
97874947   10/16/2019 15:15   10/16/2019 15:15    5   5CTQ2524656638FRHISH   2   2   5   1   2   8   2   5   2   6   1   12533   2   25   1   33   57
97875039   10/16/2019 15:16   10/16/2019 15:16   10   PTE22524657371O7I4KB   2   1   6   1   2   3   2   5   2   4   7   33578   1   16   3   10   68
97875040   10/16/2019 15:16   10/16/2019 15:16    3   QFO82524657482C6JLLA   2   1   4   1   1   8   2   5   5   2   1   41011   1   14   3   18   54
97875051   10/16/2019 15:16   10/16/2019 15:16    8   MRKX2524657500CFOACP   2   2   3   4   2   4   2   5   1   2   1   92656   1   23   4    5   43
97875095   10/16/2019 15:16   10/16/2019 15:16    6   VXMB2524657832NMOXUO   2   2   6   4   2   2   2   5   2   3   7   75165   2   26   3   44   72
97875120   10/16/2019 15:16   10/16/2019 15:16    5   QWV22524657900WZTKUJ   2   2   6   4   1   6   2   5   2   3   7   85225   2   26   4    3   75
97875126   10/16/2019 15:16   10/16/2019 15:16   12   WOIB2524657814EF99LW   2   1   2   1   1   6   1   1   5   6   1   32464   1   12   3   10   34
97875151   10/16/2019 15:16   10/16/2019 15:16    4   TO6F2524648912LG43RX   2   1   3   2   1   4   2   5   1   3   1   11103   4   13   1   33   44
97875156   10/16/2019 15:16   10/16/2019 15:17    7   UESE2524658028KEFL5C   2   2   6   2   2   5   1   5   1   6   7   94131   2   26   4    5   72
97875160   10/16/2019 15:16   10/16/2019 15:17    9   U7EA2524657975IQ6VHJ   2   1   5   1   2   3   2   5   2   7   1   33776   1   15   3   10   62
97875167   10/16/2019 15:16   10/16/2019 15:17    6   M7N62524657964KLJBOQ   2   2   2   1   1   5   2   5   5   4   6   33837   2   22   3   10   33
97875184   10/16/2019 15:17   10/16/2019 15:17    7   RFMN2524658136VOHU81   1   2   2   1   1   4   2   5   4   6   1   92057   2   22   4    5   29
97875206   10/16/2019 15:17   10/16/2019 15:17    6   J4HY2524640091OPZCTR   2   2   3   1   1   4   2   5   5   5   1   66223   2   23   2   17   35
97875231   10/16/2019 15:17   10/16/2019 15:17    3   J7GK2524636050QIJJ5M   2   1   4   1   1   7   2   5   3   8   1    4046   1   14   1   20   45
97875252   10/16/2019 15:17   10/16/2019 15:17    9   T0GG2524658456HCOCQ7   2   1   6   1   2   5   2   5   2   8   7   38358   2   16   3   43   67
97875272   10/16/2019 15:17   10/16/2019 15:17    7   37NF2524658665SQ5NM4   2   2   4   1   2   2   2   5   2   3   9   32778   2   24   3   10   50
97875280   10/16/2019 15:17   10/16/2019 15:17    7   WFS42524650803AC7CQ0   2   2   3   1   1   2   2   5   5   3   1   37303   1   23   3   43   42
97875331   10/16/2019 15:17   10/16/2019 15:18    5   UAUM2524659014VZLD5F   2   2   4   1   1   8   2   5   6   8   1   33914   1   24   3   10   47
97875366   10/16/2019 15:18   10/16/2019 15:18    6   NXM12524659081DO286Z   2   1   4   1   1   7   2   5   6   8   3   89123   1   14   4   29   47
97875414   10/16/2019 15:18   10/16/2019 15:18    5   VH4D2524659565CHF8R1   2   1   4   1   1   6   2   1   4   6   1   75033   2   14   3   44   52
97875437   10/16/2019 15:18   10/16/2019 15:18    5   UWEX2524657734BODGRB   2   1   4   2   1   3   2   5   4   3   4   16509   2   14   1   39   51
97875479   10/16/2019 15:18   10/16/2019 15:19   17   TM4T2524659902HPXOF6   2   1   4   1   2   6   2   5   2   8   1   30215   2   14   3   11   50
97875527   10/16/2019 15:19   10/16/2019 15:19    9   YTDY2524660019XXLBEB   2   1   3   1   1   5   2   5   4   6   1   95746   1   13   4    5   40
97875563   10/16/2019 15:19   10/16/2019 15:20   59   Z0RE2524660174LR9EUS   2   1   3   1   1   8   2   5   6   8   1   13346   1   13   1   33   40
97875566   10/16/2019 15:19   10/16/2019 15:19    6   U1CF2524660380R72CED   2   2   6   1   2   5   1   5   2   6   7   33904   2   26   3   10   72
97875582   10/16/2019 15:19   10/16/2019 15:19    7   MFD22524660403LIFVQJ   2   1   4   4   2   3   2   5   3   1   9    4281   2   14   1   20   49
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97875600   10/16/2019 15:19   10/16/2019 15:19    6   P50H2524660436NDSKC7   2   2   6   1   2   4   2   5   3   5   7    3246   2   26   1   30   70
97875635   10/16/2019 15:19   10/16/2019 15:19    4   TKRO2524658949T2EGX2   1   2   2   3   1   3   1   7   4   2   6   34609   2   22   3   10   26
97875646   10/16/2019 15:19   10/16/2019 15:20    6   EP0L2524660622KGDMZP   1   1   5   4   2   5   2   5   1   1   4   14810   2   15   1   33   59
97875681   10/16/2019 15:20   10/16/2019 15:20   17   AGVU2524660760PXXHAC   2   1   4   2   2   4   2   3   4   6   1   11803   2   14   1   33   48
97875702   10/16/2019 15:20   10/16/2019 15:20    7   R3OT2524660899D3HNDD   2   2   3   3   1   3   2   1   4   3   6   34472   2   23   3   10   35
97875740   10/16/2019 15:20   10/16/2019 15:20    7   1STA2524661183X9H4MZ   2   2   2   1   1   5   2   5   3   6   1   98057   2   22   4   48   25
97875744   10/16/2019 15:20   10/16/2019 15:20    8   Q3KE2524654046LBNH60   2   1   3   1   1   8   2   5   3   8   1   87031   2   13   4   32   41
97875753   10/16/2019 15:20   10/16/2019 15:20    6   7EYB2524661160KXZ8CT   2   1   2   2   2   1   2   5   4   1   5   98204   2   12   4   48   33
97875790   10/16/2019 15:20   10/16/2019 15:21    8   YX142524661177ED7O82   2   1   2   1   1   6   2   5   3   8   1   80211   1   12   4    6   34
97875801   10/16/2019 15:21   10/16/2019 15:21    9   ERGO2524658553J3FDFJ   2   1   3   2   1   1   2   5   4   3   3   16879   1   13   1   39   41
97875832   10/16/2019 15:21   10/16/2019 15:21    5   4Y6X2524661543Z39153   2   1   3   1   1   3   2   5   3   8   1   27712   1   13   3   34   44
97875841   10/16/2019 15:21   10/16/2019 15:21   10   PLUY2524661591DLU4GK   2   1   5   3   2   1   2   5   2   5   7   43534   1   15   2   36   62
97875854   10/16/2019 15:21   10/16/2019 15:21    9   67K92524661679B0G5BM   2   2   5   2   1   3   2   1   2   6   1   28343   2   25   3   34   58
97875865   10/16/2019 15:21   10/16/2019 15:21   23   NSB72524661551TGIX76   2   1   3   1   1   5   2   5   3   6   1   99362   3   13   4   48   35
97875883   10/16/2019 15:21   10/16/2019 15:21    8   35XO2524661767XAYF2F   2   2   6   4   2   4   2   5   2   3   7   85381   2   26   4    3   76
97875885   10/16/2019 15:21   10/16/2019 15:21    4   KBT22524661848P6BC6H   2   1   4   1   1   6   2   5   4   8   1   10009   1   14   1   33   48
97875900   10/16/2019 15:21   10/16/2019 15:21    5   HDCP2524661927RFBQAM   2   2   5   1   2   7   2   5   2   6   1   45242   2   25   2   36   63
97875910   10/16/2019 15:21   10/16/2019 15:21    8   PTJ62524644735WTOCQ8   2   2   4   1   2   3   2   3   2   6   6   78665   1   24   3   44   46
97875924   10/16/2019 15:21   10/16/2019 15:21    7   MX272524661985WLRHPR   1   2   3   1   1   6   2   5   3   6   1   78218   1   23   3   44   44
97875930   10/16/2019 15:21   10/16/2019 15:21    8   1MAO2524661826VOOMVQ   2   2   5   1   2   6   2   5   2   6   1   63051   2   25   2   26   55
97875984   10/16/2019 15:22   10/16/2019 15:22    6   1NT92524662437OA2ZBR   2   2   4   1   1   7   2   3   3   8   4   49024   2   24   2   23   50
97875993   10/16/2019 15:22   10/16/2019 15:22    5   L48Y2524662449HTV8XT   2   1   3   1   1   6   1   5   5   6   1   98112   1   13   4   48   35
97876072   10/16/2019 15:22   10/16/2019 15:23    4   YPD12524650429ZU5WTR   1   2   2   1   1   4   2   5   3   3   6   30153   2   22   3   11   30
97876087   10/16/2019 15:23   10/16/2019 15:23    6   9YNG2524663154LW0TBB   2   2   5   4   2   3   2   5   1   2   5   97383   2   25   4   38   60
97876121   10/16/2019 15:23   10/16/2019 15:23    6   YDJM2524663205ZC4Y82   2   1   3   1   1   6   2   5   4   6   1   45432   1   13   2   36   41
97876127   10/16/2019 15:23   10/16/2019 15:23    4   QR152524663270GE5JM0   2   1   4   1   1   8   2   5   3   9   1   89148   1   14   4   29   50
97876212   10/16/2019 15:23   10/16/2019 15:24    8   VBZA2524663808ED3XK9   1   2   3   4   1   2   2   1   3   3   9   60621   2   23   2   14   40
97876321   10/16/2019 15:24   10/16/2019 15:24    6   KRVG2524664565YEO5QC   2   2   3   1   1   8   1   5   3   8   1   10002   1   23   1   33   40
97876341   10/16/2019 15:24   10/16/2019 15:25   28   IH4L2524664579XWOH1X   1   1   6   3   1   5   2   5   3   3   1    7718   2   16   1   31   67
97876353   10/16/2019 15:25   10/16/2019 15:25    6   68PQ2524664369EODHZB   2   1   5   3   2   4   2   5   2   8   1   41056   2   15   3   18   62
97876367   10/16/2019 15:25   10/16/2019 15:25    6   HICT2524664832HKI1OH   1   2   5   2   2   1   2   5   1   3   7   91010   2   25   4    5   64
97876394   10/16/2019 15:25   10/16/2019 15:25   10   29D52524665004CAQNFG   2   2   4   1   2   4   2   1   2   2   2   23663   1   24   3   47   49
97876487   10/16/2019 15:25   10/16/2019 15:25    6   QLYT2524665689R954TE   2   2   4   5   1   3   2   5   3   6   2   92656   2   24   4    5   54
97876499   10/16/2019 15:25   10/16/2019 15:26   11   VCXP2524665585FRZUPI   2   2   3   2   1   1   2   5   5   2   9   41522   2   23   3   18   37
97876500   10/16/2019 15:25   10/16/2019 15:26    8   S3EP2524665823SIMAJG   2   2   6   5   2   3   2   5   1   3   2   32068   2   26   3   10   73
97876502   10/16/2019 15:25   10/16/2019 15:26    4   OLS62524663695YE5IZ6   2   2   3   1   1   8   1   5   3   8   1   99645   1   23   4    2   42
97876504   10/16/2019 15:25   10/16/2019 15:26   31   ON852524665763T8E6ND   2   2   2   2   2   2   2   5   1   3   1   83301   2   22   4   13   34
97876531   10/16/2019 15:26   10/16/2019 15:26    7   RHXF2524653790W2V7RA   2   2   3   4   2   7   2   5   3   3   1   33311   2   23   3   10   40
97876546   10/16/2019 15:26   10/16/2019 15:26    5   FGHB2524666157GBXS3H   2   2   3   1   1   4   2   5   6   3   6   32771   1   23   3   10   37
97876581   10/16/2019 15:26   10/16/2019 15:26    5   PUZJ2524656699VN7P53   2   1   4   2   2   2   2   5   1   3   1   63021   2   14   2   26   47
97876584   10/16/2019 15:26   10/16/2019 15:26    5   RX212524666289VK8E61   2   1   6   1   2   3   2   5   2   6   7   48910   2   16   2   23   67
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97876598   10/16/2019 15:26   10/16/2019 15:26     4   VHQN2524666384BW39VR   2   2   2   2   2   4   2   5   1   6   1   83709   2   22   4   13   34
97876601   10/16/2019 15:26   10/16/2019 15:26     6   YQ5P2524666362SM0SV1   2   1   1   2   1   5   2   1   5   3   8   33032   1   11   3   10   19
97876716   10/16/2019 15:27   10/16/2019 15:27    13   2V9G2524667446WHZDDZ   1   1   3   2   2   3   2   5   3   5   2    7010   2   13   1   31   38
97876726   10/16/2019 15:27   10/16/2019 15:27     5   O07R2524643173M76F5F   2   2   4   1   1   8   2   5   3   8   6   34683   2   24   3   10   54
97876727   10/16/2019 15:27   10/16/2019 15:27     5   CNGX2524667533OK2DCF   2   1   5   1   2   5   2   5   2   6   1   27614   2   15   3   34   60
97876730   10/16/2019 15:27   10/16/2019 15:27    11   ODP02524666334MS5GVG   2   2   1   2   2   6   2   5   4   6   8   15135   1   21   1   39   22
97876783   10/16/2019 15:27   10/16/2019 15:28     3   5UBC2524667956LXK1TT   2   1   4   2   2   4   2   5   1   6   1   48906   2   14   2   23   45
97876806   10/16/2019 15:28   10/16/2019 15:28     6   J7Z92524668106DZ1T5T   2   2   4   3   1   1   2   5   4   1   9   18644   2   24   1   39   48
97876861   10/16/2019 15:28   10/16/2019 15:28     4   O09S2524654609HHM55Y   2   1   3   2   2   4   2   5   1   6   1   94015   2   13   4    5   42
97876866   10/16/2019 15:28   10/16/2019 15:28     4   U8VF2524654525JM6FXG   2   2   1   1   1   4   2   5   5   2   4   45345   1   21   2   36   22
97876900   10/16/2019 15:28   10/16/2019 15:28     5   KRED2524668837NY6RY9   2   2   2   1   1   4   2   3   3   3   4    3062   4   22   1   30   30
97876920   10/16/2019 15:28   10/16/2019 15:29     7   CM5Z2524668955JD7SBU   2   2   6   5   2   3   2   5   1   2   7   85249   2   26   4    3   71
97876955   10/16/2019 15:29   10/16/2019 15:29     9   IBUP2524668902IQIAAP   2   1   3   1   1   6   2   5   4   8   1   33612   1   13   3   10   44
97876963   10/16/2019 15:29   10/16/2019 15:29    10   28HK2524669147OQW4IQ   2   2   2   1   1   5   2   5   3   8   1   55401   1   22   2   24   29
97876977   10/16/2019 15:29   10/16/2019 15:29    11   T5QL2524636675K7TOGX   2   1   3   1   1   8   2   5   4   8   1   20002   1   13   3    9   36
97876987   10/16/2019 15:29   10/16/2019 15:29     3   SS1E2524669261GCX9NJ   2   1   1   2   2   6   2   3   7   2   8    2771   2   11   1   22   19
97877006   10/16/2019 15:29   10/16/2019 15:29     5   YQ2Z2524669531WY0YR1   2   1   6   1   2   4   2   5   3   5   7   13308   2   16   1   33   68
97877009   10/16/2019 15:29   10/16/2019 15:29     7   WW0Q2524669542AQGEEU   2   2   3   1   2   5   2   5   2   2   6   29730   2   23   3   41   43
97877015   10/16/2019 15:29   10/16/2019 15:29     4   M7LX2524669606WAGRFB   1   2   2   1   1   3   2   5   3   3   6    7860   1   22   1   31   33
97877073   10/16/2019 15:30   10/16/2019 15:30     5   1MEN2524665028KRWY92   2   2   4   1   1   7   2   5   2   6   4   68510   2   24   2   28   49
97877075   10/16/2019 15:30   10/16/2019 15:30     6   O6LE2524662658QSYH3G   1   2   4   1   2   5   2   5   2   2   6   34120   1   24   3   10   47
97877080   10/16/2019 15:30   10/16/2019 15:30     7   G0BA2524670188AOCV3B   2   1   6   1   2   4   2   5   3   3   7    7013   2   16   1   31   71
97877088   10/16/2019 15:30   10/16/2019 15:30     7   KSZJ2524669201IYEH2R   2   1   3   2   2   3   2   5   2   3   5   48047   2   13   2   23   37
97877098   10/16/2019 15:30   10/16/2019 15:30     4   7K5C2524670324PX0ZJ9   1   1   1   2   2   2   2   5   3   3   8   80634   1   11   4    6   19
97877100   10/16/2019 15:30   10/16/2019 15:30     5   851I2524657068V0KR2Z   1   2   4   5   2   1   2   7   1   4   7   25387   2   24   3   49   53
97877106   10/16/2019 15:30   10/16/2019 15:30    14   KCSD2524670183TZ2NI0   2   2   6   5   2   1   2   5   1   2   7   33525   2   26   3   10   73
97877109   10/16/2019 15:30   10/16/2019 15:30     9   K9NP2524670278DWA2IQ   1   2   1   2   1   1   2   3   2   2   5   19142   2   21   1   39   19
97877116   10/16/2019 15:30   10/16/2019 15:30     6   YUJI2524670456LRC17W   2   2   3   1   1   1   2   5   7   2   4   33880   1   23   3   10   40
97877125   10/16/2019 15:30   10/16/2019 15:30     4   TBRY2524670495YH8S3H   2   1   2   2   2   4   2   1   3   3   5   84119   2   12   4   45   25
97877213   10/16/2019 15:30   10/16/2019 15:31     8   HEYT2524670900CUXM3J   2   2   5   1   2   2   2   5   2   3   9   27288   1   25   3   34   56
97877246   10/16/2019 15:31   10/16/2019 15:31     7   98BZ2524661453HU07R9   2   2   6   4   2   1   2   5   3   3   7   97225   2   26   4   38   68
97877309   10/16/2019 15:31   10/16/2019 15:31    11   HU5F2524671179EFU104   2   2   6   1   2   3   2   5   2   4   7   98908   2   26   4   48   84
97877339   10/16/2019 15:31   10/16/2019 15:31     9   IU8B2524671017IL086N   2   1   5   4   2   6   2   5   2   6   1   18510   2   15   1   39   61
97877395   10/16/2019 15:31   10/16/2019 15:31     9   H6QS2524671199QDC1U7   2   1   3   2   2   3   2   1   1   3   5   33056   1   13   3   10   43
97877445   10/16/2019 15:31   10/16/2019 15:32     6   DS5D2524671835GXDFZD   2   2   5   1   2   4   2   5   2   2   2    6010   2   25   1    7   63
97877484   10/16/2019 15:32   10/16/2019 15:32     5   7KJ62524672042ZWGYO3   2   1   2   1   1   8   2   5   4   8   1   72118   1   12   3    4   31
97877553   10/16/2019 15:32   10/16/2019 15:32    12   V1QZ2524672273TJ0M2U   2   1   1   2   2   1   2   5   1   3   8   24541   1   11   3   47   18
97877582   10/16/2019 15:32   10/16/2019 15:32     8   MJY02524672490YWRNKN   2   1   1   2   1   4   2   5   3   2   1   79928   1   11   3   44   20
97877600   10/16/2019 15:32   10/16/2019 15:32     4   OITQ2524672434LPKRMN   2   1   2   1   1   5   1   3   4   6   1   22406   1   12   3   47   34
97877828   10/16/2019 15:33   10/16/2019 15:36   135   MDL62524673515UFBVQ1   1   1   1   1   1   5   2   1   3   8   1   33897   1   11   3   10   19
97877914   10/16/2019 15:34   10/16/2019 15:34    17   4XUL2524673732W6NEBB   2   1   2   1   1   6   2   5   3   6   1   77656   1   12   3   44   31
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97878005   10/16/2019 15:34   10/16/2019 15:34    6   JTBN2524674609JX896S   2   2   2   3   2   5   2   5   4   6   1   17112   1   22   1   39   30
97878122   10/16/2019 15:35   10/16/2019 15:35    3   UJAP2524675031FIIIQX   1   1   1   2   2   8   2   5   2   6   2   40509   1   11   3   18   19
97878192   10/16/2019 15:35   10/16/2019 15:35    8   TOAX2524675290DMKDMW   2   2   1   2   1   4   2   6   4   3   8   18301   1   21   1   39   22
97878609   10/16/2019 15:37   10/16/2019 15:37    8   C3F72524678036BRE4TS   2   2   3   1   1   5   2   5   4   3   1   65721   2   23   2   26   38
97878644   10/16/2019 15:37   10/16/2019 15:38   13   715L2524678335U1H0CF   2   2   5   1   2   5   2   5   2   6   7   30040   1   25   3   11   60
97878724   10/16/2019 15:38   10/16/2019 15:38    4   VAAK2524678857ZTG7N0   1   1   1   2   2   5   2   3   3   6   1    6410   1   11   1    7   22
97878742   10/16/2019 15:38   10/16/2019 15:38    9   XQUE2524679156Q82ZSH   2   1   6   1   2   5   2   5   2   8   7   23457   1   16   3   47   68
97878777   10/16/2019 15:38   10/16/2019 15:38    6   IVVX2524679379Y7BJ5F   1   1   3   1   1   7   2   1   5   3   1    2370   2   13   1   22   37
97878779   10/16/2019 15:38   10/16/2019 15:39    8   LSUM2524679412GZOKXA   2   1   4   1   1   7   2   5   3   8   1   32814   1   14   3   10   53
97878885   10/16/2019 15:39   10/16/2019 15:39    6   VLNW2524679623HPEQVI   2   1   2   2   2   5   2   5   3   2   9   12569   1   12   1   33   26
97878915   10/16/2019 15:39   10/16/2019 15:39    5   WJZB2524680456BOHNFY   1   2   4   1   2   6   2   5   3   2   9   44039   2   24   2   36   53
97878946   10/16/2019 15:40   10/16/2019 15:40    8   1VDS2524680581P1KMZC   1   2   3   4   1   2   2   5   2   9   9   92101   1   23   4    5   40
97879073   10/16/2019 15:40   10/16/2019 15:41    5   QARO2524681353O0SNZE   1   2   2   3   1   4   2   5   4   6   3   43207   2   22   2   36   27
97879160   10/16/2019 15:41   10/16/2019 15:41    5   9R032524682034PV5Y40   2   1   3   1   1   2   2   5   3   2   1   19067   2   13   1   39   37
97879185   10/16/2019 15:41   10/16/2019 15:41    6   S8KH2524682300L65GSP   1   1   1   2   2   1   2   1   4   2   8   30012   2   11   3   11   21
97879203   10/16/2019 15:41   10/16/2019 15:42    6   SB3K2524681989JIWP8O   2   1   1   2   2   1   2   5   5   2   4    6716   1   11   1    7   20
97879214   10/16/2019 15:42   10/16/2019 15:42    6   XP6R2524682301Q6NB37   2   1   3   1   1   6   2   5   4   8   1   19136   1   13   1   39   43
97879243   10/16/2019 15:42   10/16/2019 15:42   11   USHX2524682616HCXS31   1   1   1   2   2   5   2   5   3   5   1   11710   1   11   1   33   19
97879300   10/16/2019 15:42   10/16/2019 15:42    6   1M8B2524681737E059XH   2   2   2   2   2   4   2   7   1   6   1   11210   3   22   1   33   33
97879303   10/16/2019 15:42   10/16/2019 15:42    6   5LZC2524640778L6L4EB   2   1   2   1   1   6   1   5   4   5   1   60601   1   12   2   14   30
97879304   10/16/2019 15:42   10/16/2019 15:43   27   7QNQ2524681928L8J9TL   1   1   1   1   1   2   1   6   3   2   4   79720   1   11   3   44   22
97879335   10/16/2019 15:42   10/16/2019 15:42    5   Y7B22524683571N48H9C   2   2   3   3   2   1   2   5   1   3   1   13027   2   23   1   33   42
97879364   10/16/2019 15:42   10/16/2019 15:43   13   36GE2524682138ZH09WJ   1   1   3   1   1   1   2   5   9   2   6   44502   2   13   2   36   43
97879398   10/16/2019 15:43   10/16/2019 15:43   13   EOVE2524681657RNECC7   1   1   1   2   1   3   2   5   2   2   2   40218   2   11   3   18   18
97879413   10/16/2019 15:43   10/16/2019 15:43    5   A3Z02524683669CQ6DB8   1   1   1   2   1   6   2   1   3   3   8   33351   1   11   3   10   18
97879421   10/16/2019 15:43   10/16/2019 15:43    8   GGL32524683983AOU6NV   2   1   5   5   2   5   2   5   1   5   1   11741   2   15   1   33   59
97879494   10/16/2019 15:43   10/16/2019 15:43    7   GJ522524684357F4RH2P   2   2   6   5   2   1   2   5   1   2   6   53227   2   26   2   50   69
97879519   10/16/2019 15:43   10/16/2019 15:43    4   TS3I2524684832ATYEO6   2   2   4   1   2   5   2   5   2   6   3   12585   2   24   1   33   54
97879522   10/16/2019 15:43   10/16/2019 15:44    5   XBQQ2524684754DIKV0M   1   2   2   1   1   3   2   5   3   3   2   23666   2   22   3   47   33
97879620   10/16/2019 15:44   10/16/2019 15:44   16   2NEO2524684196YASLR7   1   1   1   2   2   1   1   2   4   2   2   33436   3   11   3   10   20
97879623   10/16/2019 15:44   10/16/2019 15:44    5   A2VO2524684700HIMH1G   1   1   1   2   2   1   2   1   1   2   5   94107   1   11   4    5   20
97879640   10/16/2019 15:44   10/16/2019 15:44    6   11902524685765U7Y4ZI   2   1   1   2   2   1   1   5   1   2   1   71913   1   11   3    4   22
97879645   10/16/2019 15:44   10/16/2019 15:44    7   10CE2524685889SVZ2U3   2   1   5   4   2   4   2   5   2   2   7   60452   2   15   2   14   62
97879679   10/16/2019 15:45   10/16/2019 15:46   63   8BKE2524686004RB4DGB   2   1   3   1   1   6   2   5   3   6   1   63366   1   13   2   26   40
97879697   10/16/2019 15:45   10/16/2019 15:45    8   N0BT2524685979ORSI8D   1   1   1   3   2   1   2   3   4   1   2   30132   1   11   3   11   19
97879700   10/16/2019 15:45   10/16/2019 15:45    7   NI9R2524683988SJ230I   1   1   1   2   1   1   2   5   4   2   5   33760   2   11   3   10   24
97879748   10/16/2019 15:45   10/16/2019 15:45    7   61PG2524686543IV27XO   1   1   4   6   2   1   1   5   3   2   2   78227   1   14   3   44   46
97879762   10/16/2019 15:45   10/16/2019 15:45    4   PBD32524686767Y3VYEY   1   1   3   2   1   6   2   3   1   8   1   19120   2   13   1   39   38
97879767   10/16/2019 15:45   10/16/2019 15:46   28   KKNI2524685379K1MIPB   1   1   4   2   2   4   2   5   1   2   2    2472   1   14   1   22   48
97879768   10/16/2019 15:45   10/16/2019 15:45    7   XJ242524686346RS0XUH   2   1   1   2   2   3   1   5   3   2   5   77502   1   11   3   44   23
97879796   10/16/2019 15:45   10/16/2019 15:46    5   FRDV2524686929HP05X5   2   1   5   4   2   6   2   5   4   6   1   19462   2   15   1   39   60
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97879804   10/16/2019 15:46   10/16/2019 15:46    7   S89M2524686943CKCPVO   1   1   4   4   1   1   2   5 2    1   7   98221   2   14   4   48   52
97879822   10/16/2019 15:46   10/16/2019 15:46    5   88BL2524687182DKAQTV   2   2   4   2   1   1   2   5 2    2   6   34470   2   24   3   10   48
97879826   10/16/2019 15:46   10/16/2019 15:46    5   YKNA2524687193G4IIVE   2   1   3   1   1   6   2   5 4    8   1   33612   1   13   3   10   41
97879843   10/16/2019 15:46   10/16/2019 15:46   14   KEOZ2524683824PTTPAK   1   1   1   2   1   1   2   1 5    5   2   71103   1   11   3   19   23
97879908   10/16/2019 15:46   10/16/2019 15:47   17   UT4D2524687056YB3LVT   1   1   3   2   2   1   2   1 1    1   9   70129   2   13   3   19   37
97879918   10/16/2019 15:46   10/16/2019 15:47   12   B3L72524683552PUUYKG   1   2   1   2   2   4   2   5 4    3   8   44406   2   21   2   36   18
97879923   10/16/2019 15:46   10/16/2019 15:46    4   NNNB2524687581NL9KIK   2   1   5   1   1   5   2   5 5    8   2   92583   3   15   4    5   58
97879936   10/16/2019 15:46   10/16/2019 15:47   24   PJVX2524685744J1323H   1   1   1   2   2   1   2   1 3    3   5   11205   1   11   1   33   19
97879970   10/16/2019 15:47   10/16/2019 15:47    9   9JD22524686502ZCIE02   2   1   1   2   1   1   2   1 5    3   1   60639   2   11   2   14   21
97879985   10/16/2019 15:47   10/16/2019 15:47    5   1E1N2524688119Y9DGAN   2   2   2   1   1   8   2   5 5    8   1   11205   1   22   1   33   33
97879990   10/16/2019 15:47   10/16/2019 15:47   11   YJM92524687224JSICN5   1   2   1   2   2   1   2   5 1    2   4   37064   1   21   3   43   18
97879994   10/16/2019 15:47   10/16/2019 15:47   12   6FU42524687718XHXKUG   2   1   4   1   1   4   2   5 6    5   1    1922   1   14   1   22   53
97880003   10/16/2019 15:47   10/16/2019 15:47   20   5SJD2524686672IVCTB7   1   1   1   2   1   2   1   6 3    2   5   77060   2   11   3   44   19
97880019   10/16/2019 15:47   10/16/2019 15:47   10   4W162524688292OC4EGH   2   1   4   1   1   6   2   5 4    8   1   26508   1   14   3   49   49
97880031   10/16/2019 15:47   10/16/2019 15:47   11   7ZGD2524685371KOLM1O   1   2   1   3   1   4   2   5 3    6   1   78731   2   21   3   44   24
97880039   10/16/2019 15:47   10/16/2019 15:47    4   3IN72524688486MIG6S2   2   1   2   1   1   6   2   5 3    8   1   30350   1   12   3   11   33
97880042   10/16/2019 15:47   10/16/2019 15:47    7   IK5V2524688283E1OGH5   2   1   4   1   2   4   2   5 2    6   4   34689   2   14   3   10   51
97880045   10/16/2019 15:47   10/16/2019 15:47    6   ECHP2524688426PX8DUZ   2   2   3   1   1   8   2   5 6    5   1   10065   1   23   1   33   43
97880057   10/16/2019 15:47   10/16/2019 15:47   13   PHJ62524688686RNJPF8   1   1   2   2   2   3   1   6 4    3   1   60035   2   12   2   14   27
97880143   10/16/2019 15:48   10/16/2019 15:48    9   34A82524689373D0E2IF   2   1   3   1   1   1   2   5 3    3   5   95682   2   13   4    5   40
97880193   10/16/2019 15:48   10/16/2019 15:48   14   M8VE2524689786L99H3J   1   2   5   4   1   2   2   5 5    3   6   36091   2   25   3    1   61
97880213   10/16/2019 15:48   10/16/2019 15:49   17   BKXK2524686573SMQVJ5   1   1   1   1   2   5   1   6 4    2   1   46528   2   11   2   15   20
97880262   10/16/2019 15:49   10/16/2019 15:49    5   U3I82524645953LCD4NV   2   2   4   4   2   2   2   5 2    3   5   76118   2   24   3   44   45
97880278   10/16/2019 15:49   10/16/2019 15:49   19   9R9T2524690486S3XLCT   2   2   6   5   1   4   2   1 4    2   7   20748   1   26   3   21   79
97880282   10/16/2019 15:49   10/16/2019 15:49   27   B7YP2524690307T6AAKZ   1   1   1   2   2   1   1   6 3    2   1   77995   1   11   3   44   19
97880298   10/16/2019 15:49   10/16/2019 15:49    6   PAM92524690925VT7Y64   2   1   3   1   1   8   1   5 5    6   1   92394   1   13   4    5   43
97880311   10/16/2019 15:49   10/16/2019 15:49    4   M0EI2524691027R13NZV   2   1   3   1   1   7   2   5 4    8   1   34769   1   13   3   10   41
97880324   10/16/2019 15:49   10/16/2019 15:49    5   UNI72524690536ZGGOWD   2   1   2   2   1   5   2   5 1    3   1   88401   1   12   4   32   25
97880370   10/16/2019 15:50   10/16/2019 15:50    5   TBYF2524691312MHXNU0   1   1   4   1   1   2   2   5 3    2   1   16335   2   14   1   39   46
97880374   10/16/2019 15:50   10/16/2019 15:50   11   L3VP2524691282SUR9XV   1   1   1   2   2   1   2   1 1    5   8   77075   1   11   3   44   23
97880387   10/16/2019 15:50   10/16/2019 15:50    9   I0RJ2524687025MW8WNU   2   1   2   1   1   7   1   5 5    6   1   98112   1   12   4   48   34
97880390   10/16/2019 15:50   10/16/2019 15:50    7   J3RX2524691245IYGO36   1   2   2   2   2   7   2   5 3    7   1    7006   2   22   1   31   26
97880415   10/16/2019 15:50   10/16/2019 15:50   16   MLVU2524690931V0FTH5   1   1   2   1   1   1   2   5 4    2   1    1830   1   12   1   22   26
97880423   10/16/2019 15:50   10/16/2019 15:50   17   RMFW2524691838NA3B1J   1   2   3   1   1   4   2   3 4    8   6   29483   1   23   3   41   35
97880449   10/16/2019 15:50   10/16/2019 15:50   11   AST52524691855Z7ZOUP   2   2   1   2   2   1   2   5 4    1   5   43314   2   21   2   36   18
97880488   10/16/2019 15:50   10/16/2019 15:50    4   81P02524692448E2SQY5   2   1   3   1   1   8   2   5 4    8   1   11757   1   13   1   33   37
97880490   10/16/2019 15:50   10/16/2019 15:50    4   K8QK2524692460CA0DCB   2   2   3   1   1   4   2   5 4    3   1   27021   2   23   3   34   36
97880496   10/16/2019 15:50   10/16/2019 15:51    7   JFL02524692613RF5FO6   2   2   4   1   1   5   2   5 10   2   6   92064   2   24   4    5   48
97880503   10/16/2019 15:51   10/16/2019 15:51    8   YZJS2524634595LKAXBX   2   2   4   1   2   6   2   5 2    2   5   78245   2   24   3   44   50
97880507   10/16/2019 15:51   10/16/2019 15:51   15   ARHB2524691756F9PS5G   1   1   1   2   2   1   2   1 1    3   1   19143   1   11   1   39   21
97880519   10/16/2019 15:51   10/16/2019 15:51    5   JTL02524692753F1H8MY   2   1   6   2   2   3   2   5 2    2   1    2746   2   16   1   22   65
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97880642   10/16/2019 15:51   10/16/2019 15:52     7   MUEW2524693520S74KPR   1   1   2   1   2   4   1   1   2   2   1   90044   1   12   4    5   34
97880662   10/16/2019 15:52   10/16/2019 15:52    20   UYJ22524686930MUOCCJ   2   1   2   2   2   5   1   1   1   6   1   22546   1   12   3   47   26
97880725   10/16/2019 15:52   10/16/2019 15:52     5   WD6G2524694407P8KV2E   1   1   2   1   1   4   1   5   1   6   1   79936   1   12   3   44   28
97880841   10/16/2019 15:53   10/16/2019 15:53     6   BFM42524695302VUNYI5   1   1   1   2   2   2   2   5   1   2   2   94553   1   11   4    5   23
97880843   10/16/2019 15:53   10/16/2019 15:53     4   9SGL2524695211LNHZ9K   2   1   1   2   2   3   1   6   1   3   8   90019   1   11   4    5   21
97880904   10/16/2019 15:53   10/16/2019 15:53     7   PHVX2524695703NE4PO9   1   1   5   4   2   3   2   5   3   3   5   94523   2   15   4    5   57
97880916   10/16/2019 15:53   10/16/2019 15:55   115   A18C2524695316RFOKXQ   2   1   3   2   1   6   1   5   2   8   1   36301   1   13   3    1   37
97880931   10/16/2019 15:54   10/16/2019 15:54    35   GA9Z2524695644FUB6AJ   2   1   4   2   1   4   1   5   2   8   1    7604   1   14   1   31   45
97880945   10/16/2019 15:54   10/16/2019 15:54     7   UU9D2524695852F9AG09   1   1   2   1   1   3   2   1   4   3   7   92308   1   12   4    5   34
97880954   10/16/2019 15:54   10/16/2019 15:54    19   DVO62524695036SCNEKU   2   1   3   1   1   6   2   5   4   6   1   33612   1   13   3   10   39
97880993   10/16/2019 15:54   10/16/2019 15:54    13   TJ0N2524696525IDKL4T   2   1   1   2   2   5   2   3   1   6   8   91344   1   11   4    5   22
97880999   10/16/2019 15:54   10/16/2019 15:54     8   LJMH2524696725LNG3C9   1   1   2   2   2   3   2   5   2   3   2   80121   1   12   4    6   27
97881007   10/16/2019 15:54   10/16/2019 15:54    11   BLAR2524696398XDY7HF   1   1   1   2   2   1   2   1   8   1   5   76010   1   11   3   44   23
97881056   10/16/2019 15:54   10/16/2019 15:55     6   HQXV2524697067S7TFJP   1   1   1   2   2   4   2   5   3   2   4   17846   2   11   1   39   21
97881075   10/16/2019 15:55   10/16/2019 15:55     8   RQIF2524697284D59RQ8   1   1   1   3   2   1   2   1   1   3   5   23901   1   11   3   47   23
97881090   10/16/2019 15:55   10/16/2019 15:55     7   JU2B2524697412DH51UA   1   2   3   2   1   1   2   1   5   2   5   30253   2   23   3   11   36
97881095   10/16/2019 15:55   10/16/2019 15:55     5   JPFN2524697427XVTPRD   2   2   2   1   1   6   2   3   2   8   1   11580   1   22   1   33   33
97881130   10/16/2019 15:55   10/16/2019 15:55     5   CSCK2524697621G7NJI7   1   2   2   1   1   2   2   5   7   2   6   14305   1   22   1   33   30
97881135   10/16/2019 15:55   10/16/2019 15:55     7   1YX82524691598DKLI3B   2   2   4   1   1   3   2   5   5   5   2   97027   1   24   4   38   49
97881140   10/16/2019 15:55   10/16/2019 15:55     5   AD842524697705GVT9PH   1   2   1   2   1   3   2   1   7   2   5   27330   2   21   3   34   21
97881181   10/16/2019 15:55   10/16/2019 15:55     9   CDUE2524697889BT5YY2   1   1   4   1   1   1   2   1   5   3   4   27292   1   14   3   34   51
97881255   10/16/2019 15:56   10/16/2019 15:56    15   S9332524696670VG1C4Z   2   1   3   1   2   5   2   5   4   3   5   17015   2   13   1   39   44
97881309   10/16/2019 15:56   10/16/2019 15:56    10   3MNW2524698562LL4SUY   1   2   1   2   2   1   2   5   5   1   2   65625   3   21   2   26   22
97881330   10/16/2019 15:56   10/16/2019 15:57    87   2SAU2524698446KXF5BC   2   1   4   1   1   4   2   3   4   3   5    2130   3   14   1   22   53
97881346   10/16/2019 15:56   10/16/2019 15:56    14   JAJQ2524698908C9VV03   1   1   3   2   2   4   2   5   3   2   9    8109   2   13   1   31   42
97881380   10/16/2019 15:56   10/16/2019 15:56    12   MYML2524698592ZQU84U   1   1   3   2   1   5   2   1   2   7   1   77701   1   13   3   44   40
97881386   10/16/2019 15:56   10/16/2019 15:56     3   21HW2524695120BHEXW2   2   1   3   1   1   4   2   5   5   3   1   28612   2   13   3   34   40
97881424   10/16/2019 15:57   10/16/2019 15:57     9   2CGX2524699403LTP8ZI   2   1   2   2   2   1   2   3   3   3   4   91344   1   12   4    5   29
97881427   10/16/2019 15:57   10/16/2019 15:57    18   0UVK2524699042XDH1M4   2   1   1   2   2   2   2   5   5   3   5   13208   1   11   1   33   20
97881470   10/16/2019 15:57   10/16/2019 15:57    11   0AP52524699814RVSW4F   2   1   3   1   1   7   2   5   3   8   1    2860   1   13   1   40   35
97881495   10/16/2019 15:57   10/16/2019 15:57     4   T5GU2524700031UDD5SG   1   1   2   1   1   8   2   5   5   9   1    8902   1   12   1   31   25
97881529   10/16/2019 15:57   10/16/2019 15:58    16   9LO92524700317DLEV6I   2   2   4   4   2   3   2   1   4   5   1   20785   2   24   3   21   47
97881580   10/16/2019 15:58   10/16/2019 15:58    12   R6AO2524699095V7X2DY   2   1   3   2   2   5   1   6   3   2   2   90006   2   13   4    5   36
97881675   10/16/2019 15:58   10/16/2019 15:58    16   D4462524701033DM3VYB   2   2   2   2   2   2   2   1   3   2   5   30087   1   22   3   11   30
97881705   10/16/2019 15:58   10/16/2019 15:58     8   TI9J2524701170Z1VBX1   2   1   3   1   1   7   2   5   4   8   1   77057   1   13   3   44   43
97881755   10/16/2019 15:58   10/16/2019 15:59    13   8KYM2524700642LZC29Z   1   2   1   2   1   4   2   5   4   3   8   98685   1   21   4   48   20
97881776   10/16/2019 15:58   10/16/2019 15:59     5   IY2W2524701623XML972   2   1   3   1   1   5   2   5   3   8   1   98168   1   13   4   48   37
97881778   10/16/2019 15:58   10/16/2019 15:59     6   71UO2524701480BL6DOP   2   1   2   2   1   5   2   5   3   8   1   73505   1   12   3   37   33
97881779   10/16/2019 15:59   10/16/2019 15:59    12   GBKL2524700741LVQJLZ   2   1   3   3   2   3   2   5   2   2   1   27804   2   13   3   34   40
97881812   10/16/2019 15:59   10/16/2019 15:59    17   KFU42524699046UQFPID   1   1   1   2   2   1   2   5   4   2   8   32405   2   11   3   10   20
97881851   10/16/2019 15:59   10/16/2019 16:02   186   E2GW2524700809A2C7GU   2   1   2   1   1   4   1   5   4   6   1   90001   1   12   4    5   29
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97881863   10/16/2019 15:59   10/16/2019 15:59     5   B5T82524698559BH95LG   2   2   5   1   1   1   2   5   4   3   7   13365   2   25   1   33   55
97881909   10/16/2019 16:00   10/16/2019 16:00     4   KEUG2524702895KPYBF4   2   1   6   5   2   1   2   5   1   5   7   86333   2   16   4    3   65
97881918   10/16/2019 16:00   10/16/2019 16:00     7   0GHQ2524702919WAMSEI   2   1   3   1   1   6   2   5   4   8   1   20007   1   13   3    9   39
97881975   10/16/2019 16:00   10/16/2019 16:00    11   YTGI2524703081BAUZFY   1   1   2   2   1   4   2   5   5   4   1   62703   2   12   2   14   27
97882002   10/16/2019 16:00   10/16/2019 16:01    18   91X42524702192BAYWG0   1   1   1   1   2   1   2   5   6   1   9   25413   2   11   3   49   18
97882045   10/16/2019 16:01   10/16/2019 16:01     9   7QXM2524702681TXZ4W2   1   1   1   2   2   1   1   7   3   1   8   74129   4   11   3   37   21
97882103   10/16/2019 16:01   10/16/2019 16:01     5   RYUG2524704389CFQL5N   2   2   4   1   2   5   2   5   2   3   9   28792   2   24   3   34   54
97882106   10/16/2019 16:01   10/16/2019 16:02    66   53TL2524701966YISDKG   1   1   1   2   1   4   2   1   3   3   8   21216   2   11   3   21   18
97882120   10/16/2019 16:01   10/16/2019 16:01     6   SBE32524704436YM5V9G   1   2   2   3   1   4   1   5   3   2   5   48146   1   22   2   23   31
97882121   10/16/2019 16:01   10/16/2019 16:01     5   ZKZP2524704463IS38QR   1   2   2   1   1   3   2   2   4   8   1   78240   1   22   3   44   26
97882159   10/16/2019 16:01   10/16/2019 16:02     9   0UMH2524687639N0SK7W   2   1   6   1   1   4   2   5   2   4   7   56537   2   16   2   24   71
97882161   10/16/2019 16:01   10/16/2019 16:02     5   QM6A2524704864KSJKJ6   2   1   4   3   1   5   2   5   5   6   1   10703   1   14   1   33   51
97882175   10/16/2019 16:02   10/16/2019 16:02     4   0JLD2524704969FOK4QQ   1   1   2   1   1   2   2   5   7   8   1   75069   1   12   3   44   27
97882198   10/16/2019 16:02   10/16/2019 16:02    15   FWHK2524705084FRQFY0   1   1   4   1   1   7   2   1   3   8   1   38114   2   14   3   43   52
97882238   10/16/2019 16:02   10/16/2019 16:02     6   PHE22524687604A62IPA   2   2   5   1   2   4   2   5   2   1   2   97408   2   25   4   38   63
97882240   10/16/2019 16:02   10/16/2019 16:02    15   M96H2524703024Y6GBF8   2   1   2   2   1   4   2   5   3   5   1   17268   1   12   1   39   32
97882301   10/16/2019 16:02   10/16/2019 16:02     7   M7OV2524705678SYY5K8   1   2   1   2   2   1   2   5   2   2   5   44485   3   21   2   36   21
97882305   10/16/2019 16:02   10/16/2019 16:02     6   EEBY2524701082PEM2Y0   2   1   3   2   1   6   2   5   3   3   1   34688   1   13   3   10   41
97882376   10/16/2019 16:03   10/16/2019 16:03     5   WV5I2524706423HCE5M2   1   1   2   1   1   6   2   5   5   3   1   34667   2   12   3   10   32
97882391   10/16/2019 16:03   10/16/2019 16:03     5   NNFB2524669997RLWOSM   2   1   3   1   1   8   2   5   3   7   1   11366   1   13   1   33   44
97882436   10/16/2019 16:03   10/16/2019 16:04    26   XZX22524706943QL2KPY   2   2   4   4   1   5   2   5   2   6   1   52338   2   24   2   16   50
97882524   10/16/2019 16:04   10/16/2019 16:04     6   QJ262524707061YXD5G0   2   1   1   2   2   1   2   1   1   3   8   39581   1   11   3   25   24
97882572   10/16/2019 16:04   10/16/2019 16:04    13   2I6K2524707501HV5QPT   2   2   4   1   1   4   1   1   3   8   1   19805   1   24   3    8   49
97882594   10/16/2019 16:04   10/16/2019 16:05    14   Y9H92524707884DF5I70   2   1   2   4   2   8   2   5   2   9   1    2072   1   12   1   22   25
97882649   10/16/2019 16:05   10/16/2019 16:05     9   I6XM2524706130HU3LJ2   2   2   6   4   2   1   2   5   1   2   7   44138   2   26   2   36   72
97882664   10/16/2019 16:05   10/16/2019 16:05     3   5QY52524708727ZUABIV   2   1   3   1   1   6   2   5   4   6   1   21154   1   13   3   21   36
97882756   10/16/2019 16:05   10/16/2019 16:07   104   GOOG2524708919XSTPDF   1   1   1   3   1   1   2   5   4   2   1   78130   1   11   3   44   21
97882758   10/16/2019 16:05   10/16/2019 16:06     8   NW4N2524648725KX4IMV   2   2   4   2   1   4   2   1   2   6   1   60628   2   24   2   14   49
97882811   10/16/2019 16:06   10/16/2019 16:06    10   DA0H2524709761UFWJ68   2   1   3   1   1   6   2   5   3   8   1   33635   1   13   3   10   36
97882817   10/16/2019 16:06   10/16/2019 16:06    12   W4E12524709866ZWKBEE   2   2   6   2   2   1   2   6   1   3   5   20743   2   26   3   21   65
97882829   10/16/2019 16:06   10/16/2019 16:06    18   N2QC2524706159CL4YTL   1   2   1   2   2   2   2   1   1   2   8   77049   1   21   3   44   20
97882854   10/16/2019 16:06   10/16/2019 16:06     6   Y3MT2524709867LGIAPB   2   1   2   2   1   2   2   1   3   8   1   38930   2   12   3   25   31
97882901   10/16/2019 16:06   10/16/2019 16:08    84   65GJ2524699248XGIBI6   1   1   3   2   2   1   2   1   1   3   4   85711   1   13   4    3   44
97882978   10/16/2019 16:07   10/16/2019 16:07     6   VW7M2524711021SWS1M5   2   2   4   1   2   5   2   5   2   5   1   29662   2   24   3   41   45
97882983   10/16/2019 16:07   10/16/2019 16:07     5   1SG52524711023QOK1PT   2   1   3   1   1   6   2   5   4   8   1   77058   1   13   3   44   40
97883114   10/16/2019 16:08   10/16/2019 16:08     4   AIXK2524711907SPCE21   2   1   1   2   2   2   1   5   3   3   8   78570   2   11   3   44   24
97883139   10/16/2019 16:08   10/16/2019 16:08     6   MUED2524712111M6V659   2   1   2   1   1   8   2   5   5   9   1   11004   1   12   1   33   33
97883166   10/16/2019 16:08   10/16/2019 16:08     4   EG5P2524712306WFJLMU   2   1   3   1   1   6   2   5   3   5   1   30350   1   13   3   11   36
97883212   10/16/2019 16:09   10/16/2019 16:09     6   DGQM2524712781FDC7LQ   1   2   1   1   1   2   1   5   3   2   6   78408   2   21   3   44   24
97883231   10/16/2019 16:09   10/16/2019 16:09     5   KLRC2524702678LWO0BZ   2   2   5   5   1   4   1   5   4   6   2   98367   1   25   4   48   57
97883234   10/16/2019 16:09   10/16/2019 16:09     3   TBW32524712795Y4HNTR   2   1   2   2   2   4   2   5   5   6   5   19805   3   12   3    8   31
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97883260   10/16/2019 16:09   10/16/2019 16:09     8   JIMQ2524712990STVS38   2   1   1   2   1   1   2   5   4   2   5   28326   1   11   3   34   23
97883301   10/16/2019 16:09   10/16/2019 16:09     4   351N2524712611ZY2EG7   2   1   2   2   2   4   2   5   3   6   1   32826   1   12   3   10   34
97883322   10/16/2019 16:09   10/16/2019 16:10     6   P8EZ2524713497N4DT9M   2   2   6   5   2   1   2   5   1   2   7   28337   2   26   3   34   80
97883360   10/16/2019 16:10   10/16/2019 16:10     5   3XA72524713721H126R8   2   1   4   2   2   2   2   5   1   5   1   36701   1   14   3    1   53
97883426   10/16/2019 16:10   10/16/2019 16:10    20   JV9O2524713916R732TH   1   1   2   3   2   5   2   5   2   6   1   92131   1   12   4    5   28
97883503   10/16/2019 16:11   10/16/2019 16:11     5   YFAK2524709520WFA0IQ   2   2   4   2   1   5   2   1   2   5   1   55416   2   24   2   24   52
97883508   10/16/2019 16:11   10/16/2019 16:11     6   B6BG2524714728T6283F   2   2   6   1   2   4   2   5   2   2   7    6118   2   26   1    7   78
97883574   10/16/2019 16:11   10/16/2019 16:11     8   9SD12524715247AVBIKX   2   1   3   4   2   1   2   5   1   3   4   76179   1   13   3   44   37
97883583   10/16/2019 16:11   10/16/2019 16:11     9   Q9D42524715134WJCAQM   2   1   3   2   2   3   2   5   2   2   1   20878   1   13   3   21   38
97883601   10/16/2019 16:11   10/16/2019 16:12    13   OI9Y2524715031AYXDYS   1   1   1   1   1   1   2   5   3   3   1   28504   1   11   3   34   24
97883605   10/16/2019 16:11   10/16/2019 16:14   154   0TPZ2524715450AXN4A9   1   2   1   2   1   3   2   5   4   2   4   48093   1   21   2   23   23
97883610   10/16/2019 16:12   10/16/2019 16:12     5   N2SU2524715764UO85YO   1   1   6   4   2   2   2   5   1   2   7   13057   1   16   1   33   70
97883636   10/16/2019 16:12   10/16/2019 16:12    13   JBUT2524715287HT4MJY   1   2   1   2   2   3   2   3   3   2   8   52402   2   21   2   16   19
97883668   10/16/2019 16:12   10/16/2019 16:12     6   8PCU2524716199U3W2GV   2   1   3   1   1   6   2   5   4   8   1   11236   1   13   1   33   36
97883691   10/16/2019 16:12   10/16/2019 16:12     6   8H552524716330ZYAFFW   2   2   5   4   2   1   2   5   1   2   7   45212   2   25   2   36   59
97883701   10/16/2019 16:12   10/16/2019 16:12     6   R3XN2524716543CMLQ0N   2   2   3   1   1   4   2   5   4   3   1   70769   2   23   3   19   39
97883728   10/16/2019 16:12   10/16/2019 16:13    12   X9AD2524716557EA4N2N   2   2   3   4   1   1   2   5   3   5   1   49504   2   23   2   23   38
97883740   10/16/2019 16:12   10/16/2019 16:13    10   4OKB2524716383AQLXVU   2   2   5   1   2   6   2   5   3   2   9   66868   2   25   2   17   57
97883742   10/16/2019 16:12   10/16/2019 16:13     9   V8A32524716696I0O67N   1   1   2   1   2   5   2   5   2   6   1   46516   1   12   2   15   29
97883765   10/16/2019 16:13   10/16/2019 16:13     4   87NN2524716913FPFSKF   2   2   5   1   2   4   2   5   2   3   1   46123   2   25   2   15   58
97883771   10/16/2019 16:13   10/16/2019 16:13     4   18362524714626X4AWMF   1   2   3   1   1   4   2   5   3   5   1   43420   2   23   2   36   39
97883775   10/16/2019 16:13   10/16/2019 16:13    17   0BCD2524716703NHMYZH   1   2   5   3   1   4   1   7   3   5   1   21044   2   25   3   21   55
97883783   10/16/2019 16:13   10/16/2019 16:13    12   MRVN2524715684QOCU77   1   2   1   3   2   1   2   5   5   2   8   93312   1   21   4    5   18
97883843   10/16/2019 16:13   10/16/2019 16:14    14   OX8E2524716886X7YDA7   1   1   2   1   2   4   2   5   2   6   1   29205   1   12   3   41   33
97883861   10/16/2019 16:13   10/16/2019 16:13     4   N9JW2524717220T47A7V   1   2   1   2   2   3   2   5   2   3   1   26505   1   21   3   49   21
97883863   10/16/2019 16:13   10/16/2019 16:14     9   J8ID2524717505R89MAC   1   2   1   2   2   1   2   1   1   2   8    6610   4   21   1    7   19
97883868   10/16/2019 16:13   10/16/2019 16:14     4   LHP52524717671MDP5N8   2   2   3   1   1   5   2   5   4   5   6   27527   1   23   3   34   39
97883869   10/16/2019 16:13   10/16/2019 16:14    11   PEJI2524716360VALLAR   1   1   2   1   1   4   2   1   3   3   1   92345   2   12   4    5   31
97883883   10/16/2019 16:14   10/16/2019 16:14    13   ISXZ2524717051I1CX7D   2   2   1   1   2   4   2   5   2   5   2   81520   2   21   4    6   23
97883893   10/16/2019 16:14   10/16/2019 16:14    37   R6OA2524716686V649DW   2   2   1   3   2   3   2   5   2   2   1   66052   2   21   2   17   23
97883913   10/16/2019 16:14   10/16/2019 16:14    27   V21G2524717371OEO1XN   1   1   2   2   2   3   2   1   3   3   1   29405   1   12   3   41   33
97883928   10/16/2019 16:14   10/16/2019 16:14    28   CE552524717941EXFHRT   2   1   4   2   2   2   2   1   2   2   1   75160   2   14   3   44   45
97883937   10/16/2019 16:14   10/16/2019 16:14     5   W6MZ2524662565TLSFYO   2   2   3   2   1   2   2   5   2   3   1   84632   2   23   4   45   41
97883953   10/16/2019 16:14   10/16/2019 16:14    10   4CJA2524718093I5K0SK   2   1   1   1   2   1   2   5   2   2   8   39503   2   11   3   25   22
97883966   10/16/2019 16:14   10/16/2019 16:14    15   08EM2524716617RCG452   1   2   1   2   1   3   2   5   6   2   4   62030   1   21   2   14   24
97883981   10/16/2019 16:14   10/16/2019 16:14    10   QRUJ2524717913KM66NE   1   1   4   2   1   1   2   1   9   2   2   48224   1   14   2   23   47
97884010   10/16/2019 16:15   10/16/2019 16:15     8   UDVC2524718682OMS88A   2   1   5   2   2   1   2   5   1   2   2   53032   1   15   2   50   61
97884024   10/16/2019 16:15   10/16/2019 16:15     7   BB4H2524718821C3O7D7   1   2   4   2   2   6   2   5   1   8   1   91606   2   24   4    5   51
97884054   10/16/2019 16:15   10/16/2019 16:16    39   JI2E2524717322CWUHHX   1   2   1   3   2   4   2   5   2   3   8   52577   3   21   2   16   20
97884085   10/16/2019 16:15   10/16/2019 16:15     4   EMB62524719215LJX36W   2   2   4   1   1   4   2   5   4   5   1   17113   2   24   1   39   46
97884102   10/16/2019 16:15   10/16/2019 16:15    11   UZHI2524718531U0H74R   2   1   2   2   2   6   2   3   6   6   1    8820   2   12   1   31   25
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97884105   10/16/2019 16:15   10/16/2019 16:15   12   N0FF2524719419RTFHTS   2   1   2   2   2   4   2   5 2    2   1   61111   1   12   2   14   27
97884106   10/16/2019 16:15   10/16/2019 16:15   10   Q1AN2524719418RA1BIJ   2   1   1   2   2   1   1   6 1    2   5   33825   2   11   3   10   19
97884111   10/16/2019 16:15   10/16/2019 16:15   11   FY8J2524717644R0TMWS   1   1   2   1   1   5   2   5 3    3   1   98240   2   12   4   48   33
97884114   10/16/2019 16:15   10/16/2019 16:15    4   RJWO2524687362TESBY0   2   2   3   1   1   8   2   5 3    9   1    2035   1   23   1   22   35
97884160   10/16/2019 16:16   10/16/2019 16:16    8   BM2N2524719701SPWPJZ   2   1   4   1   1   5   2   5 5    5   1   75165   1   14   3   44   47
97884163   10/16/2019 16:16   10/16/2019 16:16   11   9V172524717399ZM1HDR   2   2   1   2   2   4   2   5 2    6   5   36617   2   21   3    1   24
97884168   10/16/2019 16:16   10/16/2019 16:16   14   6TL42524719737RUB5SY   1   2   1   2   2   2   2   1 10   7   1   55420   4   21   2   24   24
97884171   10/16/2019 16:16   10/16/2019 16:16   27   B2UP2524719307M9SWLA   1   1   1   3   2   4   2   3 1    6   1   27910   2   11   3   34   24
97884180   10/16/2019 16:16   10/16/2019 16:16    6   MMHO2524719157H3U4PT   2   1   2   1   1   6   2   5 4    9   1   89117   1   12   4   29   33
97884480   10/16/2019 16:18   10/16/2019 16:18   22   S5JV2524721960OWYG4E   2   1   3   1   1   7   1   5 4    6   1   60062   4   13   2   14   41
97884603   10/16/2019 16:19   10/16/2019 16:19   17   7Z0X2524721274PI3TNI   1   1   1   2   2   1   2   5 3    5   2   43025   1   11   2   36   19
97884727   10/16/2019 16:20   10/16/2019 16:20    4   FVHY2524723657UWKQB9   2   1   4   2   1   3   2   1 2    6   1   46201   2   14   2   15   49
97884736   10/16/2019 16:20   10/16/2019 16:20   19   R0WQ2524722015BK8ZWV   2   2   1   2   1   1   2   5 4    5   1   85048   1   21   4    3   24
97884783   10/16/2019 16:20   10/16/2019 16:20    5   8JXD2524723804OF3W4O   2   1   2   1   1   6   1   5 5    6   1   60601   1   12   2   14   31
97884793   10/16/2019 16:20   10/16/2019 16:20   16   XOP32524716594FS5R21   2   2   1   2   2   3   2   5 2    6   2   80237   1   21   4    6   24
97884823   10/16/2019 16:20   10/16/2019 16:20    6   GP3C2524653505QDE4Q8   2   2   6   1   2   4   2   5 2    8   7   74820   2   26   3   37   69
97884892   10/16/2019 16:21   10/16/2019 16:21    5   CMRA2524724241HKGW77   2   1   2   2   2   4   2   5 1    2   1   47201   1   12   2   15   30
97884985   10/16/2019 16:21   10/16/2019 16:21    5   01AS2524724771XXZD4E   2   2   2   1   1   8   2   5 5    9   1   10027   1   22   1   33   33
97885095   10/16/2019 16:22   10/16/2019 16:22    8   SFVB2524725278ULOPGI   1   1   1   3   1   4   2   5 3    3   1   25430   1   11   3   49   23
97885107   10/16/2019 16:22   10/16/2019 16:22    3   PBGW2524725351EF9VUL   2   1   3   1   1   8   2   5 4    8   1   10121   1   13   1   33   41
97885167   10/16/2019 16:22   10/16/2019 16:23   20   8KKN2524724242BJ05DY   1   1   1   2   2   1   2   5 4    1   4   74021   2   11   3   37   18
97885200   10/16/2019 16:22   10/16/2019 16:23    8   V50Y2524725766DVUPYW   1   2   5   1   2   3   2   5 3    5   6   18302   2   25   1   39   63
97885457   10/16/2019 16:24   10/16/2019 16:24   15   K6ZE2524715861CWLJAW   2   1   2   2   2   4   2   1 1    6   1   30238   1   12   3   11   27
97885518   10/16/2019 16:24   10/16/2019 16:25   35   O6TH2524726717SGOJ7K   2   1   4   1   1   8   2   5 4    8   1   90280   2   14   4    5   49
97885551   10/16/2019 16:25   10/16/2019 16:25    7   Y95F2524727228IIG3XJ   2   1   1   2   1   6   2   5 4    3   5   50014   2   11   2   16   19
97885618   10/16/2019 16:25   10/16/2019 16:25   12   A4OO2524727747XM64MQ   1   2   1   1   2   4   2   5 2    3   2   31537   2   21   3   11   21
97885629   10/16/2019 16:25   10/16/2019 16:26   41   MV3Q2524718503RIS5AE   2   2   1   2   2   3   1   7 3    2   8   18466   1   21   1   39   23
97885661   10/16/2019 16:25   10/16/2019 16:25   10   IKS22524727989USBZ8M   1   2   3   1   1   4   2   5 5    5   1   21791   2   23   3   21   37
97885776   10/16/2019 16:26   10/16/2019 16:26    7   FEWN2524728529EH3ZZ7   1   1   1   2   2   4   2   5 1    3   1   20110   1   11   3   47   21
97885791   10/16/2019 16:26   10/16/2019 16:26    5   B6FM2524728573D4IXCN   2   2   2   1   1   5   2   5 4    8   2   11418   2   22   1   33   31
97885813   10/16/2019 16:26   10/16/2019 16:26    7   4G6U2524700785Z37YMF   2   1   6   1   2   6   2   5 2    5   7   60056   2   16   2   14   69
97886002   10/16/2019 16:27   10/16/2019 16:27    7   TYQ32524729890HEJTQA   2   1   5   4   2   4   2   5 1    5   1    8520   2   15   1   31   57
97886007   10/16/2019 16:27   10/16/2019 16:28    8   8G8J2524729849JR9QK2   1   1   4   1   1   3   2   5 5    5   7   37931   1   14   3   43   52
97886242   10/16/2019 16:29   10/16/2019 16:31   93   Z3OZ2524731286W34XEX   1   2   1   2   2   2   2   5 1    6   4   46032   2   21   2   15   24
97886411   10/16/2019 16:30   10/16/2019 16:30   11   1IFB2524732627D9HTD1   2   2   1   2   1   2   2   5 5    3   2   49799   2   21   2   23   19
97886457   10/16/2019 16:30   10/16/2019 16:30    7   2GUU2524732818FJ4CE1   2   1   2   1   1   6   2   5 3    9   2   11729   1   12   1   33   33
97886520   10/16/2019 16:31   10/16/2019 16:31    7   WCZB2524733258IZBN8V   2   1   4   1   1   5   2   5 5    3   4   45345   2   14   2   36   49
97886650   10/16/2019 16:32   10/16/2019 16:32    6   9RGA2524734269L3BMN9   2   2   5   2   2   1   2   5 1    6   3   33755   2   25   3   10   63
97886736   10/16/2019 16:32   10/16/2019 16:32   11   DFU42524723629OF4A7P   2   2   4   1   1   5   2   7 9    3   1   64030   2   24   2   26   47
97886942   10/16/2019 16:33   10/16/2019 16:34    7   XQ9O2524736232VN485O   2   2   3   3   1   2   2   5 4    3   4   49412   1   23   2   23   36
97886973   10/16/2019 16:34   10/16/2019 16:34    6   9JON2524716604OWT9OT   1   2   4   2   2   1   1   7 1    2   9    2740   1   24   1   22   53
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97887010   10/16/2019 16:34   10/16/2019 16:34   17   4MW62524730917OYNIYO   1   1   2   2   2   3   2   4   4   8   1   85283   1   12   4    3   30
97887161   10/16/2019 16:35   10/16/2019 16:36   35   QC072524737535H870T7   1   2   3   1   1   5   2   5   4   3   1   60103   2   23   2   14   35
97887219   10/16/2019 16:35   10/16/2019 16:35    9   QVSS2524737917LN334T   2   1   3   1   1   7   2   5   4   8   1   10014   1   13   1   33   38
97887383   10/16/2019 16:36   10/16/2019 16:36    4   THNI2524739067XZCIRI   1   2   3   1   1   7   2   5   4   8   1    7822   2   23   1   31   39
97887444   10/16/2019 16:37   10/16/2019 16:37    6   TN5K2524739487FQ0S1X   1   1   2   2   2   8   2   5   1   7   1   10038   2   12   1   33   32
97887475   10/16/2019 16:37   10/16/2019 16:37   12   970T2524739339WRN3JW   1   1   1   2   2   1   2   5   2   2   5   21502   1   11   3   21   21
97887624   10/16/2019 16:38   10/16/2019 16:38    6   XEKX2524740430JNTL8R   2   1   5   1   2   4   2   5   2   3   9   85054   2   15   4    3   56
97887635   10/16/2019 16:38   10/16/2019 16:38    5   52BP2524740554TEXVK6   2   2   4   2   2   4   2   5   1   2   1    2180   2   24   1   22   49
97887646   10/16/2019 16:38   10/16/2019 16:38    5   DM8L2524740629ZI9LT0   2   2   5   3   1   5   2   5   3   2   7    7013   1   25   1   31   64
97887904   10/16/2019 16:40   10/16/2019 16:40    4   YJR42524742537WWKT03   2   1   4   2   2   3   2   5   2   5   1    2920   2   14   1   40   46
97887955   10/16/2019 16:40   10/16/2019 16:41   70   ORNZ2524742964GUU0E9   2   1   2   1   1   7   1   5   5   6   2   60601   1   12   2   14   30
97888177   10/16/2019 16:41   10/16/2019 16:41   13   E4RZ2524744080L1GGUX   2   1   5   2   2   3   2   6   1   6   1   43229   2   15   2   36   57
97888281   10/16/2019 16:42   10/16/2019 16:42    7   LU7H2524744642J1MWHC   1   2   3   1   1   4   2   1   4   6   1   77016   2   23   3   44   36
97888344   10/16/2019 16:42   10/16/2019 16:42    5   HWPU2524745044DLHZZJ   2   1   4   2   2   3   2   3   1   2   1   98407   2   14   4   48   51
97888391   10/16/2019 16:42   10/16/2019 16:42    6   D9SM2524745326IHI59C   2   2   6   3   2   6   2   5   2   4   7   18104   2   26   1   39   67
97888727   10/16/2019 16:44   10/16/2019 16:44   18   ISN02524747191U4GFE6   1   1   1   2   2   1   2   5   1   2   7   43780   1   11   2   36   21
97888748   10/16/2019 16:44   10/16/2019 16:44   12   A9VA2524747318FCQ0FR   2   2   6   1   2   4   2   1   2   3   7   38019   2   26   3   43   70
97888775   10/16/2019 16:44   10/16/2019 16:44    5   ICYB2524747452S9BU4J   2   2   4   6   1   1   2   5   2   3   6   71832   1   24   3    4   49
97889007   10/16/2019 16:46   10/16/2019 16:46   13   ZTQF2524748876ZPME9L   2   1   3   1   1   6   2   5   3   8   1   33612   2   13   3   10   37
97889033   10/16/2019 16:46   10/16/2019 16:46    9   44KB2524748804Z8TK4T   1   2   1   2   2   1   2   5   1   2   1   48461   1   21   2   23   20
97889035   10/16/2019 16:46   10/16/2019 16:46   15   UJSG2524748978Z99R17   2   1   1   2   2   6   2   1   3   3   8   23060   1   11   3   47   20
97889071   10/16/2019 16:46   10/16/2019 16:46    5   OJJL2524749176OO1K0N   2   2   6   1   2   3   2   5   2   4   7   58201   2   26   2   35   67
97889144   10/16/2019 16:46   10/16/2019 16:46    8   KOPM2524749746LA5UZR   2   2   3   4   1   4   2   5   4   6   1   18518   4   23   1   39   36
97889171   10/16/2019 16:46   10/16/2019 16:47   17   VQP72524749855PKD1HR   2   1   2   1   1   6   2   5   4   6   1   11203   1   12   1   33   34
97889181   10/16/2019 16:47   10/16/2019 16:47    4   EQDM2524740173GA8T0F   2   2   4   1   2   6   2   5   2   6   4   44134   2   24   2   36   52
97889583   10/16/2019 16:49   10/16/2019 16:49    6   BMQ12524752127B0LP0C   2   1   2   1   1   6   1   5   5   6   1   98112   1   12   4   48   32
97889642   10/16/2019 16:49   10/16/2019 16:49    6   XBVX2524752493ZHZHY1   2   2   4   4   2   1   2   5   1   3   9   37659   2   24   3   43   54
97889669   10/16/2019 16:49   10/16/2019 16:50    5   GJAI2524752679UFZHOZ   2   2   1   2   2   4   2   5   2   6   8   53005   1   21   2   50   23
97889713   10/16/2019 16:50   10/16/2019 16:50    4   8NPK2524745616GMO8WC   2   1   3   2   2   3   2   1   1   9   1   75023   1   13   3   44   38
97889730   10/16/2019 16:50   10/16/2019 16:50    4   28MF2524752997F1S1DL   2   2   6   4   2   3   2   5   1   3   7   19119   2   26   1   39   70
97889731   10/16/2019 16:50   10/16/2019 16:50    6   JCT22524753010CJKNN9   2   1   5   2   2   1   2   1   1   2   8   60466   1   15   2   14   62
97890054   10/16/2019 16:52   10/16/2019 16:52    6   6XHU2524754825Q1YHZX   2   2   4   2   1   4   2   1   3   6   1   23225   2   24   3   47   46
97890162   10/16/2019 16:52   10/16/2019 16:52    4   QVXW2524755358EMQUBK   2   2   3   2   1   6   2   5   9   6   1   19056   1   23   1   39   35
97890168   10/16/2019 16:52   10/16/2019 16:53    4   FHSJ2524755362II9G5H   1   2   3   3   2   8   2   5   2   8   1    7070   2   23   1   31   40
97890205   10/16/2019 16:53   10/16/2019 16:53    3   TLTN2524755643MAWWXP   2   2   1   3   2   1   2   5   1   5   1   58104   2   21   2   35   24
97890254   10/16/2019 16:53   10/16/2019 16:53    4   4XDX2524755837MGXM0T   1   1   2   2   2   1   2   5   3   2   2   85032   1   12   4    3   26
97890310   10/16/2019 16:53   10/16/2019 16:53   11   CYFE2524754942VK0W68   2   1   1   2   2   1   2   5   1   6   1   61727   1   11   2   14   21
97890312   10/16/2019 16:53   10/16/2019 16:53   10   YF3G2524755477NXFC48   2   1   1   1   1   7   2   5   3   8   1   33143   1   11   3   10   21
97890417   10/16/2019 16:54   10/16/2019 16:54   13   X63V2524756728M9GZTU   2   1   2   1   1   5   2   5   4   7   2   23060   1   12   3   47   33
97890446   10/16/2019 16:54   10/16/2019 16:54    7   X5YE2524756958QSU9JO   2   2   4   6   2   3   2   5   2   3   6   11554   1   24   1   33   45
97890555   10/16/2019 16:55   10/16/2019 16:55    5   34CA2524757454H0LSFR   2   1   2   1   1   6   2   5   5   6   1   32801   1   12   3   10   34
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97890565   10/16/2019 16:55   10/16/2019 16:55    5   G4XS2524757515BY1UTP   2   2   6   4   2   1   2   5   1   4   5   85032   2   26   4    3   67
97890621   10/16/2019 16:55   10/16/2019 16:55    8   SM5S2524757890JHMM81   2   1   3   1   1   6   1   5   6   6   1   11004   1   13   1   33   37
97890622   10/16/2019 16:55   10/16/2019 16:55    4   YHU92524757834K0YA10   2   1   3   1   1   6   2   5   5   6   1   77007   1   13   3   44   43
97890675   10/16/2019 16:55   10/16/2019 16:55    5   4FXW2524758210DQRJRY   2   1   6   1   2   4   2   5   2   7   7   95367   2   16   4    5   70
97890679   10/16/2019 16:55   10/16/2019 16:55   14   PXOB2524758057C6TA51   1   2   1   2   2   1   2   5   1   3   8   78212   1   21   3   44   19
97890705   10/16/2019 16:55   10/16/2019 16:56   12   E7KP2524757918O7Q42I   1   2   1   2   2   2   2   2   2   3   8   34691   1   21   3   10   21
97890719   10/16/2019 16:55   10/16/2019 16:56    5   0S5J2524758578Z67EUI   2   2   6   1   2   7   2   5   2   6   7   60646   2   26   2   14   70
97890728   10/16/2019 16:56   10/16/2019 16:56    6   JONJ2524758717W2ZBY6   2   2   6   1   2   3   2   5   2   2   7   15209   2   26   1   39   68
97890806   10/16/2019 16:56   10/16/2019 16:56   28   OMF22524759173NK8ALV   2   2   5   1   1   4   2   5   5   6   2   60193   1   25   2   14   60
97890818   10/16/2019 16:56   10/16/2019 16:56    4   M1ZA2524759204LOWVEQ   1   2   3   1   1   6   2   5   4   4   2   48085   1   23   2   23   39
97890822   10/16/2019 16:56   10/16/2019 16:56   14   1YH92524759010UC4XJA   1   2   1   2   2   1   2   5   2   2   4   33565   1   21   3   10   18
97890835   10/16/2019 16:56   10/16/2019 16:57   62   J2YR2524758739L6KYDQ   2   1   1   2   2   8   2   1   5   9   1   20710   1   11   3   21   18
97890855   10/16/2019 16:56   10/16/2019 16:56   12   ZWBE2524759217D1TNFR   2   2   2   1   1   5   2   5   4   8   1   75205   1   22   3   44   34
97890895   10/16/2019 16:57   10/16/2019 16:57    5   V5WH2524759585NJHULK   2   2   3   2   1   1   2   5   1   5   7   77065   2   23   3   44   43
97890899   10/16/2019 16:57   10/16/2019 16:57    6   FHVJ2524759389O2RRX0   2   2   3   4   1   4   2   1   5   2   4   93535   3   23   4    5   38
97890923   10/16/2019 16:57   10/16/2019 16:57    5   DU822524759719S8VKXY   2   2   6   1   2   4   2   5   2   2   7   60462   2   26   2   14   68
97891287   10/16/2019 16:59   10/16/2019 16:59    4   6L802524761744TJG3LY   1   2   2   1   1   4   2   5   4   2   6   70360   2   22   3   19   31
97891322   10/16/2019 16:59   10/16/2019 16:59    8   NGYE2524761878BFGIV5   2   2   6   5   2   1   2   1   1   6   7   28150   2   26   3   34   82
97891326   10/16/2019 16:59   10/16/2019 16:59    6   ZXH22524758604JPUHJV   2   2   6   1   2   6   2   5   2   3   1    7065   2   26   1   31   67
97891428   10/16/2019 17:00   10/16/2019 17:00    9   2JR92524762347D4W2KY   2   2   4   1   1   4   2   5   4   2   6    7461   2   24   1   31   45
97891691   10/16/2019 17:02   10/16/2019 17:02    7   6EHV2524763918AIQRNT   2   1   3   1   1   5   1   5   4   6   1   60601   1   13   2   14   37
97891724   10/16/2019 17:02   10/16/2019 17:02    9   1CM92524764108BQ1KHB   2   2   4   1   1   6   2   5   6   6   5   11778   2   24   1   33   46
97891729   10/16/2019 17:02   10/16/2019 17:02    6   1UHG2524764074E399EN   2   1   6   1   2   6   2   5   2   8   7   63017   2   16   2   26   80
97891784   10/16/2019 17:02   10/16/2019 17:02    7   ITHS2524764418WM7QN7   2   2   3   1   1   1   2   5   5   3   6   32708   2   23   3   10   35
97891808   10/16/2019 17:02   10/16/2019 17:02    5   RXQ52524764553EWXWU2   2   1   2   1   2   6   2   5   2   8   1    6070   2   12   1    7   34
97891868   10/16/2019 17:03   10/16/2019 17:03    9   LF912524764800BHWOOH   2   2   4   2   2   1   2   5   1   3   9   12304   2   24   1   33   47
97892008   10/16/2019 17:04   10/16/2019 17:04   11   R1EW2524765649VF5RSI   2   1   5   6   2   4   2   5   1   9   1    2151   2   15   1   22   64
97892130   10/16/2019 17:04   10/16/2019 17:04    4   EHTR2524766402AR9WHL   1   2   3   1   2   1   2   1   4   2   7   70805   1   23   3   19   38
97892202   10/16/2019 17:05   10/16/2019 17:05    5   22N02524766848F7SYLU   1   1   1   2   2   3   2   5   2   5   5   34684   2   11   3   10   24
97892248   10/16/2019 17:05   10/16/2019 17:05    9   LGLC2524766938W6QJA0   1   1   2   1   1   8   2   5   5   9   1   49401   1   12   2   23   25
97892388   10/16/2019 17:06   10/16/2019 17:06   10   0SNQ2524767824R8HDLM   2   1   5   1   2   3   2   5   2   2   7   35805   2   15   3    1   63
97892409   10/16/2019 17:06   10/16/2019 17:06    7   23CN2524767886WMMU2B   1   2   5   4   2   2   2   1   2   2   5   11419   2   25   1   33   60
97892453   10/16/2019 17:06   10/16/2019 17:06    6   VHMT2524768256EILDJX   2   1   4   1   2   5   2   5   2   6   3   67401   2   14   2   17   49
97892455   10/16/2019 17:06   10/16/2019 17:06   10   XNLT2524768247KX5NXP   1   2   1   2   2   1   2   5   1   6   5   98033   2   21   4   48   22
97892491   10/16/2019 17:07   10/16/2019 17:07   19   JENS2524768457KVEJN5   2   1   6   1   2   6   2   5   2   4   1   33573   2   16   3   10   72
97892515   10/16/2019 17:07   10/16/2019 17:07    6   6XW12524768115NZYKK8   2   1   5   2   2   6   2   5   2   4   7   60076   2   15   2   14   63
97892576   10/16/2019 17:07   10/16/2019 17:07    5   DBY42524768892DZE0H0   2   1   6   1   2   5   2   5   2   8   7   14612   2   16   1   33   72
97892584   10/16/2019 17:07   10/16/2019 17:07   11   023B2524768568RVGU9C   1   1   1   2   1   1   1   7   2   2   1    8110   1   11   1   31   21
97892649   10/16/2019 17:08   10/16/2019 17:08   23   OB322524769372E3HNJU   1   2   6   2   2   3   2   5   1   5   7   53711   2   26   2   50   66
97892678   10/16/2019 17:08   10/16/2019 17:08   11   8HOV2524677971R8O9LK   1   2   4   1   1   2   2   1   3   3   7   38701   1   24   3   25   52
97892709   10/16/2019 17:08   10/16/2019 17:08    8   U23S2524769822MFOGIR   2   1   3   1   1   6   2   5   4   8   1   11004   1   13   1   33   38
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97892762   10/16/2019 17:08   10/16/2019 17:09    24   L8WV2524769945FV3OT1   1   2   1   1   2   4   2   5   2   9   1   31909   2   21   3   11   20
97892802   10/16/2019 17:09   10/16/2019 17:09     8   CKR22524770337D9GZFJ   1   2   3   4   1   2   1   5   5   6   2   94508   2   23   4    5   35
97892844   10/16/2019 17:09   10/16/2019 17:09     8   R9KH2524770467C6D1MV   2   2   4   1   2   3   2   5   2   3   9   73018   2   24   3   37   53
97892848   10/16/2019 17:09   10/16/2019 17:09    11   QKN72524768687FLLX2H   1   2   1   2   2   2   2   5   1   3   8   47421   1   21   2   15   18
97892898   10/16/2019 17:09   10/16/2019 17:09    11   L18D2524770539UKB48E   2   1   2   1   1   6   1   5   5   6   1   92627   1   12   4    5   31
97892997   10/16/2019 17:10   10/16/2019 17:10     7   AUC52524771279MOTTAN   2   1   2   2   1   2   2   3   5   5   1   89141   2   12   4   29   26
97893082   10/16/2019 17:10   10/16/2019 17:10     6   E3GX2524771876J3FY44   1   2   1   3   1   2   2   7   9   3   9   92374   1   21   4    5   21
97893261   10/16/2019 17:11   10/16/2019 17:12    18   3Z9W2524772911KO3P2V   1   2   1   2   2   1   2   5   4   2   1   70503   1   21   3   19   19
97893371   10/16/2019 17:12   10/16/2019 17:12     4   VBHI2524773609M12L14   2   2   3   1   1   5   2   5   4   5   1   34222   2   23   3   10   42
97893376   10/16/2019 17:12   10/16/2019 17:12    10   QT9E2524773576V7RTTQ   1   2   1   2   2   1   2   5   1   6   3   80013   1   21   4    6   18
97893445   10/16/2019 17:12   10/16/2019 17:13    16   WT9H2524773902QD5UTO   2   1   2   1   1   5   2   5   4   6   1   90010   2   12   4    5   34
97893514   10/16/2019 17:13   10/16/2019 17:13    16   TND92524774512O7S830   1   1   2   2   1   5   2   5   5   6   4   33614   1   12   3   10   25
97893563   10/16/2019 17:13   10/16/2019 17:13     6   QDYC2524770861EE0RR5   2   2   2   1   1   6   2   5   4   6   1   44039   2   22   2   36   27
97893673   10/16/2019 17:14   10/16/2019 17:14    10   SSLT2524775411SGVRPA   1   2   1   2   2   1   1   6   5   2   9   91791   2   21   4    5   19
97893678   10/16/2019 17:14   10/16/2019 17:14     7   0UNK2524753850KK38V7   1   2   4   4   1   1   2   5   4   2   4   39427   2   24   3   25   52
97893707   10/16/2019 17:14   10/16/2019 17:14     6   38YQ2524775634CSV2KC   2   1   6   1   2   3   2   5   2   3   7   93561   2   16   4    5   69
97893739   10/16/2019 17:14   10/16/2019 17:14     6   1VXV2524775905WJ2Z0R   2   1   5   1   2   5   2   5   2   3   1   90040   2   15   4    5   60
97893753   10/16/2019 17:14   10/16/2019 17:14     7   2CX62524775803EVPVJ9   2   2   6   4   2   4   2   6   1   2   7   20904   2   26   3   21   70
97893800   10/16/2019 17:15   10/16/2019 17:15     7   SLGX2524776256S7IRBU   2   1   5   1   1   1   2   5   4   8   9   38111   2   15   3   43   56
97893801   10/16/2019 17:15   10/16/2019 17:15     9   EMIP2524776172D1RH2R   1   2   6   4   2   1   2   5   1   2   7    2919   2   26   1   40   65
97893828   10/16/2019 17:15   10/16/2019 17:15     3   OAZS2524776255NYU1YA   2   2   4   1   1   7   2   5   3   6   1    7080   1   24   1   31   50
97893861   10/16/2019 17:15   10/16/2019 17:15     5   UMYI2524776690WDW4R3   1   2   2   1   1   5   2   5   4   6   6   53080   2   22   2   50   32
97893884   10/16/2019 17:15   10/16/2019 17:15    10   3F7Q2524776887RKT30E   2   1   6   3   2   2   2   5   2   2   7   23702   2   16   3   47   78
97893905   10/16/2019 17:15   10/16/2019 17:16    12   FYW32524776889MI41P1   2   1   6   5   2   3   2   5   1   3   7   52625   2   16   2   16   88
97893942   10/16/2019 17:16   10/16/2019 17:16     7   HBTL2524777298UIF9J6   2   1   6   1   2   5   2   5   2   5   7   52002   2   16   2   16   69
97893972   10/16/2019 17:16   10/16/2019 17:16     5   9Y152524770553GB4XC6   2   2   3   1   1   5   2   5   4   6   1   86327   1   23   4    3   37
97893992   10/16/2019 17:16   10/16/2019 17:16     5   G79Z2524762383ETJ4P4   2   1   4   1   1   6   2   5   3   8   1   20001   2   14   3    9   46
97894090   10/16/2019 17:17   10/16/2019 17:17    15   ZEHA2524778137AVJPDI   1   1   2   2   2   8   2   2   3   2   1   93611   1   12   4    5   27
97894141   10/16/2019 17:17   10/16/2019 17:17     6   OITS2524759592TNU720   2   2   6   4   2   3   2   5   1   3   7   27615   2   26   3   34   75
97894287   10/16/2019 17:18   10/16/2019 17:18    11   Z71W2524779139CVKCF1   1   1   4   4   1   3   2   5   2   6   1   59635   2   14   4   27   50
97894301   10/16/2019 17:18   10/16/2019 17:18     5   858A2524779208NSNM7B   2   1   2   2   2   1   2   5   1   2   3   28270   2   12   3   34   32
97894305   10/16/2019 17:18   10/16/2019 17:18     5   31J72524779246F45BPB   2   2   5   1   2   4   2   5   2   2   6   33405   2   25   3   10   55
97894334   10/16/2019 17:18   10/16/2019 17:18    16   YLP32524779255DML3K4   2   1   6   1   2   7   2   3   2   3   7   94070   2   16   4    5   66
97894349   10/16/2019 17:18   10/16/2019 17:18    10   2FS22524779313FKMEA1   1   1   2   1   2   6   2   3   2   8   1   95117   3   12   4    5   34
97894353   10/16/2019 17:18   10/16/2019 17:18    11   SAYZ2524779463PYHLRS   2   1   6   4   2   5   2   5   2   2   1   44095   2   16   2   36   72
97894363   10/16/2019 17:18   10/16/2019 17:18    14   773V2524777293E6OI2K   1   2   1   2   2   1   2   1   1   2   5   60472   2   21   2   14   23
97894373   10/16/2019 17:18   10/16/2019 17:18    13   RW9P2524779522POJEP3   2   1   5   4   2   1   2   1   1   2   9   39059   2   15   3   25   58
97894385   10/16/2019 17:18   10/16/2019 17:19    39   NW6D2524779074AGGPPK   1   2   5   2   2   4   2   5   1   2   1   33714   2   25   3   10   60
97894435   10/16/2019 17:19   10/16/2019 17:24   306   4YAO2524775247RSEDH3   1   2   1   1   2   1   2   2   2   2   5   74403   2   21   3   37   23
97894473   10/16/2019 17:19   10/16/2019 17:19     7   TU9Z2524638429NQ25YK   2   2   6   1   2   5   2   1   2   3   7   24502   1   26   3   47   71
97894616   10/16/2019 17:20   10/16/2019 17:20    12   QKY92524781312KKU2K9   2   1   4   2   2   3   2   5   1   3   1   24521   1   14   3   47   51
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97894670   10/16/2019 17:20   10/16/2019 17:20    4   I3JJ2524759515A4FKC3   2   2   6   1   2   6   2   5   2   6   7   98077   2   26   4   48   72
97894782   10/16/2019 17:21   10/16/2019 17:21    9   NOKI2524782336LLV13E   2   2   4   1   2   3   2   5   2   4   1   44515   2   24   2   36   52
97894801   10/16/2019 17:21   10/16/2019 17:21    5   PGJP2524782463HZIBLZ   1   1   5   1   1   4   2   5   4   2   4   46901   2   15   2   15   59
97894863   10/16/2019 17:22   10/16/2019 17:22    6   KL4A2524782925GDNPYQ   2   1   5   2   2   1   2   5   1   3   5   94043   2   15   4    5   60
97894865   10/16/2019 17:22   10/16/2019 17:22    5   TWII2524782918BHAM9G   2   1   3   1   1   7   2   5   3   8   1   34741   1   13   3   10   37
97894871   10/16/2019 17:22   10/16/2019 17:22   16   V4X62524782926KOVCMK   2   1   6   4   2   1   2   5   1   3   7   95926   2   16   4    5   76
97894989   10/16/2019 17:23   10/16/2019 17:23    4   A39O2524783697B047WG   1   2   4   6   1   4   2   7   4   3   1   21061   2   24   3   21   53
97895005   10/16/2019 17:23   10/16/2019 17:23   13   EJA22524783524R5IQZ3   2   1   2   1   1   5   1   5   4   6   1   98112   1   12   4   48   32
97895026   10/16/2019 17:23   10/16/2019 17:23    4   92WO2524781573YGM94Y   2   1   5   1   2   4   2   5   2   4   1   21117   2   15   3   21   55
97895265   10/16/2019 17:24   10/16/2019 17:24    6   MLRP2524785083GKF4O9   2   2   4   1   2   4   2   5   2   5   6   15601   2   24   1   39   49
97895277   10/16/2019 17:24   10/16/2019 17:24    6   Z0VZ2524785207SSWTFV   2   1   4   2   2   4   2   5   1   6   1   30309   3   14   3   11   49
97895281   10/16/2019 17:24   10/16/2019 17:24    7   7W7P2524785184N0XR0E   2   1   5   1   1   6   1   6   8   8   1   92102   1   15   4    5   60
97895406   10/16/2019 17:25   10/16/2019 17:25   11   PL652524785917BL9LVU   2   2   6   1   2   4   2   5   2   5   7   55426   1   26   2   24   86
97895549   10/16/2019 17:26   10/16/2019 17:26    5   VPGV2524786733ML1SI1   2   2   6   1   2   5   2   5   2   6   1   89408   2   26   4   29   68
97895595   10/16/2019 17:26   10/16/2019 17:26   13   4QBG2524785955Z9O7TY   2   2   6   1   2   5   2   5   2   6   7   63116   2   26   2   26   69
97895632   10/16/2019 17:26   10/16/2019 17:27   13   6T7Z2524787105PAMXCS   2   1   6   1   2   3   2   5   2   6   2   43068   2   16   2   36   74
97896028   10/16/2019 17:29   10/16/2019 17:29   10   VHI02524789698EPO2AO   1   2   1   3   2   3   1   5   2   8   1    2134   2   21   1   22   23
97896081   10/16/2019 17:29   10/16/2019 17:29   12   21SF2524789953DQKSC5   1   2   1   3   2   1   2   5   2   2   1   45331   1   21   2   36   22
97896118   10/16/2019 17:30   10/16/2019 17:30    6   YYYQ2524790316EFRPAG   2   1   5   2   2   4   2   5   1   3   4   90275   2   15   4    5   56
97896141   10/16/2019 17:30   10/16/2019 17:30    7   74I72524790362PHKKP7   2   1   5   2   2   1   2   5   1   5   5   89117   1   15   4   29   55
97896151   10/16/2019 17:30   10/16/2019 17:30    8   XM0Z2524790124PNR0RK   2   2   6   5   2   4   2   5   1   8   7   47353   2   26   2   15   79
97896164   10/16/2019 17:30   10/16/2019 17:31   42   2L392524790413U3CAWD   1   2   1   2   1   4   2   5   7   2   5   62239   1   21   2   14   18
97896167   10/16/2019 17:30   10/16/2019 17:30    9   NGE02524790480IWWPQ4   2   2   3   1   1   8   2   5   3   8   1   34145   1   23   3   10   42
97896247   10/16/2019 17:30   10/16/2019 17:31    6   JP9W2524771750LW9QQF   2   1   6   5   2   3   2   5   1   3   7   36758   2   16   3    1   65
97896272   10/16/2019 17:31   10/16/2019 17:31    7   6IEK2524791089RXFWO1   2   1   5   5   2   5   2   5   1   8   3   73572   1   15   3   37   55
97896312   10/16/2019 17:31   10/16/2019 17:31   17   1QUH2524791263P19UWC   2   1   2   1   1   6   1   5   4   5   1   60601   1   12   2   14   32
97896337   10/16/2019 17:31   10/16/2019 17:31    8   C0B52524791449V3SJJY   2   1   5   1   1   6   1   5   4   6   1   10032   1   15   1   33   56
97896341   10/16/2019 17:31   10/16/2019 17:31    7   7L6M2524791526XMTUK9   1   1   5   4   1   4   2   5   1   6   7   81147   1   15   4    6   63
97896343   10/16/2019 17:31   10/16/2019 17:32   35   LKWS2524791485UUXWKC   1   1   2   2   2   1   2   5   3   2   4   47922   2   12   2   15   32
97896422   10/16/2019 17:31   10/16/2019 17:32    8   B7GV2524791965KVWTJV   2   1   5   2   2   6   2   5   1   8   1   92692   2   15   4    5   57
97896494   10/16/2019 17:32   10/16/2019 17:32    9   GFPF2524792584S9JGVN   2   1   5   2   2   4   2   5   1   3   1   58503   2   15   2   35   58
97896524   10/16/2019 17:32   10/16/2019 17:32   12   WRBN2524777299HXJWV4   1   2   6   1   2   1   2   5   2   3   2   49821   2   26   2   23   65
97896537   10/16/2019 17:32   10/16/2019 17:32    9   2ZT02524792812JLK9DE   2   1   6   5   2   3   2   5   2   4   7   49068   2   16   2   23   86
97896540   10/16/2019 17:32   10/16/2019 17:33   40   E6G32524792835KCAQQ8   2   1   6   1   2   1   2   7   2   6   2   30548   2   16   3   11   69
97896549   10/16/2019 17:32   10/16/2019 17:33   11   LIB22524792851W1VDFL   2   1   2   1   1   6   1   5   5   6   1   98112   1   12   4   48   34
97896627   10/16/2019 17:33   10/16/2019 17:33   12   UOXU2524768633CVYSTM   2   2   4   1   1   5   2   7   2   8   1   27616   1   24   3   34   50
97896658   10/16/2019 17:33   10/16/2019 17:34   27   KNBZ2524793273NME684   2   1   2   1   1   5   2   5   5   8   2   11004   1   12   1   33   34
97896716   10/16/2019 17:33   10/16/2019 17:34    6   XO3R2524793732ONG4JO   2   1   5   2   2   1   2   5   1   6   1   65233   2   15   2   26   56
97896790   10/16/2019 17:34   10/16/2019 17:34   15   4HZY2524794213PTF9XP   1   1   2   2   1   1   2   5   2   2   2   14216   3   12   1   33   33
97896879   10/16/2019 17:35   10/16/2019 17:35    9   YMXV2524794652A6GDSJ   1   2   1   2   2   3   2   7   2   2   2   29349   2   21   3   41   21
97896904   10/16/2019 17:35   10/16/2019 17:35   30   1JR22524737934U0GY9H   2   1   4   1   1   4   2   5   5   6   1   48126   2   14   2   23   50
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97896966   10/16/2019 17:35   10/16/2019 17:35   14   OVFL2524795107E3CM2E   2   1   6   1   1   1   2   1   4   2   9   30223   3   16   3   11   65
97897026   10/16/2019 17:36   10/16/2019 17:36   12   YRIG2524775827ZFXCP4   2   2   6   1   2   4   1   5   2   2   7   78380   2   26   3   44   65
97897028   10/16/2019 17:36   10/16/2019 17:36    8   1ZQL2524793001T7XMTQ   2   1   2   2   2   2   2   5   1   3   9   20024   2   12   3    9   29
97897120   10/16/2019 17:36   10/16/2019 17:36    8   LFNO2524796071HDLSH7   2   1   5   2   2   4   2   1   1   6   2   27406   2   15   3   34   63
97897125   10/16/2019 17:36   10/16/2019 17:37   22   XG4S2524794208N2NX84   1   2   1   2   1   1   2   5   4   2   5   72762   2   21   3    4   18
97897128   10/16/2019 17:36   10/16/2019 17:37   10   GKE52524796097SPSMZJ   1   2   1   2   2   2   2   5   1   6   1   72401   2   21   3    4   23
97897227   10/16/2019 17:37   10/16/2019 17:37    7   VLOW2524795353CI2HHU   2   1   6   1   2   4   2   5   2   3   7   48749   2   16   2   23   75
97897282   10/16/2019 17:37   10/16/2019 17:38   10   CLLO2524796524BJ6M1Z   2   1   2   2   2   1   1   6   1   5   2   11211   1   12   1   33   28
97897489   10/16/2019 17:39   10/16/2019 17:39    6   EA3O2524798099G5TDKL   2   1   2   1   1   6   2   5   5   6   1   30303   1   12   3   11   34
97897565   10/16/2019 17:39   10/16/2019 17:39    8   4KNS2524786314IMN7L9   2   2   6   1   2   5   2   5   2   8   7   44281   2   26   2   36   78
97897570   10/16/2019 17:39   10/16/2019 17:39    5   1P8N2524798519IYYU6B   2   2   5   1   2   5   2   5   2   3   1   75662   2   25   3   44   60
97897577   10/16/2019 17:39   10/16/2019 17:40    9   RDSH2524798603F53QGO   2   2   6   2   2   2   2   5   1   3   7   29910   2   26   3   41   68
97897631   10/16/2019 17:40   10/16/2019 17:40    6   1LBJ2524798976T77MIQ   2   1   5   2   2   1   2   5   1   3   7   40205   2   15   3   18   60
97897706   10/16/2019 17:40   10/16/2019 17:41    6   Y2VY2524799457SCGVV6   1   2   4   2   2   1   2   5   1   1   2   46953   2   24   2   15   52
97897810   10/16/2019 17:41   10/16/2019 17:41    8   9VO52524776060UAOIFJ   1   2   6   1   2   7   2   5   2   8   7   44024   2   26   2   36   67
97897839   10/16/2019 17:41   10/16/2019 17:42   10   RAKT2524793234F2W6PV   2   1   6   1   2   3   2   1   3   4   7   29506   2   16   3   41   72
97897860   10/16/2019 17:42   10/16/2019 17:42    8   ZK8K2524793375FU1FAN   2   1   6   1   2   3   2   2   2   3   7   48067   2   16   2   23   72
97897922   10/16/2019 17:42   10/16/2019 17:42    7   TU6U2524800807HMEB6H   2   2   4   6   1   1   2   5   3   3   6   30728   2   24   3   11   45
97897993   10/16/2019 17:42   10/16/2019 17:43    8   LOOO2524801214XUOL40   2   2   6   4   2   4   2   5   1   6   7   63119   2   26   2   26   69
97898037   10/16/2019 17:43   10/16/2019 17:43    6   FUA52524801666MJO2PT   2   2   6   1   2   1   2   1   2   3   7   74073   2   26   3   37   69
97898064   10/16/2019 17:43   10/16/2019 17:43    9   PVCT2524801818NGD5H7   2   2   4   1   2   2   2   5   2   1   2   67301   1   24   2   17   53
97898099   10/16/2019 17:43   10/16/2019 17:43    8   H0PL2524801925EKY47I   2   2   6   4   2   2   2   5   1   3   7   92064   2   26   4    5   74
97898108   10/16/2019 17:43   10/16/2019 17:43    5   0FRJ2524802044ZF6XQ0   2   2   6   1   1   6   2   5   3   8   1   55122   2   26   2   24   65
97898147   10/16/2019 17:44   10/16/2019 17:44    8   9J1G2524802346Z0X6TE   2   2   6   2   2   1   2   5   1   6   4   98305   2   26   4   48   68
97898159   10/16/2019 17:44   10/16/2019 17:44    5   DKNO2524802345RJ6L2K   2   2   4   3   1   3   2   1   3   8   2   60302   2   24   2   14   45
97898174   10/16/2019 17:44   10/16/2019 17:44    5   O5NL2524802415MZIZ5F   2   1   5   1   1   8   2   5   3   8   1   33076   2   15   3   10   62
97898216   10/16/2019 17:44   10/16/2019 17:45   34   EE6F2524640773NV1XLU   2   2   4   1   1   5   2   5   8   5   1   92115   2   24   4    5   54
97898226   10/16/2019 17:44   10/16/2019 17:45   67   NPMC2524786962VZW5XM   2   2   2   1   1   5   1   2   4   8   1   77083   1   22   3   44   34
97898372   10/16/2019 17:45   10/16/2019 17:45   11   VS5T2524803333VJD2KM   2   1   6   1   2   8   2   5   3   9   7   45036   2   16   2   36   72
97898383   10/16/2019 17:45   10/16/2019 17:45   12   24692524803391RA3YVZ   2   2   4   1   1   6   2   5   4   6   6   63011   1   24   2   26   51
97898402   10/16/2019 17:45   10/16/2019 17:45    2   DKMK2524803579XLU0W3   2   2   2   1   1   1   2   1   2   2   1   78704   1   22   3   44   30
97898403   10/16/2019 17:45   10/16/2019 17:45    7   35282524803576KW1HLI   2   1   4   4   2   4   2   5   1   8   1   98226   2   14   4   48   47
97898412   10/16/2019 17:45   10/16/2019 17:45    3   SWAF2524803624AXZPLT   2   1   2   1   1   6   2   5   5   5   1   60050   1   12   2   14   33
97898437   10/16/2019 17:45   10/16/2019 17:46    7   S4YZ2524803757P85TR6   2   1   5   1   2   6   2   5   2   5   1   61265   3   15   2   14   62
97898473   10/16/2019 17:46   10/16/2019 17:46   25   FXYD2524803706NDPDD5   2   1   2   1   1   6   2   5   4   6   1   35242   1   12   3    1   33
97898549   10/16/2019 17:46   10/16/2019 17:46    6   OU8H2524804378ONMPY7   2   1   6   1   2   8   2   5   2   6   1   98230   2   16   4   48   71
97898625   10/16/2019 17:47   10/16/2019 17:47   30   RLFU2524804728Q9EK8X   2   2   2   1   1   2   2   5   4   2   1   48640   2   22   2   23   34
97898668   10/16/2019 17:47   10/16/2019 17:47   20   ZIXL2524804835OM65P8   2   2   3   1   1   6   2   5   6   7   1   72715   1   23   3    4   39
97898715   10/16/2019 17:47   10/16/2019 17:47    8   GUIY2524805160XMLAM6   2   1   6   1   2   5   2   5   2   6   7   34747   2   16   3   10   74
97898751   10/16/2019 17:48   10/16/2019 17:48    8   4ZFF2524805452XX5MO4   2   1   6   4   2   3   2   5   1   9   1   87002   1   16   4   32   71
97898849   10/16/2019 17:48   10/16/2019 17:48    5   KNTO2524806004X4A733   2   1   6   4   2   1   2   5   1   6   7   33870   2   16   3   10   70
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97898851   10/16/2019 17:48   10/16/2019 17:48     6   Y6122524806006KR62LC   2   1   6   1   2   4   2   5   2   6   2   46628   2   16   2   15   69
97898902   10/16/2019 17:49   10/16/2019 17:49     7   MZ0G2524806486GIM63X   2   2   1   2   2   3   2   5   1   6   1   87114   1   21   4   32   23
97899048   10/16/2019 17:50   10/16/2019 17:50     6   UHNS2524807210IVSUWD   1   1   6   1   2   4   2   5   2   8   1   30102   2   16   3   11   70
97899075   10/16/2019 17:50   10/16/2019 17:50     6   CYHV2524807071XRX7VP   2   1   6   3   2   4   2   5   2   4   7   21037   2   16   3   21   65
97899167   10/16/2019 17:50   10/16/2019 17:51    11   O2NM2524808203E69R84   2   2   2   1   1   7   2   5   4   6   1   63129   2   22   2   26   34
97899209   10/16/2019 17:51   10/16/2019 17:51     7   SUOH2524808485LXR9OE   2   1   6   4   1   5   2   5   2   8   7   33308   2   16   3   10   67
97899213   10/16/2019 17:51   10/16/2019 17:51     8   V8RP2524808501AUWBE0   2   1   6   1   2   4   2   5   2   5   7   32222   2   16   3   10   73
97899243   10/16/2019 17:51   10/16/2019 17:51     9   PBX52524808661GVTAF4   2   1   6   1   2   7   2   5   2   2   7   11740   2   16   1   33   83
97899454   10/16/2019 17:53   10/16/2019 17:53     6   ITCU2524799630WU13SE   2   2   6   5   2   3   2   5   1   6   7   61455   2   26   2   14   82
97899519   10/16/2019 17:53   10/16/2019 17:53     8   PDUJ2524809929VZ37ZJ   2   1   5   1   2   5   2   5   2   6   1   85224   2   15   4    3   61
97899685   10/16/2019 17:55   10/16/2019 17:55     6   5Z882524810650VXVIKI   2   2   4   1   1   3   1   6   4   4   6   33135   1   24   3   10   52
97899708   10/16/2019 17:55   10/16/2019 17:55     7   P2712524810744GFSU98   1   2   4   2   1   5   2   5   5   5   1   16001   1   24   1   39   45
97899792   10/16/2019 17:56   10/16/2019 17:58   122   5HC82524810396CU4V39   1   1   2   2   2   4   2   7   1   6   1   96817   2   12   4   12   28
97899885   10/16/2019 17:57   10/16/2019 17:57     4   45FI2524811267Q7Q2SM   2   1   2   1   1   5   2   5   4   9   2   49519   1   12   2   23   29
97899975   10/16/2019 17:57   10/16/2019 17:57     7   LKX12524811601DSFE82   2   1   6   1   2   5   2   5   2   6   2   89129   2   16   4   29   74
97900082   10/16/2019 17:58   10/16/2019 17:58     7   VED62524812151C98FHR   2   2   6   1   2   6   2   5   2   6   7   20832   2   26   3   21   71
97900090   10/16/2019 17:58   10/16/2019 17:58     7   KPQJ2524812210C9W0KI   2   1   6   1   2   6   2   5   2   8   7   60477   2   16   2   14   66
97900156   10/16/2019 17:59   10/16/2019 17:59     7   Y7H52524812507QLEBUZ   2   1   6   1   2   4   2   5   2   6   7   34683   1   16   3   10   73
97900225   10/16/2019 18:00   10/16/2019 18:00     7   HQ5U2524812934LTLAAS   2   2   5   2   1   2   2   5   6   3   9   21225   3   25   3   21   56
97900232   10/16/2019 18:00   10/16/2019 18:00     5   LU2N2524813055KI6CBS   2   2   3   1   1   3   2   5   4   3   6   60446   2   23   2   14   44
97900298   10/16/2019 18:00   10/16/2019 18:01     6   TFHB2524805952TCNLOC   2   1   6   2   2   3   2   3   1   6   7   94611   2   16   4    5   72
97900371   10/16/2019 18:01   10/16/2019 18:01     4   R4T52524813740C5DPMK   1   2   3   1   1   3   2   5   4   8   1    7071   1   23   1   31   36
97900383   10/16/2019 18:01   10/16/2019 18:01     9   NXMI2524813762VHQJ4W   2   1   4   1   1   6   2   5   3   2   1   19111   2   14   1   39   54
97900386   10/16/2019 18:01   10/16/2019 18:01     5   YN3I2524813793CYXGRR   2   2   1   2   2   3   2   5   3   6   1   28214   1   21   3   34   20
97900418   10/16/2019 18:02   10/16/2019 18:02     7   OGYJ2524813934P0Q9FQ   2   1   6   1   2   4   2   5   2   6   7   31309   2   16   3   11   70
97900622   10/16/2019 18:04   10/16/2019 18:04    12   447B2524814835T8FE8Z   2   1   4   2   2   1   1   5   1   6   9   92503   1   14   4    5   47
97900641   10/16/2019 18:04   10/16/2019 18:04     3   GAD12524814912GAJ76K   1   2   2   2   1   1   2   1   4   2   5   60647   1   22   2   14   32
97900653   10/16/2019 18:04   10/16/2019 18:04    19   CTG82524814812DLBUIA   2   2   4   1   2   8   2   5   2   6   1   77459   2   24   3   44   48
97900788   10/16/2019 18:05   10/16/2019 18:05     5   XC8N2524815661CM0UOH   2   2   2   1   2   6   2   5   2   8   1   30809   2   22   3   11   31
97900865   10/16/2019 18:06   10/16/2019 18:06    19   KEDY2524816013LPRIDO   1   2   4   2   2   4   2   5   1   6   1   60445   2   24   2   14   45
97900884   10/16/2019 18:06   10/16/2019 18:06     8   B9MG2524816031LKQYY4   2   2   4   4   1   3   2   5   3   4   9   80205   2   24   4    6   54
97900950   10/16/2019 18:07   10/16/2019 18:07     4   7JB62524816454ZQSQH1   2   2   2   2   2   4   2   5   3   8   1   22923   2   22   3   47   30
97900968   10/16/2019 18:07   10/16/2019 18:07     5   5ZIJ2524816530D6UX2Q   2   1   6   2   2   2   2   5   1   6   7   55044   2   16   2   24   66
97901309   10/16/2019 18:10   10/16/2019 18:10     6   U4DZ2524818064C3VVE2   2   2   5   1   1   3   2   5   4   2   1   77096   2   25   3   44   56
97901341   10/16/2019 18:10   10/16/2019 18:11     5   8DJ22524818208FVXV3I   2   2   3   3   1   1   2   5   3   3   2   36266   1   23   3    1   38
97901439   10/16/2019 18:12   10/16/2019 18:12    10   734L2524818755RAGSQE   2   2   6   3   2   4   2   5   2   2   7   23666   2   26   3   47   71
97901592   10/16/2019 18:13   10/16/2019 18:13     5   KV912524819610EWN459   2   2   6   4   2   1   2   5   1   2   7   95126   1   26   4    5   66
97901628   10/16/2019 18:13   10/16/2019 18:13     5   48YY2524819711EAZNG8   2   2   6   2   2   2   2   5   2   8   7   33710   2   26   3   10   71
97901645   10/16/2019 18:13   10/16/2019 18:13     9   8DPF2524819926F0BUNG   2   2   6   1   2   1   2   5   2   2   7   85022   2   26   4    3   77
97901696   10/16/2019 18:14   10/16/2019 18:14    12   1UW72524820151RXIDFL   2   2   6   4   2   1   2   1   1   5   7   32211   1   26   3   10   66
97901701   10/16/2019 18:14   10/16/2019 18:14     7   JWFD2524820217U67ZRX   2   1   4   2   2   1   2   5   2   3   7   54017   2   14   2   50   54
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97901714   10/16/2019 18:14   10/16/2019 18:14    7   HCTB2524820218TZKWCJ   2   2   6   6   2   6   2   5   2   8   7   34683   1   26   3   10   73
97901724   10/16/2019 18:14   10/16/2019 18:14    5   6JRE2524820417OZE86I   2   1   6   1   2   4   2   5   2   6   7   76040   2   16   3   44   65
97901730   10/16/2019 18:14   10/16/2019 18:14    8   4VUA2524820442NR1Z7T   2   2   3   1   1   2   1   5   4   2   5   32824   1   23   3   10   42
97901733   10/16/2019 18:14   10/16/2019 18:14   16   9ECW2524820411EHVTAN   2   1   6   1   2   4   2   5   2   6   7    6804   2   16   1    7   71
97901791   10/16/2019 18:14   10/16/2019 18:15    9   2G0M2524820521GYST4P   2   1   4   4   1   6   1   5   3   8   1   95340   2   14   4    5   49
97901809   10/16/2019 18:15   10/16/2019 18:15    6   AETP2524776655LAZB6F   2   1   6   1   2   4   2   5   2   8   7   77304   2   16   3   44   79
97901834   10/16/2019 18:15   10/16/2019 18:15    8   IMML2524820978OSNL1B   2   1   6   1   2   7   2   5   2   3   7   89144   2   16   4   29   76
97901844   10/16/2019 18:15   10/16/2019 18:15    6   WO7V2524821014QIYK9E   2   2   4   1   1   6   2   5   4   4   1   95628   1   24   4    5   53
97901848   10/16/2019 18:15   10/16/2019 18:15    7   2I2E2524821086PFB1IZ   2   1   6   1   2   3   2   5   2   6   7   53225   2   16   2   50   72
97901867   10/16/2019 18:15   10/16/2019 18:15   18   CU9A2524821117VS3PM6   2   2   2   1   1   6   2   5   4   4   1   38555   1   22   3   43   30
97901878   10/16/2019 18:15   10/16/2019 18:15    7   61D42524821236YUIK9S   2   2   4   1   1   4   1   5   4   6   2   64063   2   24   2   26   49
97901879   10/16/2019 18:15   10/16/2019 18:15    5   26SC2524813267RINJ59   2   1   5   1   1   4   2   5   5   6   1   37803   2   15   3   43   56
97901888   10/16/2019 18:15   10/16/2019 18:15   14   G0QX2524821244RRTCLY   2   1   5   4   2   1   2   1   2   6   7   93436   2   15   4    5   56
97902072   10/16/2019 18:16   10/16/2019 18:16    6   MDQI2524822239TIK0BX   2   1   6   1   2   6   2   5   2   6   1   60462   2   16   2   14   67
97902159   10/16/2019 18:17   10/16/2019 18:17    5   8RTP2524822781FOQKB7   2   1   5   1   1   5   2   5   3   5   7   50401   2   15   2   16   61
97902514   10/16/2019 18:20   10/16/2019 18:20    8   ROOY2524812376RUY4U8   2   1   6   1   2   8   2   5   2   6   7   94002   2   16   4    5   77
97902703   10/16/2019 18:22   10/16/2019 18:22    9   PUBH2524826748LK7PMP   2   2   6   1   2   4   2   5   2   6   4   68007   1   26   2   28   69
97902704   10/16/2019 18:22   10/16/2019 18:22    6   TQMR2524826728JUW6HJ   1   2   6   1   2   6   2   5   2   6   7   98686   2   26   4   48   73
97902866   10/16/2019 18:23   10/16/2019 18:23    6   73YR2524828042Z0XZST   1   2   2   2   1   5   2   5   4   2   5    1571   1   22   1   22   29
97902901   10/16/2019 18:23   10/16/2019 18:23    5   O2DL2524828223S2NLK6   2   1   6   2   2   4   2   5   1   6   7   44070   1   16   2   36   72
97902979   10/16/2019 18:24   10/16/2019 18:24    8   9RKO2524828403RZTDOR   2   1   6   5   1   4   2   1   3   8   7   28387   2   16   3   34   76
97903275   10/16/2019 18:26   10/16/2019 18:27    7   LXNO2524830767W68JVJ   2   2   4   4   1   2   2   5   4   5   6   41174   2   24   3   18   49
97903406   10/16/2019 18:27   10/16/2019 18:28    7   42B42524827775D10SBD   1   2   2   1   1   4   2   5   4   3   6   74464   2   22   3   37   34
97903454   10/16/2019 18:28   10/16/2019 18:28    8   WFDA2524815158F04UJD   1   1   5   2   2   1   2   5   1   5   7   44111   2   15   2   36   61
97903680   10/16/2019 18:30   10/16/2019 18:30    5   QZUR2524833658JWX5OK   2   1   6   1   2   7   2   5   2   9   7   98226   2   16   4   48   67
97903838   10/16/2019 18:31   10/16/2019 18:31    7   PIMF2524834663ETDFUN   1   2   3   1   1   1   2   5   3   3   6   28684   2   23   3   34   43
97903894   10/16/2019 18:31   10/16/2019 18:33   86   W3LZ2524835064GMG1U4   1   2   3   1   1   2   1   5   4   6   6   78723   2   23   3   44   37
97903911   10/16/2019 18:31   10/16/2019 18:31    4   1YSG2524657892LDYS9T   2   1   5   1   2   3   2   5   2   4   7   56093   2   15   2   24   61
97904047   10/16/2019 18:32   10/16/2019 18:33   18   HY2J2524835921YZF7OH   2   1   6   1   2   5   2   5   2   6   7   21401   1   16   3   21   82
97904115   10/16/2019 18:33   10/16/2019 18:33    6   9F492524836525ZCCUH0   2   1   6   1   2   5   2   5   2   9   4   92078   2   16   4    5   72
97904169   10/16/2019 18:33   10/16/2019 18:33    7   LK3T2524836937LQ3DVL   1   2   6   4   2   4   2   5   1   6   7   92124   2   26   4    5   71
97904254   10/16/2019 18:34   10/16/2019 18:34    7   MR8Q2524837664ST1PSW   2   2   2   1   1   5   2   1   3   8   1   60661   1   22   2   14   30
97904326   10/16/2019 18:34   10/16/2019 18:35    7   I4JV2524838108VLUZ3D   2   2   6   1   2   4   2   5   2   6   7   85284   2   26   4    3   67
97904519   10/16/2019 18:36   10/16/2019 18:36    3   WMCJ2524839683Z52KEJ   1   2   2   4   1   1   2   5   2   3   1   49660   1   22   2   23   33
97904618   10/16/2019 18:37   10/16/2019 18:37    5   70DE2524840413SBZ3CG   1   1   4   2   2   5   2   3   3   3   1   91776   2   14   4    5   45
97905108   10/16/2019 18:41   10/16/2019 18:41    5   GA4B2524843652FI9IAY   2   1   5   2   2   4   1   5   3   5   1   33406   1   15   3   10   60
97905150   10/16/2019 18:41   10/16/2019 18:41    5   D6TA2524843932ER5RG5   2   1   6   2   2   3   2   5   2   6   7   66212   2   16   2   17   67
97905454   10/16/2019 18:43   10/16/2019 18:44   19   CX5S2524654830WCRNCT   2   2   3   1   1   4   2   5   3   6   6   93460   2   23   4    5   38
97905527   10/16/2019 18:44   10/16/2019 18:44    9   AXIO2524846481A0MTUX   2   2   6   1   2   2   2   5   2   2   7   21740   2   26   3   21   75
97905542   10/16/2019 18:44   10/16/2019 18:44    8   HPEN2524846547G3UHVY   1   2   2   1   1   5   2   1   4   5   1   77338   1   22   3   44   28
97905589   10/16/2019 18:44   10/16/2019 18:44    5   WOOF2524846836SSR45Z   2   1   5   1   1   4   2   5   3   6   7   97124   2   15   4   38   60
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97905772   10/16/2019 18:45   10/16/2019 18:45    5   SBBC2524848076WUE5UZ   1   1   4   4   2   3   2   5   3   7   1   98377   2   14   4   48   49
97906148   10/16/2019 18:49   10/16/2019 18:49    3   OUF52524850774SCBGA1   1   2   2   1   1   5   2   5   3   8   1   46220   2   22   2   15   31
97906554   10/16/2019 18:52   10/16/2019 18:52    8   87L22524853686JPXNE6   2   2   3   2   2   3   2   5   1   3   1   33511   2   23   3   10   39
97906695   10/16/2019 18:54   10/16/2019 18:54   13   SIHJ2524854577EMZURF   2   1   6   1   2   2   2   5   2   5   2   45356   2   16   2   36   68
97906715   10/16/2019 18:54   10/16/2019 18:54    3   B2Z52524854845LC3IB7   1   2   2   1   1   6   2   3   4   6   1   51501   1   22   2   16   32
97906761   10/16/2019 18:54   10/16/2019 18:54    5   HPEK2524855031FO6B3L   1   2   3   2   2   2   2   5   1   3   1   50023   2   23   2   16   37
97906936   10/16/2019 18:56   10/16/2019 18:56    3   YQZD2524837436ZZIU0Z   2   2   3   1   1   5   2   5   3   8   1   80202   1   23   4    6   36
97907416   10/16/2019 19:01   10/16/2019 19:01    6   UU082524858787QUV8LV   2   2   4   1   1   8   2   5   4   7   1   51106   2   24   2   16   53
97907734   10/16/2019 19:04   10/16/2019 19:04    7   GE1C2524860523BP2MSM   2   1   6   2   2   1   2   5   1   3   7   54481   2   16   2   50   68
97907881   10/16/2019 19:05   10/16/2019 19:05   11   FBFP2524861307QT6NDW   2   1   5   2   2   1   2   7   2   5   5   92320   2   15   4    5   59
97908231   10/16/2019 19:08   10/16/2019 19:09   14   FM0F2524863311OBTAC5   1   2   3   1   1   4   1   5   5   4   6   97070   2   23   4   38   36
97908920   10/16/2019 19:15   10/16/2019 19:15   36   SV2L2524867745KZUGYD   1   2   3   3   1   4   2   5   3   3   6   54669   2   23   2   50   38
97909076   10/16/2019 19:16   10/16/2019 19:16    4   SDGH2524869089NH8H7H   1   2   3   1   1   3   2   5   4   6   6   89012   2   23   4   29   35
97909080   10/16/2019 19:16   10/16/2019 19:16    4   MJWS2524869086C4ML9G   2   2   3   1   1   5   2   3   3   3   6   98444   1   23   4   48   36
97909267   10/16/2019 19:18   10/16/2019 19:18    8   VJFO2524868673V87BT4   1   2   3   4   2   3   1   6   3   5   2   93212   2   23   4    5   38
97909579   10/16/2019 19:20   10/16/2019 19:20   10   DS3M2524864492XB6V1Q   2   2   3   1   1   4   2   5   4   6   2   56001   2   23   2   24   38
97909583   10/16/2019 19:20   10/16/2019 19:20    8   EIV82524872599FBBXLE   1   2   3   1   2   1   2   3   2   2   6   48135   2   23   2   23   41
97909621   10/16/2019 19:20   10/16/2019 19:20    6   OEKA2524872905TICKGT   2   2   6   1   2   6   2   5   2   6   7   78616   2   26   3   44   69
97909786   10/16/2019 19:22   10/16/2019 19:22    4   5PTL2524874206GMRYFY   1   2   1   2   1   1   2   5   1   6   4   47501   1   21   2   15   20
97910252   10/16/2019 19:26   10/16/2019 19:26   11   U3ES2524867748VM03UF   2   2   4   1   2   4   2   5   2   7   7   97030   2   24   4   38   54
97910255   10/16/2019 19:26   10/16/2019 19:26    6   8MMK2524877523PIGR9O   2   1   4   2   2   3   2   5   1   2   7   32763   3   14   3   10   51
97910310   10/16/2019 19:26   10/16/2019 19:26    7   ZTUL2524877911E8JLO2   2   1   4   1   2   8   2   1   2   6   1   49508   2   14   2   23   48
97910493   10/16/2019 19:28   10/16/2019 19:28    7   GNOJ2524879136NDK6Z6   2   1   4   1   1   4   2   5   5   6   1   29690   2   14   3   41   49
97910624   10/16/2019 19:29   10/16/2019 19:29    5   R3LF2524880085ULCQ93   2   2   3   1   1   8   2   5   4   6   1   43001   1   23   2   36   42
97910709   10/16/2019 19:30   10/16/2019 19:30    8   95CY2524880742I4CM2T   1   2   5   1   2   5   2   5   2   2   7   30041   1   25   3   11   60
97911248   10/16/2019 19:35   10/16/2019 19:35    3   ZOBI2524885157BFCQTD   2   2   2   1   2   6   2   5   2   6   1   50322   1   22   2   16   26
97911285   10/16/2019 19:35   10/16/2019 19:35    8   W2ZB2524885422OY18YN   2   1   5   1   2   4   2   5   2   3   7   62219   2   15   2   14   64
97911504   10/16/2019 19:37   10/16/2019 19:37    8   FRH22524886738WNCK7Z   2   1   4   2   2   5   2   5   4   2   2   44633   1   14   2   36   46
97911651   10/16/2019 19:38   10/16/2019 19:39    8   ILGO2524887969AKQAUT   2   2   2   2   2   1   2   5   5   2   5   33594   2   22   3   10   31
97911695   10/16/2019 19:39   10/16/2019 19:39    5   96NV2524888300NAIRG8   1   2   2   1   1   4   2   5   5   3   6   64157   1   22   2   26   31
97912566   10/16/2019 19:47   10/16/2019 19:47    7   9ZWF2524894219L9L4BB   2   1   6   4   2   4   2   5   1   8   7   98201   2   16   4   48   70
97912856   10/16/2019 19:50   10/16/2019 19:50    7   HJHD2524896659A7TDY0   2   1   4   2   2   4   2   5   2   3   1   89502   2   14   4   29   45
97913452   10/16/2019 19:55   10/16/2019 19:55    4   LBPJ2524901173PJF34O   2   2   3   1   1   5   2   3   3   3   1   44321   1   23   2   36   39
97913611   10/16/2019 19:57   10/16/2019 19:57    5   ZWD82524900150JUMEKC   1   2   3   1   1   4   2   5   6   9   4   94080   1   23   4    5   39
97913794   10/16/2019 19:58   10/16/2019 19:59    7   UILH2524903362VNDHUR   1   2   4   2   1   3   2   1   2   3   1   39520   2   24   3   25   49
97913852   10/16/2019 19:59   10/16/2019 19:59    6   G68M2524904186PP9III   1   2   2   1   1   4   2   1   4   3   1   89102   2   22   4   29   26
97914358   10/16/2019 20:03   10/16/2019 20:04    5   Z4YW2524907983C02YYD   2   2   6   1   2   5   2   5   2   6   7   98258   2   26   4   48   80
97914502   10/16/2019 20:05   10/16/2019 20:05    6   Q4NT2524908947KAZMQQ   2   2   3   2   1   5   1   1   7   6   4   44103   1   23   2   36   44
97914797   10/16/2019 20:08   10/16/2019 20:08    7   ZYQ32524905391DBCENI   2   2   2   1   1   4   2   5   6   3   6   63334   2   22   2   26   32
97914811   10/16/2019 20:08   10/16/2019 20:08   10   FFKU2524911427BVCU3N   2   2   3   2   2   1   2   5   1   2   5   50002   2   23   2   16   42
97914918   10/16/2019 20:09   10/16/2019 20:09    9   65FO2524912298C3KH9O   2   2   2   3   2   1   2   5   2   1   2   57106   2   22   2   42   26
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97914957   10/16/2019 20:09   10/16/2019 20:09    5   52VZ2524912830RFNQDV   1   2   3   1   1   4   2   5 4    5   1   44890   1   23   2   36   41
97915251   10/16/2019 20:12   10/16/2019 20:12    5   0FW32524915117QMGQ2Z   2   1   5   1   1   6   1   5 3    6   1   93292   1   15   4    5   58
97915882   10/16/2019 20:18   10/16/2019 20:18    3   J0OD2524920653H9E04W   1   2   2   1   1   7   1   5 4    6   1   65807   3   22   2   26   28
97916089   10/16/2019 20:20   10/16/2019 20:20    8   OMDB2524922330T8OL7U   2   2   3   1   1   5   2   5 4    3   1   87410   2   23   4   32   42
97916276   10/16/2019 20:22   10/16/2019 20:22    4   V1AU2524923968MGG4G8   2   2   3   1   2   5   2   5 2    6   3   55906   2   23   2   24   39
97916694   10/16/2019 20:27   10/16/2019 20:27   29   0HR72524927914GBKW1I   1   2   2   4   1   1   2   5 4    5   1   65775   2   22   2   26   33
97916699   10/16/2019 20:27   10/16/2019 20:28   51   P5TR2524913930YKXQ1T   1   1   4   1   2   2   2   5 2    2   1   65616   2   14   2   26   53
97916706   10/16/2019 20:27   10/16/2019 20:27   10   AX3N2524928055E97QBK   2   2   6   1   2   4   2   5 2    4   7   98226   2   26   4   48   69
97916824   10/16/2019 20:28   10/16/2019 20:28    4   D0H02524926782QPI5LU   2   2   2   1   2   5   2   5 2    6   1   48111   2   22   2   23   31
97916987   10/16/2019 20:30   10/16/2019 20:30    6   BSV52524930410QW49EQ   2   1   4   1   1   3   2   5 3    2   9   45613   2   14   2   36   49
97917614   10/16/2019 20:36   10/16/2019 20:36    8   CMWG2524933943O3JTNC   1   2   3   3   1   1   1   7 5    4   5   92503   2   23   4    5   36
97917714   10/16/2019 20:37   10/16/2019 20:37    8   19KQ2524934230KFUOLS   2   2   2   1   1   5   2   5 3    6   1   89502   4   22   4   29   33
97918185   10/16/2019 20:41   10/16/2019 20:42   56   UH0Z2524936714PMYJ8C   1   2   2   1   1   5   2   5 4    5   6   61704   2   22   2   14   34
97918459   10/16/2019 20:44   10/16/2019 20:44   16   AE8Q2524936305SJ7HIX   2   2   3   2   1   1   2   5 10   3   6   98902   1   23   4   48   38
97918537   10/16/2019 20:44   10/16/2019 20:44    5   Z4W82524938642SPC7BO   1   2   3   4   1   3   2   3 2    6   1   32832   2   23   3   10   42
97920355   10/16/2019 20:53   10/16/2019 20:54    5   FN2I2524944868SKVBGR   2   2   2   1   1   4   2   5 3    6   1   49444   2   22   2   23   33
97920382   10/16/2019 20:54   10/16/2019 20:54    9   3IB22524944897YKQSZX   2   1   4   4   1   2   2   5 3    2   5   61350   2   14   2   14   45
97921434   10/16/2019 20:59   10/16/2019 20:59    4   RKOT2524947689W8FGQK   1   2   2   2   2   3   2   7 2    2   2   85712   2   22   4    3   32
97922130   10/16/2019 21:05   10/16/2019 21:05    6   CPN02524914490Q2YS8U   2   1   4   1   1   7   2   5 6    8   1   48044   2   14   2   23   48
97922570   10/16/2019 21:10   10/16/2019 21:10    5   E7TU2524954598IFJ0QY   2   1   4   2   2   1   2   1 1    2   5   85013   2   14   4    3   51
97923050   10/16/2019 21:15   10/16/2019 21:15    9   NLZL2524958523V6ADRW   2   2   2   2   2   5   2   5 1    8   1   46835   2   22   2   15   33
97923058   10/16/2019 21:15   10/16/2019 21:15    5   B7GV2524958508I5545B   2   2   2   1   1   6   2   5 4    2   1   55109   2   22   2   24   29
97923690   10/16/2019 21:21   10/16/2019 21:21    5   GRBF2524963854YIQ1D5   2   2   2   2   2   1   2   5 1    1   5   85308   2   22   4    3   31
97924329   10/16/2019 21:28   10/16/2019 21:28    8   S5W92524968770PGBBU5   2   2   2   1   1   6   2   5 5    6   1    4084   2   22   1   20   30
97925592   10/16/2019 21:40   10/16/2019 21:40    6   1BLG2524978221L6XC71   1   2   2   1   1   3   2   5 4    3   6   93245   2   22   4    5   27
97925605   10/16/2019 21:40   10/16/2019 21:41    9   S4DM2524978303ASH38N   2   1   4   2   1   2   2   5 5    3   1   59701   2   14   4   27   47
97926346   10/16/2019 21:47   10/16/2019 21:47    4   LDB22524982583R3II63   2   1   4   1   1   7   2   3 3    6   1   96797   1   14   4   12   47
97927801   10/16/2019 22:02   10/16/2019 22:03    7   VNYR2524992836H62RRG   1   2   2   2   1   2   1   7 5    1   6   85202   2   22   4    3   28
97929053   10/16/2019 22:17   10/16/2019 22:17    5   PIAL2525001425XFVSJ0   1   2   3   1   1   4   2   5 5    6   6   83451   2   23   4   13   38
97929953   10/16/2019 22:27   10/16/2019 22:27    5   9XU52525007720V6IAXL   2   1   4   2   2   5   2   5 1    6   1   80925   2   14   4    6   52
97930913   10/16/2019 22:39   10/16/2019 22:39    6   QAW42525009367VQ12OV   2   2   2   2   2   3   1   5 1    3   1   90604   2   22   4    5   33
97931383   10/16/2019 22:45   10/16/2019 22:45    7   SS2I2525016288GYV41I   1   2   2   2   2   1   1   5 1    7   8   98406   2   22   4   48   31
97931614   10/16/2019 22:46   10/16/2019 22:47    5   IFC82525017228GB9GSK   1   2   2   1   1   5   1   5 6    3   6   92507   1   22   4    5   32
97931629   10/16/2019 22:47   10/16/2019 22:47    7   X18D2525017294JLVO65   2   2   2   1   1   4   2   5 4    5   1   62526   2   22   2   14   33
97932121   10/16/2019 22:52   10/16/2019 22:52    9   5Q0O2525019380QPRJ14   2   2   3   2   2   1   2   7 1    3   5   89104   1   23   4   29   41
97932198   10/16/2019 22:53   10/16/2019 22:53    5   RS312525019834QWZC4R   1   2   3   1   1   7   2   5 4    7   1   85295   2   23   4    3   43
97933099   10/16/2019 23:03   10/16/2019 23:03   22   HW2K2525024980BVHH3I   1   1   4   1   1   2   2   5 2    2   1   84065   2   14   4   45   46
97933396   10/16/2019 23:06   10/16/2019 23:06    5   AP8Z2525026650EAYOE5   1   1   4   1   1   6   1   6 4    8   7   88201   2   14   4   32   54
97934356   10/16/2019 23:17   10/16/2019 23:17    4   OIZZ2525031676PCCHYL   2   1   4   1   1   6   2   3 4    8   1   95035   2   14   4    5   50
97934434   10/16/2019 23:18   10/16/2019 23:18    5   GVFF2525032250YX216Z   1   2   2   3   1   1   2   1 3    2   5   93706   1   22   4    5   27
97935512   10/16/2019 23:30   10/16/2019 23:30   33   GCQR2525038243IAFDDQ   1   2   2   3   2   4   2   5 2    3   2   98498   1   22   4   48   30
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97935823 10/16/2019 23:33 10/16/2019 23:33   11   IR042525040291EHTV9H   2   1   4   1   1   6   2   5   7   3   3   98103   2   14   4   48   49
97936797 10/16/2019 23:43 10/16/2019 23:43    9   RTMN2525045020ICULHB   1   2   2   1   1   4   2   3   3   2   1   94005   1   22   4    5   30
97938718 10/17/2019 0:04 10/17/2019 0:04      4   FO1S2525054181LLGAJK   2   1   4   1   1   6   2   3   4   6   4   91776   2   14   4    5   46
97939325 10/17/2019 0:10 10/17/2019 0:10      5   VEGN2525057906J0DWWY   1   1   4   1   1   5   2   3   3   5   1   92126   1   14   4    5   48
97940397 10/17/2019 0:23 10/17/2019 0:24     19   DJ612525065181U429OR   2   2   3   2   2   3   2   3   3   3   5   94110   2   23   4    5   37
97940416 10/17/2019 0:24 10/17/2019 0:24      5   HXSU2525064350L48FJY   1   1   4   1   2   5   2   5   2   2   1   89103   2   14   4   29   52
97941398 10/17/2019 0:37 10/17/2019 0:37      3   L7532525062452UJVWJ6   1   1   4   1   1   7   2   5   5   8   1   85306   1   14   4    3   49
97944042 10/17/2019 1:14 10/17/2019 1:14     16   O3VA2525088100T3EK6Q   1   1   4   6   1   1   2   5   3   1   6   90601   3   14   4    5   47
97945592 10/17/2019 1:36 10/17/2019 1:36      6   A87W2525089842KKH9MW   2   1   4   1   1   8   2   3   4   7   1   94109   2   14   4    5   47
97947141 10/17/2019 1:59 10/17/2019 1:59      5   ZKMX2525100514MPC81U   2   1   4   1   1   8   2   5   3   8   1   98101   1   14   4   48   52
97951143 10/17/2019 2:58 10/17/2019 2:58      5   O7SD2525111303F5AYD7   1   1   4   2   2   2   2   5   1   6   2   98292   2   14   4   48   51
97958960 10/17/2019 4:49 10/17/2019 4:49     10   EDJ92525139731JIHP4B   2   1   4   1   1   4   2   1   4   6   7   92553   1   14   4    5   46
97979995 10/17/2019 8:55 10/17/2019 8:55      3   Q17O2525250192V7D99Q   2   1   4   2   1   4   2   5   2   6   1   92020   1   14   4    5   50
97981756 10/17/2019 9:09 10/17/2019 9:09      6   6JZH2525261598HP9TX4   2   1   4   4   1   4   2   5   3   6   1   60630   2   14   2   14   52
97982454 10/17/2019 9:14 10/17/2019 9:15      9   8C8O2525265637YQDXWC   1   1   4   1   1   1   2   1   5   2   7   28580   2   14   3   34   54
97982722 10/17/2019 9:16 10/17/2019 9:17     10   VLKX2525266935QY4W95   2   1   4   5   2   1   2   5   3   3   9   85031   2   14   4    3   45
97983787 10/17/2019 9:24 10/17/2019 9:24      4   LI6B2525272694UA8THY   1   1   4   1   1   3   2   5   4   3   1   40047   2   14   3   18   45
97988318 10/17/2019 9:55 10/17/2019 9:56     26   T9VW2525297730QRUI3O   2   1   4   1   1   5   2   5   3   5   1   15120   2   14   1   39   53
98000798 10/17/2019 11:23 10/17/2019 11:23    8   OC4K2525378309DON445   2   1   6   4   2   5   2   5   1   8   7   45239   2   16   2   36   76
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                         Exhibit B
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                                   #:10097



                                           Publications Since 2009
                                          Authored or Co-Authored
                                            By Matthew G. Ezell


     ARTICLES

     These articles are available @ www.fordbubala.com/articles

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     “Intellectual Property Surveys: Annual Cumulative Update 1998–2018” was electronically published
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     CHAPTERS

     Survey Evidence in U.S. Dilution Cases, in International Trademark Dilution 545-574 (Daniel R. Bereskin
     2018).
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 429 of 432 Page ID
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                         Exhibit C
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                                   #:10099



                          TRIAL AND DEPOSITION TESTIMONY
                           OF MATTHEW G. EZELL SINCE 2015



     Trial Testimony

     2019

            Coresite Denver, LLC v. DGEB Management, LLC, et al.
                     District Court, City And County Of Denver, State Of Colorado

     2017

            San Diego Comic Convention v. Dan Farr Productions et al.
                   U.S. District Court, Southern District of California



     Deposition Testimony

     2019

            Steven Madden, Ltd. v. Jasmin Larian, LLC d/b/a Cult Gaia
                    U.S. District Court, Southern District of New York

            Diageo North American, Inc. v. W.J. Deutsch & Sons Ltd. d/b/a Deutsch Family Wine
            & Spirits, and Bardstown Barrel Selections LLC
                   U.S. District Court, Southern District of New York

            The Reinalt-Thomas Corporation d/b/a Discount Tire v. Mavis Tire Supply LLC
                   U.S. District Court, Northern District of Georgia

            Quidel Corporation v. Siemens Medical Solutions USA, Inc., et al.
                   U.S. District Court, Southern District of California

     2017

            Luxe Hospitality Company, LLC v. SBE Entertainment Group, LLC
                  U.S. District Court, Central District of California
Case 8:18-cv-01253-JLS-ADS Document 95-13 Filed 04/08/20 Page 431 of 432 Page ID
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                        Exhibit D
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                                   #:10101
                                                        PROFESSIONAL HISTORY

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             Graduate Certificate in Survey Research
             University of Connecticut, 2016
             Master of Arts Linguistics (M.A.)
             California State University Long Beach, 2010
             Bachelor of Arts (B.A.)
             California State University Fullerton, 2002

         PROFESSIONAL AFFILIATIONS
              American Association for Public Opinion Research (AAPOR)
              The Insights Association (Merger of The Marketing Research Association (MRA)
                and the Council of American Survey Research Organizations (CASRO))
              International Trademark Association (INTA)
              The Trademark Reporter (TMR) Committee, 2016 – 2017 and 2018 – 2019 terms
              Teachers of Japanese in Southern California, President and Board Member,
                 2009 – 2012

         PROFESSIONAL EXPERIENCE
              Ford Bubala & Associates (Principal), 2015 – Present
              Responsible for questionnaire design and execution, including identifying
              appropriate universe, relevant questions and methodology; coding and data analysis;
              Rule 26 Declaration and report generation and testimony; and communication with
              clients.
              Ford Bubala & Associates (Senior Research Associate), 2010 – 2015
              Ford Bubala & Associates (Research Associate), 1997 – 2002; 2007 – 2010
              Ford Bubala & Associates is a marketing and management consulting firm which
              provides a variety of consulting services in the areas of marketing management,
              marketing research, marketing planning, competitive evaluation, economic analysis,
              and strategy development.
              Ford Bubala & Associates has been retained to provide consulting assistance for a
              diverse base of companies in consumer products, industrial products, and service
              sectors of the economy.

         PRIOR EXPERIENCE
              Fullerton College, Lecturer, Japanese language, 2014
              Irvine Valley College, Lecturer, Japanese language, 2011 – 2012
              Hanno Municipal Board of Education, Saitama, Japan, English teacher 2002 – 2005
